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                   Exhibit 2
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      LB1H9111

1     UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
2     ------------------------------x

3     In re Terrorist Attacks on                    03 MD 1570 (GBD)(SN)
      September 11, 2001
4                                                   Hearing
      ------------------------------x
5                                                   New York, N.Y.
                                                    November 1, 2021
6                                                   10:10 a.m.

7     Before:

8                               HON. SARAH NETBURN,

9                                                   U.S. Magistrate Judge

10                                  APPEARANCES

11    LANKLER SIFFERT & WOHL LLP
           Attorneys for Nonparty Fawcett
12    BY: MICHAEL GERBER
           HELEN GREDD
13         GABRIELLE FRIEDMAN

14    KIRSCH & NIEHAUS PLLC
           Attorneys for Kreindler & Kreindler and all witnesses
15    BY: EMILY KIRSCH
           LISA FREY
16         -and-
      KREINDLER & KREINDLER LLP
17    BY: MEGAN WOLFE BENETT
           -and-
18    EMERY CELLI BRINCKERHOFF ABADY WARD & MAAZEL LLP
      BY: HAL R. LIEBERMAN
19

20    KELLOGG, HUBER, HANSEN, TODD FIGEL & FREDERICK, PLLC
           Attorneys for Defendant Kingdom of Saudi Arabia
21    BY: MICHAEL KELLOG
           MARK C. HANSEN
22         GREGORY G. RAPAWY
           ANDREW C. SHEN
23         CHRISTOPHER YOUNG

24

25
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1                (Pages 2 through 11 SEALED)

2                (In open court)

3                THE DEPUTY CLERK:    Your Honor, this is in the matter

4     of In Re Terrorist Attacks on September 11, 2001, case number

5     is 03MD1570.

6                Starting with counsel for Mr. Fawcett, would you

7     please state your appearance for the record.

8                MR. GERBER:    Good morning, your Honor.      Michael

9     Gerber, Helen Gredd, and Gabrielle Friedman, from Lankler

10    Siffert & Wohl on behalf of Mr. Fawcett.

11               THE COURT:    Good morning.

12               THE DEPUTY CLERK:    Counsel for Kreindler & Kreindler.

13               MS. KIRSCH:    Emily Kirsch from Kirsch & Niehaus, for

14    Kreindler & Kreindler and the witnesses.         With me is Ms. Frey.

15    This is Ms. Benett, of course, from Kreindler & Kreindler, and

16    Hal Lieberman, who is cocounsel with me on this matter from the

17    firm of Emery Celli and also consulting on ethics issues.

18               THE COURT:    OK.

19               THE DEPUTY CLERK:    Thank you.

20               For the Kingdom of Saudi Arabia.

21               MR. KELLOGG:    Good morning, your Honor.      Michael

22    Kellogg, on behalf of Saudi Arabia.        With me are Mark Hansen,

23    Gregory Rapawy, Andrew Shen, and Christopher Young.

24               THE COURT:    Thank you.

25               Let me begin by acknowledging Mr. Lieberman's
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1     presence.    I didn't realize he would be here.       I was a partner

2     at the law firm of Emery Celli Brinckerhoff Abady.          I left the

3     firm in 2010.     Mr. Lieberman was not a partner of the firm at

4     that time, although our firm did consult with him on ethics

5     matters during the course of my time at that firm.          I don't see

6     any issue, but I did want to raise that since it was news to

7     me.

8                Anyone wish to be heard?      Anyone have any questions?

9                MR. GERBER:    No, your Honor.

10               THE COURT:    All right.   So good morning to everybody.

11               We're here for the hearing on the issue related to the

12    breach of the protective order and are going to take testimony

13    this morning.     As I ordered previously, the declarations that

14    were submitted in connection with this breach issue have

15    already been admitted as the direct testimony, and so we will

16    begin with cross-examination, and then we'll have an

17    opportunity for redirect.

18               I think we also discussed that we were not going to

19    have any opening arguments.       I'll allow post-hearing briefing.

20    We can discuss schedules for that when we conclude with our

21    proceedings.    So I think, unless there's any reason to delay, I

22    will turn to the Kingdom and ask which witness they anticipate

23    calling first.

24               MR. HANSEN:    Good morning, your Honor.      Mark Hansen

25    for defendant, the Kingdom.       We'd like to proceed with the
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1     examination of James Kreindler.

2                THE COURT:    OK.   Can I ask Ms. Kirsch or Ms. Benett if

3     you could bring Mr. Kreindler, just let him know.

4                MS. BENETT:    I'll bring him in.

5                THE COURT:    That would be great.

6                While Ms. Benett is getting the witness, we took the

7     biggest courtroom we could find given all of the

8     COVID-compliance issues.       We don't have a HEPA filter for the

9     witness here, so my understanding of the court's protocol under

10    our COVID Response Team is that the witness needs to keep his

11    or her mask on during the proceeding.        So I think, Mr. Hansen,

12    I think the protocol for the court -- I apologize.          I wish it

13    were otherwise, but I don't want to be in violation of a court

14    order.    So I think we need to all have our masks on, given that

15    this room is a little bit smaller than what we would like and

16    given that we don't have a HEPA filter here for the witness.

17               MR. HANSEN:    Of course, your Honor.

18               THE COURT:    Thank you.

19               MR. HANSEN:    Your Honor, with your permission, we've

20    provided an exhibit binder to the witness on the witness stand

21    and also to counsel.

22               THE COURT:    OK.

23               MR. HANSEN:    Those are the exhibits we may be using in

24    today's examination.

25               THE COURT:    Thank you.
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1                MS. KIRSCH:    Your Honor, just a quick housekeeping

2     matter, if I may?

3                THE COURT:    Yes.

4                MS. KIRSCH:    As your Honor knows, we had requested a

5     copy of these exhibits at the same time that they were

6     delivered to the Court on Friday, and counsel did not

7     accommodate our request, and then they were delivered just as

8     we were in the robing room a moment ago.         So in the moment I

9     had to flip through them, it appears that a lot of them are

10    quite irrelevant and go way beyond the scope of this hearing.

11    I guess I'll apologize in advance that I'll need a moment to

12    look at each document as they try to introduce them, but I do

13    expect we will have many objections to the relevance and scope

14    of these documents.

15               THE COURT:    My hope is that we can proceed with this

16    hearing as smoothly as possible, with giving everybody every

17    opportunity to be heard.        Obviously, this is a bench hearing,

18    and so objections as to relevance may also be better raised in

19    post-trial briefings, but, certainly, you have every

20    opportunity to be heard.

21               MS. KIRSCH:    Thank you, your Honor.

22               The issue really is the incredible sweeping scope that

23    this is, as we understand it from your October 4 order and

24    subsequent orders, that we are investigating this breach to

25    understand whether any of the other Kreindler attorneys, or
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1     anybody else, was involved with Mr. Fawcett's actions or had

2     knowledge.    So a lot of these documents, which date back to

3     2002, 2003, we will have objections that it's not in any way

4     related to the issues of this hearing.

5                THE COURT:    Thank you.

6                Mr. Kreindler.

7                THE WITNESS:    Yes.

8                THE COURT:    Come forward.

9                Good morning, Mr. Kreindler.

10               THE WITNESS:    Good morning, your Honor.

11               THE COURT:    I was explaining to everyone before you

12    arrived that I'm afraid you'll have to keep your mask on during

13    the proceeding.

14               THE WITNESS:    OK.    OK.

15               THE COURT:    Ms. Slusher, would you swear in the

16    witness.

17    JAMES PAUL KREINDLER,

18          called as a witness by the Defendant,

19          having been duly sworn, testified as follows:

20               THE WITNESS:    James Paul Kreindler.

21               THE COURT:    Thank you.

22               You may be seated.

23               THE WITNESS:    Thank you.

24               THE COURT:    Counsel, you may begin.

25               MR. HANSEN:    Thank you, your Honor.
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      LB1H9111                    Kreindler - Cross

1     CROSS-EXAMINATION

2     BY MR. HANSEN:

3     Q.   Mr. Kreindler, good morning.

4     A.   Good morning.

5     Q.   You agree that court orders are entitled to respect, don't

6     you?

7     A.   Yes.

8     Q.   You agree that deliberate violations of court orders is a

9     serious matter, don't you?

10    A.   Yes.

11    Q.   So serious that it may result in criminal sanctions?

12    A.   Yes.

13    Q.   We're here today because of the deliberate violation of two

14    court orders, are we not?

15                MS. KIRSCH:    Objection, your Honor.    I'm not sure that

16    there is a violation of the FBI order, so I object to the

17    question.

18                THE COURT:    I believe that the -- why don't we proceed

19    with respect to the MDL protective order, which I think

20    everybody admits has been breached.

21                MR. HANSEN:    Your Honor, in fairness, there's no

22    question that the MDL -- the MDL and the FBI had been breached

23    because the FBI had 30 days after the receipt of the transcript

24    to object, and until such time has passed, the entire

25    transcript is protected by the FBI protective order.          So I
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      LB1H9111                    Kreindler - Cross

1     believe it's --

2                 THE COURT:   That's true.    That's true.    Proceed.

3     BY MR. HANSEN:

4     Q.   So do you want my question back, Mr. Kreindler?

5     A.   Your question was, do I agree that two court orders were

6     breached?

7     Q.   OK.

8     A.   The first court order was breached.       I did not recall the

9     30-day window you referred to, but in that's the case, then,

10    yes, both were.

11    Q.   Wait a second, Mr. Kreindler, you're cochairman of the

12    plaintiffs' executive committee in this MDL case, aren't you?

13    A.   Yes.

14    Q.   And you are telling us even today, as we sit here going

15    through serious violations of protective orders, you're not

16    even familiar with the terms of the FBI protective order?

17    A.   I'm very familiar with the terms.

18    Q.   SO you're not familiar with the 30-day window for the FBI

19    to object?

20    A.   I did not remember it now, whether it was 30 days or a

21    different period.     My focus was on the breach of the first

22    court order.

23    Q.   You're telling us you didn't even read the FBI protective

24    order before coming here to testify today?

25    A.   I read it when I signed it, but I did not read it recently.
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       LB1H9111                   Kreindler - Cross

1      Q.   So, Mr. Kreindler, continuing on, your firm has admitted

2      that these violations of two court orders were committed by

3      Kreindler & Kreindler, correct?

4      A.   Yes.

5                  (Continued on next page)

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     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 11 of 490 20
       LB189112                   Kreindler - Cross

1      BY MR. HANSEN:

2      Q.   Your researcher, John Fawcett, leaked a confidential

3      transcript to Michael Isikoff of Politico, according to

4      Kreindler & Kreindler, correct?

5      A.   I don't think Michael Isikoff was in Politico.

6      Q.   You're absolutely right.     I apologize.    Bad question.    Let

7      me rephrase that.

8                  Your firm Kreindler & Kreindler has told the court

9      that your researcher, John Fawcett, leaked a confidential

10     transcript to Michael Isikoff of Yahoo?

11     A.   Yes.

12     Q.   Isn't it true that Mr. Fawcett did that because you wanted

13     him to do that?

14     A.   No, that is not true at all.

15     Q.   So, let's get into some basics about you and your firm and

16     how we came to be here today, Mr. Kreindler.

17                 You are the partner in charge of the 9/11 case at

18     Kreindler & Kreindler?

19     A.   Yes.

20     Q.   And I believe we mentioned a minute ago you are the co-lead

21     of the Plaintiffs' Executive Committee in this case?

22     A.   Yes.

23     Q.   You have a team of Kreindler & Kreindler professionals

24     working with you?

25     A.   Yes.
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       LB189112                   Kreindler - Cross

1      Q.   That includes Mr. Fawcett?

2      A.   Yes.

3      Q.   The team is about ten or so in size?

4      A.   No.    I could tell you the members of the team.

5      Q.   Sure.    Please do.

6      A.   So, Andrew Maloney, who we all call Duke, has been working

7      on the case for many years.      Steve Pounian joined the team when

8      JASTA was passed.    And about the same time Megan Benett has

9      also joined the team.      And John has been working on 9/11 for

10     almost 20 years, John Fawcett.

11     Q.   Was Ms. or Mr. Simpson also part of your team?

12     A.   Recently Gavin Simpson, yes, in the last couple of months.

13     Q.   Ms. or Mr. Pagan?

14     A.   She is a paralegal that we asked to help out, but fairly

15     recently.

16     Q.   Mr. or Ms. Sienski?

17     A.   Yes.    Julia is client liaison.

18     Q.   And Mr. or Ms. Ranieri?

19     A.   Lisa Ranieri has been a secretary to the firm for probably

20     three decades, and is Steve Pounian's secretary.

21     Q.   So, the team members on the 9/11 case all worked for you,

22     didn't they, Mr. Kreindler?

23     A.   Well, that's not how I'd put it.      For example, Lisa is

24     Steve's secretary, so when Steve needed secretarial work he

25     would ask his secretary to do it.       I had very few occasions to
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       LB189112                   Kreindler - Cross

1      ask Steve's secretary to do something.       I might ask my

2      secretary.

3      Q.   Good qualification.    Putting aside assistants, isn't it

4      true that all of the professionals at Kreindler & Kreindler

5      working on the 9/11 case were under your supervision?

6      A.   Yes.

7      Q.   And you are responsible for supervising that team, aren't

8      you?

9      A.   Yes.

10     Q.   Is it fair to say you set an example for your team?

11     A.   Yes.

12     Q.   Is it fair to say they watch what you say and do?

13     A.   I hope so.

14     Q.   And they follow your lead?

15     A.   I believe so.

16     Q.   So, Mr. Kreindler, you believe there is a lot of money at

17     stake in this case, don't you?

18     A.   There is, undoubtedly.

19     Q.   And your firm represents your clients on a contingency

20     basis, isn't that true?

21     A.   Yes.

22     Q.   And you have told the press in one of your many press

23     statements that you believe this case is -- and I am quoting

24     here -- the biggest case ever.      Do you recall saying that?

25     A.   Yes.
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       LB189112                   Kreindler - Cross

1      Q.   And you would like to have a settlement in this case,

2      wouldn't you?

3      A.   Yes.

4      Q.   Because a settlement would produce a substantial amount of

5      money for your clients, but also for the lawyers working on the

6      case, correct?

7      A.   It would.

8      Q.   How much of any settlement would the legal team get in

9      total, roughly, a third?

10     A.   No.    Our retainer fees are significantly less than a third.

11     They are 15 percent retainer fees.       Many of the cases, other

12     local lawyers who brought the cases to us will receive a

13     portion of that 15 percent.

14     Q.   We agree, do we not, there could be a lot of money at stake

15     for Kreindler & Kreindler.

16                 MS. KIRSCH:   I would like to put an objection here.

17     We are a little bit away from the scope, but also any more

18     specific terms of retainer agreements should be subject to

19     privilege.     So I would just caution the witness not to give too

20     much detail into those arrangements.

21                 MR. HANSEN:   Your Honor, I am moving on.

22                 THE COURT:    Very well.

23     BY MR. HANSEN:

24     Q.   Just to conclude on that topic, Mr. Kreindler, we can all

25     agree there could be a lot of money in this for Kreindler &
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 15 of 490 24
       LB189112                   Kreindler - Cross

1      Kreindler, right?

2      A.   For all of the lawyers, sure.

3      Q.   So, Mr. Kreindler, you have been making public statements

4      about this case for years to put settlement pressure on the

5      defendants, haven't you?

6                MS. KIRSCH:    I am going to object one more time.       We

7      can stipulate right here and now that Mr. Kreindler talks to

8      the press.    That's not related to whether there would be any

9      motive or opportunity or anything of the kind to violate a

10     court order.

11               So if we can just cut through a lot of this, we can

12     stipulate Mr. Kreindler talks to the press about the case.

13     It's a matter of great public importance.       He is the face of

14     the case.    That happens.   That has nothing to do with why

15     somebody would or would not violate the court order.         It's not

16     relevant.

17               MR. HANSEN:    It has everything to do with the case.

18     As I believe we will demonstrate, Mr. Kreindler's press

19     strategy is exactly the reason why we have protective order

20     violations, and I expect to be able to demonstrate that.         It's

21     cross-examination, your Honor.

22               THE COURT:    The objection is overruled.     I think that

23     this goes to motive as well as modus operandi.

24               MR. HANSEN:    I am not sure there was an answer to my

25     last question.    Can the reporter let me know if there was an
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       LB189112                   Kreindler - Cross

1      answer and read it back, please.

2                 (Record read)

3      A.   I would say to put pressure on the defendant Saudi Arabia,

4      yes.   The form of a resolution may or may not be what we

5      traditionally think of as a settlement.

6      Q.   Mr. Kreindler, I am not going to go into this in detail.

7                 Mr. Kreindler, you speak on the record for attribution

8      to reporters, correct?

9      A.   Yes, I do.

10     Q.   You also speak to reporters about this case off the record,

11     correct?

12     A.   I don't think so.     I don't recall a time when I have ever

13     said to a reporter, I am speaking to you off the record.

14     Whether I am quoted by that reporter is up to the reporter.

15     Q.   So, you're telling us here today under oath that you never,

16     in the past 20 years, have spoken to any reporter off the

17     record about the 9/11 case?

18     A.   I don't recall ever doing so, and that's not the way I

19     would deal with the press.      I tend to say things that are

20     public, and I'm glad to have them public.

21     Q.   Mr. Kreindler, obviously, you make these statements about

22     the 9/11 case to the press because you think they are helpful

23     to the case or you wouldn't make them, correct?

24     A.   Of course.

25     Q.   Now, let's talk about the lines you know you're not
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       LB189112                   Kreindler - Cross

1      supposed to cross in litigating your case in the press.

2                  You are bound by two separate court orders not to

3      reveal or disclose the contents of protected material, correct?

4      A.   That's correct.

5      Q.   The first is the MDL protective order issued by Judge Casey

6      in 2006?

7      A.   Yes.

8      Q.   I would like to put up Exhibit 2 on the screen so we can

9      get oriented.

10                 It's in your binder at Exhibit 2, Mr. Kreindler.

11     A.   Is it the same thing that's on the screen?

12     Q.   Yes.

13     A.   I will look at it right there.

14     Q.   You are familiar with that order?

15     A.   I am, yes.

16     Q.   You read it?

17     A.   I certainly read it when I signed it many, many years ago.

18     Q.   Under this order, you cannot disclose or talk to the press

19     about anything that's been designated confidential, correct?

20     A.   Correct.

21     Q.   Let's go to the second protective order in the case.

22                 There was a second protective order entered by the

23     Honorable Sarah Netburn in 2018 relating to the FBI production

24     of materials, correct?

25     A.   Yes.
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       LB189112                   Kreindler - Cross

1      Q.   I will put that up on the screen as Exhibit 15.

2                  You're familiar with that order, correct?

3      A.   Yes.

4      Q.   That was an order requested by our United States Federal

5      Bureau of Investigation to cover information that the FBI has

6      decided cannot be disclosed because disclosure would harm the

7      U.S. public interest, correct?

8      A.   I think it was requested by the Department of Justice, not

9      the FBI directly.

10     Q.   Thank you for that clarification.

11                 The Department of Justice has made that representation

12     to the court, correct?

13     A.   Yes.

14     Q.   And this order means that you cannot disclose or talk to

15     the press about anything that's been designated confidential

16     under the terms of this protective order, correct?

17     A.   Yes.

18     Q.   And just to be clear, and I know we had a little bit of

19     confusion about this earlier, all 600-plus pages of the

20     al-Jarrah deposition transcript was confidential both under the

21     MDL protective order and the FBI protective order, correct?

22     A.   I don't recall the number of pages in the deposition, and I

23     don't recall if there was any small portion that wasn't

24     confidential, but certainly all of the substance was marked

25     that way.
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       LB189112                   Kreindler - Cross

1                  MR. HANSEN:   I am having a hard time hearing.     Can we

2      read back the answer.

3                  (Record read)

4      Q.   Mr. Kreindler, I am a little curious.      This is a very

5      serious matter, the proceeding we are on here today, and you

6      are telling us you don't know sitting here today whether the

7      al-Jarrah deposition transcript was confidential under both

8      orders?

9      A.   I said I knew all of the substance was confidential, but I

10     didn't remember at the time whether there was something

11     innocuous that wasn't confidential.

12     Q.   If it was designated confidential, who decides whether it's

13     innocuous so that it wouldn't be covered by the order?

14     A.   There is a misunderstanding.     I knew that the deposition

15     was certainly by and large confidential.       There might have been

16     a page or two that wasn't confidential.       That's all I'm saying.

17     I knew -- the deposition was confidential.        Whether there was

18     some innocuous page or two of background that wasn't, I didn't

19     recall.     But I checked on that.

20     Q.   Did you check?

21     A.   Yes.

22     Q.   So you know it's all confidential, right?

23     A.   Yes.

24     Q.   So part of your press strategy, Mr. Kreindler, is to tell

25     reporters that these two court orders that you told us a few
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       LB189112                   Kreindler - Cross

1      minutes ago were entitled respect, are -- and I am quoting your

2      words here -- "gag orders," in quotes, and "disgusting," in

3      quotes, isn't that right?

4      A.   Yes.

5      Q.   It's part of your stump speech, isn't it?

6      A.   I would not call it a stump speech.      I would call it my

7      heartfelt belief.

8      Q.   Let's get some of the statements.      Then I am going to ask

9      you what you think your team learns from your statements.

10                 You have called the courts' orders "these disgusting

11     protective orders imposed upon us by the Department of Justice

12     with the blessing of the court," correct?

13     A.   Yes.

14     Q.   You have talked about this "hated protective order" and

15     "these protective orders that we hate," correct?

16     A.   I remember the first quote.     I don't remember that quote,

17     but I would agree with that.

18     Q.   You have said "you are angered and disgusted with the

19     protective orders that the FBI and Saudi Arabia have insisted

20     on," correct?

21     A.   Yes.

22     Q.   And just recently, in a podcast of Mr. Isikoff, you called

23     the protective orders "a damn gag order imposed on us by the

24     Saudis, our Department of Justice, and the court," correct?

25     A.   Yes.
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 21 of 490 30
       LB189112                   Kreindler - Cross

1      Q.   Would it be fair to say, Mr. Kreindler, that every member

2      of your team is aware of the contempt you have for these court

3      orders?

4                MS. KIRSCH:    I am going to object, your Honor, to

5      that, and ask Mr. Hansen to rephrase the question.         Obviously,

6      contempt has a legal implication.      It's an improper question.

7                THE COURT:    You may rephrase the question.

8                MR. HANSEN:    Sure.

9      Q.   Mr. Kreindler, would it be fair to say your statements

10     reflect contempt for the courts' orders?

11               MS. KIRSCH:    Same objection.

12               THE COURT:    Counsel, can you ask the question without

13     using the word "contempt."

14               MR. HANSEN:    Sure.

15     Q.   Mr. Kreindler, would you agree with me that these orders

16     communicate to your team and everybody else that you lack

17     respect for these court orders?

18     A.   It's not a -- I would not say I lack respect.        I would say

19     that every lawyer representing the victims dislikes the fact

20     that we are under these orders and looks forward to these

21     orders being lifted, or largely lifted.       But I would not use

22     the word lack of respect.     It is the court orders that we have

23     to live with until they are changed.

24     Q.   What kind of message do you think is sent to your team to

25     have the leader of the team call two court orders disgusting
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1      gag orders?

2      A.   The message is very clear.     We all hate the orders, but we

3      have to live with them until they are lifted soon, and

4      hopefully soon is very soon.

5      Q.   Let's talk about that.

6                In truth, Mr. Kreindler, you use these court orders as

7      a tactical weapon in your press strategy, don't you?

8      A.   I would not say I use it as a tactical weapon.        I am

9      offering my view of the orders that we wish we didn't have.

10     Q.   Let me make my question a little clearer.

11               Your modus operandi, if you will, is to hint to the

12     press that there is this great evidence that you have but can't

13     fully reveal, correct?

14     A.   Not hint.    I say it outright.   There is important evidence

15     of Saudi government involvement with al Qaeda that I am not

16     permitted to share with our clients, the family members, the

17     press or the public.

18     Q.   And you hint at what that evidence is and no one can

19     correct you because the evidence is all sealed, correct?

20     A.   Incorrect.   I don't hint at it at all.      I am always clear

21     in saying there is, I believe, very important, very dramatic

22     evidence of what Saudi government officials did, but until

23     these orders are lifted, I can't tell the families what that

24     is, the press or the public.

25     Q.   Let's see what you have actually told the press and the
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1      public and whether you have done what you have said.

2                  Going back a minute, you say you want to have these

3      orders lifted, correct?

4      A.   Correct.

5      Q.   The MDL order has been in place since 2006, correct?

6      A.   That's right.

7      Q.   The FBI protective order has been in place since 2018,

8      correct?

9      A.   Yes.

10     Q.   And you have made numerous statements saying you were going

11     to get these orders lifted so you can get all this evidence to

12     the world, correct?

13     A.   Yes.    Exactly what Joe Biden did a month ago.

14     Q.   In fact, Mr. Kreindler, let me be very clear about this,

15     you have never, not once, filed one single motion with this

16     court to lift either the MDL order or the FBI order, isn't that

17     true?

18     A.   Yes, that's absolutely true.

19     Q.   Isn't it true, Mr. Kreindler, that you sought the entry of

20     the FBI protective order?

21     A.   We sought the entry of it?

22     Q.   Let's put up Exhibit 14.     Didn't your firm tell the court

23     that you supported the entry of the FBI protective order?

24                 Take as long as you want to look at it.

25     A.   I only see the caption here.
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1      Q.   If you want to look at the whole document, it's Exhibit 14.

2                We can go to the last page which cuts to the chase.

3                "For all of the foregoing reasons, the PECs

4      respectfully submit that the Court should overrule Dallah

5      Avco's objection to the proposed protective order, and promptly

6      enter the protective order in the form submitted jointly by the

7      United States and PECs, so that the FBI production can proceed

8      without delay."

9                Here is my question.

10               Are you aware, Mr. Kreindler, that your partner

11     Mr. Maloney signed this letter to the court requesting that the

12     court enter this hated, disgusting protective order?

13               MS. KIRSCH:    Your Honor, I have an objection here.

14     This goes to the legal strategy of how this case is being

15     litigated, not even only by Mr. Hansen but by other partners at

16     his firm, and also the other PECs.       The steps that are taken,

17     the motions that are taken, all of that is the subject of work

18     order and strategy, and delving into why decisions were made is

19     entirely improper in this hearing.

20               THE COURT:    Your objection is overruled.

21     A.   Can I answer the question?

22               THE COURT:    Yes, please.

23     A.   The operative phrase is "so that the FBI production can --"

24     Q.   Can you please answer my question?      You can explain when

25     your counsel examines you.
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1                  Didn't you ask the court to enter this protective

2      order, yes or no?

3                  MS. KIRSCH:    I am going to make the same objection

4      here, your Honor.

5                  THE COURT:    Your objection remains overruled.

6      Q.   Yes or no, Mr. Kreindler?

7      A.   Yes.    That's exactly what the document says.

8      Q.   OK, Mr. Kreindler.

9                  You'd rather make inflammatory and misleading

10     statements to the press about protected information, when your

11     statements can't be proved false, isn't that right?

12     A.   Absolutely wrong.      I have never made incorrect or

13     inflammatory statements.       I have done my best to say truthfully

14     what I am permitted to say, my honest opinion, and not reveal

15     anything I am not permitted to reveal until such time as I am

16     permitted to reveal it.

17     Q.   We know, do we not, Mr. Kreindler, that you violated the

18     protective order in 2017 doing exactly the opposite, right?

19     A.   That I personally did?      I personally did not.    There was a

20     violation found two and a half years ago by the court.

21     Q.   You didn't read the court's October 21 order that says, in

22     these very words, James Kreindler violated the protective order

23     in 2017?     You didn't bother to read the court's order?

24     A.   Which order?

25     Q.   A recent order in this case, October 21, just a few days
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1      ago, in a court order issued by this court, the court said,

2      James Kreindler violated the protective order.

3                MS. KIRSCH:    Your Honor, the record stands on its own.

4      I don't think this is an appropriate line of questioning.          The

5      2017 transcript says what it says.       Your Honor's October 21st

6      order says what it says.

7                THE COURT:    I agree.   Let's move on.

8      Q.   The court warned you, Mr. Kreindler, in 2017 that it was

9      really -- I am quoting here -- "really unfair to the parties,

10     who will be turning over a lot of confidential and personal

11     information, to have those documents portrayed in the light

12     that has a particular viewpoint."

13               That's the transcript of the 2017 hearing at page 9.

14     Were you in court and heard that warning?

15               MS. KIRSCH:    Your Honor, again, first of all, it says

16     what it says, and it's a transcript of this court's proceeding.

17     It's not appropriate and that objection was just sustained.

18               Second of all, if Mr. Hansen would like to read

19     something into the record, we would respectfully request that

20     he point us to the document and show it to Mr. Kreindler.

21               THE COURT:    I am going to allow Mr. Hansen to ask some

22     questions related to prior instances where the court has found

23     that there have been breaches of the protective order.         I don't

24     want this entire hearing to be about the events of the past.

25               To the extent, Mr. Hansen, you have a copy of the
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1      transcript.

2                  MR. HANSEN:    I do.   It's Exhibit 10.   We will put it

3      up on the screen.

4      BY MR. HANSEN:

5      Q.   Do you recall being present and hearing that warning from

6      the court, Mr. Kreindler?

7      A.   Yes.

8      Q.   That's what you were doing in 2017 when you and Mr.

9      Fawcett, in a tag-team fashion, violated the court's protective

10     order?

11     A.   No, that's incorrect.

12     Q.   Let's see what happened in 2017 and whether it bears a

13     remarkable similarity to what happened this past summer.

14                 In early 2017, you gave an interview to a journalist

15     named Caleb Hannan of Politico Magazine, correct?

16                 MS. KIRSCH:    I object again, your Honor.    That was in

17     2017.    The scope of this hearing is whether there was any

18     involvement in this breach, that Mr. Fawcett leaked the

19     transcript in connection with a July 15th article.         What

20     happened in 2017 was obviously fully litigated.         We obviously

21     have a decision as to what happened, and quite frankly, I think

22     this is an improper line.

23                 THE COURT:    I am going to allow this line of

24     questioning.     I do think it lays a reasonable foundation for

25     the issues that are presented here.
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1                  I will ask, Mr. Hansen, to move with some alacrity.

2                  MR. HANSEN:   I am trying, your Honor, but I believe

3      these long talking objections are going to take a lot of our

4      time up.     I will try and move quickly to make the point.

5      BY MR. HANSEN:

6      Q.   Mr. Hannan in 2017, in his article, described in detail the

7      confidential document that had been produced by a party in this

8      litigation subject to confidentiality protection, correct?

9      A.   No, incorrect.

10     Q.   Let's take a look at it.     In the article, at Exhibit 11,

11     the top of page 8 -- by the way, this is an article you

12     reported in repeatedly?

13     A.   Yes.

14     Q.   Mr. Hannan describes -- first he talks about how you looked

15     at thousands and thousands of pages of these confidential

16     documents from the Bayoumi organization.       And he writes,

17     "There, at the top of the single page, it found a note from

18     Khaleid Sowailem written on official letterhead from the

19     ministry.     On that note was Sowailem's phone number at the

20     Saudi Embassy in Washington, D.C."

21                 Do you see that?

22     A.   Yes.

23     Q.   You provided that information to Mr. Hannan, didn't you?

24     A.   I did not, no.

25     Q.   You did it by directing John Fawcett to provide that
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1      information to Mr. Hannan, didn't you?

2      A.   No.

3      Q.   The only people from Kreindler & Kreindler who talked to

4      Caleb Hannan were you and John Fawcett, correct?

5      A.   That's correct.

6      Q.   So, if he got that information, he had to have gotten it

7      either from you or John Fawcett, correct?

8      A.   Yes.

9      Q.   Now, after the court found a violation of the protective

10     order in 2017, you didn't fire John Fawcett, did you?

11     A.   Correct.

12     Q.   You didn't discipline him in any way, correct?

13     A.   I spoke to him about what happened.

14     Q.   Did you discipline him in any way?

15     A.   Discipline him?    I really don't know what you mean.      We did

16     not fire him, and I certainly didn't spank him.        We talked

17     about it and how to make sure that that sort of thing doesn't

18     happen again.

19     Q.   You consider that discipline?

20     A.   It's your word.    That's not a word I would pick.

21     Q.   You didn't cut off Mr. Fawcett's employee log-in access to

22     every single confidential document in the 9/11 case, which he

23     had at that point, correct?

24     A.   Correct.

25     Q.   By the way, up until September 27th of this year, John
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1      Fawcett had employee log-in privileges that gave him full and

2      unfettered access to every single 9/11 case document, correct?

3      A.   Yes.    He is at the heart of the documents.

4      Q.   In fact, not only that, he continued up until September of

5      this year to be the Kreindler & Kreindler professional

6      responsible for managing the entire document collection of

7      confidential documents at Kreindler & Kreindler, correct?

8                  MS. KIRSCH:    I am going to object.   It's a leading

9      question, obviously, but this is attorney work product.         I

10     don't think this is a proper line of questioning either.           It

11     has nothing to do with what happened, that we know what

12     happened with Mr. Fawcett, and how Kreindler & Kreindler

13     manages its internal work is not relevant here.

14                 THE COURT:    I don't think the responsibilities of Mr.

15     Fawcett fall within the parameters of work product.         And,

16     certainly, the role that Mr. Fawcett played at the firm, his

17     responsibilities, his access to information, is at the core of

18     this hearing.     So I am going to allow this line of questioning.

19                 MS. KIRSCH:    Just to be clear, we stipulate that he

20     had access to all of the confidential information.         That's not

21     a matter that's in dispute.

22                 THE COURT:    Thank you.

23     BY MR. HANSEN:

24     Q.   I am sorry.   Did you have a chance to answer the question,

25     Mr. Kreindler?
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1      A.   I think your question was, did John have access to all the

2      information?

3      Q.   I am sorry.   Before the objection I had a different

4      question.     You agreed he had access to all information.

5                  My next question was, up until and possibly beyond

6      September 27, 2021, John Fawcett was the Kreindler & Kreindler

7      professional responsible for managing the entire 9/11 case

8      document collection, wasn't he?

9      A.   Yes.

10     Q.   Even while you were doing an investigation of him for

11     potentially leaking the transcript, right?

12     A.   No, that's not right, not on September 17.

13     Q.   We will get into the investigation in a minute.

14                 So you never investigated John Fawcett at any time

15     between July 15 and September 27, more than two months later?

16     A.   Investigate him?    No, I did not investigate him.      I spoke

17     to him.

18     Q.   OK.    We will get to that in a minute.

19                 After the 2017 protective order violation, you didn't

20     even direct Mr. Fawcett to stop talking to the press, did you?

21     A.   No.

22     Q.   And he did talk to the press as part of his Kreindler &

23     Kreindler duties, correct?

24     A.   Yes.

25     Q.   And he billed for his time doing that, correct?
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       LB189112                   Kreindler - Cross

1      A.   I don't know.   That I don't know.

2      Q.   Well, he put in billing records, like your associates do,

3      for the time he spent working on the case, and got paid for it,

4      correct?

5      A.   I think so, yeah.

6      Q.   Do you think he also included all his press duties as part

7      of his billable time?

8                  MS. KIRSCH:   Objection.   Calls for speculation.    He

9      just said he didn't look at the time records.

10     A.   I don't know.

11                 THE COURT:    Sustained.

12     Q.   In fact, you knew that he was, among other things,

13     entertaining reporters at the Kreindler & Kreindler offices,

14     correct?

15     A.   He was not entertaining reporters.      He would speak to

16     reporters on occasion when I asked him to.

17     Q.   And he did that at the Kreindler offices?

18     A.   Yes.

19     Q.   And he provided reporters with documents, correct?

20     A.   Over 20 years, he made sure that if he provided a document

21     to a reporter, it was not under either of the orders we have

22     been talking about.       In other words, if a reporter wanted

23     information, he would go through material and provide only that

24     which he is permitted to provide.

25     Q.   Well, we know that's not true because, according to you, he
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1      provided a sealed transcript to reporters.        Would you like to

2      retract your prior answer?

3      A.   I thought you were talking about up until this past

4      September.

5      Q.   Let me clarify.

6                You have agreed that he does, as part of this

7      Kreindler & Kreindler duties, talk to reporters and provide

8      documents to reporters?     And exactly what the documents are we

9      will get into in a minute.      Correct?

10     A.   Not correct fully.    He provides material when I or one of

11     my partners would ask him to provide material that is public.

12     Q.   So, for example, in June of this year, he invited NPR

13     reporter Laura Sullivan to come to the Kreindler offices so he

14     could brief her in advance of you giving quotes to the reporter

15     for a story, correct?

16     A.   No, you have the chronology wrong.

17               MR. HANSEN:    I am going to put up Exhibit 12, your

18     Honor, which I believe has been produced in this matter.

19     Q.   Do you know who Laura Sullivan is?

20     A.   I do, yes.

21     Q.   Who is she?

22     A.   Laura Sullivan is an NPR reporter who I first met in

23     Washington, D.C. and gave her a pretty lengthy interview.

24     Q.   Were you aware that in June of this year, Mr. Fawcett was

25     inviting Ms. Sullivan to come to the Kreindler offices so that
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1      he could have discussions with her?

2                  MS. KIRSCH:   Your Honor, could I have a moment to read

3      the document, please?      I didn't get this previously.

4                  THE COURT:    Sure.   Let me know when you're ready.

5      A.   May I answer now?

6      Q.   Yes.

7      A.   John did not invite her.       I told her that, as a follow-up

8      to my talk with her, she should contact John to see the

9      documents that we are permitted to show her and members of the

10     press.    And then you have this e-mail about the time she would

11     be at the office.    But John is not doing this of his own

12     volition, his own initiative.

13     Q.   This is in June of 2021.       Are you aware that Mr. Fawcett

14     was doing this, as indicated in this chat, in June of this

15     year?

16     A.   Yeah.    I put the two of them in contact so she could follow

17     up and see public documents after the interview I did with her.

18     Q.   Mr. Fawcett did it again in September of this year, less

19     than two months ago, after the leak of the confidential

20     transcript, correct?

21                 I am directing you still to Exhibit 12.

22                 MS. KIRSCH:   I don't know what is meant by "did it

23     again."

24                 MR. HANSEN:   I will rephrase the question.

25     Q.   Were you aware -- and directing your attention to Exhibit
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1      12 -- that Mr. Fawcett had further discussions with

2      Ms. Sullivan about the 9/11 case?      And I am directing you to

3      the September entries on page 4.

4      A.   Is that what I have in front of me now?

5      Q.   We will put it up on the screen.

6      A.   OK.    I was aware that Laura Sullivan was coming back to see

7      more documents that we were permitted to show, yes.

8      Q.   So he was doing this at your direction?

9      A.   Yeah.

10     Q.   If you look down toward the bottom of the page, there is a

11     reference to, "Megan says no problem for those two documents"?

12     A.   Yes.

13     Q.   So, would it be fair to say that Mr. Fawcett followed the

14     practice of checking with a Kreindler & Kreindler partner

15     before he released documents to a reporter?

16     A.   He certainly did here.     Over 20 years, I can't say that

17     that was the procedure for every time John would show public

18     documents to a reporter, but he certainly did here.         And what I

19     am trying to get at is, particularly after the 2017 violation

20     that the court found, we always went to great pains to make

21     doubly sure that every document we are showing one of the

22     family members or a reporter was the public version and not the

23     prohibited version.     So that's what happened here.

24     Q.   Just to be clear, you just made a reference to the 2017

25     violation.     You were aware, were you not, that the court gave
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1      you a warning in 2017 and said -- we will put it up, Exhibit

2      10, page 9.     The court wrote, after not imposing a sanction,

3      the court wrote, "Going forward, Mr. Kreindler, to the extent

4      you are going to be continuing to speak to the press, or any

5      other lawyer in this case, I expect the parties to hew much

6      more closely to the confidentiality order and to be exceedingly

7      discreet in the information they reveal."

8                  You were present in court and heard that warning,

9      didn't you?

10     A.   Yes.

11     Q.   But you kept right on talking to the press about the case

12     after that, didn't you?

13     A.   Of course.

14     Q.   When you did speak, you were not discreet at all, were you?

15     A.   I disagree with that.

16     Q.   Let's look at some of the speeches you made in public after

17     you got that warning.

18                 Were you exceedingly discreet in your public

19     statements at Dartmouth College in 2019?

20                 MS. KIRSCH:   Your Honor, I object to this line of

21     questioning.     We know that Mr. Kreindler speaks to the press.

22     We have stipulated to that.      If there was something that was

23     leaked, it has been brought to this Court, it has been

24     discussed.     If there was something inappropriate, it has been

25     brought to the Court's attention.      It's not relevant to this
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1      breach.   And this is not an opportunity to relitigate matters

2      that have been annoying to the Kingdom in the past.

3                THE COURT:    I would object then to the concept of it

4      being annoying to the Kingdom.       It's a violation of the court

5      orders.   It is a violation of the court orders when these

6      protective orders are breached.       It's not the Kingdom that is

7      annoyed; it's the court whose orders are being violated.         So,

8      first, I would not consider this to be something about what is

9      annoying the Kingdom.

10               With respect to the historical facts, I have limited

11     discovery on these issues.      I do think that we are making a

12     foundation here.    I am going to allow Mr. Hansen to continue

13     this line of questioning, as I have already indicated.         I am

14     watching the time.     I am hoping that we are going to get to the

15     heart of the matter shortly, but I do think this line of

16     questioning is appropriate and lays a reasonable foundation for

17     the heart of the issues.

18               MS. KIRSCH:    Your Honor, just to clarify, I agree a

19     hundred percent that violation of the court order is a very

20     serious matter.    I was referring to Mr. Kreindler's Dartmouth

21     speech, which was not a violation of the court order, and

22     that's why I said what I said.       I was not trying to minimize

23     that we are here on this breach of this court order, and it is

24     a very serious matter.

25               THE COURT:    Thank you.
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1      BY MR. HANSEN:

2      Q.   Mr. Kreindler, my question before your counsel's objection

3      was about whether you believed you were exceedingly discreet in

4      your public statements at Dartmouth College.        Do you believe

5      you were?

6      A.   I believe I was exceedingly appropriate.

7      Q.   No, no.   The question was exceedingly discreet.       Will you

8      answer my question?     It's a yes or no question.

9      A.   If we understand discreet the same way, yes.

10     Q.   Let's play some of your statements to Dartmouth College on

11     the screen, and we will talk about whether you have violated

12     the protective order there and whether these were discreet

13     comments.

14               (Audio played)

15               MS. KIRSCH:    Your Honor, I have another objection.       No

16     exhibits were provided to us prior to this hearing.         It is

17     entirely inappropriate to launch into a multimedia presentation

18     when I have no idea what is about to go up on the screen,

19     number one.

20               Number two, I renew my objection that anything that

21     happened in the Dartmouth speech has already been litigated in

22     this court and the findings are what they are, and this is not

23     an opportunity to go over old ground.       That's already been

24     done.   It's not relevant to this hearing.

25               THE COURT:    To facilitate the proceeding, I note your
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1      objection to matters of conduct that happened before the breach

2      this summer.     I am overruling those objections for the reasons

3      that I have stated, but I will accept your general objection to

4      this line of questioning.

5                  I don't know if we have other video that we are going

6      to play, if you can give counsel a heads-up.        Obviously, this

7      is Mr. Kreindler's speech, and this issue I think is reasonably

8      within the bounds of the subject matter.

9                  Mr. Hansen, I don't know how much longer until you

10     want to start talking about the breach this summer.         It's now

11     11:30.     I am hoping we can move to that in the next five to ten

12     minutes.

13                 MR. HANSEN:   Just a couple of questions about this,

14     and then I will move exactly to that.

15                 THE COURT:    Thank you.

16                 MR. HANSEN:   I think it's important, your Honor, and I

17     do want to just get Mr. Kreindler's testimony on this important

18     point.

19     BY MR. HANSEN:

20     Q.   What we just played, Mr. Kreindler, was you purporting to

21     summarize the contents of a document that had been provided by

22     the FBI under confidentiality, correct?

23     A.   Wrong.    Absolutely wrong.

24     Q.   That's what our FBI told the court, didn't they?

25     A.   No.    You are wrong.
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       LB189112                   Kreindler - Cross

1      Q.   Our government came to this court and said, in a filing,

2      that you were improperly and misleadingly describing the

3      contents of the confidential FBI document, isn't that true?

4      A.   It is not true because what I was talking about is the

5      public 2012 review.

6      Q.   Wait.   I am asking you a question about what the FBI

7      represented to this court, not what you think it is.

8                MS. KIRSCH:    And if that was the question, your Honor,

9      I have an objection.     Mr. Hansen is an experienced trial

10     lawyer.   I am sure he knows very well how to present the

11     document to the witness and ask the witness to take a look and

12     then identify it, whether he recognizes it, and then we can

13     talk about what the FBI did or didn't say.

14               MR. HANSEN:    We will take the time.

15               I just asked the question, did Mr. Kreindler know one

16     way or the other whether the FBI, or the Department of Justice

17     on behalf of the FBI, came to this court and said that you,

18     James Kreindler, in your Dartmouth College speech, had

19     misleadingly and improperly purported to describe the contents

20     of a protected document?     Do you know?

21               MS. KIRSCH:    We can look at the document, your Honor.

22               THE COURT:    Mr. Kreindler, do you recall that

23     submission?

24               THE WITNESS:    No, I don't.

25               THE COURT:    Let's move on.
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       LB189112                   Kreindler - Cross

1      BY MR. HANSEN:

2      Q.    We can all agree that whatever you did at Dartmouth you did

3      after you got the first warning from the court, correct?

4      A.    Yes, absolutely.

5      Q.    Let's get to the heart of the matter, as the court informed

6      us.

7                 Three months ago you went on Michael Isikoff's podcast

8      to talk about the sealed al-Jarrah deposition, correct?

9      A.    That was not the only topic, no.

10     Q.    It was one of the topics, wasn't it?

11     A.    It's a topic I said I wish I could talk about, but I can't.

12     Q.    Let's see in a minute whether you talked about it.

13                Certainly you know Mr. Isikoff, don't you?

14     A.    I know who he is, and I have spoken to him over the years.

15     Q.    For how long have you known him?

16     A.    A long time.   I can't -- for 20 years, there is maybe a

17     dozen reporters who have followed the 9/11 Saudi involvement

18     story, and he is one of them.      But I can't remember the first

19     time I ever spoke to him.

20     Q.    How often do you speak to Mr. Isikoff?

21     A.    It isn't on a regular basis.    There tends to be a lot more

22     media interest as we approach the anniversaries, or something

23     happens, like Joe Biden's Executive Order.        So I might talk to

24     him frequently at one point in time and then not again for

25     years.
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       LB189112                   Kreindler - Cross

1      Q.   In the sworn declaration you filed with the court in

2      September, you said you recalled two telephone conversations

3      within the relevant period, correct?

4      A.   Yes, I do.

5      Q.   In fact, now that we have the record, we see there are

6      actually three conversations, correct?

7      A.   I just remember two.

8      Q.   Submitting sworn testimony to the court is a pretty serious

9      matter, isn't it?

10     A.   Of course.

11     Q.   Did you check your cell phone, office phone, or other phone

12     records to see how many calls you had with Mr. Isikoff?

13     A.   I have no such phone records.     I remember two phone calls

14     with Mike Isikoff.

15     Q.   Wait a second.   You say there are no phone records you can

16     check to see your calls with Mr. Isikoff?

17     A.   There might be, but I would not know how to check phone

18     records.   I wasn't in the office at all because of COVID.         On

19     my cell phone I can scroll through texts, but I don't know how

20     to look at my cell phone and find all calls.

21     Q.   Whether you can do it or not, you have a very capable

22     staff.   My question is, Mr. Kreindler, is, before submitting

23     sworn testimony to the court about a subject that's objectively

24     determinable, such as how many phone calls you had with the key

25     reporter in this matter, are you telling us you didn't even
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       LB189112                   Kreindler - Cross

1      bother to check or have someone check for you what the record

2      showed about your calls?

3      A.   What I am telling you is I distinctly remember two phone

4      calls with Mike Isikoff.

5      Q.   I know you said that.    Did you check the records or have

6      someone check the records?

7      A.   There are two different questions.

8      Q.   My question is, did you check the records or have someone

9      check the records?      That's the question.

10     A.   Someone may have checked the records.      I did not check the

11     records.

12     Q.   If someone had checked the records, you couldn't have put

13     in a truthful statement that there were only two, could you?

14     A.   As far as I know, there were only two phone calls.        You're

15     alluding to a third phone call that I'm not aware of or don't

16     remember.

17     Q.   OK.

18                THE COURT:   Mr. Kreindler, could I ask, when you

19     submitted in your declaration, I recall having two phone calls

20     with Mr. Isikoff, did you submit this declaration and did you

21     prepare this declaration based solely on your recollection or

22     did you look at any documents to refresh your recollection?

23                THE WITNESS:   Solely on my recollection.      That's why I

24     said I recall two phone calls with Mike Isikoff, I am pretty

25     sure on a Monday and a Wednesday.
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       LB189112                   Kreindler - Cross

1                 THE COURT:    Thank you.

2                 MR. HANSEN:    In the interest of time, I will ask

3      counsel for Kreindler & Kreindler to stipulate there were

4      actually three calls, according to the records they produced.

5      But if we don't have the stipulation, I will show Mr. Kreindler

6      the records.

7                 MS. KIRSCH:    If you direct me to the document, I will

8      take a look.

9                 MR. HANSEN:    Sure.   Exhibit 122.

10                MS. KIRSCH:    This would have been much easier to do in

11     advance of the hearing, which is why we asked to see the

12     documents.

13                MR. HANSEN:    There are three entries.    It shouldn't

14     take that long to look.

15                Maybe it will go quicker if I put the exhibit up.        Why

16     don't we put up Exhibit 142, please.

17     BY MR. HANSEN:

18     Q.   Mr. Isikoff's phone number is 258-2535, area code 202,

19     correct?

20     A.   I don't remember, but if you say so, sure.

21     Q.   And you have a phone number 914 and starting with a 589

22     prefix?

23                MS. KIRSCH:    I am sorry.   Did we continue?    I was

24     still looking at the phone records.

25                THE COURT:    He was pulling them up for you.     Would you
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 45 of 490 54
       LB189112                   Kreindler - Cross

1      like to wait?    Have you seen these?

2                MS. KIRSCH:    We were trying to look through.

3                I am going to renew my standing objection that to put

4      this binder in front of me while the hearing has just begun is

5      a very inappropriate way to proceed, and if it takes me time to

6      look at the documents, it takes me time to look at the

7      documents.

8                MR. HANSEN:    With all respect, your Honor --

9                MS. KIRSCH:    I request that counsel not proceed with

10     questioning when he sees that I am looking at a document.

11               MR. HANSEN:    Your Honor, never --

12               THE COURT:    It's impossible for the court reporter to

13     do her job when everybody is speaking.

14               So, Ms. Kirsch, take your moment, look at the exhibit.

15               Mr. Hansen, please sit tight, and as soon as Ms.

16     Kirsch tells you that she is ready, you can proceed.

17               MS. KIRSCH:    Document 142 reflects three phone calls

18     incoming from Mr. Isikoff's phone number to Mr. Kreindler in

19     June, correct.    If they want to talk about the time or the

20     date, you will still have to show Mr. Kreindler the document

21     himself so that he can see it.

22               THE COURT:    Thank you.

23               MR. HANSEN:    Could we have a stipulation there were

24     three calls?

25               THE COURT:    Yes.   She agrees there are three calls.
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       LB189112                   Kreindler - Cross

1      BY MR. HANSEN:

2      Q.   So, Mr. Kreindler, you also had text messages with

3      Mr. Isikoff, correct?

4      A.   A couple, yes.

5      Q.   Did you check those before submitting your sworn testimony?

6      A.   Yes.

7      Q.   So why didn't you tell us about those?

8      A.   I thought you were asking me about phone calls.

9      Q.   Well, I am sorry if I was unclear.      Your declaration talks

10     about recalling two phone calls.      In fact, we now know there

11     are three.     Your declaration doesn't say anything about text

12     messages.     Were there text messages in addition to phone calls

13     that you did not put in your sworn declaration?

14     A.   My declaration was about my talking to Mike Isikoff.        I

15     later found some, practically nothing text messages, which I

16     guess you have.

17     Q.   That's just not my question, Mr. Kreindler.       I will try one

18     more time.

19     A.   Sure.

20     Q.   When filing a sworn declaration with your court about your

21     contacts with Mr. Isikoff on September 27, were you aware that

22     in addition to phone calls, you also had text messages with

23     him?

24     A.   Sorry.    You know, I don't remember when we found the text

25     messages.     We had a procedure where we had to turn over all of
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       LB189112                   Kreindler - Cross

1      our phones, but I don't remember whether -- I think that was

2      after the declaration.

3      Q.   Did you do a search of your text messages before September

4      27 so you could provide truthful testimony to the court?

5      A.   First of all, my testimony is truthful.       I stated what I

6      recall, and I recalled those two phone calls with Mike Isikoff.

7      Q.   Not my question.     Please listen carefully.

8                 Before submitting your sworn declaration, which dealt

9      with the subject of communications with Mr. Isikoff, did you

10     conduct a search or have anyone working for you conduct a

11     search of your text messages, yes or no?

12     A.   I don't think I did.

13     Q.   So, in addition to telephone calls and text messages with

14     Mr. Isikoff, you also e-mailed Mr. Isikoff in July 2021,

15     correct?

16     A.   I don't remember.

17                MS. KIRSCH:    Your Honor, once again, would you like to

18     show Mr. Kreindler a document?      This is not a memory test.

19                THE COURT:    Is there a particular e-mail you would

20     like to ask Mr. Kreindler about or are you just asking whether

21     he recalls having e-mail communication during the relevant

22     period?

23                MR. HANSEN:    The latter, your honor.    I am just

24     establishing the fact that he knew.

25                THE COURT:    Do you have a recollection of having sent
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       LB189112                   Kreindler - Cross

1      e-mails to Mr. Isikoff during the relevant period?

2                THE WITNESS:    I don't recall, and I am happy to look

3      at it, and if there is one, I can say something about it.           As I

4      sit here now, I don't recall e-mails with Mike Isikoff.         I

5      recalled the phone conversations.

6      BY MR. HANSEN:

7      Q.   Mr. Kreindler, before submitting your sworn testimony about

8      your communications with Mr. Isikoff on September 27, did you,

9      yourself, or anybody working under your direction undertake a

10     search of your e-mails with Mr. Isikoff?

11               MS. KIRSCH:    I am going to object to that question as

12     well.   The declaration says what it says.      He hasn't

13     established that there is anything untruthful, and

14     characterizing the declaration and implying what Mr. Kreindler

15     should or should not have done is an improper question.         He can

16     give him the declaration.     He can ask if it's true.      Counsel is

17     testifying and making misleading questions.

18               THE COURT:    One of the subject matters before the

19     court is whether or not anybody submitted false statements to

20     the court, and the inquiry that Mr. Kreindler is responding to

21     in the September 27 declaration asks to identify all

22     communications, whether oral or written.       And Mr. Kreindler

23     prepared his declaration based, it sounds like, on his

24     recollection and reported two phone calls.        I think Mr. Hansen

25     is entitled to ask questions about whether there were any other
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       LB189112                   Kreindler - Cross

1      oral or written communications that he failed to include in

2      this declaration.

3                You can proceed.

4      BY MR. HANSEN:

5      Q.   Do you recall, Mr. Kreindler, that there were a number of

6      e-mails between you and Mr. Isikoff in July?

7      A.   Yes, there were some e-mails.     When we found out about the

8      leak, my partner Duke undertook --

9      Q.   We will get there, Mr. Kreindler.      I am just asking you a

10     simple question.

11               Were you aware before September 27 that there as many

12     as nine different e-mails between you and Mr. Isikoff?         That's

13     a yes or no question.

14               MS. KIRSCH:    Your Honor, can we please put Mr.

15     Kreindler's declaration in front of him so he can read it?

16               MR. HANSEN:    I am asking about the subjects.      I am not

17     even asking about the declaration right now.

18               THE COURT:    Let's move on to another area of

19     questioning.    I think we have established what we need to

20     establish.   To the extent you want to move to the e-mails,

21     let's move to the e-mails.

22               MR. HANSEN:    Thank you.

23     BY MR. HANSEN:

24     Q.   You would agree, Mr. Kreindler, that e-mails from the

25     Kreindler & Kreindler e-mail address are readily detectable and
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       LB189112                   Kreindler - Cross

1      investigable by members of your staff, correct?

2                MS. KIRSCH:    With all due respect, his declaration

3      does reference e-mails.     There is an impression being created

4      that his declaration does not reference e-mails.        He is

5      cleverly not presenting the declaration so we can all take a

6      look at it.    These questions are inappropriate.

7                THE COURT:    Mr. Kreindler, I will refresh your

8      recollection.    You said in your declaration, "I exchanged

9      several e-mails with Isikoff, all of which are attached to the

10     accompanying declaration of John Hartney."        That is what is in

11     the declaration.

12               Mr. Hansen, you can proceed.

13     BY MR. HANSEN:

14     Q.   So my question is, e-mails can be readily searched and

15     found on your system, correct?

16     A.   I think so, but I think you should ask John Hartney about

17     that.   The computer system is not my specialty.

18     Q.   Let's talk about the lead-up to the leak.

19               You were consulting with Mr. Fawcett at the very same

20     time you were working with Mr. Isikoff on his podcast episode

21     that aired on July 10, 2021, correct?

22     A.   I work with John Fawcett every day.      So, by definition,

23     sure.

24     Q.   Let's just look at the call record you had with him.

25               You spoke to Mr. Isikoff at 1:42, page 3.
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       LB189112                   Kreindler - Cross

1                THE COURT:    Can you give Ms. Kirsch an opportunity to

2      review?

3                MR. HANSEN:    Of course, your Honor.

4                Exhibit 142, page 3, a single entry.

5                MS. KIRSCH:    OK.

6      Q.   Mr. Kreindler, it looks like 6/28/21, that's July 28,

7      Mr. Isikoff's number.

8                THE COURT:    6/28 would be June.

9                MR. HANSEN:    Sorry.

10     Q.   Seven minutes.

11               Do you recall what you were speaking to Mr. Isikoff

12     about on June 28?

13     A.   Yeah.   That was a Monday, right?

14     Q.   I don't remember.

15     A.   As I said, I remember speaking to him on a Monday and a

16     Wednesday after the Jarrah deposition.       And the Monday

17     conversation was much longer, so I assume this is the Monday

18     conversation.    Yes.   And I remember it well.

19     Q.   What were you speaking with him about?

20     A.   So he called me up.    He, other reporters in the world knew

21     the schedule for the depositions of the Saudi government

22     officials who we were deposing.      He called me up and said, You

23     guys deposed Jarrah at the end of last week, didn't you?         I

24     said, Yeah, my partner, Megan Benett, took Jarrah's deposition.

25     Then he said, What can you tell me about it?        And I said, Mike,
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       LB189112                   Kreindler - Cross

1      I wish I could tell you everything about it, I would love to be

2      able to tell you everything about it, but I can't.         The only

3      thing I can say is, we were very, very happy, we were delighted

4      with how the deposition went and what it revealed.         And then he

5      was fishing for some more information, and I said, I'm sorry,

6      I'm sorry, I wish I could.      Let me get back to the team and see

7      if there is any part of the deposition that was not marked

8      confidential that we could share.

9                Then the second call I think was on the Wednesday.

10     Q.   We are on the first call.

11     A.   I'm just telling you the story.

12     Q.   So, after you spoke to Mr. Isikoff on the 28th, almost

13     right after, at 12:23 -- I am going to let your attorney look

14     at Exhibit 134, and the references I will be asking about are

15     at the bottom of page 1 and the top of page 2.

16     A.   Yeah.   That's 12:22 or 12:23.     One minute, yes.

17               MR. HANSEN:    Let me know when you're ready to proceed.

18               MS. KIRSCH:    Go ahead.

19     Q.   So we established the call with Isikoff was around 11:36 in

20     the morning.    It lasted seven minutes.     And here you are

21     speaking with Mr. Fawcett at 12:22 and 12:23.        And in those

22     calls, you are directing Mr. Fawcett to get 9/11 case materials

23     to Mr. Isikoff, aren't you?

24     A.   These are calls with John?      No, I don't think so.

25               First of all, that's not what I asked John.        I asked
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       LB189112                   Kreindler - Cross

1      John, is there any part of the Jarrah deposition not marked

2      confidential that we could share?      And he said, No, it's all

3      confidential.    That's why the whole call is a minute.

4      Q.   So you specifically directed Mr. Fawcett not to share any

5      information with the reporter?

6      A.   The topic -- I told you exactly what that one-minute call

7      was.   John, is there any part of the Jarrah deposition not

8      confidential under these orders that we could share with

9      Isikoff who is asking about the deposition?        And John said no.

10               MR. HANSEN:    Your Honor, the next thing I am going to

11     ask Mr. Kreindler about is a podcast excerpt, which we could

12     play the audio of, but I know you have instructed us to give

13     time for Kreindler counsel to listen to it.        We have a

14     transcript.    I don't know if this is a good time to have a

15     break.

16               THE COURT:    I was just going to raise that.      Let's

17     take a quick five-minute break.      You can give Ms. Kirsch an

18     opportunity.

19               Thank you.    We are briefly adjourned.

20               (Continued on next page)

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       LB1H9113                   Kreindler - Cross

1                 THE COURT:    Just for some housekeeping matters, we're

2      going to break at 1:00 for lunch.      I'd like the lawyers to

3      start coming back in at 1:45 so that we can really begin at

4      2:00.   So for the court reporter, back at 2:00, but I want at

5      2 o'clock start questioning the witness again.        So we've got an

6      hour now.

7                 Go ahead, Mr. Hansen.

8                 MR. HANSEN:    Thank you, your Honor.

9      BY MR. HANSEN:

10     Q.   Mr. Kreindler, I'm going to play part of your podcast with

11     Mr. Isikoff, Exhibit 39, and ask you some questions about it.

12                (Audio played)

13                I'll play another excerpt where you purport to

14     summarize the contents of these depositions.

15                (Audio played)

16                Mr. Kreindler, that's you talking to the press,

17     telling the press, about the contents of sealed depositions,

18     isn't it?

19     A.   No.

20     Q.   So you're telling this Court under oath that when you say

21     witnesses and sworn testimony inculpated every Saudi official,

22     that's not revealing or purporting to reveal the contents of

23     those depositions?

24     A.   No, it is not.

25     Q.   After the taping on -- the taping was on July 1, is that
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       LB1H9113                   Kreindler - Cross

1      correct?

2      A.   I think so.

3      Q.   The next day you had a call with Mr. Fawcett.        Do you

4      recall that?

5      A.   Not specifically, no.

6      Q.   Let's look at Exhibit 134, page 1.      If you look at the

7      yellow highlighting, it's an 18-minute call between you and

8      Mr. Fawcett.

9      A.   OK.

10     Q.   In that call, following up on your podcast taping with

11     Mr. Isikoff, you told Mr. Fawcett to disclose transcript

12     material to Mr. Isikoff, didn't you?

13     A.   No, absolutely not.

14     Q.   What did you tell him about?

15     A.   I don't know, but I didn't and never would ever, ever, ever

16     do that.

17     Q.   Mr. Fawcett reached out to Mr. Isikoff the very next day in

18     a call that we've highlighted.      You see those?    Actually,

19     there's four calls.     That's Mr. Isikoff's number.

20                Why is it that Mr. Fawcett is reaching out to

21     Mr. Isikoff the very day after you spoke to him following the

22     podcast?

23     A.   I don't know.   I don't remember.

24     Q.   In fact, that's about the time Mr. Fawcett leaked the

25     sealed transcript, the Al Jarrah deposition, to Mr. Isikoff,
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 56 of 490 65
       LB1H9113                   Kreindler - Cross

1      isn't it?

2      A.   How would I know that?

3      Q.   The Isikoff podcast was broadcast on July 10, correct?

4      A.   I think so.

5      Q.   We just listened to it, and we listened to your comments

6      attacking the FBI protective order.       And I want to direct you

7      to two days later to an email on your system that was sent by

8      Mr. Fawcett to Mr. Isikoff.

9                 If you could pull up 56F at page 13.      This was an

10     email that was disclosed only after multiple court orders.

11                MS. KIRSCH:   Your Honor, I'd like a minute to look at

12     the document.

13                THE COURT:    Sure.   This was submitted, I believe, by

14     Mr. Hartney, is that correct?

15                MR. HANSEN:   It was attached to the Hartney

16     declaration in September 27, I believe, your Honor.

17                MS. KIRSCH:   OK.     That's fine.

18                THE COURT:    You can proceed.

19     BY MR. HANSEN:

20     Q.   OK.   So just to get you oriented, Mr. Kreindler, we're

21     looking at an e-mail from John Fawcett of Kreindler & Kreindler

22     to Michael Isikoff dated July 12.       There's an attachment of an

23     unclassified privilege log, and there's no discussion.         It's an

24     empty message.     But if we go on and look at the documents, I

25     believe we can show you that this is the FBI's privilege log
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       LB1H9113                   Kreindler - Cross

1      indicating which documents the FBI was not turning over because

2      of its concerns about the public interest.

3                So my question to you, sir, is were you aware that

4      Mr. Fawcett was providing this document to Mr. Isikoff on or

5      about July 12?

6      A.   I was aware that John gave him the list of -- the public

7      list of documents the FBI was withholding.        I don't recall the

8      date.

9      Q.   Did you know he'd done it by email?

10     A.   I don't know how else he would do it.

11     Q.   Did you know, even if you don't recall exactly, was it

12     approximately around the time of the broadcasting of your

13     podcast with Mr. Isikoff?

14     A.   More or less, perhaps.     I just don't -- I don't recall when

15     he did it.    I do recall at some point we gave Mike -- John gave

16     Mike Isikoff the public list of the documents that the DOJ was

17     withholding, and -- I'll stop there.       I can say more if you'd

18     like.

19     Q.   And he did that at your instruction, correct?

20     A.   Probably.   I don't recall a specific moment on what day I

21     said, John, can you send the privilege log to Mike Isikoff.

22     Q.   So the next day, on July 13, Mr. Isikoff emails you.        And

23     we'll put up Exhibit 56F, page 24.       It's an email from Michael

24     Isikoff to Jim Kreindler checking in.

25     A.   Right.
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       LB1H9113                   Kreindler - Cross

1      Q.   And Mr. Isikoff writes -- and this, by the way, is the day

2      after Mr. Fawcett sends the FBI privilege log -- "Hi, Jim,

3      where do you stand on your request to DOJ to lift the state

4      secrets privilege and gag order?"

5                  Do you recall getting that email?

6      A.   Yes, I do.

7      Q.   This also related to what Mr. Fawcett had sent to

8      Mr. Isikoff, correct?       This is further discussion about these

9      documents the FBI is holding back, right?

10     A.   Yes.

11     Q.   OK.    Are you speaking with Mr. Isikoff around July 13?

12     A.   I don't recall.      I just remember those two conversations

13     that I told you about.

14     Q.   Surely at some point Mr. Isikoff calls you and says, in

15     substance:     Hey, Jim, I've got the Al Jarrah transcript.      You

16     care to comment on it?

17     A.   That never, ever, ever happened.

18     Q.   Why would he not?      If he'd gotten the transcript from some

19     other source, it would be a perfectly natural thing for a

20     reporter to call a willing source like you to see if you had a

21     comment on it, wouldn't it?

22     A.   No.

23                 MS. KIRSCH:   That calls for speculation as to what

24     Mr. Isikoff was or wasn't thinking.       It's an improper question,

25     and it's also argumentative.
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       LB1H9113                   Kreindler - Cross

1                 THE COURT:    The question is -- the objection is

2      sustained with respect to what Mr. Isikoff was thinking, but I

3      don't think it's argumentative.       So it's overruled on that

4      ground.

5      Q.   I'm not asking you what Mr. Isikoff was thinking, but

6      didn't reporters, including Mr. Isikoff, call you pretty

7      routinely for comments on materials that they had obtained from

8      other sources?

9      A.   It may have happened.     As I think about it, I can't

10     remember a specific -- I don't remember that ever happening,

11     but it could have.

12     Q.   Reporters always try to get quotes from sources, don't

13     they?

14     A.   I can't speak to what all reporters always do.

15     Q.   Do you think the reason why Mr. Isikoff did not reach out

16     to you for comment on the transcript was because he knew that

17     your firm had provided it to him in violation of the court

18     order, and he didn't want to compromise you?

19                MS. KIRSCH:    Calls for speculation.

20                THE COURT:    Sustained.

21     Q.   Did you ever wonder why Mr. Isikoff had never asked you

22     about this transcript?

23     A.   No.   We only found out about it on September 27.

24     Q.   Well, you knew about the leak long before September 27,

25     correct?
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       LB1H9113                   Kreindler - Cross

1      A.   I knew about the leak when I read Mike Isikoff's article

2      the day it was published in Yahoo! News.

3      Q.   That's just where we're going next.

4                  So you did see the story on the day it was published,

5      correct?

6      A.   Yes.

7      Q.   And you knew that the transcript that the reporter had was

8      a confidential transcript, correct?

9      A.   All I knew was what the story said, and my recollection is

10     Mike Isikoff's story said I've -- I've obtained pages of the

11     Jarrah deposition.

12     Q.   Well, that's not my question.

13                 Did you know it was a confidential transcript that

14     Mr. Isikoff had obtained?

15     A.   I knew the transcript was confidential.       I didn't know what

16     really happened.    All I knew was what Mike Isikoff said in his

17     piece.

18     Q.   And you knew on July 15 that your firm was a likely source

19     of the leak, didn't you?

20     A.   No, absolutely not.    I had an idea who the likely source

21     was, but I absolutely believed it was no one from our firm.

22     Q.   So let's look at Exhibit 56A at paragraph 5, which is your

23     declaration, and we'll go to paragraph 5.       You wrote in your

24     declaration filed September 27 that you asked Mr. Maloney, your

25     partner, to conduct an internal investigation, and that was
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       LB1H9113                   Kreindler - Cross

1      right after getting off the telephone call on or about July 15,

2      correct?

3      A.   I'm sorry.    You lost me.   Which telephone call on July 15?

4      Q.   Let's go up a paragraph.     Let's go up to four.

5                  You say on the 15th you had a conference call with

6      other members of the PEC?

7      A.   Yes.

8      Q.   And was that on July 15?

9      A.   I think so.

10     Q.   So now let's go to five.

11     A.   Yeah.

12     Q.   After the call, so is this on the 15th as well?

13     A.   Yes.

14     Q.   You say you asked Mr. Maloney "to conduct an internal

15     investigation to determine whether anyone at Kreindler was

16     responsible for providing the information to Isikoff," correct?

17     A.   Yeah, that's exactly what it says.

18     Q.   And all of the people on your team who had access,

19     according to you, to the Al Jarrah transcript were suspects in

20     that investigation, weren't they?

21     A.   No, none were suspects.

22     Q.   Well, then who were you investigating?

23     A.   We had to do an internal investigation.       We talked about it

24     first, obviously.

25     Q.   Wait, wait, wait.    It's a "who" question.     Who were you
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       LB1H9113                   Kreindler - Cross

1      investigating when you tell Mr. Maloney to conduct an internal

2      investigation?

3      A.   I -- OK.

4                MS. KIRSCH:    Mischaracterizes the witness' testimony,

5      but he can testify now.

6      A.   Sure.   I was asking Duke to work with John Hartney on our

7      computer system to search all communications with Isikoff, the

8      Jarrah deposition to see if -- if there's anything on our

9      system that would indicate anyone at the firm sent it, because

10     it was my absolute belief that no one did or would, but we had

11     to prove it by going through the whole computer system.

12     Q.   Can I ask my question one more time?

13     A.   Sure.

14     Q.   Who were you investigating?      Anybody?

15               MS. KIRSCH:    Objection.

16     A.   No one.

17     Q.   So Mr. --

18               THE COURT:    Objection's sustained.

19     A.   It was blanket.

20               THE COURT:    Sorry.   I think we're getting a little

21     caught up on the terms "investigation" and "investigating."          I

22     don't think, Mr. Hansen -- the Court is not interrupting it as

23     a loaded word.    There's an investigation.

24               I think the question, Mr. Kreindler, that Hansen is

25     asking is did you give any direction or have any conversation
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       LB1H9113                   Kreindler - Cross

1      with Mr. Maloney about who he should speak with or whose files

2      he should look to as part of this internal investigation that

3      he was leading?

4                THE WITNESS:    Yes, I did.

5                THE COURT:    OK.   I think Mr. Hansen would like to know

6      who you suggested should be part of that search and review.

7                THE WITNESS:    I -- I or Duke said:     Why don't you,

8      Duke, work with John Hartney to run through the whole computer

9      system to make sure that there was nothing about the Jarrah

10     deposition transcript to Isikoff.

11     BY MR. HANSEN:

12     Q.   And that's it?    Nothing more?

13     A.   That was it.

14     Q.   Well, we know from Mr. Hartney now that there's no way

15     looking at your computer system would tell you anything about

16     who had downloaded the transcript, who had printed it out, and

17     who had given it to Mr. Isikoff, correct?

18               MS. KIRSCH:    That's actually not an accurate statement

19     of Mr. Hartney's declaration.

20               MR. HANSEN:    Let me rephrase, then.

21     Q.   Do you understand that anyone with Kreindler & Kreindler

22     employee login access can get access to the sealed materials on

23     the Kreindler system or could before September 27?

24     A.   No, I think not everyone could do that, only people who had

25     signed the protective order.
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       LB1H9113                   Kreindler - Cross

1      Q.   Is that because there was a policy of that, or was there

2      anything in the computer that prevented them from getting it?

3      A.   I can't answer how the computer works.       I can tell you that

4      from the time we had to deal with the first order through the

5      second DOJ order, we made sure that no one in the firm who

6      hadn't, as I did, gave my word to follow these orders could

7      look at -- could see the material.

8      Q.   How did you do that technologically?

9      A.   I have no idea.    That's -- you're asking the wrong person

10     on computer systems and technology.

11     Q.   In fact, there was nothing technologically that prevented

12     anyone with Kreindler & Kreindler employee access from getting

13     that transcript, printing it off, and leaving it on a bus for

14     Mr. Isikoff?

15               MS. KIRSCH:    Objection.   Mr. Kreindler just said he's

16     not the guy who knows how the system works.        That was actually

17     in this statement of what's in the record, and that's

18     inappropriate.

19               THE COURT:    The objection is sustained.

20               Mr. Kreindler, if you want to look at confidential

21     material on your system --

22               THE WITNESS:    Yes.

23               THE COURT:    -- can you describe for me generally what

24     you have to do to access that information.

25               THE WITNESS:    I only did one thing.     If I wanted to
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       LB1H9113                   Kreindler - Cross

1      see material, I would ask John, can you send me one of the

2      documents we're talking about?      So I'm trying not to use

3      anybody's names, but if I wanted to see --

4                THE COURT:    Document X.

5                THE WITNESS:    -- document X on Jarrah, I would just

6      call John --

7                THE COURT:    John Fawcett.

8                THE WITNESS:    -- John Fawcett, yeah, and say, Can you

9      show me this document.

10               THE COURT:    So you personally, in preparing for a

11     deposition or a motion or whatever, would never enter the

12     server yourself and look for documents?       You would rely only on

13     Fawcett to provide it?

14               THE WITNESS:    I never entered the search for myself.

15               THE COURT:    OK.

16               THE WITNESS:    I confess to that complete limitation.

17     I don't know how the server works.       A dozen of my partners are

18     here to confirm how frustrating it is because I need to ask

19     someone like John, can you send me a particular document.

20               THE COURT:    So I think the witness has established

21     that he is not competent to answer questions about how the

22     server works or how access is provided, so let's move on from

23     that topic of conversation.

24               MR. HANSEN:    Your Honor, of course, but I will return

25     to it when I get to Mr. Kreindler's declaration later when he
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       LB1H9113                   Kreindler - Cross

1      talks about who had access to the transcript because I believe

2      that's a fair question, but I'm not going to do it now.

3      BY MR. HANSEN:

4      Q.   All right.   So let's talk about this investigation.       You

5      could have assigned other lawyers in your firm who had no

6      involvement in the 9/11 case or access, in your words, to the

7      9/11 transcripts to do the investigation, correct?

8      A.   Anything is possible, but that would make no sense.

9      Q.   Well, you would agree with me, would you not, that in any

10     investigation to actually try to get to the facts, it would be

11     important to move quickly, correct?

12     A.   Of course.   No one wants to move slowly.

13     Q.   Well, one thing you'd want to do is keep evidence from

14     being destroyed, wouldn't you?

15     A.   No one wants to destroy evidence, or I certainly don't want

16     to destroy any evidence anytime.

17     Q.   Well, that's not my question, Mr. Kreindler.

18               You've told us in your sworn testimony that you

19     directed your colleague to do an internal investigation.         I

20     think you've agreed that it should be done quickly, and I'm

21     asking you were you aware, when you gave this instruction, of

22     the need to move quickly in order to prevent the destruction of

23     evidence?

24     A.   It never dawned on me that anybody would destroy evidence,

25     so I did not have that in my mind.       And I also have to say it
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1      wasn't my directive or order to Duke to do it.        We talked about

2      it, and Duke said, I'll work with John Hartney and run through

3      our whole system to make sure that no one here had anything to

4      do with it.

5      Q.   In fact, if Mr. Fawcett is to be believed, evidence was

6      destroyed here, wasn't it?

7      A.   That's what John said later.

8      Q.   So as part of this internal investigation, again, only if

9      you know, were all of the Kreindler & Kreindler professionals

10     who you believed had access to the Al Jarrah transcript

11     immediately questioned?

12     A.   I think we were all there.

13     Q.   What do you mean you "were all there"?

14     A.   OK.   I am struggling with your question because it doesn't

15     reflect the actual discussions we had as soon as we got

16     together and talked about it.

17     Q.   So who got together and talked about it?

18     A.   Here's what I remember.     I read the article when I was at

19     home.   I came to the office, I think, later that day.        I

20     believe Steve Pounian was taking a deposition that day.           When I

21     got to the office, I spoke to John, John Fawcett, Duke, Andrew

22     Maloney, and said, we also -- oh, my God, I mean, where, you

23     know, did this come from?     Where did Isikoff get it?      And we

24     had -- we were talking about it kind of mystified, and I said

25     there's only one source that I could think of who would have
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       LB1H9113                   Kreindler - Cross

1      given it to Mike Isikoff now.      I can tell you what I said, if

2      you want to know or ask me later.

3      Q.   So other than that meeting that you've described, did you

4      give Mr. Maloney any directive to actually interview witnesses,

5      including all the members of the team who had access to the

6      transcript?

7      A.   It was at that meeting, that discussion, that Duke said I

8      will work with John Hartney.      I think Megan was in her office,

9      and I recall speaking to her later.       If I'm remembering

10     correctly, Steve was doing a deposition or preparing for a

11     deposition, so whatever I said to Steve later in the day was

12     very brief.    And then there was some internal discussion.        We

13     set up a PEC call to see -- talk about this and see if anybody

14     had any idea how Isikoff got it.

15     Q.   So if I'm hearing your answer correctly, and correct me if

16     I'm wrong, you did not give Mr. Maloney any instruction to

17     actually interview witnesses, did you?

18     A.   Interview?   I don't know who the witnesses you're talking

19     about are.

20     Q.   How about all the people who had the transcript who might

21     have leaked it?

22     A.   We all were -- all the lawyers working on the case, the

23     four of us and John, were part of this discussion.         Duke

24     volunteered to head up the -- you're calling it an

25     investigation -- to go through the system and make sure that no
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1      one at the firm had anything to do with it.

2      Q.   OK.   I think you've answered my question.      Let me just ask

3      another question.

4                 You worked very closely with John Fawcett.       Did you

5      personally ask John Fawcett:      John, did you leak this

6      transcript?

7      A.   I -- I did not do it as a Q & A.      I spoke to John.    I

8      didn't do it.    I know you didn't do it.     I have no idea who

9      could have done it.      The only party I could think of that would

10     have leaked this to Isikoff now was somebody on the Saudi side.

11     Q.   Now, Mr. Kreindler, let me just ask you to focus on my

12     question, please.

13                At any point, at any time, did you ever ask John

14     Fawcett whether he had provided the confidential transcript to

15     Mr. Isikoff?

16                MS. KIRSCH:    That was asked and answered, your Honor.

17                THE COURT:    I don't think it was answered, so you can

18     answer the question.

19     A.   I talked to John --

20     Q.   No, no, no, I don't want "talked to."      It's a simple

21     question.    I'd like a direct answer.

22                At any point in time, did you ever ask John Fawcett,

23     in words or substance, John, did you provide the Al Jarrah

24     transcript to Mr. Isikoff?

25     A.   No.
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       LB1H9113                   Kreindler - Cross

1      Q.   Did you direct anyone else to ask Mr. Fawcett that

2      question?

3      A.   No.   We just -- we talked about it.

4      Q.   The question is not what you talked about, with all

5      respect.

6                 So since you started an investigation on July 15, when

7      was it that all of the firm's outgoing emails to Mr. Isikoff

8      were pulled and reviewed?

9                 MS. KIRSCH:    Objection.   I think we've already talked

10     about the fact that Mr. Kreindler was not running that part of

11     the investigation and the technology piece was not something

12     that he was intimately involved with.

13                THE COURT:    Did you ever learn when the emails were

14     pulled in order to search for communications with Isikoff?

15                THE WITNESS:    More or less.   I don't remember the

16     date, but relatively quickly Duke, you know, spoke to John

17     Hartney and said, we've got to go through the whole system to

18     see if anyone emailed or had some way of sending the deposition

19     transcripts.    My recollection is Duke did that with John

20     Hartney pretty soon.      I just can't tell you the day or time

21     when he said to me, Jim, it's done, and there was nothing

22     there.

23                THE COURT:    OK.

24     BY MR. HANSEN:

25     Q.   So, Mr. Kreindler, based on your testimony, were you made
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       LB1H9113                   Kreindler - Cross

1      aware within a few days after July 15 that this email search

2      had pulled up the fact that Mr. Fawcett was in email

3      communication with Mr. Isikoff during the month of July?

4      A.   I knew John had some email --

5      Q.   No, no, this is about the email.

6                Were you made aware that they'd done a search; the

7      search had found an email from July 12 from Mr. Fawcett to

8      Mr. Isikoff sending case materials?       Were you aware of that?

9      A.   I was aware of the privilege log, if that's what you're

10     referring to.

11     Q.   Were you aware of the email sending the privilege log?

12     A.   I must have been.    I don't know how else he'd send the

13     privilege log to Mike Isikoff.

14     Q.   So when did you first become aware of the email sending the

15     privilege log from Fawcett to Isikoff?

16     A.   I don't know.

17     Q.   Was it before the leak was disclosed -- I'm sorry.        I'm

18     sorry.

19               Was it within a few days of July 15?

20     A.   I just don't remember when I saw the email from John to

21     Isikoff saying, here's the privilege log.

22     Q.   Again, I'm just asking whether you know.       You may or may

23     not.   When were the phones, the computer, cell phones, and

24     other devices of the Kreindler & Kreindler 9/11 case team

25     secured so they could be evaluated for evidence?
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       LB1H9113                   Kreindler - Cross

1      A.   Recently, with our lawyer Emily Kirsch, we had a whole

2      technological issue, and I was without my cell phone, my one

3      means of communication, for about four or five hours, which I

4      didn't particularly like, but managed.

5      Q.   I'm sorry.   Just so I'm clear, that was in October

6      sometime, wasn't it?

7      A.   That's the only time I gave my cell phone to tech people to

8      do whatever alchemy they did to pull information or the system

9      out of it.

10     Q.   As far as you're aware, no one else was asked to provide

11     devices, records, or other evidence prior to us asking for it

12     and the Court ordering it in October of this year?

13     A.   I'm not aware of anyone else turning over their cell phones

14     or computers until we went through this technological search

15     fairly recently.

16     Q.   Just before we leave this topic of your investigation,

17     according to your conversation with Mr. Maloney, your

18     expectation was the investigation was going to be Mr. Hartney

19     looking for evidence in your computer system that someone had

20     from your computer system provided the Al Jarrah transcript to

21     Mr. Isikoff, correct?

22               MS. KIRSCH:    Again, Mr. Kreindler was not involved in

23     the details of this so-called investigation.        That was

24     something that was tasked to Mr. Maloney.       He's not the right

25     witness for this topic.     This is a waste of time.
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1                 THE COURT:    I think he's testified, though, as to the

2      conversation he had with Mr. Maloney about what was expected,

3      so I think he can answer those questions.         I recognize he has

4      demonstrated he doesn't know the details of that investigation.

5      Q.   So can you answer my question?

6      A.   I've lost it by now.

7      Q.   Let's read it back to you.

8                 (Record read)

9      A.   I think it was broader than that, that Duke would say I'll

10     check on all communications between anyone here and Mike

11     Isikoff in that time period.       But, you know, you'll be asking

12     him later today, I assume.

13     Q.   So what did you understand "all communications" to mean?

14     Phone calls?    Email?    Texts?   What?

15     A.   Whatever the system would show.        Certainly, I had in mind

16     emails.    If someone sent a text from a personal phone, I don't

17     know that that would be reflected anywhere in our computer

18     system.

19     Q.   So let's go to --

20     A.   I just don't know.

21     Q.   OK.   Let's go to July 21.     It's a few days after the

22     publication of Mr. Isikoff's story describing the confidential

23     transcript that was leaked to him.         Were you aware on July 21

24     that lawyers for the Kingdom requested that the PEC agree to go

25     to the court for a court-ordered investigation into the leak?
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1      A.   I don't remember the day, but, certainly, I remember us

2      saying to the Court at around that time we, too, want to do

3      whatever we can to see who gave this prohibited information to

4      Mike Isikoff.

5      Q.   Well, let me give you little more specifics here.        Let's

6      pull up Exhibit 42 at page 3.

7      A.   OK.

8      Q.   This is an email that was sent to you, correct?

9      A.   Yeah.   Well, looks like an email sent to Steve, me, and

10     Duke.

11     Q.   And in the email, counsel for Saudi Arabia asks whether you

12     would consent to a motion requesting that the court direct all

13     entities or individuals to submit declarations, and so on.          Do

14     you recall getting that?

15     A.   Just generally.    I don't specifically recall this email,

16     but --

17     Q.   And that's --

18     A.   -- I do recall it generally.

19     Q.   That put you on notice that there was going to be a serious

20     problem, didn't it?

21     A.   No.

22     Q.   Well --

23     A.   It did not.

24     Q.   -- let's look at the phone records, then.       If we go to

25     Exhibit 135, the very next morning, after the Kingdom is asking
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       LB1H9113                   Kreindler - Cross

1      for a court-ordered investigation, you and Mr. Fawcett have a

2      phone call at 9:17.

3                 Do you recall having that phone call with Mr. Fawcett

4      the morning after you got this communication from counsel for

5      Saudi Arabia saying that they're going to go to the court on

6      this?

7      A.   No.   I remember -- I don't remember what this phone call

8      was about.

9      Q.   It's a pretty long call, isn't it, 46 minutes?

10     A.   Yeah, it's 46 minutes.

11     Q.   You talked about the leak, didn't you?

12     A.   No.

13     Q.   You talked about the fact that the Court might order an

14     investigation, didn't you?

15     A.   Maybe, but I don't remember what this phone call was about.

16     It might have been the executive order.

17     Q.   You talked about the need for Mr. Fawcett to get a criminal

18     defense counsel, didn't you?

19     A.   No, absolutely not.    That would never have crossed my mind.

20     Q.   Who's Liz Crotty?

21     A.   Liz Crotty worked in our office as an associate.

22     Q.   And then she left your firm to go become a white-collar

23     defense lawyer, correct?

24     A.   I think so.

25     Q.   So explain for us why it was that immediately after your
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       LB1H9113                   Kreindler - Cross

1      call with Mr. Fawcett, he calls Liz Crotty and talks to her for

2      22 minutes?

3      A.   I have no idea why John called Liz Crotty.       I don't think

4      I've spoken to her for years.

5      Q.   Did you give Mr. Fawcett her information?

6      A.   No.

7      Q.   Do you know if they're friends?

8      A.   I know he knew her, as we all did, because she worked in

9      the office.

10     Q.   But the only reason he'd be calling Liz Crotty after your

11     46-minute phone call would be his concern that there was going

12     to be a big problem based on what you all had done with this

13     sealed transcript, right?

14                MS. KIRSCH:   Objection.

15     A.   Wrong.

16                MS. KIRSCH:   Objection.   All of this calls for

17     speculation.    There's no foundation why Mr. Fawcett made any

18     call that he did.

19                THE COURT:    Sustained.

20     Q.   Do you have any explanation for this call sequence,

21     Mr. Kreindler?

22     A.   I don't see it as a sequence.     I have no idea why John

23     called Liz Crotty then, absolutely none.

24     Q.   How about why did John call you back immediately after

25     hanging up with Ms. Crotty?
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       LB1H9113                   Kreindler - Cross

1                 MS. KIRSCH:   Objection.   More speculation.

2                 THE COURT:    Overruled.

3                 You can answer.

4      A.   I have no idea.     I don't remember what we were talking

5      about then.    Given the time period, I think it was more likely

6      moving toward Joe Biden's executive order than anything we're

7      discussing today.

8      Q.   Do you remember anything about your five-minute call with

9      Mr. Fawcett that followed his 22-minute call with Ms. Crotty?

10     A.   I don't remember anything about this call, but as I've told

11     you before, probably not a day goes by that I'm not talking to

12     John Fawcett about our case and how we can move it forward.

13     Q.   Well, on the 23rd of July, the Kingdom of Saudi Arabia did

14     indeed go to court and request a thorough court investigation,

15     correct?

16     A.   I can't remember the date, but I remember that that's what

17     Saudi Arabia did, and there was a brouhaha.        We suggested a

18     meet-and-confer, and that never happened.       They moved.    There

19     was the limited meet and confer.      The order resulted.

20     Q.   Kreindler & Kreindler, alone among all firms in this case,

21     resisted a court-ordered investigation, isn't that the truth?

22                MS. KIRSCH:   Objection.

23     A.   No.

24                MS. KIRSCH:   It's both false and it mischaracterizes

25     the facts.
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       LB1H9113                   Kreindler - Cross

1                 THE COURT:    Overruled.

2                 You can answer the question.

3      A.   No.

4      Q.   All right.   Let's look at what your colleague Mr. Pounian

5      wrote on July 23 at Exhibit 43A, pages 4 to 5.

6                 MR. ROBERTS:    Counsel, that has an MDL protective

7      order.     Should I just leave it?

8                 THE COURT:    Is there an application?

9                 MR. HANSEN:    Your Honor, I think he's being careful to

10     make sure that they have a chance to object before we put up

11     the document.

12                MS. KIRSCH:    Thank you.   I would like to take a moment

13     to read the document.

14                Kreindler & Kreindler does not have an objection.        I

15     don't know whether the other PECs do.

16                THE COURT:    I don't know that they are here or have an

17     argument to be made.      I see --

18                MR. CARTER:    Your Honor, this is Sean Carter, for the

19     PECs.    We're here, but we do not have a copy of the exhibit

20     binder, so I don't know what it contains.

21                MR. MIGLIORI:    Don Migliori from Motley Rice also on

22     behalf of the PECs.      I do not have a copy either.

23                MR. HANSEN:    Well, I don't want to slow things up, so

24     why don't I just ask Mr. Kreindler to look at it for himself.

25     I won't show it on the screen.
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1      Q.   If you'd look at Exhibit 43A, pages 4 and 5, in that

2      exhibit binder.

3      A.   43A?

4      Q.   The A behind the tab 43.

5      A.   I see a 43, but not a 43A.     Oh, I see it.    OK.   Yes.

6      Q.   So my question, sir, is isn't it true that your colleague,

7      on behalf of your firm, said you weren't consenting to a

8      court-ordered investigation?

9      A.   No, I don't think that's what -- no, it's not true.

10     Q.   In fact, Mr. Pounian communicated that the Kreindler firm

11     had completed an internal review of the handling of the Jarrah

12     transcript and the conduct of Michael Isikoff and had

13     determined that it hadn't been the leaker, right?

14     A.   I'm looking for Steve's email.      Sorry.

15     Q.   Take your time.    Read as much as you'd like.

16     A.   Are you talking about Steve's email Friday, the 23rd, at

17     3 o'clock to Greg Rapawy?

18     Q.   If you look at page 4 of 5 of that -- I wish I could show

19     it on the screen for you, but I'm not going to -- pages 4 to 5,

20     there will be emails from your colleague to opposing counsel.

21     A.   OK.    At the top of page 4, yeah.

22     Q.   Isn't it true that your colleague represented to opposing

23     counsel that Kreindler & Kreindler had completed its own

24     internal review, and it had determined that the transcript

25     wasn't released by Kreindler & Kreindler?
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1      A.   I may be looking at the wrong place, but I believe that's

2      true.

3                 Oh, yeah, I see it.    Each firm has determined that the

4      transcript was not released through our firms or others working

5      with our firms and are prepared to document the facts if

6      necessary.    So that's exactly what Steve said.

7      Q.   Did you approve this email before it went out?

8      A.   No, Steve handled it.    He's my partner.

9      Q.   Were you copied on it?

10     A.   Let me see.   It looks that way, yeah.

11     Q.   So we're talking about six business days after the July 15

12     leak, correct?

13     A.   That's when this email went out, yes.

14     Q.   So what had Kreindler & Kreindler done between the 15th and

15     this date, the 23rd, so that it could make this representation

16     that it had determined it wasn't the leak?

17                MS. KIRSCH:   I'll just renew my objection that the

18     details of the investigation were not Mr. Kreindler's

19     responsibility.

20                THE COURT:    Understood.   You can answer, to the extent

21     you have information to answer.

22     A.   I don't.   Duke and Steve were working on it.

23     Q.   OK.   Let's just cut ahead to July 27.     After Saudi Arabia

24     applied to the court, your firm and the other firms went back

25     to the court and submitted a letter in which you again stated
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       LB1H9113                   Kreindler - Cross

1      that each of the lead PEC firms was confident it was not the

2      source of the leak.     Did you approve that letter before it went

3      out?

4      A.   I don't know which letter you're --

5      Q.   I'm sorry, Exhibit 43.

6                I don't know if there's an objection to -- if anybody

7      wants to object to us putting it up.

8                MS. KIRSCH:    The Kreindler firm has no objection, but

9      again, I don't know if the other PECs do.

10               MR. MIGLIORI:    Your Honor, Donald Migliori.

11     Obviously, without the document, we don't know what's being

12     shared.   I think the way it was handled just recently protects

13     any potential disclosure of work product or communications

14     within the plaintiffs.     So as long as the questions are limited

15     to the conduct of the Kreindler law firm and not disclosing

16     communications, we would object to any public disclosure of the

17     document or questions that go outside the scope of that narrow

18     language.

19               THE COURT:    I believe this is a July 27 letter filed

20     to the court that I believe is currently under seal, but it may

21     not be under seal at some point in the future, but it's

22     currently under seal and subject to the MDL protective order.

23               MR. HANSEN:    Well, your Honor, I don't want to take

24     more time than we need.     It certainly would be better if we

25     could show Mr. Kreindler what we're talking about, but I'll try
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       LB1H9113                   Kreindler - Cross

1      and do it another way.

2      BY MR. HANSEN:

3      Q.   So, Mr. Kreindler, take a look --

4                 THE COURT:    You want to take a minute and show counsel

5      briefly?

6                 MR. HANSEN:    I'll just show Mr. Kreindler.     I don't

7      think he objects to me showing Mr. Kreindler without showing it

8      on the screen.    I don't really want to take the time.

9                 THE COURT:    OK.

10     Q.   Mr. Kreindler, take a look at Exhibit 43.

11     A.   OK.

12     Q.   It's a letter.     Did you review that letter before it was

13     filed with the court?

14     A.   No.   Steve did.

15     Q.   As the cochairman of the PEC, do you not at least review

16     letters filed with the court by the PEC?

17     A.   Sometimes, but I also rely upon my partners.

18     Q.   So, once again, this time in an official document sent to

19     the court, Kreindler & Kreindler is signing on to a letter in

20     which it is saying it's finished its internal investigation,

21     and it's confident that Kreindler & Kreindler didn't do it,

22     isn't that correct?

23     A.   If we're looking at the same thing, this July 27 letter

24     signed by Steve, Bob Haefele, and Sean Carter says we've done

25     investigations, and we're confident that these firms did not
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       LB1H9113                   Kreindler - Cross

1      have anything to do with the leak.

2      Q.   Just in the interest of completeness, I'll ask you again,

3      if you know, what investigation actually had been done by

4      Kreindler & Kreindler prior to July 27 in order to make this

5      representation to the court?

6                 MS. KIRSCH:    Objection.

7                 THE COURT:    You can answer the question.

8      A.   I can't tell you anything in addition to what I've said

9      already, that Duke headed up this effort to make sure that, as

10     far as we knew, no one at the firm gave Jarrah portions to Mike

11     Isikoff.

12     Q.   As the leader of your firm's team, as the cochairman of the

13     Executive Committee, wouldn't you want to satisfy yourself

14     about the accuracy and basis for any factual representation

15     being made to this Court?

16     A.   In this case, with the millions of letters, there are many

17     times when I've relied upon my co-lead counsel at Motley or

18     Cozen or my partners Steve, Megan, or Duke.        We do not -- it

19     would be impossible for every lawyer to review every document.

20     We'd never get anything out the door.

21     Q.   So let's go to July 29.

22                THE COURT:    May I ask a question on this exhibit, if

23     you don't mind?

24                MR. HANSEN:    Of course.

25                THE COURT:    Mr. Kreindler, I'm just curious on the
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       LB1H9113                   Kreindler - Cross

1      signature line of this letter submission, it lists Mr. Pounian,

2      who appears to be the signer of the letter, and Mr. Maloney and

3      Ms. Benett.    Was there a deliberate decision for you not to

4      sign this letter?

5                THE WITNESS:    No.

6                THE COURT:    Typically, all the firms are listed -- all

7      the lawyers, excuse me, are listed under your firm name.

8                THE WITNESS:    No, there was no deliberate decision.

9      What I can tell you is it was Duke who was doing the

10     investigation, later Megan prepared the declarations.

11               THE COURT:    Could you be sure to speak into the

12     microphone.

13               THE WITNESS:    I'm sorry.

14               THE COURT:    That's OK.   Duke prepared the

15     investigation.

16               THE WITNESS:    With the mask, it's even more difficult.

17               To answer the question is those were my three partners

18     who were really handling the details of this.        And to put it in

19     context so you know where I was and what I was doing, my

20     principal focus this last -- or a principal focus, the very end

21     of July and August was getting the 26 team review publicly

22     released, as Joe Biden did on 9/11, and getting a process under

23     way for declassification of the FBI documents.        So we had a

24     division of labor.

25               I had the discussion with Duke and John and Steve and
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       LB1H9113                   Kreindler - Cross

1      Megan about the leak, and since I had no idea and was confident

2      no one at the firm was doing it, this matter of communicating

3      with your Honor and providing information, other additional

4      information, you wanted was really being handled by Duke,

5      Steve, and Megan, and my focus was seeing that the FBI

6      documents would begin to come out in a public way by 9/11.

7                  THE COURT:   So you don't have a specific recollection

8      of electing not to be on this letter?

9                  THE WITNESS:   Correct.

10                 THE COURT:   OK.   You can proceed.

11     BY MR. HANSEN:

12     Q.   So if we go to July 29, Mr. Kreindler, on that date two of

13     the four Plaintiffs' Executive Committee firms, without court

14     order, put in detailed proof, including sworn statements from

15     everybody at their firms who had access to the transcript, and

16     they described their internal investigations.        And I'm

17     referring specifically to Cozen, O'Connor and Motley Rice.

18     Were you aware they had done that?

19     A.   Yes.

20     Q.   Why didn't you do it?

21     A.   Our approach and the approach of some the other firms was

22     to provide the information that the Court requested.         If the

23     Court wanted more information, we would provide it.         But in the

24     history of this case, I can tell you that oftentimes, maybe on

25     a daily basis, we'll have disagreements in the committee about
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       LB1H9113                   Kreindler - Cross

1      how to respond to any of the 12 balls that were up in the air.

2      So half the committee said, we're going to do more than the

3      judge wanted; the other half said, let's give the judge what

4      she wants.     If she wants more, we'll provide it.     It was just a

5      difference in approach.

6      Q.   Actually, the third firm, Anderson Kill, went ahead and did

7      the same as the other two firms on August 13, and they

8      announced they were doing this voluntarily and not in response

9      to a court order.    You recall that?

10     A.   Yes.

11     Q.   So three of the four firms wanted their names cleared.         Why

12     didn't you want your name cleared?

13                 MS. KIRSCH:    Your Honor, I'm sorry if I missed a

14     moment.     Of course, the order for declarations came down on

15     August 12, which is prior to Anderson Kill's submission, so the

16     record should be clarified.

17                 MR. HANSEN:    No, the record shouldn't be clarified.

18     She's not testifying.       In fact, they put their thing in, and

19     they said they weren't doing it in response to the court order.

20     And he knew that and testified.       Now his lawyer wants to change

21     the testimony.    This is improper, your Honor.

22                 THE COURT:    I think the record here is clear.    So to

23     the extent that is an objection, it's overruled.

24     BY MR. HANSEN:

25     Q.   OK.    Mr. Kreindler, why don't you answer my question.
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       LB1H9113                   Kreindler - Cross

1      A.   I'm sorry.   So what's the question?

2      Q.   Three of the four firms in the Plaintiffs' Executive

3      Committee welcomed an investigation and provided extensive

4      proof of their noninvolvement?

5                 THE COURT:    Mr. Hansen, I wouldn't characterize how

6      the other firms -- whether they were welcoming it or not.          They

7      made their filings.      The record reflects that.

8                 MR. HANSEN:    Thank you, your Honor.    I'll rephrase.

9      Q.   Three of the four firms submitted sworn testimony from

10     every person at the firm who had the Al Jarrah transcript and a

11     sworn declaration describing their internal investigation.

12     A.   Uh-huh.

13     Q.   Why wouldn't you also want to prove that you had nothing to

14     hide here?

15                MS. KIRSCH:    Objection.   That's just not true.    The

16     declarations and the description were filed in response to the

17     court order.

18                THE COURT:    I don't think that was the question.      But

19     can you rephrase your question, and then I think in five

20     minutes we're going to break.      So find an appropriate place for

21     a break.

22                MR. HANSEN:    I'll make my question nice and simple.

23     Q.   With all of your colleagues submitting sworn testimony from

24     every person who had access to the transcript and sworn

25     testimony about what they had done to investigate, what
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       LB1H9113                   Kreindler - Cross

1      possible reason was there for Kreindler & Kreindler to not

2      provide that proof other than Kreindler & Kreindler had

3      something to hide?

4                MS. KIRSCH:    Asked and answered.

5                THE COURT:    You can answer it.

6      A.   Sure.   It has nothing to do with having something to hide

7      because we had nothing to hide.

8                The short answer is the way we operate -- I operated,

9      my dad, most of the partners -- is kind of the KISS principle.

10     The judge asked for something narrow.       We all gave our word

11     that we had nothing to do with it.       We had Duke do an internal

12     investigation, and I'm -- we decided, let's keep it simple.           If

13     the Court wanted more information like some other of the other

14     firms were providing, or anything else, we'd comply.         But we

15     were doing what the Court asked and keeping it simple.         It had

16     nothing to do with trying to hide anything, because there is

17     nothing to hide.

18     Q.   Wait a second.    Your answer just a minute ago you said we

19     had all "given our word" that we had nothing to do with it, but

20     you answered my prior question saying you're not aware of

21     anybody ever directly asking Mr. Fawcett whether he leaked the

22     transcript.    How do you reconcile those two statements?

23               MS. KIRSCH:    Objection.

24               THE COURT:    What's the objection?

25               MS. KIRSCH:    It's a compound question, it
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       LB1H9113                   Kreindler - Cross

1      mischaracterizes prior testimony, and it's misleading.

2                   THE COURT:   Overruled.

3      A.    Because in everything John said to me, I was certain that

4      he had nothing to do with it.        And for him to -- it never would

5      be possible, in my mind, for him to have something to do with

6      it.    And that's why we were talking about the only conceivable

7      party who might have wanted this to get out was Saudi Arabia

8      months before the attention of 9/11.

9      Q.    On August 12 the Court orders you to provide sworn

10     testimony because the circumstantial evidence suggests

11     Kreindler & Kreindler is the leak.        Do you recall that order?

12     A.    I recall the order.

13     Q.    And the Court ordered, at a minimum, that you provide

14     declarations from four named attorneys.        Remember that?

15     A.    Yes.

16     Q.    It didn't limit you to four attorneys, did it?

17     A.    I don't think there was any limitation.      It just said

18     provide declarations from myself, Steve, Megan, and Duke.

19     Q.    And you were perfectly free to provide additional

20     declarations from people who had the transcript, weren't you?

21     A.    I'm not aware of who else had the transcript.

22     Q.    How about Mr. Fawcett?

23     A.    Oh, from John?      OK.   So what -- I'm sorry.   I don't

24     understand what your question is.

25     Q.    You had every right to not do the bare minimum, but to
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       LB1H9113                   Kreindler - Cross

1      provide full declarations from everyone at Kreindler &

2      Kreindler who you know had access to the Al Jarrah deposition

3      transcript, correct?

4      A.   I guess we could provide unlimited depositions from

5      everybody if we wanted to.

6      Q.   That's not my question, but I think you understand the

7      point.

8                On August 16 --

9      A.   Can I respond to that comment?

10     Q.   On August 16, Mr. Kreindler, what you submitted --

11               THE COURT:    You'll have an opportunity on redirect.

12     Q.   -- was bare one-and-a-half-page boilerplate denials from

13     you, Mr. Pounian, Mr. Maloney, and Ms. Benett, correct?

14     A.   I would not call it bare boilerplate.      I would say we

15     answered the question that the judge asked truthfully.         You're

16     the one who's calling it bare boilerplate.

17     Q.   You didn't provide any IT declaration, did you?

18     A.   I don't think so, no.

19     Q.   You didn't provide any description of whatever internal

20     investigation you'd supposedly done?

21     A.   I don't think we did.

22     Q.   You didn't disclose to the Court that everybody with

23     employee login access could have gotten that transcript?

24     A.   It is probably dozens of people who could have gotten the

25     transcript, from translators, all the tech people doing the
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       LB1H9113                   Kreindler - Cross

1      video depositions.

2      Q.   I'm talking about Kreindler & Kreindler employees.

3      A.   OK.

4      Q.   You didn't disclose to the Court on August 16 that anybody

5      with employee login credentials could have accessed the

6      Al Jarrah transcripts, right?

7      A.   All I can tell you is we provided the information that the

8      Court asked for.

9                 MR. HANSEN:    Your Honor, would now be a good time to

10     break?     I know you wanted to break at 1:00.

11                THE COURT:    OK.    Let's take a break.   As I indicated,

12     I'd like counsel back in the room by 1:45 so we can begin

13     questioning again at 2 o'clock.

14                MR. HANSEN:    Thank you, your Honor.

15                MR. GERBER:    Your Honor, a quick procedural question.

16                THE COURT:    Yes.

17                MR. GERBER:    Is it permissible for the attorneys here

18     in the courtroom to have lunch with our client?         Obviously, we

19     will not be discussing the substance of the testimony.         We just

20     want to get clarity from the Court on --

21                THE COURT:    I don't mind you having lunch with your

22     clients, but not to discuss the subject of the testimony.

23                MR. GERBER:    All right.   Thank you, your Honor.

24                THE COURT:    Enjoy your lunch, everybody.    We'll see

25     you back here at 1:59.      (Lunch recess)
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       LB189114                   Kreindler - Cross

1                                 AFTERNOON SESSION

2                                    2:00 p.m.

3                  THE COURT:   Good afternoon, everybody.    Please be

4      seated.

5                  I hope everybody had some lunch, even if it wasn't a

6      great lunch.

7                  Mr. Kreindler, I will remind you that you are still

8      under oath.

9                  THE WITNESS:   Yes, your Honor.

10                 THE COURT:   Mr. Hansen, your witness.

11     BY MR. HANSEN:

12     Q.   Mr. Kreindler, on August 30, the court issued an order.

13     Did you read that order?

14     A.   I read all the court's orders, yes.

15     Q.   So, you learned on August 30 that Kreindler & Kreindler was

16     going to have to put in a sworn declaration from John Fawcett,

17     didn't you?

18     A.   Yes.    Offhand, I don't remember the date, but that's right.

19     Q.   If the order provided on August 30, you read it on August

20     30, right?

21     A.   Correct.

22     Q.   You didn't wait days to read court orders?

23     A.   No.

24     Q.   So you knew on August 30 you had to get a Fawcett sworn

25     statement.     Did you go to him on August 30 and ask him to sign
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       LB189114                   Kreindler - Cross

1      a sworn statement?

2      A.   I did not.

3      Q.   Did you ever ask him to do so?

4      A.   No.    I said, as I mentioned earlier, Megan and Steve and

5      Duke were handling it.

6      Q.   Well, we have evidence that other members of your team were

7      asked to sign, and did sign, sworn declarations as early as

8      September 2nd.    And I would ask you to look at Exhibit 62B.

9      A.   Hang on a second.

10     Q.   62B.

11     A.   Sorry.    It's a big book.

12     Q.   62B, as in boy.

13     A.   OK.

14     Q.   I am just interested in the signature page and the date.

15                 THE COURT:   I will just remind Mr. Kreindler that the

16     person who signed this is known as Consultant-1 in the public

17     record.

18                 THE WITNESS:   Yeah.   What I have in front of me does

19     not have a signature page.      It's blacked out.

20                 THE COURT:   OK.

21     Q.   But there is a date of September 2, 2021, right?

22     A.   On the one I have, the date is partly blacked out.        It

23     could be September 2nd.

24     Q.   And it was for a person identified as Consultant-A?

25                 THE COURT:   I believe it was Consultant-1.
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1                MR. HANSEN:    I'm sorry, your Honor.

2      Q.   Consultant-1, Mr. Kreindler?

3      A.   I don't see Consultant-1 on here.      Maybe I am looking at

4      the wrong page.    62B, it's declaration of blank redacted.

5      Q.   Well, that's not important.     It's a declaration for use in

6      this proceeding about the transcript leak, isn't it?

7      A.   Yeah.

8      Q.   It's got a date of September 2, 2021, doesn't it?

9      A.   I'm not being difficult with you, but on this page the date

10     is partly blacked out.

11     Q.   It's a single digit, how about that?

12               MS. KIRSCH:    Your Honor, this is not Mr. Kreindler's

13     declaration.    There is no foundation that he had any experience

14     with this document.

15               THE COURT:    Well, it's a declaration that was filed by

16     the law firm in response to the court's order.

17               MS. KIRSCH:    Correct.

18               THE COURT:    So I think Mr. Hansen is just asking a

19     question about what is on this declaration.        And if Mr.

20     Kreindler can't identify it because of a redacted version, I

21     don't know if we have an unredacted version or whether the

22     parties can stipulate to the date of this.

23               MS. KIRSCH:    Your Honor, I understand that this was

24     filed by the law firm, but that's a different matter from

25     whether Mr. Kreindler was involved in the process of obtaining
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1      the declaration itself.     There is no indication that he would

2      know anything about this document.

3                MR. HANSEN:    That's what I am trying to figure out.

4                THE COURT:    Can we stipulate that this declaration is

5      signed September 2, 2021?

6                MR. HANSEN:    I hope so.

7                MS. KIRSCH:    Yes, I will stipulate to that.

8                THE COURT:    Mr. Kreindler, it's signed.     I know it's

9      blacked out partially, but the date that you could partially

10     see is September 2, 2021.

11               THE WITNESS:    OK.

12     BY MR. HANSEN:

13     Q.   So the question, Mr. Kreindler, if you know, is whether a

14     similar declaration was prepared for Mr. Fawcett on or about

15     September 2, 2021?

16     A.   I don't know.

17     Q.   Why would it be prepared for one member of your team and

18     signed on September 2 and not for Mr. Fawcett?

19               MS. KIRSCH:    Objection.

20     Q.   If you know.

21     A.   I don't know.   I'm not even sure whose declaration this is.

22     Q.   When, to your knowledge, was Mr. Fawcett first asked to

23     give a sworn statement in response to the court's order

24     requiring him to do so, dated August 30, 2021?

25     A.   I don't know.
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1      Q.    Did you ever go to him and say, John, we are going to need

2      a sworn declaration from you, let's get it done?

3      A.    No.

4      Q.    Did you ever talk to him about it?

5      A.    I talked to him about the Isikoff article the day we saw

6      it.

7      Q.    I am talking about a sworn statement.

8      A.    No, I never talked to him about a sworn statement.

9      Q.    As the team leader, didn't you think it was important, in

10     response to the August 30 court order, to go to everyone

11     covered by that order and make clear that they were going to

12     have to submit sworn testimony in this proceeding?

13     A.    It's important, but that doesn't mean I am going to be

14     doing everything; we divied up responsibilities.

15     Q.    Mr. Kreindler, after the court's August 30 order, which is

16     going to reveal the evidence we now know today, Yahoo News

17     filed a motion with the court to either stop or substantially

18     limit the court's investigation into what happened.         Do you

19     recall that?

20     A.    Yes.

21     Q.    You personally supported that motion, didn't you?

22     A.    I really had very little to do with it, but I thought sure.

23     Q.    Let's put on the screen Exhibit 51.     This letter you did

24     sign.    You didn't delegate it to one of your subordinates.

25     September 9, 2021.    Let's go to the second page.      That's your
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1      electronic signature, right?

2      A.   Yes, it is.

3      Q.   Let's go to the first page.     Isn't the substance of this

4      letter you supporting Yahoo News' motion?

5      A.   Let me just see it for a second.

6                Yes.    This is our letter saying we think the order

7      should be modified.

8      Q.   You're supporting Yahoo News' motion, correct?

9      A.   To modify the court's order, yes.

10     Q.   And this one you think is important to sign yourself,

11     right?

12     A.   Sure.

13     Q.   In this one, you again make your statement that materials

14     shouldn't be covered by these protective orders, which you have

15     otherwise called disgusting in other places?

16     A.   I'm sorry.    What are you pointing out to me in this letter?

17     Q.   Don't you also say in this letter that you think materials

18     covered by the protective order shouldn't be covered?

19     A.   I say exactly what you say.     We have argued in favor of

20     public access to all judicial materials.

21     Q.   And you again disparage the two protective orders, don't

22     you?

23     A.   In this letter, no.

24     Q.   But the Yahoo -- by the way, which other of your

25     plaintiffs' firms joined you in this request to squash or
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1      limit, the Yahoo News' motion, the court's investigation?

2      A.   I don't know from memory.

3      Q.   The answer is zero, right?

4      A.   If you say so.

5      Q.   Well, do you remember any other firm joining you in support

6      of Yahoo News' motion to try and obfuscate or obstruct the

7      court's investigation?

8                MS. KIRSCH:    Objection.

9                THE COURT:    Overruled.

10     A.   I don't.   And I will tell you exactly why my --

11     Q.   I don't need why.    It's a "what" question.     Did anybody

12     else join you in your efforts to support the Yahoo News motion?

13     A.   Not that I recall.

14     Q.   So another couple of questions and we will be done.

15               You submitted a declaration as demanded by the court

16     in its August 30 order.     It's at 56A, and I will get that up in

17     front of you.

18               We have talked at some length this morning about what

19     you did and didn't do to try and be accurate in what you were

20     submitting to the court, but isn't it true, Mr. Kreindler, that

21     this declaration is false or misleading?

22     A.   I do not believe it's false and misleading.       If there is

23     something that concerns you, please point it out to me.

24     Q.   Let's go to page 3.

25               You say, underlined, "I never discussed the content of
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1      the Jarrah deposition with Isikoff or anyone acting on his

2      behalf."

3                  Do you see that?

4      A.   Not yet.    Oh, yes, I see it now.

5      Q.   Those are your words, correct?

6      A.   Yes.    Correct.

7      Q.   In fact, you talked with Mr. Isikoff on his podcast about

8      what he characterizes as three principles, including Bayoumi,

9      Thumairy, and Jarrah by name, correct?

10     A.   Are you asking me if he referred to Jarrah, Bayoumi, and

11     Thumairy by name?

12     Q.   Yes.

13     A.   I think so.   I don't specifically remember it.

14     Q.   And you claimed, again in the podcast, and we played the

15     podcast, I am quoting here, you claimed you "exposed all kinds

16     of lies" in the sworn and sealed testimony.

17                 Do you recall saying that?

18     A.   Yes.

19     Q.   In fact, that's content of depositions, isn't it?

20     A.   No.    It's my characterization, my opinion of what we

21     accomplished during the deposition.

22     Q.   It's not an opinion, it's what the witnesses supposedly

23     said, isn't it?

24     A.   Not supposedly, what they did say.

25     Q.   I see.    Now you're communicating the truth about these
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1      sworn depositions.      And that's what you do, Mr. Kreindler, you

2      decide what is OK to communicate, even though you are

3      purporting to communicate things that you are not allowed by

4      order to try and communicate, correct?

5                 MS. KIRSCH:   Objection.    It's argumentative.     It

6      misstates facts and six other things.

7                 THE COURT:    Sustained.

8                 Rephrase the question, Mr. Hansen.

9      Q.    I will just ask it very simply, Mr. Kreindler.

10                When you say that you exposed all kinds of lies, in

11     the sworn sealed testimony, are you telling this court under

12     oath that this isn't purporting to communicate content from the

13     depositions?

14     A.    It is not communicating the content of what anyone said.

15     It is me saying to Mike Isikoff that we accomplished what we

16     hoped to accomplish, and pointing out -- now I am struggling

17     because there are things I can't say, but it is me

18     communicating to Mike Isikoff that the depositions were a

19     success because we got witnesses to contradict each other,

20     lies, etc.    It is my absolute belief that I said nothing about

21     the content of what any of the witnesses said because I wasn't

22     allowed to.

23     Q.    How about when you said to Mr. Isikoff on the air, "One

24     witness will contradict another."       That was content too, wasn't

25     it?
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        LB189114                   Kreindler - Cross

1                 MS. KIRSCH:   Objection.

2                 THE COURT:    Basis.

3                 MS. KIRSCH:   Asked and answered.

4                 THE COURT:    Overruled.

5                 You can answer it.

6      A.   I do not believe that's content.       That's characterization,

7      in my opinion.

8      Q.   How about when you said, "Each person wants to minimize

9      their own role and point fingers at others."         That was content

10     too, wasn't it?

11     A.   No.

12     Q.   How about when you claimed you had a "smoking gun or guns,"

13     that's content too, right?

14     A.   No.

15     Q.   How about when you said Mr. Isikoff said it sounded like "a

16     confession," but then you responded by saying, "No, not a

17     confession," but it was still "damning dramatic."         That's not

18     content either?

19     A.   No.   It's a characterization that it's damning and

20     dramatic.    It is not the content because I am not allowed to

21     talk about the content.

22     Q.   Let's look at another part of your declaration.         You said

23     in your declaration under oath that no one other than people at

24     your firm who had submitted sworn statements on the 27th of

25     September had access to the deposition transcripts, correct?
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        LB189114                   Kreindler - Cross

1      A.   That's what I said in my declaration?

2      Q.   Let's put it on the screen so we are all looking at the

3      same thing.     56A, pages 3, 4.

4                  THE COURT:    Mr. Hansen, to the extent you are going to

5      read anything, can I remind you to speak more slowly, please.

6                  MR. HANSEN:    I apologize for my speed.

7                  Let's get to the right place.      This is the last page

8      carry-over.     I am going to discipline myself to try not to

9      rush.

10     Q.   It says, "State every person that they know had access to

11     the deposition transcripts who has not already supplied a

12     declaration in this investigation."         And you answered "none."

13                 Do you see that?

14     A.   Yes.

15     Q.   Now, I don't want to go back and do all the questions we

16     did this morning, but I think we established this morning that

17     you had no idea who within Kreindler & Kreindler had access to

18     the deposition transcripts.       Isn't that true?

19                 MS. KIRSCH:    Objection.   He can point to the testimony

20     if that's what he wants to do.       I don't know what he is talking

21     about.

22                 THE COURT:    You don't know?

23                 MS. KIRSCH:    He is purporting to quote earlier

24     testimony.     If he wants to purport to quote earlier testimony

25     of Mr. Kreindler, he can show us the earlier testimony.
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1                 THE COURT:    Overruled.

2                 You can continue.

3      A.   I'm sorry.    Your question is?

4      Q.   I will ask it again so we are not confused.        And I won't

5      characterize your prior testimony.

6                 What was your basis, your basis for giving a sworn

7      statement that no one other than the people from Kreindler &

8      Kreindler, who had provided sworn declarations on September 27,

9      had, quote, access to the deposition transcripts?

10     A.   Again, I am relying upon my partners who were working on

11     this.

12     Q.   Who told you that?

13     A.   We had a -- we talked about the declarations.        Duke told

14     everyone about his --

15     Q.   Who told you that the only people at Kreindler & Kreindler

16     who had access to deposition transcripts were those that

17     submitted declarations?      Real simple.

18                MS. KIRSCH:    Objection.   Mr. Hansen is respectfully

19     misreading the sentence.      If he wants to go back and read the

20     sentence in Mr. Kreindler's declaration, he can do that, but

21     let's not skip words, let's read the whole sentence.

22                MR. HANSEN:    Can you put it up again?

23                THE COURT:    The "they" here is the firm Kreindler &

24     Kreindler?

25                MR. HANSEN:    It's Mr. Kreindler responding to this.
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1                  MS. KIRSCH:   Respectfully, your Honor, the "they" is

2      not the firm.     This is for each person to answer these

3      questions.

4                  MR. HANSEN:   He is the affiant here.     It goes to his

5      knowledge.

6                  THE COURT:    The "they" is the affiant.

7                  MR. HANSEN:   It's got to be.

8                  MS. KIRSCH:   "They" is the affiant.

9                  MR. HANSEN:   They can't be an affiant.

10                 MS. KIRSCH:   Actually, nowadays it is.

11     BY MR. HANSEN:

12     Q.   Mr. Kreindler, did you understand yourself to be giving an

13     affidavit here in this sworn statement?

14     A.   Yes.

15     Q.   Were you answering this as to your own personal knowledge?

16     A.   Yes.

17     Q.   In response to my prior question, you said someone told you

18     the information that gave you the basis to answer this last

19     question the way you answered it.       The last question is, who

20     was the person who told you that?

21     A.   Now looking at it, I understand it.       "They," in this case,

22     being me.     I read the question asking me, state every person

23     who they, Jim Kreindler, shared the deposition transcript with.

24     Q.   Wrong question.      They had access.   The question was about

25     access.
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        LB189114                   Kreindler - Cross

1      A.   I'm saying, from my personal knowledge, I didn't know that

2      someone had access other than my partners who we have been

3      talking about.

4      Q.   That's still not answering my question.        In response to my

5      earlier question, you said someone had provided you information

6      that gave you what you considered to be a valid basis for

7      giving this answer.     So who is the someone?

8      A.   Now we have got to -- I am looking at the question now.

9      Let me answer it as I see it and understand it now.

10                State every person that I knew had access to the

11     deposition transcript who has not already supplied a

12     declaration.    I didn't know of anyone who had access other than

13     my partners who were supplying declarations.

14     Q.   What did you do to inform yourself as to who actually did

15     have access before you provided this sworn testimony to the

16     court?

17     A.   We are talking in circles because I understand this to mean

18     who did I personally know had access, and I didn't know of

19     anyone else.

20     Q.   Did you ask Mr. Hartney if this was an accurate statement?

21     A.   No, because I am answering from my personal knowledge.

22     Q.   I will give you a hypothetical, Mr. Kreindler.        If you had

23     been told by Mr. Hartney before submitting this that, in fact,

24     everybody with employee log-in credentials at Kreindler &

25     Kreindler had at least access to these transcripts, would you
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1      answer this question this way?

2                 MS. KIRSCH:   Objection.    It's an improper

3      hypothetical.

4                 THE COURT:    Overruled.

5      A.   I think I would have tried one way or another to get it

6      clarified so that I can answer the question properly.          So if

7      someone came to me and said, John Hartney knows that everybody

8      in the firm had access to the deposition, when looking at this,

9      I would have discussed it with my partners and tried to figure

10     out if we should seek clarification or I should answer it the

11     way I understand it, so that there is no mistake or

12     misunderstanding.

13     Q.   So one last question on this topic.

14                What, if anything, did you do to inform yourself about

15     who actually did have access before you gave this sworn

16     statement to the court?

17     A.   Since I understood this question to refer to my personal

18     knowledge, I didn't do anything to find out if people who I

19     didn't know about had access.

20     Q.   All right.    Just some wrap-up questions, Mr. Kreindler.

21                You have already said in your declaration that you

22     never instructed anyone, including Mr. Fawcett, to turn over

23     the sealed transcript to Mr. Isikoff or anyone else.          But given

24     your press strategy, your corrosive statements about protective

25     orders being disgusting and your own personal violation of
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1      protective orders in 2017, as well as what we have shown today,

2      there is substantial reason to doubt your word on that, isn't

3      there?

4      A.   None whatsoever.     And your question contains statements

5      that are not true.

6      Q.   You still dispute that you were found guilty of a

7      protective order violation in 2017?

8                 MS. KIRSCH:    Objection.

9                 THE COURT:    He doesn't need to answer the question.

10     Q.   You didn't even need to give an express instruction to Mr.

11     Fawcett to make this leak happen, did you?

12     A.   That's nonsense.     I have no idea the leak could happen, and

13     the leak was antithetical to what we were trying to proceed.

14     Q.   According to your testimony, you didn't have an idea about

15     a lot of what was happening, correct?

16                MS. KIRSCH:    Objection.

17                THE COURT:    Sustained.

18     Q.   Mr. Fawcett knew what you wanted, and he did what you

19     wanted, and that's why we are here today, isn't that right?

20     A.   No.

21                MS. KIRSCH:    Objection.

22                THE COURT:    Overruled.

23     A.   That is absolutely 100 percent false and has no relation to

24     reality.

25                MR. HANSEN:    No further questions, your Honor.
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1                  THE COURT:    Thank you.

2                  Ms. Kirsch, are you ready or would you like a moment?

3                  MS. KIRSCH:    I would like a moment.

4                  THE COURT:    We will take a quick two-minute recess.

5                  (Recess)

6                  THE COURT:    Ms. Kirsch, your witness.

7      REDIRECT EXAMINATION

8      BY MS. KIRSCH:

9      Q.   Mr. Kreindler, good afternoon.

10                 There was some discussion earlier about the protective

11     orders in this case, correct?

12     A.   Yes.

13     Q.   You were asked, or the point was made that you personally

14     have not made a motion to lift those protective orders.          Can

15     you tell me, have you ever considered making such a motion?

16     A.   Yes.    More than considered it.    We had it drafted and under

17     discussion for really quite some time, as we, the committee,

18     tried to formulate the best motion to bring.         We never filed

19     it, actually, because at the time we were ready to file, in the

20     lead up to 9/11, we knew that there was going to be an

21     Executive Order, which, in fact, Joe Biden issued on September

22     4th.   And, as you know, that Executive Order mandated that the

23     2016 review be given to us and the public, mooting any orders

24     from DOJ as to that, and providing for declassification of

25     other 9/11 documents, which is going to happen tomorrow.
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1                  Now, tomorrow we don't know what will be released and

2      whether there will be redactions or how many, but tomorrow we

3      expect a lot of what we have and have had to keep secret to be

4      made public.     I should also add that I talked to a number of

5      people in the Administration about this to suggest that they do

6      it on their own.

7      Q.   So I wanted to turn your attention briefly, there should be

8      a witness book of exhibits by the Kreindler firm, not that big

9      book.

10     A.   This is the only one up here now.

11                 MS. KIRSCH:   Your Honor, may I approach?

12                 THE COURT:    Yes.

13     A.   Thank you.    OK.

14     Q.   I am going to ask you to flip all the way to the back, if

15     you would, to Exhibit 102.

16     A.   Yes.

17     Q.   Do you see that this is the July 23rd motion filed by the

18     Kingdom of Saudi Arabia in relation to getting some discovery

19     and looking into the Isikoff leak.       Do you see that?

20     A.   Yes.

21     Q.   If you turn a few more pages, there is a document that is

22     the declaration of Michael Kellogg, Exhibit D3 to that filing.

23     Do you see that?

24     A.   Yes.

25     Q.   And then I am going to turn you to what looks like Exhibit
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1      D3-A, which is an e-mail from Mr. Isikoff to Mr. Kellogg.          Do

2      you see that?

3      A.   Yes.

4      Q.   I am going to give you a moment to look at that e-mail and

5      ask you whether you recognize the quotation that Mr. Kellogg is

6      being asked to comment on, the quotation that is attributed to

7      you.

8      A.   Yes.

9      Q.   Is that a quotation that you said on the podcast?

10     A.   Yes.

11     Q.   We actually just heard the podcast with you saying these

12     very words?

13     A.   Right.

14     Q.   And that podcast aired on July 10, correct?

15     A.   Yes.

16     Q.   This was filed on July 23, is that correct?

17     A.   Yes.

18     Q.   So if you look back, the previous page of Mr. Kellogg's

19     declaration filed in support of his motion, you will see the

20     very last sentence says, "A true and correct copy of a July 5,

21     2021 e-mail from Mr. Isikoff to me is attached as Exhibit A."

22                 Do you see that?

23     A.   Yes.

24     Q.   And does Mr. Kellogg in his statement to the court advise

25     the court that this is a publicly made statement?
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1      A.   No.

2      Q.   Does Mr. Kellogg advise the court that this was a podcast

3      that had aired two weeks prior that Mr. Kellogg was offered the

4      opportunity to comment on?

5      A.   No, he does not.

6      Q.   Does Mr. Kellogg provide in his declaration to the court

7      any context about this e-mail whatsoever to help the court

8      understand what it is?

9      A.   No.

10     Q.   I wanted you now, can we just flip to what is Exhibit 29 in

11     our book?

12     A.   Sure.   OK.

13     Q.   By the way, Mr. Kreindler, do you think it would have been

14     helpful to the court to understand that Mr. Isikoff is asking

15     Mr. Kellogg to comment on a publicly made statement as opposed

16     to something that may have been said privately?

17     A.   Yes.

18     Q.   If we look at Exhibit 29, that cover page, this is the

19     August 16 filing made by the Kreindler firm in response to the

20     court's order.     Do you see that?

21     A.   Yes.

22     Q.   And your declaration, Mr. Kreindler, is the second one.

23     It's labeled page 5 of 10 at the top.        If we could take a look

24     at that.

25     A.   Yes.
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1      Q.   Now, the two introductory paragraphs we are going to skip

2      over.

3                  Paragraph 3.   "I obtained a copy of the rough

4      transcript of the Jarrah deposition at the end of each day that

5      he was deposed and a final copy of the transcript from both

6      days of the Jarrah deposition on June 28 from Golkow Litigation

7      Services, both in unredacted and a redacted copy."

8                  Do you see that?

9      A.   Yes.

10     Q.   Is that a true and accurate statement, Mr. Kreindler?

11     A.   Yes.

12     Q.   Paragraph 4.    "On July 7, Golkow Litigation Services sent

13     an e-mail with links to the video of the Jarrah deposition."

14                 Is that a true statement, Mr. Kreindler?

15     A.   Yes.

16     Q.   "At no time did I share the Jarrah deposition transcript or

17     videos with anyone unauthorized to see it under the protective

18     order and the FBI protective order."

19                 Is that a true statement?

20     A.   Yes, it is.

21     Q.   "At no time did I direct anyone to share the Jarrah

22     deposition transcript or videos with anyone unauthorized to see

23     it under the protective order and the FBI protective order."

24                 Is that a true statement?

25     A.   Yes.
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        LB189114                   Kreindler - Redirect

1      Q.   "To my knowledge, no one with the Kreindler firm or anyone

2      acting on its direction shared the Jarrah deposition transcript

3      with anyone unauthorized by the protective order in the FBI

4      protective order."

5                  Is that true statement?

6      A.   Yes.

7      Q.   In your opinion, Mr. Kreindler, is there anything about

8      this that is misleading?

9      A.   No.

10     Q.   Is there anything in this declaration that is incomplete?

11     A.   No.

12     Q.   Is it your opinion that this is what the court had asked

13     for the declarations to opine on?

14     A.   Yes.

15     Q.   If you could flip to Exhibit 87 in our book also, Mr.

16     Kreindler.

17     A.   Sure.

18     Q.   This is the September 27 filing that was made by the

19     Kreindler firm.     Do you see this?

20     A.   Yes.

21     Q.   We spent some time on this on your cross-examination, or

22     Mr. Hansen did.

23                 If you look at page 3 of 53 through 6 of 53.

24     A.   OK.

25     Q.   That's your declaration, is that true?
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        LB189114                   Kreindler - Redirect

1      A.   Yes.

2      Q.   If you would start with paragraph 5 which refers -- let's

3      go back to paragraph 4.

4                  "I learned on July 15th."    So you learned the day the

5      article came out, you learned that there had been a leak of the

6      Jarrah transcript, is that right?

7      A.   Yes.

8      Q.   And that was discussed with others from the Kreindler firm

9      working on the 9/11 litigation, correct?

10     A.   Yes.

11     Q.   On that call, Mr. Kreindler, was there a discussion of

12     whether any of the participants of that call, the Kreindler

13     9/11 team, was there a discussion as to whether any of you had

14     any knowledge of how the Jarrah transcript was transmitted to

15     Mr. Isikoff?

16     A.   Yes.

17     Q.   Can you tell me what that discussion entailed?

18     A.   Sure.    It was each of us saying, I have no idea how this

19     could have happened, does anybody have any ideas?         And going

20     around in the group saying the same thing.        Where did this come

21     from?   And this is not good for us.      Any clue?

22     Q.   If you look at paragraph 5 -- well, let me just finish that

23     question.     I assume the takeaway was that everyone indicated

24     that they had no knowledge, is that true?

25     A.   Yes.    We all had no knowledge, and then there was some
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1      speculation as to who might have done it.        Is it possible for

2      somebody in the technical group to do it?        I volunteered, I

3      said, the only entity that might have done it that would make

4      sense would be the Saudis, to get it out now before 9/11 when

5      there is great media attention, if it's going to come out

6      anyway.    But other than that guess, speculation, no one had any

7      idea where it could have come from.

8      Q.   Mr. Kreindler, was Mr. Fawcett on that call?

9      A.   I think so.

10     Q.   Was it your takeaway that Mr. Fawcett was one of the many

11     who said he had no idea how this could have happened?

12     A.   Yeah.   What I distinctly remember more than the call was

13     our in-person discussion in the office.        But, yeah, John, to me

14     seemed as surprised as everyone.

15                THE COURT:   Who was involved in that in-person

16     discussion?

17                THE WITNESS:    The sequence, your Honor, I read it at

18     home, got to the office later.       The first people I spoke to

19     were Duke and John.     And I think, we can check the dates, that

20     Steve was doing a deposition that day.        I'm not positive, but I

21     remember him being tied up and I think then later talked to

22     Megan.    And in an earlier call, we decided that, as of that

23     moment, Duke would lead the investigation into all the computer

24     stuff and who could have had access or e-mailed Mike Isikoff.

25                Then, later that day we had a call with the whole PEC.
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1      First, we had an internal Kreindler call and then a PEC call a

2      little later that day.      The specific question, I don't

3      distinctly remember John being on the PEC, but he might have.

4      I just don't remember.      But I do remember the personal

5      discussions with him in the office face-to-face.

6                 THE COURT:   Thank you.

7      BY MS. KIRSCH:

8      Q.   Mr. Kreindler, when you pulled together this declaration

9      that was filed on September 27, did you make your best efforts

10     to ensure that every statement here was accurate and not

11     misleading?

12     A.   Of course.

13     Q.   In your opinion, sitting here today, is any of it

14     inaccurate?

15     A.   No.

16     Q.   Or misleading?

17     A.   No, not at all.

18     Q.   It says on page 6 of 53, at paragraph 7, "For the first

19     time today" -- which is September 27 -- "I learned the

20     information set forth in the declaration of John Fawcett."

21                Is that a true statement?

22     A.   It is.   Later that afternoon.

23     Q.   Mr. Kreindler, as a general matter, how often did you

24     communicate with Mr. Fawcett in the course of your work on this

25     case?
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        LB189114                   Kreindler - Redirect

1      A.    Probably more than I talked to my wife.       9/11 is all I do,

2      what John was working on.      There were times when John's

3      attention was needed by one of my partners, getting ready for a

4      deposition, but I would talk to John all day.         I can't say I

5      spoke to him every single day, but constantly.

6      Q.    Would you say you spoke to him most days?

7      A.    Oh, sure.   Many times at night, I would wake up at 3 in the

8      morning with an idea, shoot him a message.        And sometimes it's

9      still dark when I hear from John, get your first cup of coffee,

10     and we would talk about something.       But it's constant.     We were

11     working on the Saudi case all the time, every day.

12     Q.    Did you communicate with Mr. Fawcett about the protective

13     orders in this case?

14     A.    Yes.   Sure.

15     Q.    What was the nature of those communications?

16     A.    They were really two-fold.     We would often talk about our

17     efforts to get these orders lifted, the motion we were working

18     on.    But even long before that, I talked about these orders

19     with Kirsten Gillibrand, Chuck Schumer, Dick Blumenthal, all

20     the time, Tony Blinken, Brian McKeon, later with Jonathan

21     Cedarbaum in the NSA, DOJ people.       And in talking to them about

22     our need for the FBI documents so the whole story can come out,

23     and our need once we have documents to be able to share them

24     with the families and the public so everyone can know and we

25     could really talk to our clients, I would always talk to John
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        LB189114                   Kreindler - Redirect

1      and say, hey, can you dig up something or other that I might

2      refer to in these communications with people in our government.

3                 The other distinct area where I talked to him was what

4      we talked about before, 2017, with the phone number in the

5      letterhead of the Saudi Embassy, and that was found to be a

6      violation.    And John and I -- John would deal with protective

7      stuff every day for 20 years.       And that brought home to us,

8      even if we are not revealing content, you can't show a page,

9      even if it's in Arabic and no content can be communicated,

10     particularly something that's public like you could get the

11     phone number from the yellow pages.

12                So, John and I had that discussion in 2017 so that, to

13     the extent humanly possible, there would never be any violation

14     of these court orders.      That was a discreet discussion.      The

15     other discussion about how we can, number one, and most

16     importantly, get the documents, and that stuff I raised with

17     President Trump and others, that has been constant for these

18     last four years.

19     Q.   So, is it fair to say that in the course of these different

20     types of discussions, Mr. Fawcett indicated that he understood

21     his obligations under these protective orders?

22     A.   Absolutely.    What we tried to do is often, if you have the

23     two versions side by side and you look at it, it's hard to tell

24     because a word is hidden in one and not the other, so before

25     sending anything public to anyone, even if I had the document
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1      in front of me on my phone, I would say, John, please send me

2      the public one to be doubly sure that we are not making a

3      mistake and passing on one that we can't.

4                 So John was involved in helping me try and live with

5      this procedure that everyone knows is a lot of work with the

6      two versions, in the public or not, to make sure there was no

7      mistake.

8      Q.   Did Mr. Fawcett ever give any indication that he did not

9      intend to abide by his obligations under the protective orders?

10     A.   Not at all.

11     Q.   Did Mr. Fawcett ever act in an unprofessional manner in any

12     respect?

13     A.   No.    John, for almost 20 years, it will be 20 years in

14     February, John is one of the most committed -- I'm sorry -- and

15     honest and trustworthy people I ever met.

16                I'm sorry for getting emotional.      I have told you this

17     story.     It's neither here nor there.     But I believe John came

18     to work for us the day after my dad died, and my dad died when

19     we were settling the Pan Am 103 case with Libya.         We were

20     almost done, and it's like Moses dying when he is bringing home

21     the Ten Commandments.      And John got to me through a high school

22     classmate, and John has been so central to the families and has

23     this unique ability to uncover and handle information.          In my

24     entire life, I have never met anyone who I think of as a more

25     honest and noble person than John, with one exception, my
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1      father.

2                 We would not be here today, and we would not be

3      getting FBI documents tomorrow, and this coming out, if it

4      wasn't for John.     And truthfully, it breaks my heart for us, to

5      the families who he has devoted 20 years of his life to, I wish

6      it didn't happen, it was a mistake, but he is such a good

7      person and so important to thousands of people.         And when this

8      is over, when the whole case is over, and hopefully sooner

9      rather than later, and we all are where we want to be, he just

10     deserves so much credit for what he has done and what he has

11     given.

12                I know I am violating in talking so much, but this has

13     been my life for 20 years, and his.       I had to say it.     I

14     apologize for being emotional, and I apologize for diverting

15     from the specific question, but I think it just needs to be

16     said.    So I'm sorry for talking too much.

17     Q.   I just have a couple more questions, Mr. Kreindler.

18     A.   Sure.

19     Q.   Did you order or direct Mr. Fawcett to send the copy of the

20     Jarrah transcript to Mr. Isikoff?

21     A.   No.

22     Q.   Did you know that Mr. Fawcett was going to send the Jarrah

23     transcript to Mr. Isikoff?

24     A.   No.

25     Q.   Did you know at any time prior to September 27 that Mr.
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        LB189114                   Kreindler - Redirect

1      Fawcett had sent the transcript to Mr. Isikoff?

2      A.   No.   I had no idea at all until I heard that afternoon.

3      Q.   Did you ever have any reason to suspect that Mr. Fawcett

4      would send the Jarrah transcript to Mr. Isikoff?

5      A.   None whatsoever.

6                 MS. KIRSCH:    I have no further questions.

7                 THE COURT:    Yes, Mr. Hansen.

8                 MR. HANSEN:    No more questions for Mr. Kreindler, your

9      Honor.

10                THE COURT:    I just have one question for you, Mr.

11     Kreindler.    Did you ever reach out to Mr. Isikoff and ask him

12     how he received the transcript?

13                THE WITNESS:    No, I didn't.    Once I saw the story, I

14     didn't say anything to anyone until we got to the office and

15     talked about what we are going to do with this revelation.           But

16     I thought, we all thought that none of us should be calling

17     Mike Isikoff.

18     Q.   Did anyone on the PEC side ask you, given your relationship

19     with Mr. Isikoff, to reach out to him to find out how he got

20     the transcript?

21     A.   No, that never came up.     And we all expect that if he was

22     ever asked, I am not going to reveal my sources.

23                THE COURT:    Thank you.

24                You are excused.

25                THE WITNESS:    Thank you, your Honor.
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        LB189114                   Kreindler - Redirect

1                 Can I stay in the courtroom now?

2                 THE COURT:    Yes, you may.   In fact, you should.

3                 (Witness excused)

4                 THE COURT:    Who is your next witness?

5                 MR. SHEN:    Saudi Arabia calls John Hartney.

6                 (Continued on next page)

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     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 123 of 490 132
        LB1H9115                   Hartney - Cross

1                  THE COURT:    Mr. Shen, while we're waiting, do you have

2      an estimate of how long we'll need this witness time-wise?

3                  MR. SHEN:    For Mr. Hartney?

4                  THE COURT:    Yes.

5                  MR. SHEN:    Maybe an hour and a half.

6                  THE COURT:    Maybe an hour and a half.    It's nearly

7      3 o'clock.     Maybe in a half-hour, we can take a five-minute leg

8      stretch.

9                  MR. SHEN:    Yes, your Honor.

10                 THE COURT:    Hello, sir.   Have a seat here.    Stay

11     standing for a second.

12     JOHN HARTNEY,

13           called as a witness by the Defendants,

14           having been duly sworn, testified as follows:

15                 THE WITNESS:    John Hartney.

16                 THE COURT:    Thank you, sir.

17     CROSS-EXAMINATION

18     BY MR. SHEN:

19     Q.   Good afternoon, Mr. Hartney.

20     A.   Good afternoon.

21     Q.   Are you currently employed for Kreindler & Kreindler?

22     A.   Yes.

23                 MR. SHEN:    And can we show Exhibit 74, please.

24     Q.   Do you recognize this as your profile in the Kreindler

25     website?
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        LB1H9115                   Hartney - Cross

1                  MS. KIRSCH:    I'm sorry.   Can I have a moment to look

2      at the document, please?

3                  THE COURT:    Sure.

4                  MR. SHEN:    We can do it without the document.

5                  THE COURT:    It's the signature line on the website.

6                  MS. KIRSCH:    I'm sure it is.

7      BY MR. SHEN:

8      Q.   Is your title LAN administrator?

9      A.   Correct.    Yes.

10     Q.   Sir, does "LAN" stand for local area network?

11     A.   Yes.

12     Q.   And how long have you had that title, sir?

13     A.   Since I've been at Kreindler.

14     Q.   And when did you start at the firm?

15     A.   April 1991.

16     Q.   Sir, do you report to Javier Cisneros?

17     A.   No.

18     Q.   Who's your direct supervisor, sir?

19     A.   I'd say the partnership.

20     Q.   The attorneys at the firm?

21     A.   Yeah.

22     Q.   Now, sir, you signed a declaration in this case, correct?

23     A.   Yes.

24     Q.   Can we see the declaration at 56F.

25                 You have a binder of exhibits that are in front of
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 125 of 490 134
        LB1H9115                   Hartney - Cross

1      you.   Sir, you did not draft this declaration, correct?

2      A.   No.

3      Q.   The lawyers at the firm drafted it for you?

4      A.   Yes.

5      Q.   And that was Mr. Maloney, correct?

6      A.   The first one, yes.

7      Q.   And Ms. Benett --

8      A.   Yes.

9      Q.   -- correct?

10                 And Mr. Pounian also drafted the language in your

11     declaration, correct?

12     A.   I believe so, yes.

13     Q.   Now, sir, the lawyers at the firm, you said that you report

14     to them.     They're generally in a position of authority over

15     you?

16     A.   I report to the partnership.

17     Q.   The partners are in a position of authority over you, sir?

18     A.   Yes.

19     Q.   And generally speaking, if one of those partners asked you

20     to do something, you do it, right?

21     A.   Well, it matters what they're asking me to do.

22     Q.   All right.    Well, they asked you to sign a declaration.        So

23     you reviewed the declaration, and you signed it, correct?

24     A.   They asked me to sign the declaration that I felt was

25     truthful.
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        LB1H9115                   Hartney - Cross

1      Q.   Now, sir, you're generally familiar with the fact that

2      Kreindler & Kreindler is representing the plaintiffs in the

3      9/11 litigation?

4      A.   Correct.

5      Q.   And you're generally familiar with the fact that certain

6      material, such as documents and deposition transcripts, are

7      governed by protective orders in this action, correct?

8      A.   Yes.

9      Q.   Have you reviewed the MDL protective order?

10     A.   No.

11     Q.   You've never looked at it?

12     A.   Not that I recall, no.

13     Q.   Have you looked at the FBI protective order?

14     A.   No.

15     Q.   You've never looked at it?

16     A.   No.

17     Q.   You've never signed it?

18     A.   No.

19     Q.   You never agreed to abide by it?

20     A.   No.

21     Q.   Did the Kreindler firm maintain a list of the individuals

22     who had signed each of the protective orders?

23                 MS. KIRSCH:    Objection.   Foundation.

24                 THE COURT:    If you know the answer, you can answer it,

25     sir.
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        LB1H9115                   Hartney - Cross

1                 THE WITNESS:    Say that again.

2                 THE COURT:   You can answer the question if you are

3      able.

4      A.   No, I do not.

5      Q.   Did the IT department maintain a list of the individuals

6      who had signed the MDL and FBI protective order?

7      A.   No.

8      Q.   So you have no idea who at the firm had signed the MDL or

9      the FBI protective order, correct?

10     A.   Correct.

11     Q.   Now, sir, prior to September 27 of 2021, the protected

12     confidential material relating to the 9/11 case, they were

13     saved in electronic form in various places at the Kreindler

14     firm, correct?

15     A.   Can you repeat that question?

16     Q.   Sure.   I'm referring to the confidential and protected

17     material relating to the 9/11 case.       Those were saved in

18     various location at the Kreindler firm.        I'm talking

19     electronically.

20     A.   Are you saying that every document that was classified was

21     saved in different locations or --

22     Q.   Classified documents were saved in different locations,

23     correct?

24     A.   What do you mean by "locations"?

25     Q.   One of those locations was an internal proprietary server
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 128 of 490 137
        LB1H9115                   Hartney - Cross

1      that the Kreindler firm maintained?

2      A.   Yes.

3      Q.   One of those locations was a cloud-based storage system,

4      correct?

5      A.   Correct.

6      Q.   Some of that protected information was also saved as

7      attachments to emails and were discussed in Kreindler firm

8      emails, correct?

9      A.   Correct.

10     Q.   They were also saved on firm or home computers used by the

11     Kreindler attorneys, correct?

12     A.   I don't know.

13     Q.   You don't know one way or the other?

14     A.   What do you mean "one way or the other"?        Of what?

15     Q.   You have no idea whether any of the Kreindler attorneys

16     kept protected confidential information on their home

17     computers --

18     A.   No.

19     Q.   -- or on their devices, their phones?       You have no idea?

20     A.   No.

21     Q.   You were never asked to investigate that issue?

22     A.   No.

23     Q.   Now, you testified that one of the places that protected

24     information is stored is on the Kreindler firm's internal

25     proprietary server.     What's that server called?
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1      A.   The main server?    The exact name, it's NYFS1.

2      Q.   What do you refer to it as?

3      A.   Well, there's a share on that network called Case Media.

4      Q.   You refer to it as Case Media?

5      A.   And there's other shares also.

6      Q.   Was the 9/11 protected material stored in Case Media?

7      A.   Yes.

8      Q.   That includes -- well, do you know whether that includes

9      MDL-protected information as well as FBI-protected information?

10     A.   I don't know.

11     Q.   You just know that it's confidential, protected information

12     was stored in the Case Media server, correct?

13     A.   Correct.

14     Q.   Now, prior to September 27 of 2021, anybody who worked at

15     the Kreindler firm had access to the Case Media server,

16     correct?

17     A.   Could you repeat that.

18     Q.   Prior to September 27 of 2021, anybody who worked at the

19     Kreindler firm had access to Case Media where the protected

20     information relating to the 9/11 case was saved, correct?

21     A.   Yes.

22     Q.   That's all of the lawyers who worked at the Kreindler firm?

23     A.   Yes.

24     Q.   That's all of the staff at the Kreindler firm?

25     A.   Yes.
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        LB1H9115                   Hartney - Cross

1      Q.   That is individuals like John Fawcett as well?

2      A.   Yes.

3      Q.   So long as you had a Kreindler login, you could access that

4      Case Media, correct?

5      A.   Yes.

6      Q.   So that includes people who did not work on the 9/11 case,

7      right?

8      A.   Correct.

9      Q.   That includes people who had never seen the FBI or the MDL

10     protective order, correct?

11     A.   Can you repeat that question.

12     Q.   That includes people who had never seen the protective

13     orders in this case.       They had access to Case Media, too?

14     A.   You mean the users that have login credentials that have

15     never seen that information?

16     Q.   People who have not signed the protective orders in this

17     case, they had access to the Case Media server, too, correct?

18                 MS. KIRSCH:    Objection.   He doesn't know who did or

19     didn't sign, so how can he answer that question?

20                 THE COURT:    I think the testimony is that everybody

21     who has access to the server has access to this file.          Is that

22     correct, sir?

23                 THE WITNESS:    Correct.

24                 THE COURT:    OK.

25     Q.   And the firm has no ability to track who actually accessed
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 131 of 490 140
        LB1H9115                   Hartney - Cross

1      any of the confidential and protected material saved in Case

2      Media, correct?

3      A.   Correct.

4      Q.   So you have no idea, for instance, whether Jim Kreindler

5      accessed the Al Jarrah transcript, correct?

6      A.   On.

7      Q.   On Case Media?

8      A.   Correct.

9      Q.   Or anybody else at the firm.      You just have no idea?

10     A.   Correct.

11     Q.   So sitting here today, throughout the history of this case,

12     you couldn't tell the Court who accessed any confidential

13     document relating to the 9/11 case, is that correct?

14     A.   That was on Case Media, correct.

15     Q.   And that's where the Al Jarrah transcript was saved,

16     correct?

17     A.   Correct.

18     Q.   All right.    Let's look at your declaration, 56F, please,

19     and I'm looking at paragraph 5.

20                 Now, sir, in paragraph 5 you stated that only

21     individuals given Kreindler login credentials have access to

22     Kreindler's server.     Do you see that?

23     A.   Yes.

24     Q.   You're referring to Case Media there?

25     A.   Yes.
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        LB1H9115                   Hartney - Cross

1      Q.   When you say only individuals given Kreindler login

2      credentials, that's everybody at the firm, correct?

3      A.   Yes.

4      Q.   And then you say, "I created a directory on a network share

5      drive where the 9/11 litigation materials are saved," and then

6      you say that the Al Jarrah transcripts were saved there.

7                  Do you see that?

8      A.   Yes.

9      Q.   Then you go on to say:      I was told the following had been

10     able to access the Jarrah transcripts, and then you list a

11     number of individuals.

12                 Do you see that?

13     A.   Yes.

14     Q.   Who told you that?

15     A.   Well, I guess somebody along the way of the litigation had

16     told me that these certain individuals worked on the case.

17     Q.   Who told you that only those individuals had access to the

18     Jarrah transcript?

19                 MS. KIRSCH:    I'm sorry.    Mr. Shen needs -- if he's

20     going to ask him about the words of the declaration, please

21     quote them properly.       That was --

22                 THE COURT:    I think the word "only" is not there.

23                 MS. KIRSCH:    I'm sure it was an accident.

24     BY MR. SHEN:

25     Q.   "I was told the following had been able to access the
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        LB1H9115                   Hartney - Cross

1      Jarrah transcripts."      Those are your words, correct?

2      A.   Correct.

3      Q.   Actually, someone else drafted that language for you,

4      correct?

5      A.   Yes.

6      Q.   But you signed it under penalty of perjury?

7      A.   Correct.

8      Q.   Who told you the following had been able to access the

9      Jarrah transcript?       Who told you that?

10     A.   In particular, one particular person?        I guess it would be

11     Megan Benett.

12     Q.   Your best recollection is Ms. Benett told you that, is that

13     right?

14     A.   Yes.

15     Q.   Now, when you drafted -- before you signed this

16     declaration, you told Ms. Benett and the other attorneys that

17     everybody at the Kreindler firm had access to the Case Media

18     where the Jarrah transcript was saved, correct?

19     A.   Correct.

20     Q.   And, nonetheless, they urged you, and actually drafted the

21     language in your declaration, so you don't disclose that,

22     correct?

23                 MS. KIRSCH:   Objection.

24                 THE COURT:    What's the objection?

25     A.   The word "urge" I wouldn't say.      I signed the document that
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        LB1H9115                   Hartney - Cross

1      was truthful in that the only people that should be saving

2      documents and accessing documents in that -- in that directory

3      were these individuals listed.

4      Q.   Sir, you told Ms. Benett that everybody at the Kreindler

5      firm had access to everything in Case Media, correct?

6      A.   Correct.

7      Q.   That doesn't appear anywhere in your declaration, does it?

8      A.   No.

9      Q.   All right.    Ms. Benett drafted your declaration, right?

10     A.   Correct.

11     Q.   Did she tell you that she didn't want to disclose that to

12     the court?

13     A.   Yes.    Well --

14     Q.   Let's look, sir, at Exhibit --

15                 THE COURT:   Sorry.   Can I ask a question, follow-up

16     question on this section before we move on?

17                 MR. SHEN:    Absolutely.

18                 THE COURT:   Would you mind putting the declaration

19     back up.

20                 I was confused by a statement there.      The last at the

21     same time of this paragraph 5 says:       "I did not find any

22     evidence that the Jarrah transcripts had been downloaded,

23     printed, or emailed by anyone else."

24                 I confess to not being the most technologically savvy

25     person, but my understanding of your declaration was that you
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1      couldn't tell whether anyone had downloaded, printed, or

2      emailed the transcript.      So one question I have is, is there

3      evidence that the people in the sentence preceding that last

4      line -- there is evidence that they had downloaded, printed, or

5      emailed the transcript?

6                 THE WITNESS:    I'm not sure what you're saying.

7                 THE COURT:   Your last sentence says:      "I did not find

8      any evidence that the Jarrah transcripts had been downloaded,

9      printed, or emailed by anyone else."        I read that to say that

10     the people in the line above, namely, Jim Kreindler, Steven

11     Pounian, all the way through to John Fawcett, that there was

12     evidence that they had either downloaded, printed, or emailed

13     the declaration.

14                THE WITNESS:    I meant that anybody other than those

15     people did not download.

16                THE COURT:   Anybody other than those people what?

17                THE WITNESS:    Yeah, did not download, print it, or

18     email.

19                THE COURT:   So you were able to see that those people

20     did, in fact, download, print, or email?

21                THE WITNESS:    We don't keep track of downloading and

22     printing or emailing.

23                THE COURT:   What does this sentence mean, "I did not

24     find any evidence that the Jarrah transcripts had been

25     downloaded, printed, or emailed by anyone else"?         I don't know
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        LB1H9115                   Hartney - Cross

1      what that means.

2                 THE WITNESS:    I guess what I'm trying to say there is

3      that I didn't really find any real solid evidence that anybody

4      other than those people downloaded, printed, or emailed.

5                 THE COURT:   The transcript?     But you did have evidence

6      that those people did download, print, or --

7                 THE WITNESS:    I had evidence that they -- two of them

8      emailed.

9                 THE COURT:   Evidence that two of them had emailed it?

10                THE WITNESS:    Yeah.

11                THE COURT:   And those two people were?

12                THE WITNESS:    Were Debra Pagan and John Fawcett.

13                THE COURT:   Debra Pagan and John Fawcett.

14                So your system does allow you to see who downloaded,

15     printed, or emailed?

16                THE WITNESS:    I can only see the tracking of email.

17     We don't track downloading, printing.        But I guess I maybe

18     should have elaborated more and said that we don't track

19     downloading.

20                THE COURT:   So there would never be any evidence that

21     anybody downloaded or printed the transcript?

22                THE WITNESS:    No.

23                THE COURT:   OK.

24                THE WITNESS:    I mean, the downloading, that might

25     pertain to the downloading of it on the cloud server also.
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1                 THE COURT:   Downloading it from the cloud?

2                 THE WITNESS:    Yes, that's being kept track.

3                 THE COURT:   Right.     I think you go on to talk about

4      that in the next paragraph.

5                 THE WITNESS:    Yeah.

6                 THE COURT:   But this is the proprietary server.

7                 THE WITNESS:    Yeah, OK.    Yes.

8                 THE COURT:   So with respect to the proprietary server,

9      you cannot tell if anybody downloaded or printed?

10                THE WITNESS:    No, no, you cannot tell.

11                THE COURT:   So when you listed that there's no

12     evidence that the Jarrah transcript had been downloaded,

13     printed, or emailed by anyone else, what you're saying is you

14     know two people emailed it because you can track the email?

15                THE WITNESS:    Yeah.

16                THE COURT:   But you can't see if anybody downloaded it

17     or printed it?

18                THE WITNESS:    Yes.

19                THE COURT:   OK.     Thank you.   Sorry.

20                MR. SHEN:    Sure.

21     BY MR. SHEN:

22     Q.   Mr. Hartney, you said that Ms. Benett didn't want to tell

23     the Court that anyone at the Kreindler firm had access to all

24     of the protected 9/11 material.        What other attorneys told you

25     that they didn't want to tell that to the Court?
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        LB1H9115                   Hartney - Cross

1      A.    No other.

2      Q.    Only Ms. Benett?

3      A.    Correct.

4      Q.    Is that right?

5      A.    Yes.

6      Q.    Did you discuss that issue with Mr. Maloney?

7      A.    No.

8      Q.    Did you discuss that issue with Mr. Pounian?

9      A.    No.

10     Q.    Did you ever discuss access issues at all with

11     Mr. Kreindler?

12     A.    No.

13     Q.    Can we look at paragraph 6 of your declaration in front of

14     you.

15                  Paragraph 6 discusses the cloud-based storage system.

16     Do you see that?

17     A.    I don't see it yet.    It's not on the screen.     Yes, now it

18     is.

19     Q.    Do you see that?

20     A.    Yes, I see that.

21     Q.    Sir, the cloud-based system, is that called share file?

22     A.    Citrix share file, C-i-t-r-i-x.

23     Q.    And certain FBI and other protected information were saved

24     on that Citrix share file, is that right?

25     A.    My understanding, only thing I saw saved on it was the
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1      depositions that recall.

2      Q.   Particular depositions or many depositions?

3      A.   Many depositions.

4      Q.   All right.    Now, consultants, experts, and others could

5      access this cloud-based system if they were provided login

6      access.    That's what you write, correct?

7      A.   Correct.

8      Q.   But Mr. Fawcett, he was provided access to the internal

9      proprietary server, correct?

10     A.   Correct.

11     Q.   The firm actually considered Mr. Fawcett to be staff,

12     correct?

13     A.   I can't answer that question.

14     Q.   From an IT perspective, did you treat Mr. Fawcett any

15     differently from any other employee at the firm?

16     A.   You mean through access, login access?

17     Q.   Sure.

18     A.   Yes, we gave him login access and we gave him email access.

19     Q.   The question was did you treat him any differently than any

20     other employee at the firm?

21     A.   Did I treat him differently?      I guess not, no.

22     Q.   You were aware he had a phone at the firm?

23     A.   I was aware he had a phone.

24     Q.   Sorry?

25     A.   You mean a telephone, a desk phone?
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        LB1H9115                   Hartney - Cross

1      Q.   A desk phone, yes, sir.

2      A.   Yes.

3      Q.   All right.    And did he have his own email from the firm?

4      A.   Yes.

5      Q.   He had an office at the firm, correct?

6      A.   Yes.

7      Q.   Now, to view documents that were saved on this cloud-based

8      server, the user would actually have to download them, and so

9      you have a record of that, is that right?

10     A.   Yes.

11     Q.   That's the only location where documents were actually

12     stored on a server that keeps a record of who downloads them,

13     is that right?

14     A.   Can you -- when you mean "download," you mean download from

15     outside the office or do you mean download --

16     Q.   Just accesses the documents.

17     A.   Access the documents, yes.

18     Q.   That's the only system that tracks access to the documents?

19                 (Discussion off the record)

20     A.   Yes.

21     Q.   You state in paragraph 6 that you reviewed the user history

22     of this cloud-based share file system on July 29, 2021.          Do you

23     see that?

24     A.   Yes.

25     Q.   And that's the first time that you did that, correct?
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1      A.   First time I ever reviewed it, I believe so, yes.

2      Q.   You were instructed to review it on July 29, correct?

3      A.   Correct.

4      Q.   Now, are you aware that Mr. Fawcett actually managed and

5      maintained confidential, protected materials on other

6      cloud-based systems?

7      A.   No.

8      Q.   Are you aware that he had a Dropbox account that he managed

9      that contained protected material?

10     A.   I know he had a Dropbox account.

11     Q.   Did you know that it contained protected material on it?

12     A.   No.

13     Q.   That's not something that you investigated?

14     A.   I wasn't asked to investigate that.

15     Q.   All right.    No one at the Kreindler firm asked you to

16     investigate any other cloud-based systems that contained

17     protected information, correct?

18     A.   Correct.

19     Q.   All right.    Now, let's show Exhibit 68, please.       Now, this

20     is a screenshot of a Dropbox account.        If we zoom in on the

21     right-hand side, it says that John Fawcett is the owner of the

22     account.

23                Now, you had no idea that Mr. Fawcett was saving

24     confidential and protected materials to this Dropbox account,

25     correct?
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1                  MS. KIRSCH:   Objection.   This is a screenshot without

2      a date on it, without any context.

3                  MR. SHEN:   There is a date on the document.

4                  MS. KIRSCH:   Where is the date?

5                  MR. SHEN:   It's in the bottom right-hand side,

6      October 15, 2021.

7                  MS. KIRSCH:   OK.

8      BY MR. SHEN:

9      Q.   Sir, the question is did you have any idea that Mr. Fawcett

10     was saving protected material on other cloud-based servers such

11     as this Dropbox account?

12     A.   No.

13     Q.   Did you ever take any actions to limit his access after the

14     breach of the protective order?

15     A.   Yes.

16     Q.   -- to --

17     A.   I'm sorry.    Sorry.

18     Q.   -- to other cloud-based systems that he had, such as this

19     Dropbox account?

20     A.   Can you repeat the question.

21     Q.   Yeah.    Let me ask a cleaner question.

22                 Sir, you had no idea that he maintained this Dropbox

23     account, right?

24     A.   I know he had the Dropbox.

25     Q.   You had no idea he had protected information on this
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1      account, right?

2      A.   Correct.

3      Q.   Did you undertake actions to limit his access to the

4      Dropbox account?

5      A.   After what time?

6      Q.   After the breach.

7      A.   Yes.

8      Q.   When?

9      A.   I don't recall the exact date, to tell the truth.         I'm

10     sorry.

11     Q.   Was it in October?

12     A.   I believe so, yes.

13                 MR. SHEN:    All right.    Let's show Exhibit 67, please.

14     Q.   Exhibit 67 is an email from an attorney at my firm to

15     counsel for Kreindler & Kreindler identifying this particular

16     Dropbox account containing protected information.         It's dated

17     October 15.

18                 Do you recall that after October 15 is when you

19     actually stopped Mr. Fawcett's access to that material?

20     A.   Can you repeat the question.

21     Q.   The email is dated October 15.        Do you see that?

22     A.   Yes.

23                 THE COURT:   If you want to take a look over that

24     email, you can.

25                 THE WITNESS:   OK.   OK.
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        LB1H9115                   Hartney - Cross

1      Q.    Sir, my question to you is, was it after October 15 that

2      you stopped Mr. Fawcett's access to that Dropbox account?

3      A.    I don't recall.

4      Q.    You don't know one way or another?

5      A.    I cannot tell you the exact date.

6      Q.    Sir, did you know that Mr. Fawcett maintained a cloud

7      platform called Tresorit that had MDL-protected information on

8      it?

9      A.    No.

10                 MS. KIRSCH:    I'm going to object here.    I really don't

11     know where these lines of questions are going, but to the

12     extent it goes to our work product, and -- this could be

13     something that we would have an issue with this being discussed

14     in any depth publicly.       I don't know.

15                 MR. SHEN:    This goes to the reasonableness of the

16     investigation and where protected materials were actually

17     saved.

18                 THE COURT:    All right.   Thus far I don't see any issue

19     with work product, but if we get close, please raise an

20     objection.

21     BY MR. SHEN:

22     Q.    Now, sir, the question was did you know that Mr. Fawcett

23     was maintaining protected material on a cloud platform called

24     Tresorit?

25     A.    No.
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1      Q.   Did you ever stop Mr. Fawcett's access to a cloud platform

2      called Tresorit?

3      A.   No.

4                 THE COURT:    Can I ask a clarifying question.      The

5      Dropbox account, was that a Kreindler & Kreindler account or

6      was that a Fawcett personal account?

7                 THE WITNESS:    I can't tell from the screenshot where

8      that was coming from, whether it was from his personal account.

9      We did maintain an account for him.

10                THE COURT:    You maintained a Dropbox account for him?

11                THE WITNESS:    Yes, but I don't know from that

12     screenshot whether he had his own Dropbox account.

13                THE COURT:    Understood.   Thank you.

14                THE WITNESS:    I can't say either way.     It's possible.

15     BY MR. SHEN:

16     Q.   Sir, in the investigation that Mr. Maloney instructed you

17     to do pertaining to the breach, did you do any investigation of

18     Dropbox or Tresorit?

19     A.   No.

20                MR. SHEN:    I'm going to show an Exhibit 23, but before

21     I do that, I want to give Mr. Fawcett's counsel a chance to

22     comment on confidentiality.

23                THE COURT:    Sorry, Mr. Shen, you said Exhibit 23?

24                MR. SHEN:    Yes, your Honor.

25                (Counsel confer)
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1                  MR. SHEN:   Could we put up Exhibit 23, please.

2      Q.   This is a letter that counsel for Mr. Fawcett has written

3      to me.     If we could show the second page, there is a discussion

4      of a Tresorit-encrypted storage platform.        Do you see that?

5      A.   Yes.

6      Q.   Do you even know what that Tresorit platform is?

7      A.   I've never used it.

8      Q.   And you had no idea that Mr. Fawcett was using it?

9      A.   No.

10     Q.   Now, we discussed that confidential documents are also --

11     can be saved on the email server if they're attachments to

12     emails or they're discussed in the body of emails, correct?

13     A.   Can you say that one more time.      Repeat that.

14     Q.   Sure.    Confidential, protected documents, they could also

15     be attached to emails that are sent around.         If they are, then

16     they're saved on the email server, is that right?

17     A.   Yes.

18     Q.   Now, part of your responsibilities is managing the

19     Kreindler email system, is that right?

20     A.   Correct.

21     Q.   Now, the Kreindler firm, in connection with the 9/11 cases,

22     has hired a number of investigators, former FBI agents.

23     They're all disclosed on the public record.         Do you give

24     Kreindler email accounts to those investigators?

25     A.   No.
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1      Q.   All right.    Now, you have administrative access to the

2      email server, so you can search that server, is that right?

3      A.   Correct.

4      Q.   And you can monitor the email activity at the firm, right?

5      A.   What do you mean by monitoring?

6      Q.   If you wanted to search for particular content on the email

7      server, you could do that, right?

8      A.   Yeah, I can search for content.      I don't see content

9      moving, watching it where it's going to and from, but I can do

10     a search from where it's going to and from.

11     Q.   Can we look at your declaration, 56F, again, paragraph 8.

12                 Now, sir, in paragraph 8 of your declaration, you

13     described the search of the Kreindler email system that you

14     conducted, is that right?

15     A.   Correct.

16     Q.   You say that you searched for incoming and outgoing

17     messages to three -- or four email addresses relating to Mike

18     Isikoff from June 1, 2021, to August 1, 2021, is that right?

19     A.   Yes.

20     Q.   Did you search for any deleted messages?

21     A.   It would search -- my understanding was Office 365 that it

22     saves 30 days and stays under the purged directory.

23     Q.   So if a user manually deletes an email, it goes into a

24     purge file and Office 365 will search that purge file and can

25     locate that deleted email?
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        LB1H9115                   Hartney - Cross

1      A.   Yes, I believe so.

2      Q.   What if it's gone past 30 days?

3      A.   Then I don't know.

4      Q.   Is that email gone forever?

5      A.   I believe so, yes.

6      Q.   All right.    So you say that you conducted this search.        The

7      search parameters were June 1 to August 1, 2021.         That means

8      that you necessarily conducted that search after August 1,

9      right?

10     A.   Yes.

11     Q.   All right.    So if the user had deleted a document in June

12     and manually deleted that document, your search would not have

13     located that document, is that right?

14     A.   I should say I don't really know.

15     Q.   Did you search for emails that were saved on the hard

16     drives of any of the attorneys or staff?

17     A.   No.

18     Q.   Did you conduct a search of any home computers, laptops,

19     devices?

20     A.   No.

21     Q.   Did you search any text messages?

22     A.   No.

23     Q.   Phone logs?

24     A.   Phone logs for what?

25     Q.   Did you search any phone records?
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1      A.   Phone records, yes.

2      Q.   You did search phone records?

3      A.   Phone records for certain phone calls, I -- yes.

4      Q.   Let me ask a clean question.

5      A.   Yes, not exactly sure.

6      Q.   Did you look through Kreindler & Kreindler's phone records?

7      A.   I didn't personally look through Kreindler & Kreindler.

8      Q.   Did you pull them?

9      A.   I had them.    I had the counsel for our -- our phone vendor,

10     our phone provider.

11     Q.   This was after Ms. Kirsch had been retained?

12     A.   Correct, yes, yes.

13     Q.   Correct.

14                 But in connection with what you're describing as the

15     investigation in your declaration, did you pull any phone

16     records?

17     A.   No, no, no.

18     Q.   Now, if the user does not delete an email, does that email

19     get purged automatically from the Kreindler system?

20     A.   My understanding, we used a default Office 365, which is

21     30-day window.

22     Q.   30-day default?

23     A.   Yes.

24     Q.   So if an email is in an inbox and it's now been 31 days,

25     that email is deleted off the server?
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1      A.   Oh, no, no.    I misunderstood your question.

2      Q.   OK.

3      A.   Nobody -- unless it's deleted by the user.

4      Q.   But is there an automatic purging of emails if the user

5      does not delete it?

6      A.   No.

7      Q.   All right.    So if someone had an email from five years ago

8      that they didn't delete, it would still be in the inbox?

9      A.   Correct.

10     Q.   Now, paragraph 9, you describe another email search, is

11     that right?

12     A.   Correct.

13     Q.   You say that you searched the email server for outgoing,

14     incoming, saved, and deleted messages containing the names

15     Jarrah or Isikoff or the name that the court reporter had given

16     to the transcript.     You see that?

17     A.   Yes.

18     Q.   And, again, the same search period -- well, strike that.

19                 Did you do that after August 1, or did you do it

20     before?

21     A.   Well, that's a good question.      It had to be after August 1,

22     I believe.     I can't -- yeah, actually, yes, I can -- it was

23     done -- I've done multiple searches to make sure that it was a

24     thorough investigation of our email system, and so I performed

25     the searches two or three, maybe even four, five times.          I had
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 151 of 490 160
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1      redone that search either if it was before or after.

2      Q.   You did that search several times?

3      A.   Yes.

4      Q.   The same search, searching for Jarrah or searching for

5      Isikoff or the name in the transcript?

6      A.   Yes.

7      Q.   You did that several times, and you say that the only

8      emails that resulted are attached at Exhibit 1 of your

9      declaration.     You see that?

10     A.   Yeah.

11     Q.   That's in paragraph 10.

12     A.   I see that.

13     Q.   And you attached several emails in Exhibit 1.        You see

14     that?

15     A.   I'm supposed to be looking at the exhibits, the emails

16     or --

17     Q.   Yes.    Can we look at Exhibit 1, and we'll look in

18     particular at page 6.      This is one of the emails that you cite

19     in your declaration.     You with me?

20     A.   Yes.

21     Q.   And this particular email is one from Jim Kreindler to Mark

22     Seman of Yahoo! News, and it's discussing Mr. Kreindler's

23     appearance on the Conspiracyland podcast.        Do you see that?

24     A.   Yes.

25     Q.   And you see that Mr. Kreindler is actually sending the
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1      email from his personal device, right?

2      A.   Yes, I believe so.

3      Q.   It says "sent from my iPhone."      You see that?    You see

4      that?   You have to say yes or no.

5      A.   Yes.

6      Q.   Sir, you see that of all of the emails that you've attached

7      in your exhibits, I will represent to you that this is the one

8      earliest in time.     This is the earliest email, June 28 of 2021.

9                  Now, given the fact that Mr. Kreindler is being sent

10     details on when to appear on the Conspiracyland podcast, it

11     certainly stands to reason that he had earlier communications

12     with Mr. Isikoff, right?

13                 MS. KIRSCH:   I'm going to object to that.     I'm not

14     really sure why this witness should be opining on what the

15     pattern of communications should or should not have been.

16                 THE COURT:    Sustained.

17     Q.   Sir, did you search for any emails prior to June 28, after

18     you saw this email?

19     A.   You're asking is this search --

20     Q.   Let me ask --

21     A.   -- June 1?

22     Q.   When you saw this email June 28 coming from

23     Mr. Kreindler's iPhone setting up an appointment to appear on

24     the podcast, did anyone ask you to determine whether there were

25     earlier communications?
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1      A.   No.

2      Q.   Sir, you never asked for Mr. Kreindler's personal devices

3      or his personal emails, is that right?

4      A.   What do you mean by "personal email"?

5      Q.   Like if he has a Yahoo! account or Gmail account, you never

6      asked for access to those?

7      A.   No.

8      Q.   And even after Ms. Kirsch got involved in this case, do you

9      know if Kreindler ever searched the personal emails of any of

10     its attorneys?

11     A.   Do I know?    No, I don't know.

12     Q.   If you could look at page 13 of your declaration -- of the

13     exhibits to your declaration.       Page 13 is an email from

14     Mr. Fawcett to Mr. Isikoff dated July 12, 2021, is that right?

15     A.   Yes.

16     Q.   And this email attaches a privilege log, but there's no

17     actual content in the body of the email, correct?

18     A.   I believe that's true.      I'm not sure.   I can't remember.

19                 THE COURT:    Sir, can you put the microphone just

20     closer to you so the court reporter can hear you.

21                 THE WITNESS:    Oh, I'm sorry.

22     Q.   This email certainly suggests that there were earlier

23     communications with Mr. Fawcett.        Did anyone ask you to search

24     for those communications?

25                 MS. KIRSCH:    I'm sorry.   I'm going to object to what
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1      this document does or doesn't imply.

2                  THE COURT:    OK.   He can answer the question, though,

3      as to whether or not anyone asked him to follow up.          I'll

4      accept your objection as to its implications, but Mr. Shen can

5      ask the question.

6      A.   No.

7      Q.   Now, sir, because the firm has the ability to monitor its

8      firm emails, it's certainly the case that if someone were to

9      leak confidential information, it wouldn't make any sense to

10     leak it over firm email, correct?

11     A.   It's my opinion you're asking?

12     Q.   Yes.

13     A.   My opinion -- can you repeat the question.

14     Q.   Sure.    The firm has the ability to monitor firm email.        You

15     testified to that, correct?

16     A.   Correct.

17     Q.   Now, because it has that ability, if someone were to leak

18     confidential information, it would make no sense to do that

19     over firm email, correct?

20                 MS. KIRSCH:   I'm going to object to that.     Who knows

21     what monitoring there is or isn't?        It's a ridiculous question

22     for this witness.

23                 THE COURT:    Sustained.   You can ask a different

24     question, please.

25     Q.   Now, paragraph 10 of your declaration discusses -- it
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1      states that all of the results of your searches are attached

2      to -- in Exhibit 1.       Do you see that?

3      A.   Yes.

4      Q.   The exact language is "the only" emails returned are in

5      Exhibit 1.     Do you see that?

6      A.   Yes.

7      Q.   If you could, there's a binder to your right.        It might be

8      easier to flip through that.

9                  THE COURT:    It's going to be the larger one, sir.

10     I'll take this one.

11                 THE WITNESS:    Not that one?

12                 THE COURT:    You're going to want that one.

13     A.   OK.    What number?

14     Q.   Now, sir, Exhibit 1, I'm going to represent to you, doesn't

15     contain any of the emails from the court reporter with the

16     Jarrah transcript, and you can confirm that.

17     A.   Where would I find it?

18     Q.   56F, please.

19     A.   Can you -- which document are you talking about?         Can you

20     show me the document?

21     Q.   Sure.    It's 56F.    It's Exhibit 1.   It's on page 5.

22     A.   OK.

23     Q.   Behind page 5 are what you describe in your deposition as

24     the only emails returned as a result of the searches you

25     conducted, and specifically, the searches you conducted are
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 156 of 490 165
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1      described as a search of emails for Jarrah, Isikoff, or the

2      name of the transcript.

3      A.   Yes.

4      Q.   All right.    So you don't see any email from the court

5      reporter providing the transcript, correct?

6      A.   Can you repeat that.

7      Q.   You don't see an email from the court reporter providing

8      the transcript in Exhibit 1?

9      A.   I'm not sure.    I'm sorry.    I'm not following you.

10     Q.   All right.    I'm going to make a representation to you.

11     Exhibit 1 does not contain any transmission from the court

12     reporter to anyone at the Kreindler firm containing the Jarrah

13     transcript.

14     A.   The court reporter?

15     Q.   The court reporter who actually took down the transcript of

16     the deposition and then sent the transcript to the Kreindler

17     firm by email.

18     A.   So you're saying that there's -- I'm not following you.

19     I'm sorry.    Can you just --

20     Q.   Sure.   All right.    Let's take a step back.

21     A.   OK.

22     Q.   Your declaration says that all of the emails that you

23     located in your search are contained in Exhibit 1, right?

24     A.   That's only one email.

25     Q.   Paragraph 10 says:     "The only emails returned as a result
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 157 of 490 166
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1      of the searches I conducted are in Exhibit 1."         That's what it

2      says, right?

3      A.   I don't think it's showing all the emails.

4      Q.   So Exhibit 1 does not contain all the emails that you

5      located?

6      A.   No, there's more emails than that.

7      Q.   Can you speak into the microphone.

8      A.   Oh, I'm sorry.    Yes, there's more emails.

9      Q.   There's more emails than are in Exhibit 1?

10     A.   Yes.

11     Q.   What happened to those emails?

12     A.   I thought they were all part of the exhibits.

13     Q.   All right.    But what we know is that the actual statement

14     in paragraph 10 of your declaration is false?

15     A.   I don't understand why all the other emails wouldn't be in

16     there.

17     Q.   OK.

18     A.   I don't know.

19     Q.   Sir --

20     A.   I don't think it's our --

21     Q.   Did you actually do a search through all of the emails for

22     the name Jarrah or Isikoff?

23     A.   I don't recall the exact search.       I think it would be both

24     one or the other, yes, not for both.

25     Q.   One or the other?
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1      A.   Yes.

2      Q.   OK.    The term "Jarrah," you would agree, would come up with

3      dozens and dozens and dozens of hits, correct?

4      A.   Yes, I believe so, yes.

5      Q.   How many hits came up when you did that search?

6      A.   I don't recall.

7      Q.   Did you provide those documents to Mr. Maloney?

8      A.   The -- no, I reviewed them myself.

9      Q.   You reviewed them yourself?

10     A.   Yeah.

11     Q.   But what we know from your declaration is that when you

12     state that all of the results of your searches are listed in

13     Exhibit 1, that's not a correct statement?

14     A.   Well, for some reason, I don't -- well, the only emails

15     returned -- there is an email.        So this is only one email.     Are

16     there two emails?     There was a couple of emails between --

17                 THE COURT:   Why don't you spend two minutes and just

18     flip through.

19                 THE WITNESS:   I'm sorry.

20                 THE COURT:   That's OK.   Because there are a handful of

21     emails in that attachment.      Why don't you spend just a minute

22     to flip through it so you can see.

23     A.   Oh, it's this part.     I'm sorry, because I'm going back and

24     forth to the screen.

25                 So all this is part of Exhibit 1.     In between here
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1      is -- I'm not understanding it.       So everything in between --

2      I'm sorry, all the emails are.       I was thinking -- confused

3      because it came up to this document.        Why is this --

4      Q.   Take a minute to review the emails that are in Exhibit 1,

5      sir.

6      A.   Okay.    I thought Exhibit 1 ended here because it had this.

7                  Yes, I didn't --

8      Q.   OK.

9      A.   -- I thought the exhibit list ended when it hit this letter

10     here.

11     Q.   All right.    Sir, I've counted a total of ten emails.       I can

12     make that representation to you, sir.

13     A.   I wish there were more.     Yes, these are all the emails.

14     Q.   All right.    Did you actually do a search for all emails for

15     the term "Jarrah"?

16     A.   Say that again.    Sorry.

17     Q.   Did you actually do a search of the email server for the

18     term "Jarrah"?

19     A.   No.

20     Q.   What did you do an email search of?

21     A.   Sorry, emails.    I'm sorry.    When you said "search," I

22     apologize, I thought you meant network search.         Email server.

23     Q.   Did you do a search for just the term "Jarrah"?

24     A.   Yes.

25     Q.   And all of the searches that came up are in these ten
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1      emails attached as Exhibit 1?

2      A.   Yes.

3      Q.   Did you --

4      A.   I'm sorry.    I'm sorry.   Say that again.     All the emails

5      that had Jarrah in it?

6      Q.   Yes.

7      A.   Are in these emails?

8      Q.   Yes.

9      A.   There would be more emails because it was discussed, yes.

10     Q.   How many more emails?

11     A.   I don't know.

12     Q.   Did you review those emails?

13     A.   Yes.

14     Q.   Was it hundreds of emails?

15     A.   I don't remember.

16     Q.   All right.    But what we do know is that the statement in

17     your declaration saying all of the emails that hit upon your

18     searches are contained in Exhibit 1, that's not a true

19     statement?

20                 MS. KIRSCH:   I'm sorry.

21     A.   That's --

22                 MS. KIRSCH:   Could I have the question read back?       I

23     think I have an objection.      I don't think that states his

24     testimony, but I could be mistaken.

25                 THE COURT:    Can you read the question.
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1                  (Record read)

2                  MS. KIRSCH:    That's fine.

3                  THE COURT:    OK.   You can answer it.

4                  THE WITNESS:    Can you repeat that again.    I'm reading

5      what I wrote here.

6                  (Record read)

7      A.   No, all the searches -- no, the only -- they talk about --

8      what I'm talking about is emails with the portion of the Jarrah

9      deposition transcript in it.

10     Q.   That's not what your declaration says, sir.        Paragraph 9 of

11     your declaration says --

12     A.   I'm sorry.    I'm looking at 10.     I also searched -- I have

13     10 up on my --

14     Q.   Can we show paragraph 9.

15                 Paragraph 9 says that you searched emails for Jarrah

16     or Isikoff or the name of the transcript.

17     A.   Yes.

18     Q.   Did you do that search?

19     A.   Yes, I did that search.

20     Q.   All right.    Were there hundreds of emails that came up with

21     just the term "Jarrah" in it?

22     A.   I can't recall.

23     Q.   There were more than ten, right?

24     A.   Yes.

25     Q.   And your Exhibit 1 attaches only ten emails?
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1      A.   Because on my -- the only emails return results conducted

2      are attached, because I was referring to that didn't have the

3      Jarrah deposition.

4      Q.   Say that again, sir.

5      A.   I was referring to that didn't discuss -- that didn't have

6      any Jarrah deposition transcripts attached to them, so --

7      Q.   You're only referring to the emails that didn't have Jarrah

8      deposition transcripts attached to them?

9      A.   Yes.

10                 MR. SHEN:   All right.   Let's show Exhibit 31, please.

11     Q.   Exhibit 31 is an email that my colleague sent to a number

12     of attorneys at the Kreindler firm.       It has the term "Jarrah"

13     in it.   It's not attached as Exhibit 1 to your declaration.

14     A.   No, but I was referring to anything that has to do with the

15     Jarrah transcript.      Any text of Jarrah transcript, that's what

16     I was referring to.

17     Q.   Just so the record is clear, what is in Exhibit 1?

18     A.   It's the emails.     It is just the emails that are between

19     Isikoff and Jim Kreindler.

20     Q.   All right.    Sir, we're going to move on from this point.

21                 These paragraphs, were they drafted by Ms. Benett?

22     A.   Correct.

23     Q.   Did she pull together the documents for this declaration?

24     A.   I believe so, yes.

25     Q.   All right.    Are you aware, sir, that on July 21 my firm
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1      informed the Kreindler firm that we were aware of the leak and

2      that we were going to move the Court for certain discovery

3      pertaining to the leak?

4      A.   Say that again.    Can you?

5      Q.   Were you aware, sir, that on July 21 my firm reached out to

6      the Kreindler firm and told the Kreindler firm that we were

7      aware of the leak of the transcript, and we were going to move

8      the Court for certain relief pertaining to the leak?

9      A.   No, I wasn't.

10     Q.   Are you aware that the Kreindler firm wrote to the Court on

11     July 27 and took the position that there should not be

12     discovery?

13     A.   No.

14     Q.   On July 27 -- I'm not going to show you on the screen, but

15     I will read it to you.      It says that plaintiffs advised

16     Saudi Arabia that each of the lead PEC firms had already

17     conducted internal investigations into the handling of the

18     Jarrah transcripts and communications with Mr. Isikoff.          That

19     was on July 27.

20                For the Court's reference, that's Exhibit 43.

21                When those representations were made by the Kreindler

22     firm, you had not, in fact, done any search of the cloud-based

23     server, correct?     That was done on July 29, as we discussed?

24     A.   I believe so, yes.

25     Q.   On July 27, you had not done any review of the Case Media
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1      proprietary internal server, correct?

2                 MS. KIRSCH:    I'm sorry.   What's the foundation for

3      that question?

4                 MR. SHEN:    I'm asking, as of that date, whether

5      Mr. Hartney had done the search.

6                 MS. KIRSCH:    Objection.   I don't know what the

7      foundation is for that date.

8                 THE WITNESS:    Yeah, I don't --

9                 THE COURT:    The date is the date of a letter that was

10     filed with the court.      I believe the -- Mr. Shen is asking

11     about a letter that was filed with the court by the Plaintiffs'

12     Executive Committee on July 27, and I think Mr. Shen is asking

13     about what investigation had been conducted at that point in

14     time.

15                MS. KIRSCH:    I understood Mr. Shen to say, Isn't it

16     true that your investigation did not happen by July 27? which

17     struck me as an inappropriate.       We have no foundation for when

18     Mr. Hartney's searches took place.       That was the basis of my

19     objection.

20     BY MR. SHEN:

21     Q.   Let me ask the question.     July 27, the Kreindler firm

22     writes to the court saying that the investigation is complete.

23     As of that date, had you done an investigation of the Case

24     Media internal proprietary server?

25     A.   Only to the fact that we found that document in Case Media,
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1      but no.

2      Q.   OK.    Only the fact that it was stored on that media server,

3      but no other investigation, correct?

4      A.   Yeah.

5      Q.   And as of that date, you knew that anyone at the Kreindler

6      firm had access to everything on that server, correct?

7      A.   Correct.

8      Q.   Now, as of July 27, you knew that there were email

9      communications between Mr. Kreindler and Mr. Isikoff, as well

10     as email communications between Mr. Fawcett and Mr. Isikoff, is

11     that right?     Those are attached as Exhibit 1 to your

12     declaration.

13     A.   Yes.

14     Q.   And you knew that some of those email communications came

15     from Mr. Kreindler's personal device, correct?         We saw --

16     A.   Yes.

17     Q.   -- that it was sent from his iPhone, and no one asked you

18     to search for his iPhone, right?

19     A.   Correct.

20     Q.   Or his personal email?

21     A.   That came up on the Kreindler email.

22     Q.   No one asked you to reach out to Jim Kreindler and provide

23     his personal email, correct?

24     A.   Correct.

25     Q.   So it's certainly the case by July 27 that you could not
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1      have concluded that no one at the Kreindler firm was the source

2      of the leak, right?

3      A.   Yeah, I believe so.

4      Q.   Let's look at Exhibit 49.      This is the August 30 order from

5      the court.    On page 2 of that order, it says that the Kreindler

6      firm is required to provide a declaration from the head of the

7      law firm's information technology group that should demonstrate

8      that a forensic analysis was done to identify who accessed the

9      deposition transcripts and determine the dates of that access.

10                You see that?

11     A.   Yeah.

12     Q.   And you knew it was impossible for you to conduct any

13     forensic analysis of who had actually accessed the Jarrah

14     transcripts on the Case Media server, correct?

15     A.   I was never asked to do one.

16     Q.   You were never asked to do one?

17     A.   I don't recall, no.     I mean, in the sense that we don't

18     keep any tracking of that information.

19     Q.   All right.    So no one asked you to do a forensic analysis,

20     correct?

21     A.   Correct.

22     Q.   Now, are you aware, sir, that on September 27 the Kreindler

23     firm informed the court that John Fawcett had leaked the Jarrah

24     transcript to Michael Isikoff?

25     A.   Can you repeat that.
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1      Q.   Are you aware that the Kreindler firm on September 27

2      informed the court that John Fawcett had leaked the Jarrah

3      transcript to Michael Isikoff?

4      A.   One more time.    What date?

5      Q.   September 27.

6      A.   Correct, yes.

7      Q.   And after that disclosure, were you asked to conduct any

8      forensic investigation of anybody's computer to determine

9      whether they knew of that leak or directed it?

10     A.   Was -- no.

11     Q.   After that disclosure and before Ms. Kirsch got involved in

12     October, were you asked to search personal devices, text

13     messages, personal emails?

14     A.   No.

15     Q.   Were you asked to search phone records?

16     A.   After the --

17     Q.   After the leak but before Ms. Kirsch got involved.

18     A.   No.

19     Q.   All right.    So as you sit here today, you have no ability

20     to conclude that no one at the Kreindler firm had directed the

21     leak or had knowledge of it, correct?

22     A.   I was just directed to do what the --

23     Q.   And you just did what the attorneys told you?

24     A.   Well, and we all discussed a -- a -- you know, a way of,

25     you know, doing searches on emails to see if it went out from
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1      the Kreindler.

2      Q.   You're referring to searches of the Kreindler email server?

3      A.   Yes.

4      Q.   And that's it, that's the only search you did, right?

5      A.   Yes.

6                  THE COURT:    I don't want to interrupt you, Mr. Shen,

7      but I think, for the court reporter's sake, we're going to take

8      a break at some point, but you tell me if you think you're

9      getting close or if you want to take a break.         I don't know how

10     much longer you've got.

11                 MR. SHEN:    Five to ten minutes, and I'll be done.

12                 THE COURT:    OK.   So let's finish this witness for you,

13     and then we'll take a break and then Ms. Kirsch will go.

14     BY MR. SHEN:

15     Q.   If we could look at Mr. Fawcett's declaration, Exhibit 59,

16     from September 30 and paragraph 3.        Mr. Fawcett says -- first

17     of all, have you seen this declaration before?

18     A.   No.

19     Q.   No.    So this is your first time looking at it?

20     A.   Correct.

21     Q.   Now, Mr. Fawcett says that "I privately communicated with

22     Michael Isikoff several times between June 1 and August 1 of

23     this year."

24                 After September 27, did anyone ask you to look at the

25     firm's phone records for Mr. Fawcett's communications with
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1      Mr. Isikoff or with anyone else?

2      A.   Yes.

3      Q.   Was that after Ms. Kirsch got involved?

4      A.   Correct.

5      Q.   But not before that, correct?

6      A.   Correct.

7      Q.   Now, are you currently in the process of installing an

8      internal proprietary server that actually restricts access to

9      who can access the 9/11 materials?

10     A.   Yes, that's in place.

11     Q.   It's already in place?

12     A.   Yes.

13     Q.   And you did that after September 28, correct?

14     A.   I can't recall the date I did it.

15     Q.   But it was after the disclosure of the leak?

16     A.   Yes.

17     Q.   And are you currently installing or have you installed a

18     system that tracks who actually accessed proprietary material?

19     A.   Yes.

20     Q.   All right.    Are you aware that that type of software is

21     routinely available and used by law firms to keep protected

22     information actually protected?

23     A.   Yes.

24     Q.   Now, paragraph 7 of Mr. Fawcett's declaration says that he

25     used a ProtonMail account to send the transcript to
     Case 1:03-md-01570-GBD-SN Document 8610-2 Filed 10/05/22 Page 170 of 490 179
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1      Mr. Isikoff.    Do you see that?

2      A.   Yeah.

3      Q.   Anyone ever ask you to get Mr. Fawcett's ProtonMail

4      account?

5      A.   No.

6      Q.   And you never did any investigation of that ProtonMail

7      account, correct?

8      A.   Correct.

9      Q.   You never reached out to ProtonMail to determine whether

10     any of the messages Mr. Fawcett had sent to Mr. Isikoff were

11     still available?

12     A.   Correct.

13     Q.   Did you ever, after the disclosure that Mr. Fawcett was the

14     source of the leak, seek the return of his home computer to the

15     firm, his personal computer?

16     A.   No.

17     Q.   No one asked you to do that?

18     A.   No.

19     Q.   Do you have any idea what protected and confidential

20     material is on that computer?

21                MS. KIRSCH:   I'm going to object here.      There's

22     implications in these questions that are inappropriate.

23     Mr. Fawcett was an outside consultant.        He had his own personal

24     laptop.    This line of questioning has no foundation and is not

25     relevant, and it's misleading, as Mr. Shen well knows.
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        LB1H9115                   Hartney - Cross

1                 MR. SHEN:    I'm asking the witness whether he

2      personally engaged in certain conduct, and the question here is

3      whether he sought the return of devices that held protected and

4      confidential material.

5                 MS. KIRSCH:    And I object to the use of the word

6      "return" because if it's his own personal computer, there's

7      nothing to return.      It's a misleading question, and Mr. Shen

8      knows it.

9                 THE COURT:    The objection is overruled.     You can

10     answer the question.

11                THE WITNESS:    Say it again.

12                THE COURT:    You can answer the question.

13     A.   OK.   Can you repeat the question?

14     Q.   Yeah.   Did you ever ask or did anyone ever ask you to get

15     Mr. Fawcett's laptop and inspect it?

16     A.   No.

17     Q.   Did anyone ever ask you to get Mr. Fawcett's cell phones

18     and inspect it?

19     A.   No.

20                MR. SHEN:    No further questions.    Thank you very much.

21                THE COURT:    OK.   We'll take a very quick recess, and

22     we'll be back in five minutes.

23                (Recess)

24

25
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        LB189116                   Hartney - Redirect

1                  THE COURT:   Ms. Kirsch, you may proceed.

2      REDIRECT EXAMINATION

3      BY MS. KIRSCH:

4      Q.   Good afternoon, Mr. Hartney.

5      A.   Good afternoon.

6      Q.   Mr. Hartney, we just spent a fair amount of time talking

7      about the searches that you performed and what you were

8      directed to perform over the summer.

9                  So there is a book that's not that big yellow one.

10     It's a slightly smaller one that has tabs in it.         We are going

11     to look at some of the documents in that book.

12     A.   Sure.

13     Q.   So let me turn your attention, to begin with, right to

14     Exhibit 2, tab 2.     If you look down at the bottom, which is the

15     first e-mail in this thread, it seems to be Mr. Maloney sending

16     you a note on July 21st saying "any questions?"         Do you see

17     that?

18     A.   Yes.

19     Q.   And then, if we go up to the next e-mail, you are reporting

20     on what it is you have done on the e-mails called "Jarrah

21     search."     Do you see that?

22     A.   Correct.

23     Q.   Now, can you tell me what your search, looking at this

24     e-mail, what did you do and what turned up as a result of this

25     search?
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        LB189116                   Hartney - Redirect

1      A.   It was a pretty broad search in the beginning.        So it

2      turned out a good number of hits, like I said, but I don't know

3      exactly how many hits.

4      Q.   I am going to ask you if you could please get a little

5      closer to the microphone.      That's just me personally.      I don't

6      hear so well.

7                  I see the last line you write, "I did not see any

8      e-mails going out of anyone's e-mail box with that particular

9      transcript."

10                 Do you remember why you wrote that line or what you

11     meant by that?

12     A.   I meant that I didn't find the Jarrah transcript being

13     e-mailed out by anybody at Kreindler.

14     Q.   Was that the first thing you were looking for as of July

15     21st?

16     A.   Yes.

17     Q.   Then the next two e-mails suggests that you and Mr. Maloney

18     are looking to speak by phone.       Do you recall that?

19     A.   The conversation?

20     Q.   Yes.

21     A.   Yes.

22     Q.   Do you remember what you discussed on that phone call?

23     A.   It was to narrow the search down with particular search

24     terms and e-mail addresses.

25     Q.   Then, if you turn to Exhibit 4, this document appears to be
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        LB189116                   Hartney - Redirect

1      a text message exchanged on July 22nd between you and Mr.

2      Maloney.    Do you see that?

3      A.   Yes.

4      Q.   And Mr. Maloney appears to say to you, "Please finish your

5      second search on Isikoff ASAP and let me know tomorrow before

6      noon if possible."     Do you see that?

7      A.   Yes.

8      Q.   Do you remember what that second search was on July 22nd

9      that you were asked to perform?

10     A.   The exact search, no.     But it was for the e-mail -- adding

11     more e-mail addresses that Isikoff used and using the name of

12     the deposition.     It was a developing search criteria that we

13     were gathering each time we would find it.

14     Q.   So, prior to July 22nd, you had done a first immediate

15     search that turned up some results, is that right?

16     A.   Yes.

17     Q.   And then as more search terms became available, or more

18     targeted search terms, you went back at Mr. Maloney's direction

19     to do a second search, is that my understanding?

20     A.   Yes.

21     Q.   So, if you look then at tab 5, can you read me -- so this

22     appears to be another text on July 22nd.        Would you read that

23     text message that you sent to Mr. Maloney here?

24     A.   "Performed search on Isikoff name and e-mail address and

25     found no one sent him the transcript.        There was e-mail
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        LB189116                   Hartney - Redirect

1      communication with Jim discussing lifting of the gag order and

2      Isikoff writing an article."

3      Q.   So, can you just tell us, reading that, what exactly you

4      had been asked to do and what that turned up?

5      A.   That was -- we performed the search on Isikoff's name and

6      additional e-mail addresses.

7      Q.   And specifically what were you looking for with those

8      searches?

9      A.   We were looking for whether the transcript was sent out by

10     anybody in Kreindler.

11     Q.   So, if you look now at tab 8, this is something that you,

12     Mr. Hartney, are forwarding to Mr. Maloney on July 22nd.          Is

13     this one of the e-mails that you found in your search?

14     A.   Yes.

15     Q.   And you were sending it to Mr. Maloney for his review?

16     A.   Yes.

17     Q.   And if you look at tab 9, Mr. Hartney, is this also an

18     e-mail that you had found by July 22nd responsive to your

19     search that you're sending to Mr. Maloney?

20     A.   Yes.

21     Q.   What does Mr. Maloney respond to you, up at the top?

22     A.   "Thank you.    Is this all there is?"

23     Q.   Do you remember if that was all there is?

24     A.   I can't recall.    I think there were some other e-mails.

25     Q.   OK.
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        LB189116                   Hartney - Redirect

1      A.   I can't recall.    I'm sorry.

2      Q.   If we turn to Exhibit 14, would you take a look at this

3      document Exhibit 14, and can you just tell me what it is,

4      please?

5      A.   This is the users that have access to the deposition files

6      that were shared on the shared file system.

7      Q.   Can you walk me through this chart and tell me what it

8      reflects?    There's check boxes and names.      Can you explain it

9      to the Court, please?

10     A.   It's hard to see, but it looks like the first one is

11     view/download.     So any check mark would be, you would be able

12     to view or download the transcript.

13                The other one is download alerts, that you would

14     receive an alert if anybody had downloaded any documents from

15     the system.

16     Q.   Is it fair to say that these boxes reflect different

17     permissions or different actions?

18     A.   Correct.

19                THE COURT:   I'm sorry.    This was on the Citrix system?

20                THE WITNESS:    Yes.

21                THE COURT:   Which is the same or different from the

22     cloud system?

23                THE WITNESS:    That is the cloud system.

24                THE COURT:   That is the cloud system.

25     Q.   Do you remember why you were asked to forward this
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        LB189116                   Hartney - Redirect

1      screenshot or this document to Mr. Maloney?

2      A.   I think he initially wanted to -- he wanted to know who had

3      access to these files.

4      Q.   So you were performing one set of searches on the shared

5      file and another set of searches through the servers, do I

6      understand that?

7      A.   You mean the e-mail server?

8      Q.   Correct.

9      A.   We did one set of searches on the e-mail server, and we

10     reviewed the documents on the shared server, cloud server.

11     Q.   So then let's turn to tab 20, please.

12                 If you look at the second e-mail here, this is dated

13     July 29 from you to Mr. Maloney.       Do you see that?

14     A.   Yes.

15     Q.   Can you tell me what this e-mail represents?

16     A.   This represents searches that were performed on these

17     users' mailboxes, and if anybody had e-mailed the Jarrah

18     deposition transcript outside of the office and inside.

19     Q.   I'm sorry?

20     A.   And internally, too.

21     Q.   So does this reflect the records of where the Jarrah

22     transcript went by e-mail?

23     A.   Yes.

24     Q.   Did you discuss this summary document with Mr. Maloney at

25     all or did you just forward it to him for him to do whatever
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        LB189116                   Hartney - Redirect

1      work he needed to do with it?

2      A.   I forwarded it to him and he did the work.

3      Q.   Was that the case with most of the searches, you performed

4      the searches, provided the information to Mr. Maloney, and he

5      took it from there?

6      A.   Correct.

7      Q.   Let's look at tab 34, if you would.

8                 THE COURT:    Can I ask a clarifying question on this

9      document?

10                MS. KIRSCH:    Yes.

11                THE COURT:    I want to make sure that I understand.

12                On this document, if you can go back at what we were

13     looking at.

14                THE WITNESS:    Which one is that?

15                THE COURT:    20.   Where we just were.

16                THE WITNESS:    I'm there.

17                THE COURT:    Sometime before you sent this July 29th

18     e-mail, you performed searches on the e-mail boxes to see if

19     anyone e-mailed the deposition transcript, and this list are

20     your results?

21                THE WITNESS:    Right.

22                THE COURT:    It indicates that Debra Pagan e-mailed it

23     to John Fawcett, is that correct?

24                THE WITNESS:    Correct.

25                THE COURT:    We also know that John Fawcett e-mailed it
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        LB189116                   Hartney - Redirect

1      to somebody, but we don't know who that is, is that correct?

2                  THE WITNESS:   Correct.

3                  THE COURT:   Then, are these e-mails part of Exhibit 1

4      of your declaration?

5                  THE WITNESS:   These e-mails, I don't think they were

6      included.

7                  THE COURT:   Thank you.   Sorry.

8      BY MS. KIRSCH:

9      Q.   So, Mr. Hartney, let's turn to tab 34.

10                 If you go down to the bottom there, there is an e-mail

11     on August 30th from Mr. Maloney to you that says, "Here is my

12     first draft, please review for accuracy."

13                 Do you know what he is referring to there, Mr.

14     Hartney?

15     A.   My declaration.

16     Q.   Then, if you go up, the next day you write back to Mr.

17     Maloney, presumably after you have reviewed the declaration,

18     and you say, "I would like to redo the searches on the

19     journalist e-mail addresses.      I don't feel confident I searched

20     both e-mail addresses.      Can you send me the two e-mails

21     addresses?"

22                 Do you see that?

23     A.   Yes.

24     Q.   Do you recall sitting here today why you weren't feeling

25     confident?
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        LB189116                   Hartney - Redirect

1      A.   Well, the court had ordered the declarations and

2      specifically the search of the Isikoff e-mails, and any other

3      e-mails that he may be associated with.        Then Duke sent me the

4      declaration and I didn't want to sign it until I was confident

5      enough.     So I redid the searches and re-reviewed the searches

6      just to be confident enough that what I was saying was truthful

7      in the declaration.

8      Q.   As you're getting ready to prepare this declaration on

9      August 31st, you are redoing the searches for the journalist's

10     e-mail addresses, Mr. Isikoff?

11     A.   Correct.

12     Q.   But you didn't at this point redo the full panoply of

13     searches for the name Jarrah, correct?

14     A.   I did everything.

15     Q.   You did everything?

16     A.   Yeah.    I did all the searches again and re-reviewed just to

17     make sure that I wasn't missing anything.

18     Q.   OK.    And then when you're double-checking and doing

19     everything, you also looked to confirm with Mr. Maloney what

20     was the date range.     Do you see that?

21     A.   Yes.

22     Q.   And then Mr. Maloney responds to you that the court

23     actually asked us to cover June 1 to August 1.

24                 Do you know what you did after you received Mr.

25     Maloney's e-mail there?
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        LB189116                   Hartney - Redirect

1      A.   I corrected the dates on the searches and reran them and

2      re-reviewed all the results.

3      Q.   With these Isikoff e-mail addresses, did anything new turn

4      up when you expanded the date range?

5      A.   I don't recall.    I don't think so.

6      Q.   You don't recall or you don't think so?

7      A.   I think there was one e-mail to John Fawcett that talked

8      about some privilege log.      I don't know if I got that before

9      the searches or after the searches.       That would have been the

10     only thing I could think of.

11     Q.   Now, if you can turn to Exhibit 66.       The date of this

12     e-mail is September 26.      And this is from Ms. Benett to you.

13     She writes, "Just confirming.       I need all incoming and outgoing

14     and in any delete folders of the following e-mail addresses

15     between June 1 and August 1:"       And then there is a bunch of

16     e-mail addresses, four addresses for Mr. Isikoff.         Do you see

17     that?

18     A.   Yes.

19     Q.   Did you rerun the search again at that time?

20     A.   Yes.   I would have reran the search, yes.

21     Q.   Do you know whether this turned up anything new that you

22     hadn't found earlier?

23     A.   No, it didn't.

24     Q.   It was the same?

25     A.   The same, yeah.
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        LB189116                   Hartney - Redirect

1      Q.   But Ms. Benett is not asking you here for all of the e-mail

2      addresses that hit on the word "Jarrah," is she?

3      A.   No.

4      Q.   And she is not asking you to rerun the searches that hit on

5      the name of the transcript file?

6      A.   No, she is not.

7      Q.   It's just the incoming and outgoing with Mr. Isikoff,

8      correct?

9      A.   Correct.

10     Q.   So let's take a look at Exhibit 87.

11                 If you look, your declaration, the September 27

12     declaration, begins, if you look at the bottom right-hand

13     corner, at 19 of 53.

14     A.   Wait.    You said 87?

15     Q.   Yes.    Tab 87, page 19 of 53.

16     A.   OK.

17     Q.   Do you see this is your declaration that you were just

18     looking at with Mr. Shen a few minutes ago?

19     A.   Correct.

20     Q.   Now, if we look at the third page of your declaration,

21     which is actually page 21 of 53, I want to focus your attention

22     for a minute on paragraphs 8, 9 and 10.

23     A.   Correct.

24     Q.   In light of the fact that we just looked at the e-mail

25     where Ms. Benett, who was helping you with this declaration,
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        LB189116                   Hartney - Redirect

1      asked for all of the e-mails responsive to the search described

2      in paragraph 8, do you think it's possible that there was an

3      error and that paragraphs 9 and 10 are reversed?         In other

4      words, that paragraph 10 was intended to refer to the results

5      of the searches described in paragraph 8 as opposed to the

6      results of the searches described in paragraph 9?

7                  Is that too confusing a question?

8      A.   No.    I believe so.   Because the only e-mail results found,

9      it was my understanding, was the searches on the e-mail

10     addresses.     And that's what confused me.

11     Q.   So, despite what the words say, which is undoubtedly

12     confusing here, was it your intention that you were attaching

13     only the e-mails that hit on the Isikoff e-mail addresses,

14     incoming and outgoing and deleted?

15     A.   Yes.

16     Q.   Mr. Hartney, something else came up.       In connection with

17     preparing your declaration with Ms. Benett, did Ms. Benett

18     force you to sign anything that you thought was not truthful?

19     A.   No.

20     Q.   Can you tell me what your discussions with Ms. Benett about

21     your declaration were?

22     A.   Basically, it was to describe where the location of the

23     document was found on our internal network server, and also to

24     determine where the location was of the transcripts that were

25     classified, and searching of the e-mail.
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        LB189116                   Hartney - Redirect

1      Q.   Did Ms. Benett pressure you to write your declaration in

2      any particular way that you were not comfortable with?

3      A.   No.

4      Q.   Is it your opinion that Ms. Benett would ever pressure you

5      to do something you were not comfortable with?

6      A.   No.

7      Q.   Did you discuss the language with Ms. Benett and why things

8      were drafted the way they were?

9      A.   Yes.

10     Q.   Did Ms. Benett provide you good explanations for any

11     questions that you had about the drafting?

12     A.   Absolutely.

13     Q.   When you signed the declaration, were you comfortable that

14     it was complete and accurate and not something that Ms. Benett

15     was asking you to sign that you were not comfortable with?

16     A.   Yes.

17     Q.   I would like to ask you also, there was a discussion about

18     a Dropbox account that Mr. Fawcett had?

19     A.   Yes.

20     Q.   Do you recall that that Dropbox account was assigned to Mr.

21     Fawcett's Kreindler e-mail address?

22     A.   Yes.

23     Q.   And do you recall that when Mr. Fawcett's Kreindler e-mail

24     address was shut down, that you were comfortable that he would

25     no longer be able to access that Dropbox account?
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        LB189116                   Hartney - Recross

1      A.   Yes.

2      Q.   In fact, that's true, once he lost his e-mail credentials,

3      he could not access that Dropbox account on the screenshot we

4      were looking at, isn't that true?

5      A.   I believe so.

6                  MS. KIRSCH:    I have no further questions.

7                  THE COURT:    Thank you.

8                  MR. SHEN:    Just a few questions, your Honor.

9      RECROSS EXAMINATION

10     BY MR. SHEN:

11     Q.   Mr. Hartney, you were asked questions about your

12     declaration.     And if you have it in front of you, our Exhibit

13     56F, but it's in the binder that you went over with Ms. Kirsch

14     as well.

15                 You were asked questions about whether paragraph 9 and

16     paragraph 10 may have been switched in your declaration.          Do

17     you recall that?

18     A.   Yes.

19     Q.   Now, paragraph 10, if you move it up, that would describe

20     the search reference in paragraph 8, right?

21     A.   I believe so, yes.

22     Q.   And paragraph 9 describes a search for Jarrah, Isikoff, or

23     the name of the Jarrah transcript, right?

24     A.   Correct.

25     Q.   Then there is no discussion at all as to what that search
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        LB189116                   Hartney - Recross

1      revealed in your declaration, correct?

2      A.   Yes.

3      Q.   And that wouldn't make any sense for you to just put a

4      search in but not describe what it showed, right?

5      A.   I guess, yeah.

6      Q.   Now, Ms. Kirsch asked you about the preparation of your

7      declaration and your discussions with Ms. Benett.         Do you

8      recall that?

9      A.   Yes.

10     Q.   Let's look at Exhibit 115.

11     A.   You said 115?

12     Q.   It's on the screen in front of you as well.

13                 Now, Exhibit 115 is a document that's been

14     produced --

15     A.   It's not on the screen.

16                 THE COURT:   The witness's screen has gone black.

17     Q.   Do you have the document in front of you, Exhibit 115?

18     A.   I believe so.

19     Q.   Now, Exhibit 115 is an e-mail produced by the Kreindler

20     firm just this week.

21                 Sir, you see at the bottom e-mail from Ms. Benett,

22     dated September 27, 2021, Ms. Benett is sending you a draft of

23     your declaration.     Do you see that?

24     A.   Yes.

25     Q.   And you write back to Ms. Benett on the 27th at 10:27 a.m.
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        LB189116

1      Do you see that?

2      A.   Yes.

3      Q.   And you identify an issue with the statement that the

4      shared drive is for use only by the Kreindler attorneys and

5      staff involved in this litigation, right?

6      A.   Yes.

7      Q.   And you actually highlight it in the e-mail, correct?

8      A.   Yes.

9      Q.   And you tell Ms. Benett that, I don't think it is truthful,

10     correct?

11     A.   Correct.

12     Q.   And that's because everyone at Kreindler has access to

13     everything on the Case Media server; that's what you write in

14     the e-mail, right?

15     A.   Yes.

16     Q.   Then Ms. Benett insists on not including that language in

17     the declaration, right?      She doesn't want to tell the court

18     that everyone has access to everything, correct?

19     A.   Yes.

20                 MR. SHEN:    No further questions.

21                 THE COURT:   Thank you, sir.

22                 You may step down.

23                 (Witness excused)

24                 THE COURT:   I think we should keep going because we

25     are taking a lot of time here.       I would like to call our next
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1      witness and press through at least for another 20 minutes.           I

2      think we are going to start early tomorrow because I really

3      want to finish tomorrow, but let's call a witness now.

4                 MR. SHEN:    Saudi Arabia calls Andrew Maloney.

5                 MS. KIRSCH:    Does Mr. Hartney have to stay in the

6      courtroom per your order as the others do?

7                 THE COURT:    Any objection to Mr. Hartney being

8      dismissed from the hearing for good?

9                 MR. KELLOGG:    No, your Honor.

10                THE COURT:    And he doesn't have to come back tomorrow?

11                MR. KELLOGG:    No, your Honor.

12                THE COURT:    Mr. Hartney, thank you for your service.

13     You are excused and you don't have to return tomorrow.

14                My hope is we can do 20 to 30 minutes of this witness

15     and then break and then start, hopefully, at 9 tomorrow

16     morning.

17                MR. SHEN:    Yes, your Honor.

18                THE COURT:    You may end up not being able to use the

19     monitor right now.

20                Unfortunately, there is not a HEPA filter and

21     therefore under our court protocols you need to keep your mask

22     on.   Second, we are having some IT problems.        Ordinarily the

23     screen in front of you might reveal a document.         We are on the

24     phone trying to get someone to come up now so maybe we will

25     have somebody.
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        LB189116                   Maloney - Cross

1                 THE WITNESS:    I will roll with it.

2                 THE COURT:   Until then, you have a very large binder

3      to your right and Mr. Shen may ask you to look at exhibits in

4      that binder.

5        ANDREW J. MALONEY III,

6            called as a witness by the defendants,

7            having been duly sworn, testified as follows:

8                 THE DEPUTY CLERK:    Please state your full name for the

9      record.

10                THE WITNESS:    Andrew J. Maloney III.

11                THE COURT:   Thank you, sir.

12     CROSS-EXAMINATION

13     CROSS-EXAMINATION

14     BY MR. SHEN:

15     Q.   Good afternoon, Mr. Maloney.

16     A.   Good afternoon.

17     Q.   Mr. Maloney, you attended the Jarrah deposition on June 17

18     and June 18, correct?

19     A.   Remotely, correct.

20     Q.   A number of your colleagues at the Kreindler firm attended

21     as well, particularly, Steve Pounian, Megan Benett, and Jim

22     Kreindler, those were the attorneys that attended?

23     A.   I was not at their location, but I believe they were all on

24     the line.

25     Q.   And a consultant for the firm named Catherine Hunt attended
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1      the deposition as well, correct?

2      A.   I don't know.    I don't remember seeing her on the screen so

3      I can't tell you.

4      Q.   I can represent to you that she is on the appearance sheet.

5      If we had the screen working I can show you, but it is also at

6      Exhibit 32.

7                  Now, you know from attending the depositions that

8      there is a real-time feed of the deposition transcript,

9      correct?

10     A.   Yes.

11     Q.   And you can view that real-time feed on your own home

12     computer as you're watching the deposition, right?

13     A.   Yes.

14     Q.   And the link to that real-time feed, that's in a chat box

15     of the Zoom application that we used for remote depositions,

16     right?

17     A.   I think there was a link in the chat box.        When I did it, I

18     usually had a separate laptop that I would use the link to the

19     court reporters real-time, and I would use my other computer to

20     watch the screen of the witness or exhibits displayed.          On the

21     Jarrah deposition, I didn't do that because I was in Kansas

22     City.

23     Q.   You were the individual who conducted the investigation of

24     the leak at the Kreindler firm once the July 15 Isikoff article

25     came out, right?
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1      A.   Yes.

2      Q.   Did you ever contact Catherine Hunt to interview her?

3      A.   I did not.    I don't believe she ever got a copy of the

4      transcript.

5      Q.   You never asked her whether she downloaded the real-time

6      transcript?

7      A.   I would have known if she had downloaded the transcript.          I

8      didn't need to ask her.

9      Q.   The real-time transcript?

10     A.   I'm not aware that you can do that, but I did not ask her

11     that.

12     Q.   Now, sir, you read the July 15 Isikoff article when it came

13     out, correct?

14     A.   Yes.

15     Q.   And you know that Mr. Isikoff stated that he had a copy of

16     the Jarrah transcript, right?

17     A.   Yes.

18     Q.   And you know that that article also describes what happened

19     at the Bayoumi and the Thumairy depositions as well, right?

20     A.   I don't recall specifically.      There may have been a general

21     reference that we had deposed Bayoumi and Thumairy.          I don't

22     know if there was a description.

23     Q.   Do you recall that there is a discussion about invocation

24     of the Vienna Convention privilege at the Jarrah transcript,

25     and then Mr. Isikoff said that, "The families' lawyers also got
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1      an equally frustrating lack of response in their closed-door

2      video depositions last month with Thumairy and Bayoumi"?

3                 MS. KIRSCH:    I object.   Mr. Maloney just said he

4      doesn't recall the article verbatim.        I think it would be

5      better to put the article in front of him.

6                 MR. SHEN:    I am just refreshing his recollection.

7      A.    I don't recall the details of the article except for the

8      reference to -- I remember the title was something about FBI

9      attempting to flip Mr. Jarrah.        And I remember the thing that

10     stood out in my mind immediately was his reference to the

11     transcript itself, that he claimed to have a copy of the

12     transcript itself.

13                THE COURT:    Mr. Shen, can I interrupt you for one

14     second.    We have AV here.     Is it worth spending a minute fixing

15     it?

16     Q.    Let's look at Exhibit --

17                THE COURT:    Hold on.   I think we need to have AV

18     interrupt you is the question.

19                Do you want to take a quick look?

20                Thank you so much.

21     BY MR. SHEN:

22     Q.    Exhibit 40 in front of you is the July 15 article by

23     Mr. Isikoff.     If we could just scroll down --

24     A.    Hold on.

25                Exhibit?    Sorry.
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1      Q.   It's Exhibit 40.

2                  Do you recognize this, July 15, 2021?

3      A.   Yes.    I don't think I saw it in color, but yeah.

4      Q.   Now, sir, you said that what struck you about this article

5      is that there is a reference to someone had given Mr. Isikoff

6      the transcript, correct?

7      A.   Yes.    That he had obtained one, yes.

8      Q.   And you understood that to be a serious violation of the

9      protective orders in this case, right?

10     A.   Yes.

11     Q.   Now, at that time, had you had any discussions with

12     Mr. Isikoff?

13     A.   No.

14     Q.   Are you aware of any discussions that Mr. Pounian or Ms.

15     Benett of your firm had with Mr. Isikoff?

16     A.   Am I aware?    I am not aware of any.     I think that I at one

17     time would have asked him, and I was told no.

18     Q.   Now, you're certainly aware that Mr. Kreindler had

19     discussions with Mr. Isikoff, correct?

20     A.   He has had discussions with him at various times over the

21     last few years, as well as probably two dozen other

22     journalists.

23     Q.   But he has known Mr. Isikoff for a long time and he

24     frequently speaks with him, right?

25     A.   I would not characterize it that way.       I don't think that's
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1      accurate.

2      Q.   You knew that Mr. Kreindler had spoken to Mr. Isikoff over

3      a number of years, correct?

4      A.   Well, as I said, Mr. Kreindler spoke to a number of

5      journalists, including Mr. Isikoff.

6      Q.   That's not my question.     My question is, did you know that

7      Mr. Kreindler was speaking with Mr. Isikoff over a number of

8      years?

9      A.   I would say, no, I didn't know that.       I know from time to

10     time he spoke to him.      If you are asking me the first time I

11     became aware he spoke to him, was it a few years earlier,

12     possibly.

13     Q.   Look at Exhibit 79 in your binder, please.

14                Sir, on page 2 --

15     A.   Hold on.

16                I'm with you.

17     Q.   Sir, on page 2 of this article about Mr. Isikoff, he

18     describes an interview that James Kreindler gave to him.          Do

19     you see that?

20     A.   Two thirds of the way down?      Yes.

21     Q.   And this is, for the record, a March 1, 2021 article.

22                Were you aware that Mr. Kreindler had spoken to

23     Mr. Isikoff in connection with this article?

24     A.   I can't recall.

25     Q.   Were you aware that Mr. Kreindler had appeared on the
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1      Conspiracyland podcast?

2      A.   I was not aware at the time.      I found out when we did our

3      investigation of the leak.

4      Q.   Did you become aware on or about July 15 right after the

5      Isikoff article came out?

6      A.   I don't think it was day one, but it was within the first

7      two weeks, probably.     There are numerous searches that we did

8      during the course of the investigation.        The first one was to

9      see if there was any transmission of the Jarrah transcript to

10     Mr. Isikoff or anyone at Yahoo News.        That's what we looked for

11     initially and then we expanded the search later.

12     Q.   Just so I understand your testimony, when the July 15

13     Isikoff article came out, you never asked Mr. Kreindler whether

14     he had been in recent contact with Mr. Isikoff?

15     A.   I asked him if he knew anything about the transcript that

16     Mr. Isikoff referred to in the article, and he told me he had

17     no idea.

18     Q.   But you never asked him whether he had been in contact with

19     Mr. Isikoff?

20     A.   I don't think I put it that way.       I was interested in

21     whether or not he knew anything about the transcript getting to

22     Isikoff.

23     Q.   I am just asking whether you asked him whether he had been

24     in contact with Mr. Isikoff.      Did you ask him that question?

25     A.   Not on the first day, no.
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1      Q.   When did you ask him that question, if at all?

2      A.   Probably within my first week or two of the investigation.

3      Q.   Do you specifically recall that?

4      A.   I do because we found, when I had the IT, head of IT John

5      Hartney do the search, we eventually found e-mails from Mr.

6      Kreindler to Mr. Isikoff.      So I asked him about those.

7      Q.   So, when you found out that Mr. Kreindler had appeared on

8      the Isikoff podcast, did you listen to that podcast?

9      A.   No, I did not.

10     Q.   Have you listened to it to this day?

11     A.   I have not.

12     Q.   You don't know what Mr. Kreindler said on that podcast?

13     A.   I do not.

14     Q.   Now, were you aware that Ms. Hunt also had contacts with

15     Mr. Isikoff?

16     A.   I can't recall that.     It's possible I knew at one time, but

17     I don't recall as I sit here.

18     Q.   Do you know that Ms. Hunt appeared on the exact same

19     podcast that Mr. Kreindler appeared on with Mr. Isikoff?

20     A.   I was not aware, but I knew that Ali Soufan had appeared,

21     or at least that's what the e-mail traffic showed.

22     Q.   Let's look at Exhibit 38, please.

23                Exhibit 38 is a printout of the specific

24     Conspiracyland podcast.      You will see it describes who appears

25     on this particular podcast.      You see that Ms. Catherine Hunt
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1      and Jim Kreindler appeared on it?

2      A.   Are you in -- I am trying to find it here.

3                 THE COURT:   At the bottom in the black box.

4      Q.   It's the second-to-last line in the black box, sir.

5      A.   Yes, I see her name there.

6      Q.   And sitting here today, this is the first time that you are

7      realizing that Catherine Hunt, an investigator for your firm,

8      appeared on the same podcast that Mr. Kreindler appeared on?

9      A.   Yeah.   I had never seen this document before.

10     Q.   It's not something that you discovered in the course of

11     your, quote, investigation here?

12     A.   No.   It wasn't relevant to the investigation.

13     Q.   You never spoke to Ms. Hunt, you never asked whether she

14     had any discussions with Mr. Isikoff about the Jarrah

15     transcript?

16     A.   I did not.

17     Q.   Now, when you first saw the July 15 article by Mr. Isikoff,

18     were you aware that Mr. Fawcett had also had contacts with

19     Mr. Isikoff?

20     A.   On July 15 was I aware?     No.

21     Q.   On or about July 15.

22     A.   On or about could mean a lot of things.

23     Q.   July 15 or prior, did you know that Mr. Fawcett was talking

24     with Mr. Isikoff?

25     A.   I did not.
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1      Q.   On or around July 15, did you ask Mr. Kreindler if he knew

2      whether Mr. Fawcett was in discussions with Mr. Isikoff?

3      A.   I don't recall.    If I did, it probably wasn't July 15.        It

4      was probably within the first two weeks when we got more

5      information.

6      Q.   Did you ever ask that question?

7      A.   I may have asked that question, but I don't recall.

8      Q.   You don't remember one way or the other?

9      A.   I don't.

10     Q.   When, to the best of your recollection, when is the first

11     time you learned that Mr. Fawcett had contacts with

12     Mr. Isikoff?

13     A.   I think sometime late July, I want to say between July 22

14     and 29, Mr. Hartney told me about e-mails from Mr. Kreindler,

15     to and from Mr. Kreindler and Mr. Isikoff, and one from John

16     Fawcett, and naturally I asked him, did it have anything about

17     Jarrah?    And he said no.    I later asked to see a copy of each

18     and every one of those e-mails, and there was no mention of

19     Jarrah or the Jarrah transcript.

20     Q.   So, the first time you actually learned Mr. Fawcett was in

21     communications with Mr. Isikoff is after Mr. Hartney did the

22     e-mail searches that you directed him to do?

23     A.   Well, if you're asking for my memory today, it's the first

24     time I remember, certainly in connection with this.          If he had

25     spoken with Mr. Jarrah a year or two before, I wouldn't
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1      necessarily remember that even if I knew it at the time.

2                 THE COURT:   You mean Mr. Isikoff.

3      A.   I wasn't keeping track of every person who spoke to every

4      journalist necessarily.      It's possible I knew he spoke to or

5      had contact with Mr. Isikoff at some other time, but not as I

6      remember it in July.

7      Q.   You knew that Mr. Kreindler and Mr. Fawcett were speaking

8      with dozens of journalists concerning 9/11?

9      A.   I don't think Mr. Fawcett was.      I knew Mr. Kreindler was.

10     I was as well.

11     Q.   Did you know that Mr. Fawcett was also speaking to

12     journalists?

13     A.   No.   I should say I know from time to time he was asked to

14     provide a nonconfidential document or something.         We often

15     asked Mr. Fawcett to provide us information, and it's possible

16     on occasions I knew that he had said something to a person we

17     had asked him to do or something like that.         It was obviously

18     clear every time we always checked to make sure it was not

19     confidential or protected material.

20     Q.   So, Mr. Kreindler and yourself, you're the face of the firm

21     and you speak to the press about the 9/11 case, right?

22     A.   I do on occasion.

23     Q.   And when you need to provide documents to the press, you

24     enlist Mr. Fawcett to provide those documents, right?

25     A.   Yeah.   Usually I would have him give me the document.         I
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1      would look it over and determine whether it is something we can

2      make available.

3      Q.   Before Mr. Fawcett actually provides the document, he seeks

4      the approval of the attorneys at the firm?

5      A.   Yes.

6      Q.   Now, you're certainly aware of Mr. Kreindler's history of

7      violating the protective order in this case, right?

8                  MS. KIRSCH:   Objection.

9                  THE COURT:    Overruled.

10                 You can answer it.

11     A.   I am aware of the Dartmouth speech.       I think I was actually

12     in the court when Judge Netburn admonished him for saying

13     something.

14     Q.   You're also aware he violated the protective order in

15     connection with the 2017 Politico article by Caleb Hanan.          Are

16     you aware of that?

17     A.   Vaguely.    I do remember some of that.     I don't remember the

18     details.

19     Q.   So, you're aware of multiple times that Mr. Kreindler had

20     violated the protective order, correct?

21                 MS. KIRSCH:   I am going to object.     That misstates the

22     record.

23                 THE COURT:    Sustained.

24                 Continue.

25     Q.   Sir, you're aware and you have heard Mr. Kreindler express
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1      his disdain for the protective orders in this case, right?

2      A.   I have heard many people say that, including Mr. Kreindler.

3      Q.   You have heard him call the protective orders damn gag

4      orders?

5      A.   Yeah, I have probably heard him say that.        I have heard

6      that from almost every one of our clients.

7      Q.   You heard him say those orders are disgusting, you have

8      heard that, right?

9      A.   I never heard it.     I think I read that in one of the

10     articles.

11     Q.   You have heard him say that he hates the protective orders

12     in this case?

13     A.   We all do, every client and every lawyer on the plaintiffs'

14     side.

15     Q.   So every lawyer on the Kreindler side, yourself included,

16     Ms. Benett, who is sitting at counsel table, you hate the

17     protective orders that the court has entered in this case.           Is

18     that your testimony?

19     A.   My testimony is that I can tell you I have never been

20     involved in a case where everything is kept secret from our own

21     clients.

22     Q.   You just testified that you and all the lawyers at the

23     Kreindler firm hate the protective orders, right?

24     A.   That was your words, Mr. Shen.

25                MS. KIRSCH:   I am going do object.      That misstates his
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1      testimony.

2      Q.   Sir, when the July 15 --

3                 MR. SHEN:   I am going to move on and withdraw the

4      question.

5      Q.   Sir, when the July 15 Isikoff article came out and it

6      stated that he had a copy of the Jarrah transcript, which was

7      leaked to him, were you concerned, given Mr. Kreindler's

8      extensive violations of the protective order and his disdain

9      for the protective order, that he was the source of the leak?

10                MS. KIRSCH:   I would like to object one more time.        I

11     don't know how many times Mr. Shen is going to misstate the

12     record.    I don't know what he is talking about with "extensive

13     violations," but it makes a very messy record to bake that into

14     a question that Mr. Maloney could possibly otherwise answer.

15                MR. SHEN:   Mr. Maloney testified to two violations of

16     the protective order, the Dartmouth speech and the 2017 order.

17     A.   I didn't say they were violations of the protective order.

18     I said I was aware of two or three occasions where that issue

19     was discussed.

20     Q.   Now, sir, given those issues and given the disdain that Mr.

21     Kreindler has expressed with the protective order, were you

22     concerned at the time that he was the source of the leak?

23     A.   I was not.

24     Q.   Did you have any concern that anyone at Kreindler was the

25     source of the leak?
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1      A.   I was not.    I asked everyone and then I did my own

2      investigation to confirm that.

3      Q.   But before you conducted the investigation, were you

4      confident that Kreindler wasn't the source of the leak?

5      A.   Yes.

6      Q.   So, before doing anything, in your mind, you said it

7      couldn't have come from this firm, correct?

8      A.   In my own mind, before I spoke to him, I would have been

9      very surprised if it came from the firm.        Then I started to ask

10     people that had access to the transcript and I was told they

11     had nothing to do with it and didn't know anything about.          And

12     then I started the e-mail investigation with IT.

13     Q.   You submitted two declarations in this case?

14     A.   Yes.

15     Q.   There is the August 16 declaration that's at 48.C in the

16     binder.

17     A.   I recall.

18     Q.   The September 27 declaration, for the record, that's at

19     Exhibit 56B.

20                 Now, you're aware, sir, that the August 16 declaration

21     in this case, it doesn't describe any investigation that was

22     conducted, right?

23     A.   We were not asked by the court to describe it.        We gave the

24     court what the court asked for.

25     Q.   So, after the leak occurred, you took the initiative to do
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1      the investigation?

2      A.   Yes.

3      Q.   That was you and Mr. Hartney?

4      A.   Yes.

5      Q.   Anyone else involved in that investigation?

6      A.   I don't think so.     I asked everybody else.     I told

7      everybody else what I was doing after I had begun it.           I don't

8      think they were involved.      I think Ms. Benett later got

9      involved when we did another sweep, probably a triple check,

10     I'd say, much later in the process.       But the first month it was

11     myself and Mr. Hartney.

12     Q.   So Ms. Benett might have gotten involved when you were

13     submitting the September 27 declaration, but certainly not the

14     August 16 declaration?

15     A.   I'm not sure when she got involved, but I know the initial

16     part of the investigation, for the first few weeks, was just

17     myself and Mr. Hartney.

18     Q.   Let's look at the actual declaration, 56B.

19                 Let's look at paragraph 4.

20     A.   Paragraph 4?

21     Q.   Paragraph 4.

22     A.   Yes.    My declaration.

23     Q.   It says that "I learned on July 15," and it talks about the

24     article, right?

25     A.   Yes.
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1      Q.   Then it says, "That day I discussed the article with others

2      at Kreindler working on the 9/11 litigation."         Do you see that?

3      A.   Yes.

4      Q.   And who did you actually discuss that article with on the

5      15th?

6      A.   I believe Jim Kreindler, Steve Pounian, possibly Megan

7      Benett and John Fawcett, and I think that was it, and myself.

8      Q.   Did you discuss it with them in person?

9      A.   No.    I did discuss it with Mr. Fawcett in person because I

10     think he was in the office and I was in the office that day,

11     and I think the others were not in the office that day.

12     Q.   Did you say you did discuss it with Mr. Fawcett in person?

13     A.   Yes, I believe so.

14     Q.   And the two of you were the only ones in the office that

15     day?

16     A.   No.    But in terms of the terror group that had access, he

17     and I were in there.     I don't think anybody else was.       It's

18     possible Ms. Benett was, but I don't recall speaking to her in

19     person, but I remember we had a phone call.

20     Q.   You don't recall Mr. Pounian being there in person?

21     A.   I don't believe he was, but I can't recall.        I don't

22     believe he was.

23     Q.   You don't recall Mr. Kreindler being there in person?

24     A.   He was not.

25     Q.   Now, in these discussions with your colleagues at the
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1      Kreindler group -- and these were the core members of the 9/11

2      team, right?

3      A.   Yes.

4      Q.   So Mr. Fawcett is included in that core group that

5      litigates this case?

6      A.   He is not a lawyer litigating it, but he is part of the

7      team, yes.

8      Q.   He is the only nonlawyer in that group, right?

9      A.   Well, no, we have other nonlawyers that are part of the

10     team.   I think they have been identified, and we have

11     paralegals, and we have a lot of consultants and investigators.

12     Q.   My question to you is just Mr. Fawcett was a core member of

13     the 9/11 team?

14     A.   Can you define core?

15     Q.   Key member, very important member.

16     A.   Certainly.

17     Q.   Now, in these discussions on July 15, did you ask whether

18     the other core members of your team had discussions with

19     Michael Isikoff?

20     A.   I asked if any of them knew anything about how Mr. Isikoff

21     got the Jarrah transcript.

22     Q.   If you could answer my question, please.

23     A.   I think I did.

24     Q.   Did you ask whether they had contact with Mr. Isikoff?

25     A.   I didn't put the question that way.       I asked them the way I
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1      just told you.

2      Q.   You asked each member of the team, is that your testimony?

3      A.   We had a conversation about it.

4      Q.   You asked Ms. Benett, for instance?

5      A.   I think on the call I said, does anybody know how

6      Mr. Isikoff got a copy of the Jarrah transcript?         Everyone

7      said, No, no idea.     I have no idea how he got it, it didn't

8      come from me, words to that effect.

9      Q.   You posed a question to the entire group and you got

10     negative responses in general?

11     A.   Correct.

12     Q.   But you never sat down one-on-one with each of the lawyers

13     and asked them?

14     A.   On that first day I didn't.      We had multiple conversations.

15     Q.   Sir, did you ever do that?

16     A.   Face-to-face?

17     Q.   One-on-one, face-to-face.

18     A.   With several of them I did.      Some of them it was, again,

19     phone calls.    Mr. Kreindler in particular was probably phone

20     calls.   Ms. Benett was probably in person at one time or

21     another.    Mr. Pounian in person at one time or another.        Mr.

22     Fawcett.    Probably the only one I didn't have a face-to-face

23     with was Mr. Kreindler.

24     Q.   So I understand your testimony, you sat down face-to-face

25     with Mr. Fawcett, asked him whether he leaked the transcript to
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1      Mr. Isikoff, and he told you he had not?

2      A.   Correct.   I didn't sit down; I was standing.

3      Q.   So he lied to your face?

4      A.   He did not tell me the truth.

5      Q.   That's lying to you, right?

6      A.   Yeah.   He didn't tell me the truth.

7      Q.   How many times did he lie to you about that?

8      A.   Throughout the next several weeks it was a topic of

9      conversation for all of us.      At one point I asked him, and

10     everyone else, if you didn't send it to Mr. Isikoff, did you

11     send it to anybody?     So I asked that of Mr. Fawcett.

12     Q.   And he said he didn't send it to anybody?

13     A.   That's not correct.

14     Q.   What did he say?

15     A.   He said he sent it to one of our consultants who is

16     identified as Consultant-1.      He told me that either the first

17     day or second.

18     Q.   How many times did he tell you that he did not send the

19     transcript to Mr. Isikoff?

20     A.   Well, I would say, it depends on how -- if you want those

21     exact words, probably only once.       But there was certainly a

22     clear indication when I said, did you send it to anyone or

23     anyone else, or things like that, and the answers I got to me

24     were consistent that he was claiming he didn't send it to

25     Isikoff or didn't know how Isikoff got it.        So it wasn't quite
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        LB189116                   Maloney - Cross

1      the same words that you used, but it was the same conclusion.

2      Q.   Each and every one of those interactions you had with him

3      he lied to you, is that right?

4      A.   Yeah.   He wasn't candid.    He didn't tell me or anyone, to

5      my knowledge, that he had sent Mr. Isikoff the Jarrah

6      transcript.

7                 (Continued on next page)

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        LB1H9117                   Maloney - Cross

1      Q.   All right.    Let's look at paragraph 5 of your declaration,

2      sir.

3                  THE COURT:    Mr. Shen, let's just be sensitive to the

4      time, when you think it's an appropriate time to take a break

5      for the day.

6                  MR. SHEN:    Whenever you want.   I don't have a watch.

7                  THE WITNESS:    They took mine at security.

8                  THE COURT:    It's ten past 5:00.      You want to go for

9      another five or ten minutes, or you want to wrap up?

10                 THE WITNESS:    I'd rather go as long as Mr. Shen

11     and the --

12                 THE COURT:    I know, but we have the court reporters.

13                 MR. SHEN:    Let's go for another five minutes or so,

14     and then we'll wrap up.

15                 THE COURT:    OK.   Thank you.

16     BY MR. SHEN:

17     Q.   Paragraph 5 of your declaration discusses conferring with

18     Mr. Hartney on July 16.         Do you see that?

19     A.   Yes.

20     Q.   And, sir, you're a former prosecutor?

21     A.   Yes.

22     Q.   At the S.D.N.Y.?

23     A.   Yes.

24     Q.   So you have experience investigating these types of issues?

25     A.   Yes.
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        LB1H9117                   Maloney - Cross

1      Q.   And you understood here that the goal was to conduct an

2      objective and comprehensive investigation to determine whether

3      anyone at the Kreindler firm was the source of the leak, right?

4      A.   Yes.

5      Q.   And if someone was, in fact, the source, the goal was to

6      investigate whether anyone had knowledge of it or directed

7      Mr. -- or whoever did it to do it, right?

8      A.   Well, yeah, that would be part of the investigation.

9      Q.   OK.    Now let's look at Exhibit 100, please.

10     A.   My copy, the print is extremely small, Mr. Shen.

11     Q.   I apologize for that.     That's just the way it was produced

12     to us.     Is your screen working?

13     A.   Nope.

14     Q.   All right.    Now, on Exhibit 100, this is an email chain

15     between you and Mr. Hartney.      Do you see that?     And it's on

16     July 16?

17     A.   I have -- there's a couple email strands here.        So there's

18     one on June 28 and then there's a July 16 and a September 24.

19     Q.   Let's put it in context.

20                 The June 28, that is an email from the court reporter

21     forwarding on the transcript for the Jarrah deposition, right?

22     A.   Yes, correct.

23     Q.   And then on July 16, in the bottom paragraph, you're asking

24     Mr. Hartney to do a review, correct?

25     A.   Yes.
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        LB1H9117                   Maloney - Cross

1      Q.   Specifically, you're asking him if it's possible to do a

2      search of the outgoing emails on the K and K -- that's

3      Kreindler & Kreindler, right?

4      A.   Yes.

5      Q.   -- server on June 28 that contains the Jarrah transcript.

6      And then you say you can limit that search, if you'd like, to

7      the following individuals, and it lists eight individuals.           Do

8      you see that?

9      A.   Yes.

10     Q.   And that's the search that you're describing in paragraph 5

11     of your declaration when you say:       On July 16, I conferred with

12     Mr. Hartney and asked him to do a search, right?

13     A.   Yes.

14     Q.   OK.    This particular search, you asked him to do just a

15     search of the outgoing emails, not a search of the entire email

16     server, correct?

17     A.   Correct.

18                 I should point out, to your last question on my

19     declaration, which is August 16, we did subsequent searches

20     after this initial search.

21     Q.   We'll get there.

22     A.   OK.    I didn't want -- I didn't want you to be confused or

23     have the record confused that this was the only search I had

24     him do, but the one to begin the search on July 16, that was

25     what I sent to him.
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        LB1H9117                   Maloney - Cross

1      Q.   You're asking him to do a search only of outgoing emails.

2      You're not asking him to search for incoming emails, right?

3      A.   Correct.

4      Q.   And you're asking him to do a search only of particular

5      custodians, not of everybody at Kreindler & Kreindler, right?

6      A.   Yeah, nobody else had access to the transcript that I was

7      aware of at Kreindler.

8      Q.   OK.   Sir, do you know, for instance -- well, strike that.

9                 You're not asking him to search for any personal

10     devices, personal laptops, personal email accounts, none of

11     that, right?

12     A.   No.   I think the email server at the firm would have

13     detected if somebody sent an email to --

14     Q.   From a firm email?

15     A.   From a firm email, yeah.

16     Q.   But not from a personal email?

17     A.   You asked me about telephones.      I don't know how -- I'm not

18     tech savvy, but I don't think you can do that.

19     Q.   My question to you is just did you direct Mr. Hartney to

20     search personal --

21     A.   Personal.

22     Q.   -- laptops?

23     A.   Of everybody at the firm or everybody on the terror team?

24     Q.   Yes, sir.

25     A.   No.
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        LB1H9117                   Maloney - Cross

1      Q.   And you never asked him to do that, right?

2      A.   No.

3      Q.   Let's look at Exhibit 84.

4                  Now, you discussed, Mr. Maloney, that there were some

5      subsequent searches that you asked Mr. Hartney to do, right?

6      A.   Yes.

7      Q.   This is an email on July 21 to you and the "terror team,"

8      right?

9      A.   Yes.

10     Q.   So it discusses two searches.      The first email talks about

11     the outgoing email boxes for the Jarrah transcripts.          That's

12     what we saw you asked him to do on July 16, right?

13     A.   Yes.

14     Q.   And then you asked him to search for any emails to Mike

15     Isikoff in the last month, and he says he'll finish that search

16     tomorrow, right, so by the 22nd?

17     A.   Yes.

18     Q.   All right.    And, again, in this second search, this is just

19     of the firm email server, right?       This isn't any personal

20     emails or personal devices?

21     A.   I had no reason to believe that anybody used a personal

22     device to communicate with Mr. Isikoff.

23     Q.   OK.

24     A.   And certainly not to be able to export a transcript.

25     Q.   You know, sir, that the firm email accounts are monitored,
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        LB1H9117                   Maloney - Cross

1      right?   The IT department has the ability to search them?

2      A.   Yes.

3      Q.   You're actually asking the IT department to search them

4      here?

5      A.   That's exactly what I was doing.

6      Q.   If someone were to leak the transcript and didn't want to

7      get caught, wouldn't it stand to reason they would do so over a

8      personal account and not firm account?

9                  MS. KIRSCH:   Objection.

10     Q.   Asking for your opinion.

11     A.   You're asking me to speculate in terms of what I believed.

12     Q.   Yeah.    I'm not asking you to speculate.      I'm asking what

13     you believe.

14     A.   Ask your question.

15     Q.   So you know the email accounts at the firm are monitored?

16     A.   Yes.

17     Q.   People can search them, right?

18     A.   Yes.

19     Q.   If someone wanted to leak the transcript, doesn't it stand

20     to reason that they wouldn't do it over a medium that could be

21     easily monitored and discovered?

22     A.   Listen, if somebody had access to the transcript and wanted

23     to hide the fact that they were going to leak it, I guess there

24     are -- there may be infinite ways to do it, but, typically, I

25     would have thought if they -- the transcript was only available
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        LB1H9117                   Maloney - Cross

1      on the Kreindler server, they would email it to themselves,

2      maybe their laptop or a different email address, and we would

3      have picked that up.

4      Q.   When you say "different email address," you mean a

5      different email address, personal email address?

6      A.   Any email address we would have picked up.

7      Q.   And, sir, we discussed this, but you're a former federal

8      prosecutor, right?

9      A.   Yes, you've asked me that.

10     Q.   You know how to do these investigations?

11     A.   I've never investigated a leak, but I've done plenty of

12     investigations.

13     Q.   And as a former prosecutor, in your mind, it wasn't

14     reasonable for you to conclude that you needed to search the

15     personal emails and the personal devices of the terror team and

16     anyone else who had access?

17     A.   That's not a reasonable request, no.

18     Q.   OK.    Now let's look at Exhibit 86.     86 is a text message

19     between you and Mr. Hartney, right?

20     A.   Yes.

21     Q.   And it's dated July 22, 2021, right?

22     A.   Yep.

23     Q.   So you're communicating with Mr. Hartney over text message,

24     right?

25     A.   Yes.
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1      Q.   On your personal device?

2      A.   Yeah.

3      Q.   Not over firm emails.     Your firm email search wouldn't pick

4      this up, right?

5      A.   No, the firm email would not pick this up, no.

6      Q.   And you actually do business over text.        You text a lot of

7      people for work, right?

8      A.   Not very many.    There's only basically office people, and

9      it's usually if I'm not in the office and I'm not at my

10     desktop.     If, let's say, I'm somewhere else, I may text them to

11     get their attention.

12     Q.   But you're doing that here, right?

13     A.   Yeah, I did that here.

14     Q.   And this is a message that would not have been found

15     through a search of the email server, right?

16     A.   Correct.

17     Q.   All right.    And Mr. Hartney's actually telling you what the

18     results of his search are in this text message, right?

19     A.   Yes.

20     Q.   And he says that, well, we found communications between

21     Mr. Kreindler and Mr. Isikoff discussing "lifting of gag order

22     and Isikoff writing an article," right?

23     A.   Yeah, I see that.

24     Q.   So at this point, July 22, you know for sure that

25     Mr. Kreindler and Mr. Isikoff are having discussions, right?
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1      A.   Yeah, I think I testified to that.

2      Q.   Right.   You also know, and you testified before, that at

3      around this time you also knew that Mr. Fawcett was having

4      discussions with Mr. Isikoff?

5      A.   I think in a subsequent communication or conversation with

6      Mr. Hartney, I did learn that, probably within days of this, if

7      not that day, certainly that week, I think.         I think I

8      testified somewhere between July 22 and 29th.

9                 MR. SHEN:    OK.   Is it a good time to stop, your Honor?

10                THE COURT:   I think so.

11                MR. SHEN:    All right.

12                THE COURT:   All right.     Given the pace, I think we

13     should start earlier tomorrow.        And I confirmed with the court

14     reporters that they can start as early as 9:00, so unless

15     anyone has a reason why they can't be here at 9:00, I'd like to

16     start at 9:00.     We'll finish tomorrow.     So if we need to start

17     pacing folks, we will, but I'll ask the lawyers to please be

18     sensitive to the time.        So we'll start here directly at 9:00.

19                Sir, you will remain under oath.      The direction not to

20     discuss the nature of your testimony or the underlying issues

21     remains.    You're not to speak with the witnesses who testified

22     or the witnesses who have not testified about the nature of

23     your testimony or their testimony, and then you'll come back

24     here at 9 a.m. tomorrow.

25                THE WITNESS:    Am I allowed to speak to my counsel, or
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1      no?

2                 THE COURT:    Yes, of course.

3                 Anything further from anyone?

4                 MS. KIRSCH:    I just wanted to raise it appears

5      Ms. Benett has a commitment that would make her not able to be

6      here at 9:00.    We can certainly start without her if that's

7      fine.   I just wanted to make sure that if it was 9:30, that

8      your Honor didn't think she was just being late.

9                 THE COURT:    Do you mind if we begin at 9:00 and you

10     join us at 9:30, Ms. Benett?

11                MS. BENETT:    No, that's fine.    I just have to drop my

12     son at school.     I will be here right after that.

13                THE COURT:    Sorry for the inconvenience.

14                MR. KELLOGG:    Your Honor, just for my understanding of

15     the rules, counsel cannot talk to the remaining witnesses that

16     have not appeared yet about what happened in court today or the

17     exhibits on cross.

18                THE COURT:    Correct.   You can speak to your counsel,

19     but you can't reveal the nature of the testimony from today.

20                All right.    You're excused.    We'll see you tomorrow

21     morning at 9:00.

22                Thank you, everybody.

23                (Adjourned to November 2, 2021, at 9:00 a.m.)

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1      UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
2      ------------------------------x

3      In re Terrorist Attacks on                    03 MD 1570 (GBD)(SN)
       September 11, 2001
4                                                    Hearing
       ------------------------------x
5                                                    New York, N.Y.
                                                     November 2, 2021
6                                                    9:00 a.m.

7      Before:

8                               HON. SARAH NETBURN,

9                                                    U.S. Magistrate Judge

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1                 (Hearing resumed)

2                 THE COURT:   Good morning, everybody.

3                 A few quick housekeeping matters.      Because we switched

4      the start time to 9, the phone call-in line is not available

5      until 9:30.    The press is here and listening both, I think,

6      some in the room, as well as in the press media room of the

7      courthouse.    We have an overflow room in courtroom 15A.

8      Obviously, this courtroom is open to the courtroom.          We are

9      doing the best we can to give full access as much as possible,

10     but we won't have the AT&T line available to the public until

11     9:30.

12                On that point, around 9:30 I am going to ask the

13     lawyers to literally give a 60-second break.         Ms. Slusher is

14     going to patch in the AT&T line while I will hear it over the

15     speakers that it's happening.       We just need 60 seconds to do

16     that.    So around 9:30, I will ask you to take a quick moment to

17     patch us in.

18                I think that's the end of the housekeeping.        You can

19     begin.

20                Mr. Maloney, I will remind that you already took an

21     oath to tell the truth.      You remain under that oath.

22                THE WITNESS:    Yes, your Honor.

23                THE COURT:   Mr. Shen, you may begin.

24                (Continued on next page)

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1        ANDREW J. MALONEY III, resumed.

2      CROSS-EXAMINATION (Cont'd)

3      BY MR. SHEN:

4      Q.   Good morning, Mr. Maloney.

5      A.   Good morning.

6      Q.   Yesterday when we had paused for the day you had testified

7      about the e-mail searches that you had conducted and that you

8      had directed Mr. Hartney to conduct, correct?

9      A.   Yes.

10     Q.   Now, you testified that you did not search any personal

11     e-mails, you didn't search any texts, you didn't search any

12     personal devices, correct?

13     A.   Correct.    I don't think your firm did either.

14     Q.   If you could just answer the question.

15                 THE COURT:    Mr. Maloney, please answer the question.

16     A.   I did not.

17     Q.   You did not tell Mr. Hartney to search any of that

18     information, correct?

19     A.   I did not.

20                 MR. SHEN:    Can we show Exhibit 150 on the screen,

21     please.

22     Q.   Sir, Exhibit 150 is a text message chain that Mr. Fawcett's

23     counsel has produced to us this week.        This is a text message

24     chain with Mr. Isikoff and it shows numerous communications

25     between Mr. Fawcett and Mr. Isikoff.


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1                  If you could, please, turn to the second page, and you

2      will see that on July 24th of 2021, Mr. Fawcett writes to

3      Mr. Isikoff and says, "FYI, there is a witch-hunt for the

4      source of your Jarrah story."

5                  Do you see that?

6      A.   Yes.

7      Q.   If you had actually searched personal devices and asked for

8      messages, it would have been clear as day that Mr. Fawcett was

9      the source of the leak, correct?

10     A.   No.

11                 MS. KIRSCH:    Objection.   First of all, that's a

12     hypothetical.     Second of all, I don't know why Mr. Maloney is

13     being asked about a document that he has never seen.

14                 THE COURT:    I think it's in connection with the nature

15     of the investigation that was conducted.

16                 You can continue.

17     Q.   So your testimony is, no, it would not have been clear as

18     day?

19     A.   No.    It's clear there is communication here.      It doesn't

20     indicate in this text that Mr. Fawcett sent Mr. Isikoff the

21     Jarrah transcript.       It doesn't state that here.

22     Q.   Sir, your testimony is that it would not have been

23     reasonable to conduct any of those searches, that was your

24     testimony, right?

25     A.   That is my testimony for the third time.


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1      Q.   And you're standing by that testimony?

2      A.   I am.

3      Q.   Let's look at Exhibit 56.F, please.

4                 56.F is the declaration that you submitted in this

5      case.

6      A.   That's Mr. Hartney's.

7      Q.   We discussed the e-mail searches that you directed Mr.

8      Hartney to conduct.     Exhibit 1 of his declaration sets out the

9      e-mails that were located in that search, correct?

10     A.   I don't know how to scroll on the computer here.

11     Q.   It's in the binder next to you as well.        Just take 30 or 45

12     seconds just to scroll through those e-mails.

13                THE WITNESS:    Is there a way for me to control it on

14     the screen?

15                THE COURT:   No.

16                THE WITNESS:    Sorry.

17     A.   Remind of the exhibit number, Mr. Shen.

18     Q.   56.F.   We are looking at Exhibit 1 of 56.F.

19     A.   OK.

20     Q.   Mr. Hartney showed you these e-mails after the search,

21     correct?

22     A.   Yeah.   The e-mails that we are looking right here in this

23     exhibit are from Jim Kreindler or to Jim Kreindler -- between

24     Mr. Kreindler and Mr. Isikoff.

25     Q.   And there are some other e-mails in here as well, including


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1      an e-mail from Mr. Fawcett to Mr. Isikoff, if you continue

2      scrolling through.

3                  We will take you through some of those e-mails.

4                  If you could look, please, at the bottom, there is a

5      page number, look at page 6.

6      A.   6 of 27.    Yes.

7      Q.   You see this is an e-mail from Mr. Kreindler to

8      Mr. Isikoff?

9      A.   Yes.

10     Q.   You see that he sent it from his personal device, his

11     iPhone?

12     A.   Yes.

13     Q.   And you see that this is a communication about the podcast

14     that Mr. Kreindler is going to appear on.        Do you see that on

15     July 1?

16     A.   Yes.

17     Q.   Now, sir, this is the earliest communication that we have

18     between Mr. Kreindler and Mr. Isikoff.

19                 It certainly stands to reason that there were earlier

20     communications between the two of them, correct?

21     A.   I don't know that.

22     Q.   That's not something that you deduced during your

23     investigation?

24     A.   Well, I asked Mr. Kreindler about this e-mail, and he told

25     me that there was a program that he and Ali Soufan were on


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1      called Conspiracyland.      And I asked him if there was any

2      discussion about Jarrah's deposition, and he said no.

3      Q.   That's not the question, sir.

4      A.   Well, you asked me a question about my state of mind.         So I

5      am telling you my state of mind based on what I see here.

6      Q.   Looking at this e-mail, did you deduce that there must have

7      been earlier communications between Mr. Kreindler and

8      Mr. Isikoff?

9      A.   I didn't deduce one way or the other.       But I asked Mr.

10     Kreindler about this e-mail.

11     Q.   Did you ask him if there were earlier communications?

12     A.   I asked Mr. Kreindler if he ever discussed the Jarrah

13     deposition.    That was the nature.

14     Q.   That's not the question.

15     A.   Repeat your question.

16     Q.   Did you ask if there were earlier communications?

17     A.   I didn't.

18     Q.   Please look at page 27, please.

19                Do you see that this is a communication between Mr.

20     Kreindler and Mr. Isikoff where Mr. Isikoff is asking about the

21     status of a motion to lift the states secrets privilege and

22     the, quote, gag order?

23     A.   I see that.

24     Q.   And so, at this point in time, you knew that Mr. Kreindler

25     and Mr. Isikoff were discussing that issue, correct?


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1      A.   Yes.    I learned this sometime in late July when I got these

2      e-mails that he had asked about that.

3      Q.   If you could, please, let's look at page 13.

4                  Mr. Hartney showed you this e-mail, which is an e-mail

5      from Mr. Fawcett to Mr. Isikoff, July 12, 2021.         Do you see

6      that?

7      A.   Yes.

8      Q.   And it attaches a priv log, but there is nothing at all in

9      the body of the e-mail.      Do you see that?

10     A.   Yes.    I think I saw the attachment at some point.

11     Q.   And you testified that within a few days of Mr. Hartney

12     conducting the search that found Mr. Kreindler's e-mails to Mr.

13     Isikoff you saw this e-mail, correct?

14     A.   Yes.

15     Q.   Now, this e-mail, where there is nothing in the body of the

16     e-mail, certainly indicates that there must have been other

17     communications between Mr. Fawcett and Mr. Isikoff?

18     A.   Why are you assuming that?

19     Q.   There is nothing in the body.      He is just sending a priv

20     log out of nowhere?

21                 Mr. Maloney, you think that unsolicited Mr. Fawcett

22     just out of nowhere sent a privilege log to Mr. Isikoff?

23     A.   I don't know one way or the other.       I am just telling you.

24     Q.   Did you ask him?

25     A.   Yes, I did ask him.


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1      Q.   What did he say?

2      A.   He said Mr. Isikoff wanted to confirm the existence of the

3      2016 FBI summary, and he gave him the privilege log that had it

4      listed right there.

5      Q.   Did you ask him whether there were other communications?

6      A.   I asked him if he talked to Mr. Isikoff about the Jarrah

7      deposition.

8      Q.   Not the question.     Did you ask him if there were earlier

9      communications?

10     A.   I probably did because I wanted to know the context, as you

11     just indicated, of why he sent him a privilege log, so yes.

12     Q.   You're testifying under oath.      Did you or did you not ask

13     him about earlier communications?

14     A.   I must have asked him why did you send this, and he must

15     have told me he asked for it.       Obviously, there was a prior

16     communication about that, either with Mr. Fawcett and

17     Mr. Isikoff, or maybe Steve Pounian or Megan Benett or Jim

18     Kreindler or a client.      There is a lot of possibilities here.

19     You're making an assumption that he got the request directly

20     from Mr. Isikoff.

21     Q.   Now, sir, you knew that Mr. Kreindler, and we saw the

22     e-mail on page 27, the date of that e-mail is July 13, 2021,

23     Mr. Kreindler and Mr. Isikoff are discussing lifting the states

24     secrets privilege.

25                On July 12, 2021, Mr. Fawcett sends a privilege log


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1      listing the documents that are subject to the states secrets

2      privilege.     Do you see that?

3      A.   Yes.

4      Q.   Now, it's certainly the case that Mr. Fawcett was doing

5      that at Mr. Kreindler's direction, right?

6                  MS. KIRSCH:    Objection.   That mischaracterizes prior

7      testimony.     It's assuming a fact that's not in the record and

8      it's kind of badgering the witness.         It's misleading.

9      A.   I actually answered that question.

10                 THE COURT:    Please let me respond to your lawyer's

11     objections first.

12                 I don't think it assumes facts because I think it was

13     an open question.     I think a hypothetical is OK.      But I will

14     ask Mr. Shen to ask the question more directly, please.

15     Q.   Sir, at the time that you looked at this e-mail, did you

16     deduce that Mr. Fawcett was instructed by Mr. Kreindler to send

17     this privilege log to Mr. Isikoff?

18                 MS. KIRSCH:    Asked and answered.

19                 THE COURT:    Overruled.

20     A.   I asked Mr. Fawcett why he sent the privilege log, and he

21     told me that Mr. Isikoff was looking for corroboration for

22     existence of the 2016 report.       I didn't cross-examine him and

23     say, Did Jim Kreindler ask you to do that, or did Mr. Isikoff

24     ask for that from you directly?         I didn't ask that part.   But I

25     did ask, Did you discuss anything about the Jarrah deposition?


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1      And he said no.

2      Q.   Just to be clear, you never asked Mr. Fawcett if Mr.

3      Kreindler asked him to do that?

4      A.   I may have.    I don't recall.    But the import of the

5      conversation was that there was a request by Mr. Isikoff for

6      corroboration of the existence of the 2016 report.         And he

7      provided the document, and as you see, there is no

8      communication other than a transmission of the document here.

9      And after I questioned Mr. Fawcett, I was satisfied that there

10     was no reason to believe that they discussed the Jarrah

11     deposition, or forwarded it.      In fact, these e-mails and

12     these -- these e-mails in front of me seem to confirm that

13     there was no communication about the Jarrah deposition.

14     Q.   Sir, at the time, you were not able to connect the dots in

15     your own head that Mr. Kreindler had directed Mr. Fawcett to

16     provide this to Mr. Isikoff?

17     A.   I didn't make that assumption.

18     Q.   So at this point, we are talking shortly after July 22

19     where Mr. Hartney has provided you with all of these e-mails,

20     you knew that multiple members at your firm were in discussions

21     with Mr. Isikoff, correct?

22     A.   Well, there's, I think, three e-mails from and to Jim

23     Kreindler, one about the gag order, which we covered --

24     Q.   Just answer my question, please.

25     A.   I am trying to answer your question, Mr. Shen.        When you


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1      say multiple, I am saying there are three from Jim Kreindler

2      and one from John Fawcett.      I am being exact and precise rather

3      than the sweeping generalizations you make.

4                  THE COURT:   Sir, you're not helping yourself.      Please

5      just answer the questions.

6      Q.   Sir, at this point in time, you knew multiple members of

7      your firm had been in contact with Mr. Isikoff?

8      A.   I knew that Mr. Kreindler had and Mr. Fawcett.

9      Q.   And Ms. Hunt, too, because she appeared on the podcast,

10     right?

11     A.   I did not know that.

12     Q.   It did not come up in your investigation?

13     A.   No.

14     Q.   So you knew that Mr. Kreindler and Mr. Fawcett had also

15     attended the Jarrah deposition and knew exactly what transpired

16     at that deposition, right?

17     A.   Yes.

18     Q.   You also knew that they had access to that deposition?

19     A.   Yes.

20     Q.   You also knew that they attended the Thumairy and Bayoumi

21     deposition?

22     A.   Yes.

23     Q.   You also knew they had access to that deposition, right?

24     A.   Yes.

25     Q.   And you knew that Mr. Isikoff had written about what


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1      happened at the Bayoumi and Thumairy depositions?

2      A.   I don't recall.

3      Q.   We went over this yesterday.

4      A.   I didn't read the entire article.       You directed me to the

5      portions you wanted me to.      Everybody knew that Mr. Bayoumi and

6      Thumairy were being deposed.      There was nothing that stood out

7      about that.

8      Q.   So on July 15, you didn't read the entire article written

9      by Mr. Isikoff, is that your testimony?

10     A.   No, that's not my testimony.

11                THE COURT:   Mr. Shen, may I remind you to speak a

12     little more slowly so the court reporter can get it.

13                MR. SHEN:    Yes, your Honor.

14     Q.   You also knew that Mr. Kreindler had been communicating

15     with Mr. Isikoff through his personal device, correct?

16     A.   I didn't know that until recently when we downloaded

17     everybody's cell phone.

18     Q.   But you knew that because he was e-mailing from his iPhone?

19     A.   I think I saw the e-mails.      The text messages I don't think

20     I had.

21     Q.   I am not asking about the text messages.        I am asking about

22     the e-mails.    It said they were sent from his iPhone.

23     A.   But that's using the Kreindler server.       That's how we found

24     his e-mails.    When you send an e-mail from your phone, it's as

25     if you're sitting at your desk so I saw them.


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1      Q.   But on your phone you also have your personal e-mail,

2      right?

3      A.   Yeah.   I have a Gmail account.

4      Q.   That you can access on your personal phone?

5      A.   Yes.

6      Q.   If someone sends an e-mail message to you on your Kreindler

7      account, you can forward that from your Gmail account, right?

8      A.   I would have to forward it from my Kreindler account to my

9      Gmail account.

10     Q.   You're sure about that?

11     A.   No, but that's what my understanding is.

12     Q.   But the fact of the matter is you never asked for Mr.

13     Kreindler's personal phone, right?

14     A.   Fourth time, I did not.

15     Q.   Or anybody else's?

16     A.   Fifth time, I did not.

17     Q.   Sir, if anyone at the Kreindler firm had leaked the

18     transcript, the prime suspects must have been Mr. Kreindler and

19     Mr. Fawcett, right?

20     A.   Not correct.

21     Q.   They were the ones who had communications with Mr. Isikoff?

22     A.   That's right.    None of those communications showed any

23     evidence that there was a discussion about the Jarrah

24     deposition or the forwarding of the transcript.

25     Q.   Now, at this time, did you attempt to screen Mr. Kreindler


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1      and Mr. Fawcett off from the investigation?

2      A.   I don't know that I screened anybody off, but I conducted

3      the investigation --

4      Q.   So the answer is no, correct?

5      A.   When you say "screen," please define it.

6      Q.   You were updating them on the investigation?

7      A.   Yes.    But they weren't part of the investigation, so I gave

8      them the results as they were unfolding.

9      Q.   They were the subject, or they should have been the

10     subject, right?

11     A.   I made everybody who had access to that deposition

12     transcript the subject of the IT investigation we were

13     conducting, including myself.

14     Q.   At this point, was anyone at the Kreindler firm instructed

15     to retain all relevant documents pertaining to this leak?

16     A.   I don't recall, but I knew that if they used the Kreindler

17     server, even if they deleted it, we could find it.

18     Q.   That's not the question.     The question is, did you send out

19     a retention notice?

20     A.   I don't believe I did that in July.

21     Q.   Was any retention notice ever sent out about personal

22     devices?

23     A.   At some point there was.

24     Q.   When?

25     A.   I think it was much later.


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1      Q.   It was after your counsel had made an appearance?

2      A.   I believe so.      I don't recall the date.

3                  THE COURT:   Mr. Shen, can we take a 60-second break?

4                  MR. SHEN:    Yes.

5                  (Pause)

6                  THE COURT:   All right, Mr. Shen.    You can continue.

7      BY MR. SHEN:

8      Q.   Mr. Maloney, take a look at 56B, which is your sworn

9      declaration submitted in this case.       And paragraph 5, please.

10                 Now, paragraph 5 says that, "The rough and final

11     Jarrah transcripts are saved in a directory within a network

12     share drive along with materials relating to the lawsuit."

13                 Do you see that?

14     A.   Yes.

15     Q.   Now, that share drive is on Kreindler's internal network

16     server, is that right?

17     A.   Correct.

18     Q.   And it's called Case Media, is that right?

19     A.   Yes.

20     Q.   Then you state in your declaration that "only individuals

21     with the Kreindler log-in credentials can access that

22     directory."

23                 Do you see that?

24     A.   Yes.

25     Q.   And that would be everybody who works at the Kreindler


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1      firm, correct?

2      A.   As a technical matter, yes, that is correct.

3      Q.   So anybody who works at the Kreindler firm simply enters in

4      their Windows log-in and has access to that directory?

5      A.   Not exactly.

6      Q.   When do they enter in their log-in?

7      A.   When you log on to your computer, you're logged into the

8      system.    But you would have to know where to go to find

9      materials for the 9/11 case.      And everybody at the firm was

10     told you can't have access, you're not permitted, unless you

11     sign a protective order and have a reason to do so.

12     Q.   That's what you're claiming now is the firm's policy.         But

13     as a technological matter, anyone at the firm can just simply

14     get through, right?

15                MS. KIRSCH:   I am just going to object to the first

16     preamble of the question where Mr. Shen is trying to put some

17     twisted testimony in the record.       It's not appropriate.

18                THE COURT:    This is cross-examination.     The question

19     is fine.

20     A.   I think as a technical matter, you may be correct.         As a

21     practical matter, it's not correct.

22     Q.   Now, sir, the Kreindler firm has no ability whatsoever to

23     track who actually accessed any of the confidential and

24     protected information for the 9/11 case, right?

25     A.   From the Kreindler server for a Kreindler employee?


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1      Q.   That's right.    For the Case Media.

2      A.   No, we don't have the ability to track.        So, for example,

3      if I went into Case Media and looked at it, no one would know

4      that I looked at the document.

5      Q.   And you would have no idea if any member who wasn't part of

6      your team looked at that document, right?

7      A.   That's true.

8      Q.   Even if they didn't sign the protective orders, you would

9      have no way of knowing, right?

10     A.   I suppose technically that's true.       As a practical matter,

11     that did not happen.

12     Q.   Before this whole leak issue came out and you had outside

13     counsel come in, had you made any efforts as a technological

14     matter to limit access to confidential protected information to

15     only individuals who had actually signed the protective order

16     and were working on the case?

17     A.   Well, as a practical matter, no.       As a technical matter,

18     anybody who was working on the case signed the protective

19     order, nobody who wasn't working on the case sought to gain

20     access to it.    I don't understand why you --

21     Q.   You don't know that, do you?

22     A.   I do know that.    I do know that.

23                It's true that I don't know if other people accessed

24     it and then lied about it, but I could tell you nobody else at

25     the firm accessed it.


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1      Q.   When you click into that server, is there a warning that

2      comes up that says, don't access this unless you have looked at

3      the FBI protective order or the MDL protective order?

4                 MS. KIRSCH:    I am going to object once again.

5                 First of all, Mr. Shen is arguing and yelling at the

6      witness.    Second of all, we all understand that Mr. Fawcett had

7      complete access.     This is a little bit of a sideshow, and I

8      think it's taking up a lot of time.       Mr. Fawcett had access to

9      the system irrespective of whether Mr. Maloney is correct or

10     not.

11                MR. SHEN:    Ms. Kirsch is not here to testify.

12                MS. KIRSCH:    We have now spent 20 minutes arguing with

13     Mr. Maloney about something that is not relevant to the issues

14     of this hearing, which is Mr. Fawcett's breach.

15                THE COURT:    I disagree because what is relevant is the

16     thoroughness of the investigation, which includes whether or

17     not the systems that were in place by the firm at the outset

18     were sufficient to protect this material.        So I disagree with

19     your position that this is not relevant.

20                As to both questioner and answerer, we need to tone

21     down the temperature because we don't need to have a screaming

22     match.   It's also not helpful to the court reporter.         So

23     everybody is here to cooperate, and we need to bring down the

24     temperature a little bit.

25                Please continue.


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1                  MR. SHEN:   Yes, your Honor.

2      BY MR. SHEN:

3      Q.   Can I have an answer to that question?

4      A.   I don't recall the question, but we could have had Fort

5      Knox and Mr. Fawcett was given keys, as the rest of us were.

6      Q.   The question is, when somebody logs into the Case Media

7      server, is there a warning screen that comes up that says you

8      can only access this if you signed the protective orders or

9      agreed to abide by them?

10     A.   There is no warning screen that says that.

11     Q.   So the record is clear, after the leak issues come up and

12     after you have retained outside counsel, you have now put in

13     place a system that restricts access, is that right?

14     A.   I believe that's either underway or was done.

15     Q.   Now, sir, in paragraph 5, you tell the court, in the last

16     sentence, "Only the following individuals at Kreindler log-in

17     were provided access to the Jarrah transcript."

18                 Do you see that?

19     A.   Where are you?

20     Q.   Last sentence.

21     A.   Yes.

22     Q.   And, sir, as you just testified, in fact, everybody at

23     Kreindler had access to those transcripts?

24     A.   They were not provided access.      As a technical matter, we

25     have covered, yes, they could probably get in there if they


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1      knew how to do it and where to find it.        They were instructed

2      not to do that, and during the investigation we confirmed that

3      nobody had access.

4      Q.   You don't know that?

5      A.   They could have all lied to me, Mr. Shen.        It's true.

6      Q.   You have no ability to track them so you don't know who had

7      access?

8      A.   I don't have the ability to corroborate whether they told

9      the truth or not about accessing the 9/11 files.

10     Q.   And, Mr. Maloney, you carefully crafted the language in

11     your declaration so that you wouldn't disclose to the court

12     that everyone at the Kreindler firm had access?

13     A.   That's not correct.

14     Q.   Why didn't you tell the court everyone had access?

15     A.   We gave the court what the court asked for.        I knew who had

16     access to the Jarrah transcript.       Those people were

17     investigated; they were all subjects of the investigation,

18     including myself.     And I had the IT guy in charge, who had the

19     technical, logical know-how to do it, conduct the

20     investigation.

21     Q.   You think the court didn't want to know that everyone had

22     access to the transcript, is that your testimony?

23     A.   I think the court asked us who had access to the Jarrah

24     transcript, and we told the court who had access to the Jarrah

25     transcript.


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1      Q.   So sitting here today, you still believe that that

2      statement in your declaration was truthful?

3      A.   Nobody else at the firm had accessed the transcript, to my

4      knowledge.

5      Q.   OK.    Paragraph 6.   You say, "Shortly after conferring with

6      Mr. Hartney, I asked each of the individuals listed above if

7      they had sent any portion of the Jarrah transcript to Isikoff

8      or anyone working on his behalf."

9                  Do you see that?

10     A.   Yes.

11     Q.   Now, did you sit down in the room with those individuals

12     and ask them?

13     A.   I think we covered this yesterday, but I will go over it

14     again if you would like.       Some of them I did speak to

15     face-to-face and others were on the phone and probably e-mails.

16     This was during the summer.       We hadn't fully staffed back up

17     after the pandemic, so a lot of people were in and out of the

18     office.     So some of them were in person and some of them were

19     probably over the phone.

20     Q.   You said some were over the e-mail?

21     A.   I don't recall.

22     Q.   Did you use a script?

23     A.   No.

24     Q.   Did you take notes?

25     A.   No.


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1      Q.    Now, your testimony is that you actually specifically sat

2      down with Mr. Fawcett, looked him in the eye, and he told you

3      that he didn't send the transcript to Mr. Isikoff, is that

4      right?

5      A.    I don't think I sat down, but I was in his office and I

6      asked him.

7      Q.    And he lied to you, is that your testimony?

8      A.    We covered this yesterday.

9      Q.    He lied to you?

10     A.    He did not tell me the truth.

11     Q.    Sir, you're aware that Mr. Fawcett submitted a declaration

12     on September 27?

13     A.    Yes.

14     Q.    And you're aware that Ms. Benett and Mr. Pounian actually

15     drafted the language of that declaration, right?

16                  MS. KIRSCH:    Objection.

17                  MR. SHEN:    I am asking if he is aware.

18                  MS. KIRSCH:    I object because that's an incorrect

19     statement of facts, and I don't even know where he gets it

20     from.    And it's wrong, as the evidence will show.

21                  THE COURT:    Why don't you ask if he knew who drafted

22     it.

23     BY MR. SHEN:

24     Q.    Do you know who drafted it?

25     A.    No.


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1      Q.   Do you know who modified the language of the declaration?

2      A.   Well, it's my understanding Mr. Fawcett drafted his own

3      declaration and Ms. Benett also finished it so it could be

4      submitted to the court.

5      Q.   Do you know whether or not there were drafts traded back

6      and forth where Ms. Benett and Mr. Pounian were, quote,

7      polishing off the declaration?

8      A.   I do not know.     I was not involved in that.

9      Q.   Let's look at Exhibit 120, please.

10                Now, Exhibit 120 is an e-mail from -- a Mr. Pounian

11     e-mail chain between Mr. Pounian, Mr. Fawcett, and Ms. Benett,

12     and it attaches at 121 the actual declaration with redlines.

13     Do you see that?

14                MS. KIRSCH:    Objection.   There is no foundation that

15     the witness ever saw or knows anything about this document.

16                MR. SHEN:    I haven't asked the question.

17                THE COURT:    I don't think that's a basis of an

18     objection.    He can ask questions about the document.

19     A.   Yeah.   Mr. Shen, what is your question?       Do I see it on the

20     paper?   Yes, I see it.

21     Q.   So you see that Mr. Fawcett is sending redlines to his

22     declaration that he submitted on September 27 to Mr. Pounian,

23     and that's at 7:34 p.m.?

24     A.   I don't see anything about redlines.       I am reading what is

25     on the screen here.      There is no reference to a redline.


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1      Q.   Do you see that there is an attachment?

2      A.   Yes.

3      Q.   If you go to 121, sir, I will represent to you that this is

4      the attachment that was produced out of the Kreindler &

5      Kreindler system.

6                  MS. KIRSCH:   I don't want to interrupt Mr. Shen's

7      questioning so I will just put a standing objection that this

8      witness was not involved in any of this correspondence, as

9      these documents show.      The witnesses who were involved are

10     here; they can testify as to this whole process.         And I think

11     that this is inappropriate.      There is more than just the

12     documents that Mr. Shen is showing Mr. Maloney, and if he is

13     using that to establish a fact, that's not proper.          So I will

14     make my standing objection.

15                 THE COURT:    It is noted.   It is overruled.    You will

16     have an opportunity to redirect the witness.

17     BY MR. SHEN:

18     Q.   Mr. Maloney, looking at Exhibit 121, you actually see the

19     redlines in that document, right?

20     A.   I think the document speaks for itself.        There are

21     redlines.

22     Q.   In paragraph 3, there is a redline where Mr. Fawcett takes

23     out the sentence, "Until today, I had told Kreindler &

24     Kreindler that I did not know how Michael Isikoff had obtained

25     the transcript."


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1      A.   How am I supposed to know who deleted that?

2      Q.   Because it's Mr. Fawcett's redline that he sent back.

3      A.   I don't know that.

4      Q.   Let me make sure I understand your testimony, sir.

5                 Looking at this e-mail chain that Mr. Fawcett is

6      sending back to Mr. Pounian with his redlines and saying how

7      about this, you cannot deduce that these are Mr. Fawcett's

8      actual redlines?

9      A.   Mr. Shen, seriously, you have prepared dozens, if not

10     hundreds of declarations and affidavits, and I am sure there

11     has been back and forth between you and the declarant.

12     Q.   Would you answer the question, please?

13     A.   I can't answer that question.      I told you I can't answer

14     that question.     I was not involved in it.

15                THE COURT:   Mr. Maloney does not understand what

16     happened with this declaration, and he can't answer any

17     questions about who was involved in its drafting or editing.

18     Q.   Sir, were you aware that Mr. Fawcett was willing to submit

19     a declaration admitting to his breach of the protective order,

20     but he wasn't willing to say that he had told the Kreindler

21     firm that he did not know how Michael Isikoff got the

22     transcript?    Did you know that?

23     A.   I knew the first part.     I didn't know the second part.       I

24     knew that he was willing to issue a declaration saying that he

25     was the one who transmitted the transcript.


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1      Q.   You didn't know the second part?

2      A.   The second part, where he deleted this line in the

3      declaration, which I have never seen, I did not know.

4      Q.   Sir, the truth is, you never asked Mr. Fawcett whether he

5      sent the transcript to Mr. Isikoff, right?

6      A.   That is not correct.

7                  MS. KIRSCH:   Objection.   Asked and answered.

8      Q.   You never asked Mr. Kreindler either?

9      A.   I answered that question five times between yesterday and

10     today.

11                 THE COURT:    Mr. Shen, move on, please.

12     Q.   Sir, go back to your declaration, Exhibit 56F.        We are

13     looking at paragraph 6.

14                 Paragraph 6 of the declaration --

15     A.   Hold on.    56F?

16     Q.   Yes.

17                 This describes the cloud-based server?

18     A.   This is Mr. Hartney's declaration?

19     Q.   Mr. Hartney's declaration.      It describes the cloud-based

20     server?

21     A.   Yes.

22     Q.   Mr. Hartney says, "On July 29, 2021, I reviewed the user

23     history of that cloud-based server," right?

24     A.   What paragraph?

25     Q.   Paragraph 6.


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1      A.   Yes.

2      Q.   And that was the first time that Mr. Hartney reviewed the

3      cloud-based server, right?

4      A.   I don't know, but I asked him to do that.        I asked him to

5      look at the cloud-based server so we can determine if any of

6      our consultants accessed the Jarrah transcript.

7      Q.   Let's just establish a timeline here.       If we can look at

8      Exhibit 93.

9                  It's going to be on your screen, Mr. Maloney.

10                 93 is July 29, an e-mail from you to Mr. Hartney?

11     A.   Yes.

12     Q.   At the bottom you asked him to look at the file share

13     server, right?

14     A.   Yes.

15     Q.   And who had access?

16     A.   Yes.

17     Q.   So, this is a July 29th e-mail.      That's the first time you

18     asked Mr. Hartney to look at this?

19     A.   I don't know if this is the first time.        I didn't have the

20     answers at this point in time, so I asked him to prioritize

21     this with some urgency.      It may be that I asked him prior to

22     this and this was a reminder.       You can see here, on the very

23     first line, I was asking him to make this a high priority.

24     Q.   But certainly, as of July 29, you didn't have answers as to

25     who had access to the cloud-based server?


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1      A.   I did not have a full understanding at that point.

2      Q.   But you are aware that Saudi Arabia filed a letter with the

3      court -- I will represent to you it's on July 23 -- in which

4      Saudi Arabia asked for certain discovery relating to the leak?

5      A.   I don't remember the date, but I remember them doing that,

6      yes.

7      Q.   If you can look at Exhibit 43, please.       This is PEC's

8      letter to the court responding to Saudi Arabia's letter.

9                  Just before we put it on the screen, I think we

10     confirmed that this is a public document.

11                 MR. RAPAWY:    We discussed this with the PECs when we

12     were talking about redactions, and they did not request any

13     redactions to this document.

14                 THE COURT:    Thank you.

15                 MR. SHEN:    Let's display the document, please.

16     BY MR. SHEN:

17     Q.   Sir, this is a letter that the PECs put in.        If you go to

18     the last page, you will see your signature block?

19     A.   Yes.

20     Q.   You certainly reviewed this document before it went in

21     under you signature block?

22     A.   Yes.

23     Q.   If we cull out the language before Saudi Arabia filed its

24     motion, it says, "Plaintiffs advised Saudi Arabia that each of

25     the lead PEC firms had already conducted internal


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1      investigations into the handling of the Jarrah transcript and

2      communications with Mr. Isikoff and that as a result of those

3      investigations, the lead PEC firms was confident that it was

4      not the source of the leak to Mr. Isikoff."

5                  Do you see that language?

6      A.   Yes.

7      Q.   Now, you didn't tell the court that the Kreindler firm had

8      multiple contacts with Mr. Isikoff, right?

9      A.   No.    The question was if we had discovered that the

10     transcript had been sent from Kreindler to Mr. Isikoff.          That

11     was the focus -- the initial focus of the investigation was on

12     just that.

13     Q.   Did you make the decision not to disclose those multiple

14     contacts to the court?

15     A.   The status -- the question for the investigation was

16     whether or not anybody at Kreindler sent him the transcript,

17     sent Mr. Isikoff the transcript, not whether or not anybody had

18     ever spoken to Mr. Isikoff.

19     Q.   I am just asking who made the decision not to disclose that

20     report?

21     A.   I don't know.    It was not directly relevant.

22     Q.   You didn't tell the court that, in the course of your

23     investigation, no personal devices, no personal e-mails were

24     searched, correct?

25     A.   No.    Again, first of all, I didn't do that, as we have


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1      already discussed.     And no, it wasn't directly relevant.

2      Q.   You didn't tell the court that every single person at the

3      Kreindler firm had access to the transcript, and you had no

4      idea who actually looked at it or accessed it, right?

5      A.   Well, we didn't tell the court a lot of things that were

6      not directly relevant to the question, which was who sent the

7      transcript to Mr. Isikoff.

8      Q.   You don't think that's relevant to the question of what the

9      already conducted internal investigation is?

10     A.   No.   What was most relevant in the first week or two was to

11     determine whether or not the Jarrah transcript, which had very

12     limited access at our firm, had been e-mailed to anybody --

13     initially just to Mr. Isikoff, and then had a subsequent search

14     on any movement of that transcript.

15     Q.   Now, at this point in time, July 27, you had done no

16     investigation at all on the cloud-based server either, which

17     held the Jarrah transcript?

18     A.   I can't tell you, as I indicated a few minutes ago, if Mr.

19     Hartney had already been doing that.        But I can tell you, as of

20     the e-mail we just covered, I did not know the answers to that

21     search.

22     Q.   So, at the time that you wrote this letter, when you told

23     the court that you had already conducted your investigation,

24     you actually didn't know who had access at all to the

25     cloud-based server and the Jarrah transcript on the server?


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1      A.   That's not correct.

2      Q.   You don't know who accessed it?

3      A.   We do.

4      Q.   You just told me on July 27 that you didn't have the

5      answers?

6      A.   You put it in the present tense.       I am telling you right

7      after that e-mail, I did look at the cloud-based platform and

8      nobody accessed the Jarrah transcript.

9      Q.   That was on July 29, right?

10     A.   Let me back up for a second.      The cloud-based platform is

11     for consultants that had signed protective order.         They were

12     authorized to see it.      And I wanted to know if anybody actually

13     accessed it.     I got that answer, and the answer was negative.

14     Q.   The question I am asking you, Mr. Maloney, is at the time

15     that the Kreindler firm submitted this letter to the court, it

16     didn't know the results of the investigation on the cloud-based

17     server, right?

18     A.   I did not personally know the results.

19     Q.   And all you had done is ask Mr. Hartney to do the two

20     e-mail searches that we have already discussed, right, at this

21     time?

22     A.   Yeah.    Right.

23     Q.   Now, you're aware that on July 29, other members of the

24     PEC, the Cozen O'Connor firm and the Motley Rice firm, they

25     voluntarily submitted full declarations, those declarations


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1      came from anyone who had access to the transcript, and from

2      their IT director describing the search that was conducted?

3      A.    Yes.   Two of those plaintiffs' firms of many had accessed

4      the transcript.     I don't remember the date, but you say July

5      29.

6      Q.    Who at the Kreindler firm decided at that point in time

7      that it wasn't a good idea to submit declarations to the court?

8      A.    I don't know if it was any one person.      We generally do

9      things by consensus and the consensus was we would wait to see

10     what the court asked us to do.

11     Q.    So it was a consensus decision among all of the lawyers at

12     the Kreindler firm?

13     A.    Correct.   I think we had a meet-and-confer with your firm.

14     There was some disagreement.      And we decided to wait until we

15     got instructions from the court.

16     Q.    Now, as of July 29, when the other PEC firms had submitted

17     full and forthcoming declarations, were any declarations

18     drafted for Mr. Fawcett as to that date?

19     A.    I don't recall.

20     Q.    Were any declarations drafted for Mr. Kreindler?

21     A.    Not by me, so I don't know.

22     Q.    When is the first time that the Kreindler firm drafted a

23     declaration for Mr. Fawcett?

24     A.    I don't know because I wasn't involved in that.        But I know

25     that there was one that was done on September 27.


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1      Q.   But you don't know when the first draft was presented to

2      him?

3      A.   I do not.

4      Q.   Do you know if a draft was presented to him that said, I,

5      Mr. Fawcett, did not send the transcript to Mr. Isikoff, and I

6      have no idea who did?

7      A.   Mr. Shen, I don't know how many times I can tell you.         I

8      was not involved in drafting Mr. Fawcett's declaration at any

9      time.

10     Q.   So, after this letter to the court on July 27, where you

11     say that the investigation is done and you're confident that

12     the Kreindler firm isn't the source of the leak, you weren't

13     involved after that?

14     A.   No, I stayed involved.     We had additional search terms.        We

15     continued to do more searches.

16     Q.   You were involved in the search, but you weren't involved

17     in the preparation of the declarations?

18     A.   I was involved in the preparation of my own declaration,

19     and I thought maybe we might need one from John Hartney at some

20     point, so I started to think about that.        But that was it.     I

21     did not prepare declarations for anybody else.

22     Q.   Let's look at Exhibit 49, please.

23                Exhibit 49 is the August 30, 2021 order from the

24     court.

25                Now, just to put this in context, the Kreindler firm


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1      had submitted declarations to the court on August 16, and the

2      court ordered the Kreindler firm to submit additional

3      information in declarations, correct?

4      A.   Yes.

5      Q.   And the court orders the four attorneys at Kreindler --

6      yourself, Mr. Pounian, Ms. Benett and Mr. Kreindler -- to

7      identify all communications with Michael Isikoff, or anyone

8      acting on his behalf, whether oral or written.         Do you see

9      that?

10     A.   Yes.

11     Q.   Now, at that point in time, did you ask anybody, we need

12     all of your text messages, we need all of your personal

13     e-mails, the court's order said all communications?

14     A.   We may have.    I don't remember at this point if we

15     collected the cell phone data, but we did ask everybody if they

16     had any communications.

17     Q.   Did you collect it or not?

18     A.   On August 30?    Sometime in September we did.

19     Q.   After August 30, before the September 27 declarations that

20     went in, did you collect it, or was it after Ms. Kirsch got

21     involved?

22     A.   I know after Ms. Kirsch got involved, they were collected.

23     Before that, I think everybody was asked to determine whether

24     or not there was any messages, cell phone or personal or

25     anything to Mr. Isikoff.


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1      Q.   Did you go through and look at the call logs from the firm?

2      A.   No.   It wouldn't have shown me anything.

3      Q.   Did you ask anyone for them?

4      A.   No.

5      Q.   Did you ask to see, well, let's see how many calls Mr.

6      Kreindler had with Mr. Isikoff?

7      A.   No.

8      Q.   You are aware that that information is available, right?

9      A.   On the firm's -- sure, any time you make a phone call,

10     there is a recording of it.      It has been the subject of our

11     9/11 case.

12     Q.   It was produced to us this week by your counsel.         But you

13     never looked at it as part of your investigation?

14     A.   No.

15     Q.   You never looked at in preparation for preparing

16     declarations that the court ordered after you had submitted the

17     initial declarations?

18     A.   Each of us were instructed to go back and determine whether

19     or not any of us, anybody at the firm, had any communications

20     with Mr. Isikoff.

21     Q.   Let's look at the second page of the court's order.

22                The court orders the declaration from the head of the

23     firm's information technical group.       And it says that that

24     declaration should demonstrate that a forensic analysis was

25     done to identify who accessed the deposition transcripts and


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1      determine the dates of any access.

2                  Do you see that?

3      A.   Yes.

4      Q.   Now, you knew at the time that that was impossible to do

5      from the Case Media server, right?

6      A.   No, I don't agree with that.      He did a forensic analysis to

7      determine if anybody transmitted the Jarrah transcript to

8      anybody outside the firm.

9      Q.   That's not the question.

10     A.   It's part of the question, it is.

11     Q.   The court's order says do a forensic analysis to determine

12     who accessed the transcript; not who sent the transcript, who

13     accessed the transcript.       You see that, right?

14     A.   I see that.

15     Q.   You knew at the time that that was impossible to do, based

16     on the technology you were using?

17     A.   Well, from Case Media, we have already covered you can't

18     tell the date that somebody looked at a document, but you can

19     tell if it was sent.

20     Q.   You can't tell who accessed it, right?

21     A.   True.

22     Q.   So this is a problem for the Kreindler firm, right?

23     A.   I don't know that I would call it a problem.        The law firm

24     that's working on the 9/11 case is permitted to have access to

25     the documents.     Nobody at the firm outside of the terror team


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1      had permission to access the documents, and to my knowledge, no

2      one ever did, nor would they know how to find it.

3      Q.   Sir, did anyone who submitted declarations on September

4      27th tell the court that it was impossible to do the forensic

5      analysis that the court required?

6      A.   There was a forensic analysis done.       If your quibble is it

7      wasn't good enough, we can debate that.

8      Q.   It's not a quibble.     I am asking you if anyone told the

9      court that you could not do an analysis to determine who

10     accessed the deposition transcripts?

11     A.   No.   We told the court we did a forensic analysis of who,

12     if anyone, sent the transcript outside the firm.

13     Q.   Who made the decision on the Kreindler side not to tell the

14     court that they couldn't do the analysis that the court ordered

15     on August 30?

16     A.   I don't recall there was ever a decision made about that

17     one way or the other.      We wanted to answer the court as fully

18     as we could who, if anyone, sent that transcript to anyone.

19     Q.   It was a consensus decision among the partners?

20     A.   Probably.   But I don't recall that specific conversation

21     taking place.    We wanted to inform the court everything we knew

22     about whether or not that transcript came from our firm,

23     Kreindler & Kreindler, to Mr. Isikoff or Yahoo! News.          And then

24     we did a subsequent search to determine if it was ever e-mailed

25     anywhere to anybody.


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1      Q.   After this August 30 order, do you know when the first time

2      that Mr. Fawcett was presented with the declaration?

3      A.   I don't know.    All I know is it was on September 27, he was

4      asked to sign a declaration.      My understanding is he couldn't

5      sign the declaration because he admitted on that day that he is

6      the person who transmitted the transcript.

7      Q.   Did you learn at some point in time that Mr. Fawcett was

8      represented by counsel Liz Crotty?

9      A.   I don't know that to ever be the case.

10     Q.   Sitting here today that's the first time you have heard

11     that?

12     A.   You're telling me he was represented by Ms. Crotty?

13     Q.   I am asking, is this the first time that you have heard

14     that?

15     A.   I am hearing it from you that he is represented by Ms.

16     Crotty.    That's the first time I heard that.       I don't know that

17     he was ever represented.      Are you representing that he was

18     represented by Ms. Crotty or not?

19     Q.   All I know is that there were communications with Ms.

20     Crotty that were marked as attorney-client privilege.

21     A.   Do you know who Ms. Crotty is?

22     Q.   I know who Mr. Crotty is.

23     A.   You know she worked at our firm on this case and that she

24     has remained friends with all of us at the firm?         Do you know

25     she was running for assistant district attorney?


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1                  THE COURT:   Mr. Maloney, you are not asking the

2      questions.

3                  THE WITNESS:   He is asking me if I know, and I said I

4      don't know.

5      Q.   Let me ask a new question.      Did you know that Mr. Fawcett

6      was consulting with Ms. Crotty around the issues of the leak of

7      the transcript?

8      A.   I have no knowledge of that.

9      Q.   This is the first time you have heard that?

10     A.   Yes.

11     Q.   Sir, your testimony is that on September 27, you learned

12     for the first time that Mr. Fawcett was the source of the leak?

13     A.   Yes.

14     Q.   Who told you?

15     A.   I assume I can testify to hearsay, but --

16     Q.   I am just asking who told you.

17     A.   Megan Benett.

18     Q.   Was that in a phone call or over an e-mail?

19     A.   Phone call.

20     Q.   What was your reaction?

21     A.   Stunned, sad, angry.

22     Q.   Did you call Mr. Fawcett?

23     A.   No.

24     Q.   Did you talk to him about the leak ever?

25     A.   No, I have never spoken to him since that day, even a few


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1      days leading up to that.

2      Q.   At that point he was persona non grata?

3      A.   You want me to characterize why I didn't call him?         I knew

4      that there was now a separation between us.         No, I wouldn't say

5      persona non grata.     He made a very bad mistake.      I haven't

6      spoken to him since then.

7      Q.   So after you learned that Mr. Fawcett had leaked the

8      transcript, did you do an investigation to determine whether

9      anyone at the Kreindler firm knew about the leak?

10     A.   I had done that investigation already, and I again asked

11     everybody afterwards if -- and they all said this is the first

12     time they were aware of it on the 27th.        So the answer is yes.

13                (Continued on next page)

14

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1      Q.   All right.    What you're saying is that you asked everybody

2      afterwards whether they were aware of it?

3      A.   Yes.

4      Q.   All right.

5      A.   I had already asked that multiple times in the two months

6      prior as well, but yes.      When now -- when the revelation now

7      came out on the 27th, we had a conversation, and everybody was

8      just as shocked as I was.

9      Q.   Did you ask for emails?

10     A.   Emails of what?

11     Q.   Did you do any email searches?

12     A.   For what?

13     Q.   To determine whether anyone had knowledge of the leak.

14     A.   We covered that.    For two months --

15     Q.   After September 27 did you do any additional email

16     searches?

17     A.   No.

18     Q.   All right.    After September 27 did you ask at that point

19     for any personal devices or personal emails?

20     A.   No, Mr. Shen.    There's a good reason for that.      I did not.

21     Q.   After that point, September 27, you knew that Mr. Fawcett

22     had leaked the transcript from his personal computer.          Did the

23     firm demand that he return that personal computer?

24     A.   Yes.

25     Q.   When?


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1      A.   I think that he was sent a letter, if I recall -- actually,

2      the Court asked for the computer, and we sent a letter to him

3      to make sure that the computer was either delivered to us or to

4      the Court because we --

5      Q.   But it was only after the Court issued an order, correct?

6      A.   I think it was within a couple of days of that.         I don't

7      remember the date, but it was literally the same week, I think.

8      Q.   It was after the Court issued the order?

9      A.   Probably, but I don't remember.      I know that -- I know that

10     once we'd found out what he had done that we knew that we

11     should no longer speak to him, and we had to, you know, make

12     sure that he no longer had access to our server and system.

13     You got to -- you got to understand, the first two days we're

14     trying to figure out what had just happened.         The Court's order

15     came in about the laptop, and we advised Mr. Fawcett he needed

16     to turn over the laptop.      And we wanted to make it as

17     expeditious as possible, either have him deliver it right to

18     the court or give it to us, and we'd deliver it to the court.

19     Q.   Did you at that point, after September 27, search through

20     in phone logs at the firm?

21     A.   No.

22                MR. SHEN:    I have no further questions.     Thank you,

23     Mr. Maloney.

24                THE COURT:   Ms. Kirsch, are you ready, or do you need

25     a minute?


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1                  MS. KIRSCH:    I would like a minute, your Honor.

2                  THE COURT:    Let's take a quick recess, two or three

3      minutes, please.

4                  (Recess)

5                  MS. KIRSCH:    Thank you, your Honor.

6      REDIRECT EXAMINATION

7      BY MS. KIRSCH:

8      Q.   Good morning, Mr. Maloney.

9      A.   Good morning.

10     Q.   When did you join the Kreindler firm?

11     A.   June of 1994.

12     Q.   Have you been working there ever since?

13     A.   Yes.

14     Q.   When did you first meet Jim Kreindler?

15     A.   Probably spring of 1994.

16     Q.   What about Ms. Benett?      When did you first meet Ms. Benett?

17     A.   I don't remember the year.      When she was interviewing with

18     the firm and started working with the firm, that was the first

19     time we met.     I don't remember the year she started.       Been

20     there so long, time compresses.       I really don't remember the

21     year.

22     Q.   That's OK.

23                 Does 2006 sound about right?

24     A.   Yeah.

25     Q.   What about Mr. Pounian?      When did you first meet


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1      Mr. Pounian?

2      A.   Spring of 1994.

3      Q.   '94.

4                  What about John Fawcett?    When did you first meet John

5      Fawcett?

6      A.   I think either late 2001 or early 2002.        It was after 9/11.

7      Obviously, he came in to start working on the case.          So

8      certainly by early 2002, maybe even earlier, but after 9/11.

9      Q.   You've been working continuously with each of those people

10     since the time that you first met each one of them?

11     A.   Yes.

12     Q.   Can you describe a little bit about what the working

13     relationship is with that group, that you have with that group.

14     A.   Well, Mr. Fawcett, it was primarily on 9/11.        There were

15     some other matters or some other terrorism cases or some other

16     non-9/11 matters that I worked with him on as well, but it was

17     primarily 9/11.

18                 Do you want me to describe the day to day over the

19     last 20 years?     I'm not sure.    I can come back to that.

20                 But with Ms. Benett, it was more, and Mr. Pounian, it

21     was more ad hoc.     Mr. Pounian, probably not for many years.

22     There was a time where he was a partner, then of counsel, and

23     then came back.     So I didn't have a lot of work with

24     Mr. Pounian directly until probably 2015, as it relates to

25     9/11.


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1                 And with Ms. Benett, you know, I worked with her on a

2      variety of matters at the firm, including the terror case.           So

3      there was -- it was definitely more varied with Ms. Benett.

4      She has a general practice; I also have a general practice.

5      Q.   Focusing, then, on the 9/11 case, can you just describe how

6      often you all communicate, what the collaborative working

7      process is like.     Just give us a little sense of how that

8      works.

9      A.   So I would probably focus the time frame from, say, 2016

10     when JASTA was passed to current, because that's been a much

11     more intense time period, and that's the part that focused on

12     the case against the Kingdom of Saudi Arabia.         From that point

13     on, from 2016 to today, it's been a regular interaction, almost

14     on a daily basis.

15     Q.   And has any of the individuals that I've just mentioned,

16     have any of them ever lied to you before?

17     A.   No, not to my knowledge.

18     Q.   Do you have any reason to suspect that any of those

19     individuals have ever lied to you before?

20     A.   Nope.   You come to know people after 20 years of working

21     with them, or 15 years.      You have a good relationship.      And,

22     you know, their integrity is something that would certainly be

23     supported by all the work they've done and all the interactions

24     I've had, and I had no reason to think that anybody would lie

25     to me at the firm.


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1      Q.   So has Mr. Kreindler -- let's just be specific --

2      Mr. Kreindler ever lied to you in all of the years you've known

3      him?

4      A.   No, certainly not that I'm aware.

5      Q.   Have you ever been aware that Ms. Benett has lied to you in

6      all the years you've known her?

7      A.   Never.

8      Q.   Have you ever been aware that Mr. Pounian had lied to you

9      in all of the years that you've known him?

10     A.   No.

11     Q.   Prior to this one incident about the leak, had you ever

12     been aware that Mr. Fawcett had lied to you?

13     A.   Never.

14     Q.   How many partners are there, roughly, at the Kreindler

15     firm?

16     A.   Somewhere around ten.     It's approximately eight to ten, I

17     think.     I can sit here and count them, if you'd like.

18     Q.   Is it a reasonably close partnership?

19     A.   Yes.    We have one partner in Boston.     The rest are in

20     New York.     There was a time we had two partners in Los Angeles,

21     but they're no longer part of the firm.        Everybody else is in

22     New York.

23     Q.   So if we go back, can you just recall when you first heard

24     about the leak that led to Mr. Isikoff's article?

25     A.   When I read the article on July 15.


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1      Q.   Do you remember how you learned of it?

2      A.   We get forwarded news articles having to do with the 9/11

3      litigation by our PR group that essentially tracks stuff, and I

4      think the Isikoff article was sent to all of us.         I know that I

5      got it.    Pretty sure that's the source I got it from.        And I

6      don't think it was the only article that was attached, but I

7      don't recall for sure, but I opened it and read it that day.

8      Q.   What was your reaction?

9      A.   I was very surprised, particularly the last sentence where

10     Mr. Isikoff says he had a copy of the redacted transcript.           And

11     I knew immediately for him to have that, somebody had to leak

12     it and that that was a violation of the protective order.          So I

13     recognized immediately that was a serious issue.

14     Q.   If we could use the smaller binder that's up there, it has

15     a cover sheet that says "Kreindler & Kreindler."

16     A.   I only have the massive --

17                THE COURT:   I have the Kingdom's binder.

18     A.   -- binder from Mr. Shen.

19                MS. FREY:    Your Honor, may I approach?

20     Q.   OK.   Mr. Maloney, can you take a look at tab 1, please.

21     A.   Got it.

22     Q.   Can you identify this document?

23     A.   Appears to be a text message from me to John Fawcett, Megan

24     Benett, Steve Pounian.      I can't tell if there's other names on

25     there, but those names appear in the chat participants.


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1                 MS. KIRSCH:   I'd like to move this document into

2      evidence.

3                 THE COURT:    Accepted.   It's accepted.

4                 MS. KIRSCH:   Oh, thanks.

5                 (Kreindler Exhibit 1 received in evidence)

6      BY MS. KIRSCH:

7      Q.   Mr. Maloney, what is the text that you're sending around to

8      the group?

9      A.   So this is on July 15.     The time, I think, is UTC time, so

10     it's sometime in the afternoon on July 15.        After I'd read the

11     Isikoff article, I texted the group because not everybody was

12     in the office, and I said, can we have a call this afternoon to

13     discuss the Yahoo! -- or discuss Yahoo!        That's the article

14     that Mr. Isikoff wrote that came out that day.

15     Q.   Do you recall whether that call took place?

16     A.   I believe it did.

17     Q.   What was discussed on that call?

18     A.   Whether anybody knew anything about how Mr. Isikoff had got

19     the transcript, whether anybody at Kreindler had sent the

20     transcript to him or told Mr. Isikoff about the Jarrah

21     deposition, the substance of the Jarrah deposition.

22     Q.   What was the takeaway from the call?

23     A.   That no one had.    No one had sent him the transcript and no

24     one knew how he got it.

25     Q.   Was it right after this call that you undertook to lead up


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1      an investigation?

2      A.   Yes.

3      Q.   And why did you lead an investigation if everyone said that

4      they did not leak it?

5      A.   It's the old Ronald Reagan phrase, "trust but verify."          I

6      trusted everybody in the office and on that call, but I wanted

7      to verify.     I assumed at some point we might be asked whether

8      or not we had done anything to confirm it.        So the following

9      day, I asked our head of IT, John Hartney, to begin a search of

10     all the emails of people that had access to the transcript.

11     Q.   Before that discussion with Mr. Hartney, did you have a

12     face-to-face conversation with any of the members of the terror

13     team about this issue?

14     A.   Yeah.    I believe I spoke face-to-face with Mr. Fawcett that

15     same day, July 15.     If it wasn't July 15, it would have been

16     July 16.     But he was in the office that day and I was in the

17     office that day.     I went into the place where he sits and asked

18     him directly about whether or not he had sent this transcript

19     to Mr. Isikoff or if he knew anything about it, and he told me

20     he did not.

21     Q.   Did you speak with anyone else personally on that first

22     day?

23     A.   On that phone call.     It was the same day.

24     Q.   OK.

25     A.   That phone call also included Mr. Fawcett, but it also


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1      included Ms. Benett, Mr. Pounian.        I thought Jim Kreindler was

2      also on the call, but I don't see his name here.         So I can't --

3      I can't verify that, but I'm pretty sure Jim got on a call with

4      us.

5      Q.    Can you take a look at tab 2, please.

6      A.    Yep.

7      Q.    Can you identify this document?

8      A.    It's an email chain.      So the first email is -- it looks

9      like it's from me at the bottom there, July 21, to Mr. Hartney:

10     "Any questions?"

11                  And then this is in relation to the search he was

12     performing.      He sent me an email back later that day saying

13     that he performed a search on Lisa, that's Lisa Ranieri, she's

14     a secretary, I think Ms. Benett's secretary; Deb, Debby Pagan

15     who's a paralegal on the 9/11 case; Jim Kreindler; John

16     Fawcett; Steve Pounian; and my, which here denotes me.

17                  And said:    I got a good number of results.    Do you

18     plan coming into the office so we can go over it or discuss it

19     on the phone?      I did not see any emails going out of anyone

20     email box with that particular transcript.        I tried calling

21     Mr. Hartney.      I must not have been in the office that day, and

22     he said he would call me back.

23                  MS. KIRSCH:    I'd like to offer this into evidence,

24     please.

25                  THE COURT:    It's accepted.


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1                 (Kreindler Exhibit 2 received in evidence)

2                 THE COURT:    I think there's no objection to the

3      admission of any of the exhibits, is that correct?

4                 MS. KIRSCH:    We would have objection to some of the

5      documents that previously were not moved into evidence, I

6      believe.

7                 THE COURT:    My understanding is that the parties were

8      submitting these exhibits and that they were being admitted.

9                 MS. KIRSCH:    No, your Honor.    That was one of the

10     reasons that the Kreindler firm had asked for an exchange of

11     exhibits ahead of time, so that we could look at them and see

12     whether we did, in fact, have objections.        We do have objection

13     to a number of the documents in the binder.         We would not

14     stipulate to admit that entire binder into evidence, absolutely

15     not.

16                THE COURT:    All right.   Well, I think on a

17     going-forward basis, then, you need to raise any objections.

18     And to the extent there are objections to be raised for

19     documents that were presented during the course of prior

20     examinations, then we'll have to deal with those objections

21     after the fact during the post-hearing briefing.

22                MS. KIRSCH:    Your Honor, there were many documents

23     that were just thrown up on the screen with no foundation laid

24     of any sort.    I don't -- if it was aiding in the testimony,

25     there was no motion to get them into evidence, I would have


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1      raised the objection on a step-by-step basis.         Are we supposed

2      to be briefing all of that?      I had no idea that there was an

3      idea that they would be trying to move them into evidence.

4                 THE COURT:    What's the foundation objection generally?

5      Aren't the majority of these documents documents that your firm

6      produced in the course of discovery?

7                 MS. KIRSCH:    Well, I will have objections to

8      questioning Mr. Maloney about a document that he's actually

9      never seen before, even if that document may have come.          If

10     they want to get it in through one of the witnesses that can

11     lay a foundation and talk intelligently about it, that would be

12     a different matter.

13                THE COURT:    All right.   I'm not quite sure that

14     foundational objections are going to be well placed given that

15     the volume of the documents are either documents submitted in

16     court, either issued by the court or submitted to the court or

17     documents that were produced by the Kreindler firm as part of

18     the investigation here, but I guess maybe we'll address this at

19     a recess at some point.      So why don't you proceed.

20     BY MS. KIRSCH:

21     Q.   Mr. Maloney, looking at document No. 2, do you recall

22     whether you did have a conversation with Mr. Hartney after this

23     original exchange?

24     A.   I don't recall, but I most likely did.

25     Q.   Do you have a recollection of having a conversation to go


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1      over this good number of results that Mr. Hartney's search

2      turned back?

3      A.   Yeah.

4      Q.   Do you have any recollection of what that discussion --

5      A.   Yeah.

6      Q.   -- sum and substance?

7      A.   Yeah, the results, at least at this point in time, were

8      not -- they weren't indicative of the Jarrah transcript or the

9      Jarrah deposition.       And then probably sometime that same week,

10     as I see this is July 21, I think by July -- between July 22

11     and 29th, I'd learn about the three emails that we covered on

12     cross-examination between Jim and Mr. Isikoff and the one from

13     John Fawcett forwarding the privilege log.

14     Q.   Can you take a look tab No. 3, please.

15     A.   Yep.

16     Q.   Can you identify that document?

17     A.   It's an email from me on July 21 to Jim Kreindler, Steve

18     Pounian, Megan Benett, and the subject line is "Jarrah."

19                 MS. KIRSCH:   I'd move this into evidence.

20                 THE COURT:    Any objection?

21                 MR. SHEN:    No objection.

22                 THE COURT:    Accepted.

23                 (Kreindler Exhibit 3 received in evidence)

24     BY MS. KIRSCH:

25     Q.   Mr. Maloney, can you just sort of explain to me what the


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1      purpose of this email to your partners is?

2      A.    Yeah.   This is me informing my partners that I had asked

3      John Hartney to search the outgoing email boxes of the

4      Kreindler 9/11 team from the date we received the transcript on

5      June 28 to see if anybody had sent the transcript to anyone

6      outside the firm, and I asked them to look specifically at Jim,

7      myself -- your Honor, I'm known as Duke -- Steve, as in

8      Pounian, John Fawcett, Megan Benett, Julia Sienski, Deb Pagan,

9      Lisa Ranieri, and Izabela.

10     Q.    Would you take a look at tab 4, please.

11                Do you recognize this document or recognize what it

12     is?

13     A.    Yeah.   I mean, I've only seen it recently.      It appears to

14     be a text message from -- let me see who it's from.          Yeah, it's

15     a text message from me to John Hartney on July 22.

16                MS. KIRSCH:   OK.   I move this into evidence, please.

17                THE COURT:    Any objection?

18                MR. SHEN:    No objection.

19                THE COURT:    It's accepted.

20                (Kreindler Exhibit 4 received in evidence)

21     BY MS. KIRSCH:

22     Q.    Can you explain to me, please, what's going on in this text

23     message.

24     A.    Yeah.   It's me telling John Hartney that Saudis made a

25     motion requesting information.       They made a motion to the


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1      Court.    Prior to that, there had been, I think, a letter to us

2      or a meet-and-confer concerning the Jarrah leak, and I told --

3      I was updating Mr. Hartney about the fact that they'd made a

4      motion.     And I was trying to convey to him this is, obviously,

5      very important, and it should be top of your to-do list.

6      Finish the second search of Mr. Isikoff as soon as possible.

7      Let me know the results by tomorrow.

8                  The second search, I think, was broader than the first

9      one, and I believe I asked him to determine whether or not the

10     Jarrah transcript had been emailed to anyone.         The first search

11     he had done was a little bit more narrow.        It was on searching

12     whether or not anybody had sent it to Mr. Isikoff or Yahoo!

13     News.    I had added some more.     I had him do another search,

14     another sweep, and this time to determine if there was an email

15     to anybody outside of the Kreindler firm.

16     Q.   And was that normal in the course of this investigation

17     that you would go back to Mr. Hartney for additional searches,

18     terms, changing the breadth?

19     A.   Yeah, I did it several times over the next several weeks.

20     Q.   Can you take a look tab No. 5, please.

21     A.   Yes.

22     Q.   Can you identify this document?

23     A.   It looks like -- this looks like a text from John Hartney.

24     Is it from him?     Yeah, it's from John Hartney.      It's unclear to

25     me if this is a text to me.      I don't see my number, so I don't


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1      know if he's sending this to me or not.        I assume he was, but

2      it appears to be a text from John Hartney on July 22.

3                 MS. KIRSCH:    I'll move this into evidence.

4                 THE COURT:    Any objection?

5                 MR. SHEN:    No objection.

6                 THE COURT:    Admitted.

7                 (Kreindler Exhibit 5 received in evidence)

8                 THE WITNESS:    And this is when Mr. Hartney is telling

9      me he did find an email communication with Jim and Mr. Isikoff

10     discussing the gag order.

11     BY MS. KIRSCH:

12     Q.   What was your reaction to that information?

13     A.   I think I followed up with Mr. Hartney, and I said, was

14     there anything there regarding the Jarrah deposition?          And he

15     told me no, and I asked to see all the emails, I don't know,

16     the same day or within a day or two so I could review them

17     myself.

18     Q.   Why don't you take a look at tab No. 8, please.

19     A.   OK.

20     Q.   Do you recognize this?

21     A.   Yeah.   Looks like an email chain.      This is John Hartney

22     sending me on July 22 -- he forwarded me the email.          This is

23     the next day from that text we just covered, exactly what I was

24     recalling.    That he sent me copies of the emails between

25     Mr. Kreindler and Mr. Isikoff.


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1                 MS. KIRSCH:   I'll move this tab 8 into evidence.

2                 MR. SHEN:    No objection.

3                 THE COURT:    Thank you.   It's accepted.

4                 (Kreindler Exhibit 8 received in evidence)

5      BY MS. KIRSCH:

6      Q.   Mr. Maloney, what was your reaction, if any, when you saw

7      this email as part of your investigation?

8      A.   Well, my initial reaction was, OK, he didn't mention Jarrah

9      at all in the email communication and there's no attachment, so

10     he didn't forward the transcript.       I still had some questions,

11     and so I asked Mr. Kreindler about it.

12     Q.   What was the sum and substance of this discussion with

13     Mr. Kreindler?

14     A.   I said, Did you speak to Mr. Isikoff about the Jarrah

15     deposition?    And he said no.

16     Q.   Can you take a look tab No. 9.      Can you identify this

17     document for me.

18     A.   It looks like a Zoom invite email chain forwarded to me

19     from John Hartney.      This would be yet another one of the emails

20     that Mr. Hartney found between Jim Kreindler and Mike Isikoff,

21     and this one is an invitation to a Zoom -- I guess a podcast or

22     a Zoom meeting with Jim and Ali Soufan.

23                MS. KIRSCH:   I'll move this document into evidence.

24                MR. SHEN:    No objection.

25                THE COURT:    Accepted.


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1                 (Kreindler Exhibit 9 received in evidence)

2                 THE WITNESS:    I should point out, I was asked about if

3      I knew about this on cross-examination.        There's no indication

4      that I saw here about Catherine Hunt's involvement, so I

5      learned about that from Mr. Shen during cross.

6      BY MS. KIRSCH:

7      Q.   At the top here, when you write back to Mr. Hartney:

8      "Thank you.    Is that all there is?"

9                 What are you asking Mr. Hartney about?

10     A.   He was sending emails to me, I guess one at a time, and I

11     wanted to make sure I had them all.

12     Q.   We're going to skip ahead.      I asked you after the previous

13     exhibit about your discussion with Mr. Kreindler.         I just want

14     to make sure, did you discuss this email with Mr. Kreindler as

15     well in that conversation?

16     A.   I believe I did.     I never listened to this podcast or Zoom

17     conference.    It's entitled -- I think this is the

18     Conspiracyland thing.      And I asked him generally what it was

19     about, and I specifically asked him, did you discuss the

20     substance of the Jarrah deposition?       And he told me no.

21     Q.   What did Mr. Kreindler say to you, to the best your

22     recollection?

23     A.   He did not discuss the substance of the Jarrah deposition.

24     Q.   All right.    Can you take a look tab 18.      Can you identify

25     this document, please.


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1      A.   Yeah, it's an email.     The bottom portion is an email from

2      John Hartney to me on July 29.       So this is -- and I forwarded

3      it eventually to -- same day I forwarded it to Jim Kreindler,

4      Jim Pounian, Megan Benett, John Fawcett, Steve Pagan.          It

5      concerns the Jarrah transcript.

6                 Again, as indicated earlier, I had Mr. Hartney perform

7      multiple searches of our server, and I wanted to make sure that

8      we covered all the bases.      If you look at some of those prior

9      emails, there was an email address for Mr. Isikoff at a

10     Verizon.net, I think, and I asked Mr. Hartney to make sure he

11     used the word "Isikoff" to make sure that that would be

12     captured no matter what the email address was, and obviously

13     use the word "Jarrah" in the search.

14                So there was some back and forth.      I wanted to make

15     sure Mr. Hartney, when he was repeating searches and expanding

16     the scope of the search, he was using the right search terms.

17     And I actually forwarded Mr. Hartney the Golkow email that

18     contained all the Jarrah transcripts.        That's the rough draft,

19     I believe, the final draft, both redacted and unredacted

20     versions.    Because sometimes a PDF has a code number associated

21     with it.    It doesn't say "Jarrah" in the email byline.        Email

22     from Golkow would say "Jarrah," but the PDF attached has serial

23     numbers sometimes, and I wanted to make sure he had that so he

24     could also plug that in as a search term so that in case

25     someone had emailed the Jarrah transcript and didn't use the


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1      word "Jarrah," he would find that, too.        And that's what he's

2      indicating here in this email to me on July 29, that he'd

3      looked at that, and there was a serial number attached.

4                 MS. KIRSCH:    I'd like to move that into evidence,

5      please.

6                 MR. SHEN:    No objection.

7                 THE COURT:    Accepted.

8                 (Kreindler Exhibit 18 received in evidence)

9                 MS. FREY:    Give the number.

10                THE COURT:    I think it's tab 18.

11                MS. KIRSCH:    Tab 18.

12                THE WITNESS:    Yeah, it's tab 18.

13                MS. KIRSCH:    Sorry, sorry.

14                THE WITNESS:    And just to complete what's on this

15     document, he's telling -- Mr. Hartney's telling me the search

16     results for all the people listed there as to who sent the

17     Jarrah transcript anywhere, not just to Mr. Isikoff, but to

18     anywhere.    And you can see there the very first one he caught

19     is the email that I sent to John Hartney which I just told you

20     about.    The paralegal, Deb Pagan, sent it to one of our

21     cocounsel who's authorized, has access, at the Baumeister

22     Samuels firm.    You can see their email extension there.        I

23     think they're on the cc.

24                And John Fawcett sent it to one of our consultants.

25     The name is redacted.      And then the rest was not sent to -- I


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1      guess Megan Benett's secretary sent it to Megan.         She already

2      had it, in any event.

3      Q.   Mr. Maloney, did you have a conversation with that

4      consultant who was the recipient of the transcript?

5      A.   I did.

6      Q.   What was the sum and substance of that conversation?

7      A.   I asked him, first, did he receive the transcript.         He said

8      yes.   And how did he get it?     He got it from John Fawcett.       I

9      said, did you -- what did you do with that transcript?          He

10     said, I don't -- I didn't even read it yet.         I said, Did you

11     send it anywhere?     He said no.    I said, You know, it's

12     protected material.     You can't send it anywhere.      Did you send

13     it to Mike Isikoff or speak to anybody at Yahoo! News?          And he

14     said no, and he said he knew that it was protected and that he

15     couldn't share it with anybody who was not authorized and that

16     Mr. Fawcett had actually reminded him of that.         So I told the

17     consultant, you may be asked to submit an affidavit on that.

18     He said, no problem.

19     Q.   Was that consultant aware at the time that there had been a

20     leak, to your knowledge?

21     A.   I think I told him in that communication I had with him,

22     conversation, yeah.     I don't know if he was aware of it before,

23     but he was aware during the phone call because I told him.

24     Q.   Did you ask the consultant whether he knew anything at all

25     about how that transcript may have been leaked?


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1      A.   I did.

2      Q.   What did the consultant say to you?

3      A.   He said he had no idea, and he said, It wasn't me.         I

4      didn't send it anywhere.      I don't know how he got it.

5      Q.   Take a look tab 34.     Can you identify this document for us.

6      A.   It's a series of emails, an email chain between Mr. Hartney

7      and myself.     So --

8                 MS. KIRSCH:   That's OK.     I'd like to just move tab 34

9      into evidence.

10                MR. SHEN:    No objection.

11                THE COURT:    It's accepted.

12                (Kreindler Exhibit 34 received in evidence)

13     BY MS. KIRSCH:

14     Q.   Can you tell us what's going on in this email exchange,

15     Mr. Maloney.

16     A.   Yeah.    I started out on August 30 -- at that point we knew

17     we had to get a declaration from Mr. Hartney as the head of our

18     IT, and so I drafted -- I think I drafted a declaration for

19     Mr. Hartney, and I think I wanted him to take a look at it and

20     make sure it was accurate and ask questions.         As a result of

21     that, Mr. Hartney, you know, wanted to make sure he crossed the

22     Ts and dotted the I's, and he wanted to redo the searches.

23     This would have been probably the fifth search or maybe sixth

24     search at this point in time on August 30.

25                But we were given at that point new email addresses


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1      from the court for Mr. Isikoff.       One was a Yahoo!/Inc.com, and

2      the other one was an oath.com.       I made sure that Hartney had

3      those, so we had a total of three email addresses for Isikoff.

4      But I also made sure that Mr. Hartney searched just the word

5      "Isikoff" because it would come up in regard -- if Isikoff was

6      in the email address.      It wouldn't matter what the extension

7      was, so he would find that.

8                 And I also told him we needed to expand the date

9      range, because prior to the Court's order, I had him look at

10     the time frame from when we received the deposition transcript

11     to the time the Isikoff article -- I think that was June 28

12     when we received it, if I'm not mistaken, and the article came

13     out on July 15.     So I asked him initially to search for email

14     traffic and communications with Mr. Isikoff about the Jarrah

15     transcript in that time period.

16                The Kingdom insisted that the scope and duration be

17     expanded.    I didn't quite understand the rationale for going

18     back to June 1 when the deposition hadn't even taken place

19     then.   But when the Court ordered that, we complied, and this

20     is what I asked Mr. Hartney to do, to expand the scope and

21     duration of the time frame to look at email traffic in and out,

22     so starting with June 1 to August 1.

23     Q.   Mr. Maloney, earlier on cross-examination there was some

24     conversation about whether you searched people's personal

25     devices.    Do you remember that?


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1      A.   Yeah, I remember that.

2      Q.   In your opinion, was it reasonable not to require a

3      forensic search of people's personal devices?

4      A.   Yeah.    I think not only was it reasonable, I think it would

5      have been insulting to the staff to say I want all your cell

6      phones and laptops.     I also noticed that none of the other

7      declarations that had been filed, including the Kingdom's,

8      included searches of personal laptops and cell phones, which --

9      and none of the other plaintiffs firms and nobody else that was

10     putting in declarations.      So I didn't consider that to be a

11     reasonable request.     It wasn't something that even entered my

12     mind at the time.

13     Q.   So you just made mention to -- you reviewed the

14     declarations that were filed by the Cozen O'Connor firm, is

15     that right?

16     A.   I did.

17     Q.   Did I understand you to say that they didn't include any

18     searches of personal devices in their searches?

19     A.   My memory is that they had performed an IT search similar

20     to the one that Mr. Hartney did at our firm to look at who had

21     access to the transcript and if it was ever sent anywhere.           I

22     don't recall any declaration, whether it was Cozen O'Connor,

23     Motley Rice, the Kellog Hansen firm, there were a number of

24     firms, Anderson Kill -- there were a lot of firms that were at

25     that Jarrah deposition that had access to the transcript, and I


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1      did look at a number of declarations as they came in at various

2      times.   I don't recall any of them saying that they looked at

3      personal cell phones and personal laptops.

4      Q.   So other than searching the firm's servers and interviewing

5      each one of the individuals who was known to handle the

6      transcript, you didn't feel that anybody rose to the level of

7      being a suspect that you needed to image or forensically image

8      their personal devices, is that right?

9      A.   Yeah.   The information I found did not create any

10     additional cause for concern or increased suspicion.          Even the

11     emails to Mr. Isikoff seemed benign to me.        We had

12     communications with a number of journalists.         Keep in mind, the

13     summer of 2021 was the lead-up to the 20th anniversary, and

14     there was a lot of media attention and focus and interest on

15     the case and on the families.       And families were being

16     interviewed.    The firm was being contacted.       So the Isikoff --

17     the fact that there were three emails between Mr. Isikoff and

18     Mr. Kreindler and one from John Fawcett was probably -- that's

19     one or -- one of the three or four out of probably 30 or 40

20     during that same time period with other journalists.          So that

21     did not stand out to me.      It would have certainly raised a red

22     flag if there was something about Jarrah in those emails, but

23     there was not.

24                So it was just the opposite.      To me it allayed any

25     suspicion when I saw that email traffic.        I knew, however, that


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1      Mr. Shen and Mr. Kellogg would seize upon any communication

2      with Mr. Isikoff as something sinister.            That's not the case.

3      Q.   Take a look at tab 35, if you would.           Can you identify this

4      document for me.

5      A.   It's an email chain.      I think it's between me and

6      Mr. Hartney in August, August 30 and 31, of this year.

7                 MS. KIRSCH:    I'd like to move this into evidence.

8                 MR. SHEN:    No objection.

9                 THE COURT:    It's accepted.      35.

10                THE WITNESS:    35.

11                THE COURT:    35.

12                (Kreindler Exhibit 35 received in evidence)

13     BY MS. KIRSCH:

14     Q.   If you look at the top couple of emails, can you just

15     explain to me what's going on in this exchange about searching

16     for the word "Isikoff"?

17     A.   Yeah.

18     Q.   What are you discussing here?

19     A.   Yeah.   Mr. Hartney is a very intelligent guy.         He's a very

20     IT guy, but he's a little bit of a Nervous Nellie.           Now that he

21     was being asked to swear out a declaration, he wanted to make

22     sure he had everything right and crossed his Ts and dotted his

23     I's.   And when I told him about the new email addresses, he

24     said, Well, I didn't have those email addresses before when he

25     did his prior searches.        I said, OK.   Well, that's all right.


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1      Do it now.

2                  Secondly, I said, Wouldn't your initial search have

3      discovered those despite not having the email full address

4      because it contained the word "Isikoff"?         And he responded,

5      Yes, you're right, it would have caught those.         In fact, when

6      he did another search, there was nothing additional.

7      Q.   So let's look at tab 36, if we could.

8      A.   OK.

9      Q.   Do you recognize this document?

10     A.   Yes.    This is Mr. Hartney forwarding to me the email that

11     he discovered between John Fawcett and Mr. Isikoff that was

12     July 12.

13                 MS. KIRSCH:   I'd like to move this into evidence.

14                 MR. SHEN:    No objection.

15                 THE COURT:    It's accepted.

16                 (Kreindler Exhibit 36 received in evidence)

17     BY MS. KIRSCH:

18     Q.   What's going on in this discussion with Mr. Fawcett?

19     A.   So after Mr. Hartney found this email, I contacted

20     Mr. Fawcett, and I think I had a conversation before this.           I

21     can see that the date of the email at the top is September 1,

22     but I'm fairly certain I actually spoke to Mr. Fawcett about

23     why he was in communication with Mr. Isikoff, did he discuss

24     Jarrah.     Again, the same questions again, but I said why did

25     you send him this privilege log?         Was this privilege log ever


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1      filed on the public docket?      Because the copy I had, at least

2      the one that was easily accessible to me, didn't have the

3      ECF filing at the top.      But it was not marked confidential, and

4      that's what Mr. Fawcett confirmed for me, but I looked myself

5      to confirm it.

6      Q.   Let's take a look at tab 41.

7      A.   OK.   Another series of emails between myself and

8      Mr. Hartney.    And as you can see, the dates are -- this chain

9      started on July 29, but there's an intervening one, and then it

10     ends at the top of the page at September 2.

11                MS. KIRSCH:    I'd like to move this into evidence.

12                MR. SHEN:    No objection.

13                THE COURT:    It's accepted.

14                (Kreindler Exhibit 41 received in evidence)

15                MS. KIRSCH:    OK.

16                THE WITNESS:    And this one, I don't know if you want

17     me to tell you, explain what I'm seeing here.

18     BY MS. KIRSCH:

19     Q.   Sure.

20     A.   This is with regards to the cloud-based server which is

21     available to a certain number of authorized consultants to be

22     able to look at materials that we post there for them with --

23     it's password protected, and we can tell who, if anyone, looks

24     at any particular document and when they did that.         I think I

25     asked -- we covered this a little bit on cross-examination, and


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1      I didn't have all the answers, at least I wasn't understanding

2      it correctly on July 29.      And this is -- I got answers soon

3      after July 29.

4                 But, again, on September 2 when Mr. Hartney was told

5      he needed to do a declaration, I wanted to make sure I

6      understood and he understood what searches had been performed,

7      and he showed me that there were only these five deposition

8      transcripts that were actually viewed by anybody.         And as you

9      can see, it's Muhanna, Mersal, Freeman, Mana, and Olivier.

10     Nobody looked at Jarrah.

11     Q.   Thank you.    Let's look at tab 43.

12                Can you identify this document.

13     A.   This is an email from John Fawcett.       I'm trying to

14     understand.    He sent from the Kreindler server a message, I

15     think, to the consultant that you can't email these around to

16     people that haven't signed the protective order, and the

17     attachment at the top indicates it was the Qattan transcript,

18     the Jarrah deposition transcript.       And I asked John about this,

19     and this was, in fact, the same consultant we've been talking

20     about that was authorized to receive the transcript who I

21     followed up with myself personally.

22                MS. KIRSCH:   I'd like to move this into evidence.

23                MR. SHEN:    No objection.

24                THE COURT:    Accepted.

25                (Kreindler Exhibit 43 received in evidence)


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1      BY MS. KIRSCH:

2      Q.    Mr. Maloney, when you saw Mr. Fawcett's email to the

3      consultant, does this reinforce your understanding that

4      Mr. Fawcett understands the obligations under the protective

5      orders?

6      A.    Yes.    He was reminding the consultant that he couldn't

7      share this.      That these were protected documents, and they

8      couldn't be shared.       In fact, the consultant told me

9      Mr. Fawcett had reminded him of that when he sent them.          And I

10     should also point out Mr. Fawcett told me he sent it to this

11     consultant on the first day or second day, either July 15 or

12     16.

13                  THE COURT:   Can I just ask a clarifying question,

14     Mr. Maloney?

15                  THE WITNESS:   Yes, your Honor.

16                  THE COURT:   I'm confused.   So there's a July 6 email

17     from Fawcett.

18                  THE WITNESS:   Yes.

19                  THE COURT:   From his Kreindler email address.

20                  THE WITNESS:   Correct.

21                  THE COURT:   And he writes, "You can't email these

22     around to people that haven't signed the protective order."

23                  THE WITNESS:   Yes.

24                  THE COURT:   How do we know to whom that July 6 email

25     is being sent?     I see there's something redacted above.


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1                 THE WITNESS:    Yes, it's redacted, your Honor.

2                 THE COURT:   Is that --

3                 THE WITNESS:    That's the consultant number one.

4                 THE COURT:   There's another -- I'm confused.       Maybe

5      you can't answer it because it's confusing to you, too.

6                 It appears that there's the July 6 email from Fawcett.

7      It's not clear to whom he's sending it.         Then there's an email,

8      I'm assuming it's from redacted to you, on September 1.

9                 THE WITNESS:    Yeah.   I believe --

10                THE COURT:   And that something's being sent from the

11     ProtonMail.

12                THE WITNESS:    Yeah.

13                THE COURT:   I'm confused who's sending what.       I see

14     there's three possible emails, one on July 6, one on

15     September 1, one on September 2.

16                THE WITNESS:    My best recollection is that the

17     consultant emailed me on his ProtonMail server the original

18     email he got from John Fawcett, which is what you see at the

19     bottom.    I asked the consultant to forward me John's email, and

20     he did.    That's what this is.

21                THE COURT:   I see.     Thank you.

22     BY MS. KIRSCH:

23     Q.   Mr. Maloney, there was a discussion, I think, yesterday

24     that the consultant actually signed his declaration on -- as

25     early as September 2, even though others were not asked to sign


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1      their declarations until the end of September.         Do you know why

2      it was that the consultant was asked to sign a declaration that

3      early?

4      A.   That was by me.    I wanted to find out -- I knew that he had

5      received a copy of the transcript, whereas others had not, and

6      I wanted to make sure we nailed down all the facts on how he

7      got it, when he got it, what he did with it.         And as soon as I

8      had that communication with him, I said, You know, we're going

9      to need you to do a declaration.       He goes, No problem.      I may

10     be traveling soon.     Let's get it now.     He got it right away.

11     Q.   As a general matter, Mr. Maloney, how often would you say

12     you communicate with Mr. Fawcett?

13     A.   On a near daily basis.     In fact, in the summer of 2021,

14     probably almost every day.      Maybe not weekends, but sometimes

15     on weekends, too.

16     Q.   To what extent were you aware of Mr. Fawcett's physical

17     whereabouts as a general matter?

18     A.   Well, obviously, if we were both in the office, I would see

19     him in the office.     But, again, not everybody was going to the

20     office every day during the pandemic in the summer, so there

21     were times where we were working out of our homes.         But

22     Mr. Fawcett was clearly working from home.        He said he was

23     working from home.     He was available from home, and he had a

24     computer there that he would have access to the Kreindler

25     server as if he was sitting at his desk, just like the rest of


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1      us.    There were times where he was on Zoom where I could see

2      the background in his apartment.       Growing some tomato plants or

3      something like that.

4      Q.    Did you communicate with Mr. Fawcett about the protective

5      orders?

6      A.    Multiple times, yeah.    I mean, all the time, all the time

7      because anytime we would get a new production, say, from the

8      FBI, we knew that they would have to be protected.         And there

9      were times we'd have to ask the Justice Department whether or

10     not we could use a particular document at a deposition.          There

11     was constant conversations about what was protected, what's

12     not, what's confidential.      There's, obviously, a separate order

13     that governs the Kingdom's documents different than the MDL

14     order, and they're actually completed a little differently, but

15     we treated them pretty much the same.        None of those documents

16     should ever be available through the public domain.          You can't

17     file them on the docket unless they're under seal or redacted.

18     We can't even share them with our own clients.

19     Q.    In the 20 years you worked with Mr. Fawcett, did you ever

20     get any indication that Mr. Fawcett did not understand his

21     obligations under the protective orders?

22     A.    He understood them.    And for 20 years we didn't have any

23     issue or problems with Mr. Fawcett with any confidential

24     documents.

25     Q.    Mr. Fawcett never indicated in any way that he did not


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1      intend to honor his obligations under the protective orders?

2      A.   Never said that.    In fact, the office where he and Steve

3      worked and stored documents, we called it the 9/11 war room,

4      that was locked every night.      We had hard copies.     Nowadays we

5      of a new office, and there are very few hard copies.          But up

6      until earlier this year, we were in the office building next

7      door.   The office where the documents were kept, any hard

8      copies, the files, locked, and only Mr. Pounian, I think

9      Mr. Fawcett, and the mailroom guy.       I didn't even have a key to

10     that office.    They were locked every night.       When anyone was

11     not there, the room was locked.

12     Q.   In fact, Mr. Pounian and Mr. Fawcett shared an office

13     space, is that right?

14     A.   Yeah.

15     Q.   Did you ever order or direct Mr. Fawcett to send the Jarrah

16     transcript to Mr. Isikoff?

17     A.   Never.   Did not.

18     Q.   Were you aware before September 27 that Mr. Fawcett had

19     sent the Jarrah transcript to Mr. Isikoff?

20     A.   I was not aware until midday on the 27th of September.

21     Q.   Did you ever approve or condone of Mr. Fawcett sending the

22     Jarrah transcript to Mr. Isikoff?

23     A.   No.

24     Q.   Did you ever have any reason to suspect that Mr. Fawcett

25     sent the Jarrah transcript to Mr. Isikoff?


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1      A.   I had no reason to suspect it.      And when I did the internal

2      investigation, I was able to corroborate, in my mind, that

3      nobody at Kreindler had sent the Jarrah transcript to Yahoo!

4      News or Isikoff.

5                  MS. KIRSCH:    I have no further questions.

6                  THE COURT:    Thank you.

7                  MR. SHEN:    Your Honor, just five minutes.

8                  THE COURT:    Sure.

9                  THE WITNESS:   Mr. Shen, I need the book back --

10                 MR. SHEN:    We can do it without it.

11                 THE WITNESS:   -- the big one?

12     RECROSS EXAMINATION

13     BY MR. SHEN:

14     Q.   Now, Mr. Maloney, counsel for the Kreindler firm asked you

15     some questions about sending the Jarrah transcripts to

16     consultant A?

17     A.   Yes.    And we've called him consultant one, but I'm not

18     going to quibble, yes.

19     Q.   Sure.    Let's look at Exhibit 97, please.

20     A.   In the Kreindler book?

21     Q.   No, it will be on your screen.

22     A.   Oh.

23     Q.   Exhibit 97, as it's coming up, this is an email chain from

24     Mr. Hartney to yourself, and he's telling you that he's been

25     looking for the email that Mr. Fawcett sent to the consultant


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1      with the transcript?

2      A.   Yeah.

3      Q.   And he can't find it, correct?

4      A.   Yeah.   I can explain that, yeah.

5                 THE COURT:    Mr. Shen, do you want to move this?      Given

6      Ms. Kirsch's position, do you want to move this into evidence?

7                 MR. SHEN:    Well, your Honor, I think it's most

8      efficient if we address all these issues after the hearing.

9                 THE COURT:    I was going to ask that the parties meet

10     and confer about that, but I wonder if on a going-forward

11     basis -- Ms. Kirsch, I don't know what your position is going

12     to be.    Do you want to do this on every document going forward?

13                MS. KIRSCH:    I think it's more efficient to move this

14     into evidence as we go.      We can meet and confer on the other

15     ones.    Again, that was something that would have been the most

16     efficient had we done it in advance of the trial, but I think

17     it's probably easier to make sure that we just move them in as

18     we go.

19                THE COURT:    Any objection as to this document?

20                MS. KIRSCH:    None.

21                THE COURT:    It's accepted.

22                (KSA Exhibit 97 received in evidence)

23     BY MR. SHEN:

24     Q.   Mr. Hartney's telling you on August 31 that he can't find

25     that email, correct?


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1      A.   He did.    But we had a conversation about this.      Turns out

2      that was incorrect.

3      Q.   Let's take a look at Exhibit 98.        Can we just get rid of

4      the call out, please.

5                  At the bottom of the email, September 1, you were

6      asking Mr. Fawcett to send you a copy of the transcript, right,

7      or send a copy of the email that he sent to consultant one?

8      A.   Yes.

9      Q.   And he writes back and says, If Mr. Hartney can't find it,

10     how am I supposed to find it?       And this whole process is

11     creeping me out.     Do you see that?

12     A.   Yes.

13     Q.   This was actually on September 1, the day after the Court

14     issues its August 30 order requiring additional declarations,

15     right?

16     A.   Yeah, that's the date.

17     Q.   So you're telling Mr. Fawcett, well, it's really important

18     that we know the answer, and we need to get this actual email,

19     right?

20     A.   Yes.

21     Q.   All right.    Let's go to Exhibit --

22                 THE COURT:    Sorry, Mr. Shen.   I want to try and

23     minimize the work on the back end.

24                 Any objections to admitting this document?

25                 MS. KIRSCH:   No, no objection.


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1                 THE COURT:   OK.    It's accepted.

2                 (KSA Exhibit 98 received in evidence)

3      BY MR. SHEN:

4      Q.   Let's look at Exhibit 99.      This has already been admitted

5      into evidence.     Ms. Kirsch showed you this document.       In fact,

6      what happens here is you have to go to the consultant to ask

7      the consultant to send you the email that Mr. Fawcett had sent

8      to him, correct?

9      A.   Well, ultimately, I need to explain.       I can't answer that

10     with a yes or no.     May I?

11     Q.   Sure.

12     A.   OK.   So, yes, I asked the consultant to send the email.         It

13     turns out there was a miscommunication between Mr. Hartney and

14     I in terms of who the consultant was.        I gave him the name of

15     the consultant.     I didn't know the consultant's email address

16     at the time.    He actually found -- prior to that he had already

17     found Mr. Fawcett's email to that consultant, but it was under

18     a different email address.      There's -- it's not encrypted, but

19     it was something that I didn't recognize.        So I asked

20     Mr. Hartney a few times, Did you find the email to so-and-so by

21     name?   And he said, No, I didn't find that.        I can't find that.

22     And I was puzzled by that because Mr. Fawcett had told me from

23     the very beginning he, in fact, sent the Jarrah transcript to

24     that consultant.

25                So I said, well, let's look at this another way.        Let


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1      me contact the consultant and find out if that email exists,

2      and that's what you see here, the consultant sending me the

3      email that he got from John Fawcett.        Then I showed that to

4      Mr. Hartney, and he says, Oh, I've had that all along.          This is

5      the same consultant I told you about back in July.         He just

6      hadn't -- he didn't put the connection together between the

7      name of the consultant and the email address that popped up in

8      his initial search.

9                 So, really, it was a miscommunication in terms of

10     myself and Mr. Hartney on what he had found.         He had found that

11     from the very beginning.      So it turned out when I got this, it

12     just confirmed what I just told you.

13     Q.   Thank you.

14                Mr. Maloney, did you ask Mr. Fawcett why he was

15     creeped out when you were asking him to search for things?

16     A.   No, I didn't talk to him about it.

17                MR. SHEN:    All right.    No further questions.    Thank

18     you.

19                THE COURT:    All right.    Thank you, Mr. Maloney.    You

20     are done.    You can stay in the courtroom now.

21                THE WITNESS:    Thank you.

22                (Witness excused)

23                MR. SHEN:    Your Honor, Saudi Arabia calls Megan

24     Benett.

25     MEGAN WOLFE BENETT,


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1            called as a witness by the Defendant,

2            having been duly sworn, testified as follows:

3      CROSS-EXAMINATION

4      BY MR. SHEN:

5      Q.   Good morning, Ms. Benett.      You took the Jarrah deposition

6      on June 17 and 18, correct?

7      A.   I did.

8                 THE COURT:   Ms. Benett, sorry.     Can I ask you to sit

9      closer to the microphone so everyone can hear you.

10     Q.   And that's one of the depositions you took in the case.

11     Mr. Pounian took most of them?

12     A.   That's right.    Between June and January -- sorry, January

13     and June, Steve Pounian led probably 30-some depositions.          I

14     was lead on Jarrah, and I also took the Zeinab Affifi

15     deposition, and I defended a couple of the other depositions

16     that the Kingdom had noticed.

17     Q.   Now, Mr. Fawcett also attended the Jarrah deposition,

18     correct?

19     A.   So that deposition was by Zoom.      I was in a room by myself

20     in the office.     There were people who were attending who were

21     in a conference room, but given the nature of the documents and

22     sort of the many things you have to manage when conducting a

23     deposition by Zoom, my focus was primarily on getting to my

24     questions, getting the testimony that I was seeking.          I believe

25     John was there.     I may have seen him in and out, but he


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1      certainly wasn't in the room with me.

2      Q.   But you know he attended the deposition, and he heard what

3      happened during the deposition, correct?

4      A.   I saw his name on the transcript.       I don't know how much --

5      I'm assuming he attended the entire deposition, but I was not

6      with him for that.

7      Q.   Mr. Fawcett manages all the discovery material in this

8      case, correct?

9      A.   So he, up until September 27, had access to all of the

10     discovery material.     A lot of people relied on him.       I, for

11     example, know where the materials are and did not necessarily

12     need to rely on him, although I would sometimes ask him to help

13     direct me to information.      We have a paralegal on the case who

14     does some of the document management.        We had another paralegal

15     who we brought in for the depositions who was helping to manage

16     things like deposition exhibits.       Getting ready for the

17     deposition was an enormous process because we had to go through

18     and prepare all of those -- the documents we thought we might

19     use as exhibits during the deposition, and we had several

20     people who were involved in that.

21     Q.   And Mr. Fawcett was one of them, correct?

22     A.   So I don't -- he may have been involved in pulling things.

23     I mean, there was a whole team that was working together.          He

24     was not -- I don't think he was lead on putting together the

25     deposition exhibit files.


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1      Q.   Mr. Fawcett worked as an investigator and researcher on all

2      aspects of the 9/11 case for the Kreindler firm, correct?

3      A.   That's a correct statement.

4      Q.   Did Mr. Fawcett assist you in preparing for the Jarrah

5      deposition?

6      A.   So my preparation for Musaed Al Jarrah was I worked a lot

7      with Steve on that.     I worked a lot with Julia in our office on

8      the exhibits.    John was certainly involved.       So he was one of

9      the team.    Duke was probably involved also.

10     Q.   Ms. Benett, if you could just focus on answering my

11     question.

12                The question was did Mr. Fawcett assist you, and I

13     believe the answer was yes, correct?

14     A.   He was one of the people who assisted me, yes.

15     Q.   Did he see a copy of your deposition outline before the

16     deposition?

17     A.   I don't recall.

18     Q.   He certainly assisted in identifying and preparing

19     exhibits, correct?

20     A.   He would respond to my requests is your -- I guess what do

21     you mean by "assisted"?

22     Q.   Did he know which exhibits you were going to use at the

23     deposition?

24     A.   To be honest, I didn't know until partway through all the

25     exhibits I would be using.      It was an on-the-go process with


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1      some of them.

2      Q.   Certainly, you had assembled a collection of exhibits you

3      may use.    Was he aware of what you might use?

4      A.   Well, you're asking me a question about his state of mind.

5      I don't think I can answer that.

6      Q.   I'm asking for your knowledge.      Did he assist in putting

7      together that collection of exhibits?

8      A.   He helped me out in preparing for the deposition.         I feel

9      like your question is did he know what my exhibits were going

10     into the deposition, and I don't know the answer to that.

11     Q.   Now, Mr. Fawcett knew what topics you were going to explore

12     at that deposition, correct?

13     A.   I feel like these are questions better for Mr. Fawcett, and

14     I don't -- I assume he did.

15     Q.   I want to be very careful here not to compound the

16     Kreindler firm's violation of the protective order by airing

17     confidential information at this hearing, so I'll ask you to

18     answer these questions without disclosing the specific content

19     of what occurred at the deposition.

20     A.   So, Andy, I'm going to answer the questions, and I'm going

21     to let my lawyer object to your grandstanding.

22                THE COURT:   Ms. Benett, please, your lawyer can stand

23     up and object as necessary.      I'm not sure that was

24     grandstanding.     He's just simply trying to make sure that

25     everybody is being sensitive to this subject matter, as we


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1      discussed before this hearing began.

2                 So, Ms. Kirsch, I'll hear you.

3                 MS. KIRSCH:    I was just going to refer back to your

4      Honor's ruling, which was fairly narrow, but I would also -- I

5      would say that Ms. Benett should be able to answer -- we're

6      here in an open courtroom.      She should be able to answer the

7      question fully.     I think she is mindful, but you could give

8      again, of the instruction with respect to not revealing the

9      actual content, but that everything else is a topic that's

10     appropriate for the courtroom.

11                THE COURT:    Ms. Benett, I assume you're familiar with

12     the order I issued yesterday.       We're not going to discuss the

13     content of the deposition that happened other than the basis

14     that Mr. Fawcett relied on as his explanation for why he

15     disclosed the transcript.

16                Do you understand the scope of my ruling?

17                THE WITNESS:    I think so.   So my takeaway from the

18     order was that we're not going to discuss the actual exchange

19     during the deposition.

20                THE COURT:    That's correct.

21                THE WITNESS:    But that to the extent information

22     elicited during the deposition formed the basis of John

23     Fawcett's explanation for why he did what he did, that -- I

24     mean, I just -- is that not the --

25                THE COURT:    We're going to talk about the fact that


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1      Mr. Fawcett said that allegations that Jarrah had child

2      pornography on his computer is why he felt compelled to

3      disclose it.     So that is what we're going to talk about, but

4      we're not going to talk about anything about questions that

5      were asked, what was elicited during the deposition, what was

6      introduced as an exhibit.        That is all off limits.

7                  THE WITNESS:   OK.   Understood.

8      BY MR. SHEN:

9      Q.   Now, Ms. Benett, during the deposition you asked Mr. Jarrah

10     about the event that the judge just referenced, correct?

11     A.   About the possession of child pornography?

12     Q.   Yes, ma'am.

13     A.   Yes.

14     Q.   And that issue was not publicly disclosed prior to the

15     deposition.     That wasn't public information, correct?

16     A.   I don't know the answer to that.

17     Q.   Well, this is an event that Mr. Fawcett cites as a

18     rationale for violating the protective order and leaking the

19     transcript to Michael Isikoff, correct?

20     A.   OK.

21     Q.   You understand that, right?

22     A.   Yes, I saw the declaration.

23     Q.   Now, the Kreindler firm has retained a number of FBI agents

24     to assist in this case.      That's correct, right?

25     A.   There have -- yes, we have several former FBI agents who


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1      have -- who are working with the families in this case.

2      Q.   And let's listen to what Jim Kreindler has to say about

3      these former FBI agents.

4                 MS. KIRSCH:    What are we doing now?

5                 MR. SHEN:    It's on your screen.

6                 MS. KIRSCH:    Is this a question for Ms. Benett?      Is

7      this something that I should be reviewing before I get to --

8                 THE COURT:    I assume there's going to be a question.

9      That's what we're doing here.       If you want to review, do we

10     have a transcript that Ms. Kirsch can review before we air the

11     video?

12                MR. SHEN:    Is it Exhibit 18, reference 31:14.      These

13     are all public statements made by Mr. Kreindler.

14                MS. KIRSCH:    OK.    What's the reference?

15                MR. SHEN:    34:14.

16                MS. KIRSCH:    And what is this a transcript of,

17     Mr. Shen?

18                MR. SHEN:    This is a transcript of Mr. Kreindler's

19     public statements at Dartmouth University.

20                MS. KIRSCH:    I'm sorry.   Public statements when and

21     where?

22                MR. SHEN:    At Dartmouth University.

23                MS. KIRSCH:    I'll just take a moment and read it,

24     please, your Honor.

25                THE COURT:    Mr. Shen, you're going 34:14 to?


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1                 MR. SHEN:    To 52.    I'm sorry.    It starts at 31:14.

2      I'm sorry if I misspoke.

3                 THE COURT:    Ms. Kirsch, did you hear that?

4                 MS. KIRSCH:    I did.

5                 MR. SHEN:    31:14 to 31:52.    Apologies.

6                 MS. KIRSCH:    OK.    So this is from the 2019 speech at

7      Dartmouth, is that right?

8                 MR. SHEN:    It's the same speech that we played

9      yesterday.

10                MS. KIRSCH:    Which was in 2019?

11                MR. SHEN:    I don't know offhand.      Yes.

12                THE COURT:    I don't think there's a dispute.

13                MR. SHEN:    2019.

14                THE COURT:    2019.

15                MS. KIRSCH:    OK.    That's fine.    No problem playing

16     Mr. Kreindler's speech.

17                MR. SHEN:    It will be on the screen in front of you.

18                (Audio played)

19     BY MR. SHEN:

20     Q.   Now, Ms. Benett, is Mr. Kreindler being truthful here that

21     FBI agents have told him and the other attorneys at the firm

22     what they know concerning their 9/11 investigation?

23     A.   I can't speak to what anybody has told Jim.          I mean, I

24     don't -- the agents that I've -- the folks who come on to work

25     with the families that I've spoken with, I guess I wouldn't --


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1      I don't know if I would characterize my conversations with them

2      that way, but my role and my relationship with them is

3      different than Jim's, but I can't say -- I certainly couldn't

4      opine as to whether Jim is being truthful or not about that

5      statement.

6                 (Continued on next page)

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2      BY MR. SHEN:

3      Q.   Let me ask you a more specific question.

4                 Ms. Benett, the reason you know about the event that

5      you asked Mr. Jarrah at his deposition is because an

6      investigator who works at the firm who is a former FBI agent

7      told you about that event, correct?

8                 MS. KIRSCH:    I want to say here, your Honor, that the

9      document information that related to this breach were

10     compelled, produced, and we produced them, and under the law,

11     your Honor gave us an order that does not waive any work

12     product.    This is not of the same nature, and so I want to

13     caution the witness to answer as best she can, but this is

14     getting close to the area of work product, and we do have a

15     concern about airing that in a public court.

16                THE COURT:    OK.   Thank you.   And I did issue the order

17     that you just referenced.

18                Mr. Shen, if you could just be careful.

19                THE WITNESS:    Can the court reporter repeat the

20     question?

21                (Record read)

22     A.   I don't think that's a correct statement.

23     Q.   Ms. Benett, when did you learn about that event that you

24     asked Mr. Jarrah about?

25     A.   I had heard rumors about it from sort of the periphery of


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1      our work, not through anybody working with us or working with

2      the families, maybe a year or a year and a half.         I guess what

3      I would call sort of some chatter.

4      Q.   You said a year or a year and a half ago before the

5      deposition?

6      A.   I will confess that COVID has sort of -- it was certainly

7      before the deposition, but I don't remember if it was --

8      probably a year and a half before I think was the first time

9      that I had heard rumors of that.

10     Q.   That would have been at the beginning of 2020, roughly?

11     A.   I really am uncomfortable with the date.

12     Q.   We are just talking general time frames.        Roughly,

13     beginning of 2020?

14     A.   I don't know.

15     Q.   You said you had heard rumors.      Who had you heard rumors

16     from?

17                MS. KIRSCH:   So that's the same objection.       Maybe you

18     can describe generally the nature of the people from whom you

19     heard this, to the extent you can, but don't reveal any work

20     product.

21     Q.   Let me ask a new question.      Had you heard those, quote,

22     rumors from FBI agents who were working at the Kreindler firm?

23     That's a yes or no answer.

24     A.   Not from agents who were working at the Kreindler firm, no.

25     Q.   From agents who were working elsewhere?


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1      A.   So, I did at one point hear that from a former FBI agent

2      who does not work at the Kreindler firm, but had come on board

3      to help with the families at one point, but that is not the

4      first place that I had heard this.

5      Q.   Where is the first place you heard it?

6      A.   It was in the course of our investigation, there were a

7      couple of people who came in the office and it was from them

8      that I had heard this.

9                 THE COURT:    You don't need to give names, but I think

10     you can describe generally if these were staff people, if these

11     were people you had hired as consultants.

12                THE WITNESS:    They were outside people who had come

13     and asked and volunteered for a meeting with us.

14     Q.   Did they have documents about this event?        That's just a

15     yes or no question.

16                MS. KIRSCH:    It really isn't.    This case is all about

17     the investigation that the Kreindler firm has been doing in

18     order to build its case.      The absolute purpose that this

19     hearing ought not to serve is to allow the Kingdom to start

20     walking around into the work product processes and how they

21     conduct their investigation.

22                MR. SHEN:    That's not what we are intending to do,

23     your Honor.    This line of questioning goes directly to Mr.

24     Fawcett's stated basis for the leak, and when he found out

25     about that leak and when the firm knew about this information,


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1      when the firm knew about it, is directly relevant to that.

2                 MS. KIRSCH:    I would disagree that.     Perhaps there is

3      some relevance when Mr. Fawcett learned that information.

4      Those are questions that could be directed to Mr. Fawcett.           But

5      the Kreindler firm's work product, the people that they work

6      with in order to build their factual investigation, that is

7      just not appropriate for the adversary's counsel to put counsel

8      up on the stand and ask those questions.        That is very

9      irregular and it's inappropriate.

10                THE COURT:    What I do think is relevant is when the

11     firm had the information and who knew it at the time.          So I am

12     not going to require Ms. Benett to answer questions about who

13     provided that information or describe those people, but I do

14     think it is relevant, for the purpose of today's hearing, to

15     know when it was provided and whether or not there was a

16     document that might be on the firm's server that corroborates

17     the allegation.     So I do think that those two facts are

18     relevant for the purposes of the hearing.

19                MS. KIRSCH:    This is just me being not that smart.

20     What is the relevance of a document being on the server that

21     corroborates, and I think you mean the allegation against

22     Mr. Jarrah?

23                THE COURT:    Yes.   You're asking me?

24                MS. KIRSCH:    I was.   But I shouldn't, your Honor.      I

25     apologize.


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1                 THE WITNESS:    Given the colloquy, maybe I can

2      volunteer a response and see if that fits within the scope of

3      what the Court is --

4                 THE COURT:   Sure.

5                 THE WITNESS:    So, sometime shortly before the -- not

6      shortly, but sometime -- there were so many depositions that we

7      were managing and leading, especially up until the end of June.

8      At some point there was a former FBI agent who had been

9      involved and supervised the search of Musaed Al Jarrah's

10     computer, during which time his two agents recovered multiple

11     sexual images of minors that they believed had been saved on

12     the computer, and that they believed constituted knowing

13     possession of child pornography, that they then sent to the

14     National Center for Missing and Exploited Children because of,

15     apparently, a preexisting relationship between the Bureau and

16     the National Center when that sort of imagery is recovered

17     during the course of an investigation.        And I was told that

18     those agents had approached Mr. Jarrah in public with copies of

19     the images that they told him they had taken from his computer.

20                THE COURT:   I think the line of questioning is when

21     did you learn this information.       So I think you had said it was

22     about a year and a half before.       So these agents told you this

23     information about a year and a half ago?

24                THE WITNESS:    I'm sorry.   To be clear, the chatter,

25     the rumor, was maybe a year and a half ago, and that was not


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1      from an FBI agent.      Then subsequently and shortly before the

2      deposition is when I learned this information that came from an

3      FBI special agent who had supervised the investigation into

4      Jarrah and specifically supervised the two agents who had

5      obtained the child pornography from his hard drive.

6                 THE COURT:   Mr. Shen.

7      BY MR. SHEN:

8      Q.   You said that you had spoken directly to this agent?

9      A.   I have definitely spoken with this agent, yes.

10     Q.   That was before the Jarrah deposition, about these images?

11     A.   So, that actually may have been the day of the deposition.

12     It was -- I'm not sure if it was before or -- it was a two-day

13     deposition.    I don't know if it was before or maybe it was

14     during day one or day two.

15     Q.   But you had spoken to this agent before the deposition, is

16     that right?

17     A.   I don't know that that's right.

18     Q.   I am just asking for the best of your recollection.

19     A.   Then I will say I don't remember.       I don't think so.

20     Q.   And this agent, was he retained by the Kreindler firm, he

21     or she?

22     A.   The agent has done some work for the 9/11 families.         I

23     don't think this piece was connected to the work that agent had

24     done, but --

25                THE COURT:   When you say worked for the 9/11 families,


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1      does that mean that the firm is paying him?

2                 THE WITNESS:    Yes, of course.    Has worked with us on

3      behalf of the 9/11 families.      And I guess I should add, I am

4      saying that because he was interested in working with the

5      families; he had asked to work with the families.

6      Q.   When did this agent work for the Kreindler firm?

7      A.   I would have to, you know -- I am actually not -- I am

8      going to ask for the court's direction here because I do

9      feel -- I understand the importance with respect to Jarrah and

10     these images, but I'm not sure how much of this is within or

11     beyond, if it gets into work product about our investigation.

12                THE COURT:    I have already said that you can answer

13     questions related to when you or anyone else at the firm

14     learned this information.      And I think that's the nature of the

15     questions that Mr. Shen is asking.

16                THE WITNESS:    Could I hear the question back from the

17     court reporter?

18     BY MR. SHEN:

19     Q.   The question is, when did this former FBI agent work for

20     the Kreindler firm?

21                MS. KIRSCH:    With all due respect, I don't think

22     that's the same question.

23                MR. SHEN:    If it was before or after the deposition,

24     was he an employee to the Kreindler firm?

25                MS. KIRSCH:    I'm sorry.   I thought we just clarified


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1      that what is relevant is when the Kreindler firm learned the

2      information, and when Ms. Benett learned the information, and

3      then perhaps if there is documentation.        But who is retained,

4      how they work with consultants, how they do their research, how

5      they pay them, when they paid them, that is work product, it is

6      not appropriate.

7                 THE COURT:   Let's narrow in on when the firm received

8      the information.     To the extent there needs to be questions

9      about the nature of the firm's relationship at the time that it

10     learned this information, we can address that later.          But let's

11     focus now on when the firm learned the information.

12     BY MR. SHEN:

13     Q.   Ms. Benett, you said that a year to a year and a half prior

14     to the deposition you had heard rumors.        When had you first

15     heard more concrete evidence of the events that you asked

16     Mr. Jarrah about?

17     A.   So it was either shortly before or in the course of the

18     Jarrah deposition.

19     Q.   Were you shown documents?

20     A.   I was not.

21     Q.   Was anyone at the Kreindler firm shown documents?

22     A.   I wasn't shown documents.      I don't know if anybody else

23     was.

24     Q.   Was Mr. Fawcett, to your knowledge, aware of these rumors a

25     year or a year and a half ago before the deposition?


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1      A.    I don't know.

2      Q.    Did you have discussions with him about it?

3      A.    Certainly, in the context of the Jarrah deposition, when I

4      had the information about the photographs, I do remember it was

5      in the middle of that deposition when the images themselves

6      were described to me.      I do think John Fawcett was around for

7      that.

8      Q.    So --

9      A.    I don't know.   He may have known before.      I just don't

10     know.

11     Q.    My question pertains to what you actually know.

12                  Is it your testimony that the first time the images

13     were described to you were actually in the course of the

14     deposition?

15     A.    Yes.    So I had -- there was some sort of general suspicion

16     that this was a thing prior, a year and a half before that or

17     so.    Then there was more specific information that I learned.

18     I can't say that John Fawcett, when he did or didn't learn it.

19     But I learned in the course of the deposition, I was -- the

20     nature of the actual depictions of the child pornography taken

21     from Jarrah's computer were described to me.

22     Q.    So the FBI agent was actually in the Kreindler offices at

23     the time?

24     A.    I had got a message that described to me what those images

25     looked like.


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1      Q.   Did the FBI agent know that you were in the process of

2      taking a deposition?

3                 MS. KIRSCH:    And why is that relevant, your Honor?       I

4      am going to object to that.

5                 THE COURT:    Sustained.

6      Q.   Was this FBI agent actually attending this deposition?

7                 MS. KIRSCH:    I am going to object to that as well.

8                 MR. SHEN:    What is the objection?    If we have somebody

9      who has not entered an appearance on the sheet listening in on

10     a confidential deposition.

11                THE COURT:    I think that that is relevant.      I will

12     allow it.

13                MS. KIRSCH:    OK.

14     A.   So there was, in the office next -- I was taking the Zoom

15     deposition in a room in our office by myself.         In that wing,

16     there were people who were walking, not in the office, not in

17     the Zoom room, not where the deposition was happening.          He was

18     one person who was there during that time, generally in the

19     office.    There were a number of other people, it was a weekday.

20     Certainly, nobody was in the Zoom room with me.

21     Q.   So you were in a separate Zoom room.       People were in

22     another room listening to the deposition, correct?

23     A.   What I am saying is that when I spoke with him, he was not

24     watching a deposition.      He was -- there is a corridor, there

25     are workstations.      I stepped out.   I had not met him before.      I


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1      don't think I met him before.       He told me information.

2      Q.   But you don't know if he was watching the deposition in the

3      other room because you're taking a deposition by yourself?

4      A.   Right.

5      Q.   You don't know whether he is in the other room watching or

6      not, is that your testimony?

7                  Let me ask you this.    Do you know whether he attended

8      that deposition and watched that deposition?

9      A.   I wouldn't be surprised if he did.       I was in a room taking

10     the deposition by myself.      How could I know where he was at the

11     very time that I am in that room?       I don't have any reason -- I

12     guess I don't have any reason to think that he didn't, but I

13     can't tell you that I was in there with him during the

14     deposition because I was taking the deposition in a room by

15     myself.

16     Q.   Does this person appear on the appearance sheet?

17     A.   I don't know.

18                 MR. SHEN:   Let's put up the appearance sheet, please.

19     Exhibit 32.

20     Q.   We are on page 2.     That lists the attorneys from the

21     Kreindler firm.     Do you see that?

22     A.   Yes.

23                 MR. SHEN:   Keep scrolling.   Keep going.    Keep going,

24     please.

25     Q.   There is also present.     Is this individual listed here?


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1      A.   I do not see his name there.

2      Q.   Was it the practice of the Kreindler firm to have people

3      who did not actually make an appearance at these confidential

4      depositions to listen in on the depositions?

5      A.   Was it the practice to have them listen in on depositions?

6      Q.   Yes, ma'am.

7      A.   So, I mean, I don't think it was a practice to do that.          I

8      don't see his name there.

9      Q.   Did this person sign the FBI protective order?

10     A.   We have a chart of everybody who signed the protective

11     order, and we confirm before we give documents to them that

12     they have signed it.     If he sat in the deposition, he would

13     have had to sign it as well.

14     Q.   Not he would have had to.      Did he sign it, do you know?

15     A.   Andy, how can I know that?

16     Q.   You didn't check?

17     A.   Until today, you're telling me that he was sitting in the

18     deposition.

19     Q.   First of all, I didn't know he was sitting in the

20     deposition.    You testified --

21                MS. KIRSCH:   May I object for a moment?      There is a

22     confusion here.     Ms. Benett testified she was in a room by

23     herself.    Mr. Shen keeps asking questions about whether this

24     individual was in the deposition.       We haven't established that

25     he was or he wasn't.     Ms. Benett doesn't know.      I don't


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1      understand why we are continuing this.        She doesn't know if he

2      was there.

3                 MR. SHEN:    She testified it would not be surprising if

4      this individual was watching the deposition at the offices.

5      A.   My point is, if he was, he would have signed the protective

6      order.   You're saying, how could I not know if he signed the

7      protective order?      Andy, I don't know if he was in the room.

8      If he was in the room, he signed the protective order.

9                 THE COURT:    All right.   I think Ms. Benett has

10     indicated, I believe she has testified that he spoke with her

11     or communicated with her somehow during the deposition in order

12     to provide this information.      But she doesn't know whether he

13     was actually listening to the deposition, and it would be the

14     practice of the firm that he would have signed the MDL order,

15     but he did not make an appearance at the deposition.          I think

16     those are the facts we have established.

17     BY MR. SHEN:

18     Q.   Let me just make sure I understand.

19     A.   Can I just to Judge Netburn's --

20                THE COURT:    No.

21     Q.   Sitting here today, you don't know whether he signed the

22     FBI protective order, correct?

23     A.   I have recently looked at them.      It is true I cannot

24     remember.    I have looked recently at the entire file of

25     everybody who has signed the FBI protective orders.          I believe


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1      he has, but I can't say with absolute certainty, without

2      looking at that file, sitting here on the stand right now.

3      Q.   And you don't know sitting here today whether he agreed to

4      abide by the MDL protective orders, correct?

5      A.   If he had access to any MDL protected information, he

6      absolutely would have had to review and agree to the MDL

7      protective order.

8      Q.   That's not my question.     The question is, do you know

9      sitting here today?

10     A.   So, just to be clear, your question is, irrespective of

11     whether he looked at protected material, did he review the

12     protective order?

13     Q.   Do you know whether he looked at and agreed to abide by the

14     MDL protective order?

15     A.   If he was given MDL protected materials, yes.

16     Q.   But you don't know that, correct?

17     A.   I mean --

18     Q.   I am asking if you know if he looked at and agreed to abide

19     by it.   Do you know if he did that?

20     A.   If he was given MDL protected materials, he looked at it

21     and agreed to abide by it because that was our practice.

22     Q.   But you don't know one way or another whether he did?

23     A.   I know with 100 percent certainty that if he looked at MDL

24     protected materials, he reviewed and agreed to abide by the MDL

25     protected material because that is what our practice was.


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1      Q.   Ms. Benett, did you discuss the content of the deposition,

2      the Al Jarrah deposition, with this individual during the

3      course of the deposition?

4      A.   I did not.

5      Q.   You didn't discuss any portion where you were asking

6      Mr. Jarrah about the content of images found on his computer?

7                 MS. KIRSCH:    Objection.   I don't think there has been

8      any testimony that Ms. Benett asked about the content.          Ms.

9      Benett said she was told about the content.

10                THE COURT:    Well, we know that she asked Al Jarrah

11     about the content.

12                MS. KIRSCH:    I am talking about the agent at the time.

13     The question said, did you -- you can read it back.          I believe

14     the question was, Ms. Benett, when you were asking the agent

15     for information, did you reveal the content of the Jarrah

16     deposition?    It was a misstatement of the testimony that we had

17     so far, and I object to it.

18                MR. SHEN:    Ms. Benett testified shortly before the

19     deposition, or at the deposition, she discussed the specific

20     issue with the FBI agent, and the FBI agent described to her

21     the specific images on the computer.        That's her testimony.

22                MS. KIRSCH:    And my objection is Ms. Benett should be

23     giving the testimony, not Mr. Shen.       It would be a lot easier,

24     particularly since I don't have realtime here.

25                THE COURT:    Well, I believe that Ms. Benett has


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1      testified that either just before the deposition or during the

2      deposition this individual provided her with this information.

3      And Mr. Shen's question was, did you discuss with this

4      individual the content of the Al Jarrah deposition?

5                 MS. KIRSCH:   Which was answered.

6      A.   I was approached and was told about the descriptions of the

7      images in the middle of the deposition.        It was not a response

8      to a question from me.

9      Q.   That wasn't my question.     Did you discuss the content of

10     the Al Jarrah deposition with this individual during the course

11     of the deposition?

12     A.   I did not.

13     Q.   Did you discuss the content of the deposition with him

14     after the deposition?

15     A.   We certainly discussed the child pornography.        We

16     discussed -- I had questions about how they got the computer,

17     the basis of the search, sending the images to the National

18     Center for Missing and Exploited Children.        So we had certainly

19     spoken about the sexual images of minors on Jarrah's computer

20     after the deposition.

21     Q.   That wasn't the question, Ms. Benett.       Did you discuss what

22     Mr. Jarrah testified to with this individual after the

23     deposition?

24     A.   It's a little hard to parse out because all of my

25     conversations with him have been about the child pornography.


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1      Q.   So you may or you may not, you just don't know sitting here

2      today, is that your answer?

3      A.   We certainly have had follow-up conversations about the

4      child pornography on Jarrah's computer, and what the steps

5      were, ordinary practice were, etc., that may well have

6      implicated some of the testimony.       I don't want to say no, but

7      I know that my conversations have been primarily focused on

8      what he knew and what he was volunteering.

9      Q.   At the time, was he an employee or retained by the

10     Kreindler firm?

11     A.   I don't know if he -- I don't know if he was right then.

12     I'm not sure.

13     Q.   Now I am going to switch to a different topic, Ms. Benett.

14                 You're aware that after the leak to Mr. Isikoff, the

15     Kingdom of Saudi Arabia filed a request with the court to see

16     certain discovery pertaining to that leak, correct?

17     A.   Yes, I am aware of that.

18     Q.   And you're aware that the PECs responded to that letter,

19     correct?

20     A.   Yes.

21     Q.   And you have been in the courtroom while we discussed the

22     response with other witnesses.

23                 My question for you is, did you do any investigation

24     of the leak prior to the initial response on July 29?

25     A.   Me, personally?


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1      Q.   You, personally.

2      A.   I was out of town.     I was on the West Coast at that time.

3      I was on the phone calls, internal phone calls, and PEC's phone

4      calls, but my role in the investigation wasn't really

5      until -- I helped with the declarations initially, obviously,

6      but then not until September.

7      Q.   So, in submitting the July 29 letter to the court, the

8      Kreindler firm relied upon the investigation that was done by

9      Mr. Hartney and by Mr. Maloney, is that correct?

10     A.   I think that's fair to say.

11     Q.   Now, as of that July 29 letter, had anyone asked Mr.

12     Fawcett to submit a declaration to the court?

13     A.   No.   We, in fact, as you know, the Kreindler team itself

14     didn't submit declarations at that time.        We thought that it

15     was frankly not -- we were waiting for the court to provide

16     guidance.    We did not think it was appropriate for opposing

17     counsel, for the Kingdom to be directing the process.          We were

18     concerned that it would inevitably turn into an opportunity to

19     dig through our files and to get into our work product.          We did

20     not prepare declarations for anyone, and we wanted to wait for

21     the court to issue an order to guide the process.

22     Q.   When is the first time that the Kreindler firm prepared a

23     declaration for Mr. Fawcett?

24     A.   So probably it would be when I became involved or more

25     involved.    There was the August 30 order that wanted the


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1      supplemental declarations.      So certainly at that point I would

2      have been putting them in place.

3      Q.   Let me pause there.     So prior to August 30, no one had gone

4      to Mr. Fawcett and asked him to submit a declaration and

5      presented him with a draft declaration, to your knowledge?

6      A.   I hadn't.

7      Q.   After August 30, when is the first time that someone went

8      to Mr. Fawcett and presented him with a draft declaration?

9      A.   So from August 30 up until September, the court had issued

10     an order.    So there is the Yahoo! News motion to intervene that

11     stayed the August 30 date.      I had started declarations as of

12     the August 30 order and then things were on hold.         And then I

13     went back to it, with the court's Thursday, September 23 order.

14                So I don't know exactly when within that time frame I

15     would have started, but I certainly -- I think right around

16     August 30 I had conversations with everybody about the fact

17     that we would be preparing declarations.

18     Q.   Did you have conversations with Mr. Fawcett on August 30?

19     A.   I believe so.    My recollection is that what I did was to

20     talk to everybody who would be filing declarations

21     individually.

22     Q.   Did you ask him at the time whether he had sent the

23     transcript to Mr. Isikoff?

24     A.   I went through what the questions were that we would have

25     to be responding to, and that I was asking if -- I said,


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1      essentially, based on our prior investigation, here is the

2      question that I am going to put in there and here is the

3      answer, is that correct?

4      Q.   And he said it was correct that he had not leaked the

5      transcript to Mr. Isikoff?

6      A.   So, I don't know that he said that expressly.        I know that

7      by the time I presented him with the declaration that was what

8      it said and he had it.

9      Q.   You don't recall him around that time actually telling you

10     he had not sent the transcript to Mr. Isikoff?

11     A.   I don't recall that.

12     Q.   So, do you actually recall when the first time you

13     presented a declaration to Mr. Fawcett?

14     A.   I don't recall if this was the first time.        I recall the

15     sequence of September 24th to the 27th -- sorry, 23rd.          I think

16     the order on Yahoo! News was Thursday, September 23rd, that

17     then said the August 30 declarations had to be submitted by

18     Monday, September 27.      So either that night or maybe the next

19     morning I sent an e-mail to everybody, we are going to have to

20     provide the declarations, here is what we worked on, here is

21     everybody's draft.     You have the e-mail.     You know what it

22     says.   It has to be 100 percent accurate under penalties of

23     perjury.    Give me any edits, I will call you to discuss.        Some

24     of them had to be wet signatures because they were nonlawyers.

25                I was home because I had a teenager who tested


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1      positive for COVID and I had an unvaccinated younger kid who

2      had to quarantine for 14 days, so I couldn't go to the office.

3      Anyway, the Thursday or Friday communication was, we have to

4      make sure we can get this all done over the weekend and submit

5      it on Monday.

6      Q.   Just so I understand the sequence of events, the court

7      issues an order denying Yahoo! News' motion to limit the scope

8      of the declarations.     After that order comes out, you prepare

9      the declarations, and it's between that date and the 27th when

10     you first approach Mr. Fawcett and show him the draft

11     declaration?

12     A.   I don't think that's entirely correct because I had started

13     declarations prior to the September 23rd order.

14     Q.   All I am trying to figure out is when you first showed Mr.

15     Fawcett the declaration.

16     A.   No.   I just said that I had started the declarations.          I

17     don't know that that is the same time that I showed Fawcett his

18     declaration.

19     Q.   Fair enough.    The first time you showed Mr. Fawcett a

20     declaration was after the court denied Yahoo! News' motion?

21     A.   I can't recall.    I know by that time everybody had what I

22     thought would be a final declaration in hand.         So from August

23     30 on, I knew we would be preparing these declarations.          I

24     talked to everybody.     I worked on the declarations.       I don't

25     know if I had all of them drafted before the 23rd, but I


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1      certainly didn't start on the 23rd.       I don't recall if I gave

2      John Fawcett a draft of his before the 23rd or not.          Certainly,

3      by September 24th, I would have sent it to him.

4      Q.   But prior to September 23rd, you don't recall sitting here

5      today actually presenting a draft to Mr. Fawcett and Mr.

6      Fawcett saying that he would sign a declaration saying that he

7      had not sent the transcript to Mr. Isikoff?

8      A.   That's correct.    I do not recall that conversation.

9      Obviously, everybody knew before that, because of the August 30

10     order, we would be doing declarations.        I spoke to everybody

11     about their declarations.      I had no reason to believe prior to

12     that that John Fawcett was not going to sign his declaration.

13     He gave me no indication that he had any concern about the

14     declaration I was preparing for him.

15     Q.   After you showed him the declaration that you prepared,

16     which actually said that he did not send the transcript to

17     Mr. Isikoff, did he tell you that he would sign that

18     declaration?

19     A.   So, on September 27th, I had called John a couple of times

20     over the weekend because I had most of the signed declarations

21     back already.    I did not yet have his.      Like I said, I had a

22     seven-year-old in remote school, a quarantined teenager.          I did

23     not want to wait for Monday morning.        So my recollection is

24     that I contacted John over the weekend to try to get the signed

25     declaration.    I know I did not hear from him about that.


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1      Q.   He just never responded to your calls?

2      A.   I don't remember if it was a text or a call or if it was

3      more than one call.     I feel like I called him twice and got his

4      voice mail.    He has a voice mail and when it picks up, it

5      sounds like he is there on the phone.        It says, Hey, it's John,

6      and then you start talking and it's a voice mail.         I know that

7      I got that voice mail at least once, maybe twice.         I left

8      messages.    I know the message was, let me know if you have any

9      concerns or changes.     I just need to get this done before

10     Monday.

11                On Monday morning --

12     Q.   This is the 27th?

13     A.   The 27th.   I had prepared a cover letter to cover all the

14     declarations.    I had wanted to at the time address some of what

15     I had felt were unfair suggestions that the Kreindler firm was

16     behind the leak.     I had for two and a half months been

17     confident that we had nothing to do with it.         I was putting all

18     the documents together.      I was working with my secretary who I

19     think was remote that day as well.       And I got a call around 10

20     or 10:30 in the morning from John Fawcett who said to me, I

21     can't sign my declaration.

22     Q.   Now, before he called you at 10:30 in the morning saying he

23     can't sign the declaration, had he ever told you before that

24     that he would sign the declaration?

25     A.   I don't know if he used those words.       I certainly had no


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1      reason to -- he never gave me any indication that he wouldn't.

2      From August 30 on, we knew that we had to submit a declaration,

3      including one from him.      He knew that I was preparing them.       I

4      had spoken to him about preparing them.        He never did anything

5      to suggest to me that he would do anything other than sign and

6      return it.    I think I even made sure he had a printer at home

7      because he would have to do a wet signature.         I even made sure

8      he had a printer at home so that he could print it and scan it

9      and send it back to me.

10     Q.   OK.   So you just don't remember whether he told you

11     beforehand that he explicitly told you that he would not sign

12     the declaration?

13     A.   I can tell you --

14     Q.   You have an impression, but you don't remember

15     specifically?

16     A.   He never told me he would not sign the declaration until

17     10:15 on Monday, September 27th.       Up until then, he may not

18     have said, yes, I will sign it.       I feel like we probably had a

19     conversation where he said no problem.        I don't know what he

20     was thinking that weekend.      I don't know what he was thinking

21     for the last two months.      I don't know what was going through

22     his mind.    But every indication, leading up to 10:15 on Monday

23     September 27th, was that I was getting a signed declaration

24     from John Fawcett that said, not only I didn't leak it, but I

25     have no idea who leaked it.      Because we didn't know until that


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1      Monday that it had come from John Fawcett.

2      Q.   Did he tell you how he sent it to John Isikoff?

3      A.   He did eventually, yes.

4      Q.   Did he tell you on the 27th?

5      A.   He did not.

6      Q.   Did you ask him?

7      A.   The 27th --

8      Q.   If you can answer my question.      Did you ask him?

9      A.   Let me think about it for a moment.       Because the 27th was a

10     very wild day, trying to go back and make sure that we hadn't

11     missed something, completely reversing our position with the

12     court, to which we now knew we had to that day, and as quickly

13     as possible, bring to her attention that the breach had come

14     from John Fawcett.     I was busy changing everybody's declaration

15     because I could no longer have anybody say that we didn't know

16     who sent the declaration.      I was worried we might have missed

17     something so I was talking to other folks about the search that

18     we had done.    I was --

19     Q.   Can you just focus on my question, please?        Did you ask him

20     how he sent it?

21     A.   I don't think I asked him that day, but given everything

22     else that was going on, I don't recall.        I feel like if I had

23     asked him that day, it would have been in what I submitted that

24     day.

25     Q.   So sitting here today, you don't recall doing that?


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1      A.   I don't recall if it was that day.       I know that on

2      September 30, I had a long conversation with him about how he

3      did it.

4      Q.   Did you ask him whether he had disclosed to Mr. Isikoff

5      other information, including what happened at the Bayoumi and

6      Thumairy deposition?

7      A.   He told me on the 27th that he had never done anything like

8      that before.

9      Q.   Did you ask him about the specific reference in

10     Mr. Isikoff's article about the Bayoumi and Thumairy deposition

11     and what occurred?

12     A.   I did not.

13     Q.   Did you ask at that point whether he had conferred with

14     counsel?

15     A.   I don't think I did.

16     Q.   Did you learn that he had conferred with Liz Crotty at some

17     point about this issue?

18     A.   The first time I learned that he had spoken to Liz Crotty

19     over the course of that summer was when I looked at the call

20     logs.

21     Q.   When did you look at the call logs?

22     A.   Whenever they were produced in the context of this.

23     Q.   So sometime this week was the first time?

24     A.   Well, I mean, I guess it would have been last week.

25     Q.   This week?


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1      A.   Today is Tuesday.

2      Q.   You're right.    I think it was last week.

3                 So on the 27th you did not know that Mr. Fawcett had

4      not disclosed to you that he had been conferring with legal

5      counsel?

6      A.   I did not.    I'm assuming from the privilege log and your

7      description.    I shouldn't say confer with counsel.       I didn't

8      know that he had a call with Liz Crotty.

9      Q.   When is the last time you spoke with Liz Crotty?

10     A.   There is a weekend in October, I was out in Oregon where my

11     family is, and I got a call from Liz, who I am friendly with,

12     and I had not spoken with her since the primary election.          She

13     called me.    I wished her my condolences on the loss.        We

14     happened to know several other people who were candidates for

15     the DA's election so we had a conversation about that.          Then

16     she asked me -- she told me that John had reached out to her,

17     and she asked me if I thought she had a conflict of interest in

18     representing him.     I said, I really can't talk to you about

19     that.   I suggested she call Emily, and I don't know if she did.

20     Q.   You said that was in October that you ran into her?

21     A.   I didn't run into her.     It was a phone call, and it would

22     have been whatever that fall holiday weekend.

23     Q.   Say that again.

24     A.   It would have been that fall holiday weekend.

25     Q.   In early October?


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1      A.   Whatever the three-day weekend is in October.

2      Q.   She told you at that point in time that Mr. Fawcett had

3      reached out to her about legal advice?

4      A.   So, as soon as she said John's name, I told her I couldn't

5      talk with her about it.      She said all she wanted to know if I

6      thought she had a conflict of interest.        I said, I can't talk

7      to you about that.     I don't know if she called Emily.       I don't

8      know if she spoke with anybody else.

9      Q.   Let's look at 56J.     This is Mr. Fawcett's declaration.

10                Now, Ms. Benett, you and Mr. Pounian actually drafted

11     this declaration, correct?

12     A.   I formated this.    September 27, John had the declaration

13     that I had drafted.

14     Q.   Can you say that again?

15     A.   September 27, that morning, John had the declaration I had

16     drafted.    After he called me, obviously, we could not submit

17     what I had drafted for him.      He sent me a document that he

18     wrote, as far as I know.      I certainly wasn't involved in

19     writing it.

20     Q.   I don't need the chronology now.       I am just asking you, did

21     you draft his declaration in front of you?

22     A.   I formated it.    I did not write the words.

23     Q.   Did Mr. Pounian write the words?

24     A.   I don't know.

25     Q.   Let's take a look at Exhibit 108, please.


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1                 Exhibit 108 is an e-mail.      I will represent to you

2      that the metadata says that it's from Mr. Kreindler to yourself

3      and Ms. Benett on September 27, 2021, at 12:20.

4                 MS. KIRSCH:    I am sorry.   You may have misspoke.

5      Mr. Shen may have misspoke.      What does the metadata say?

6                 MR. SHEN:    It's from Mr. Fawcett.    I'm sorry if I

7      misspoke.    It's from Mr. Fawcett.

8                 MS. KIRSCH:    I will just state for the record I don't

9      know what the metadata says.      We have produced another version

10     of this document that has the "from" line.        I don't know why

11     that came up the way it did.

12                THE COURT:    OK.

13                MR. SHEN:    We are going to move this into evidence.

14                THE COURT:    Any objection?

15                MS. KIRSCH:    I don't have an objection.     There is

16     another copy of this that is a complete document.

17                THE COURT:    Accepted.

18                (KSA Exhibit 108 received in evidence)

19     Q.   This is an e-mail to you and Mr. Pounian.        108A is the

20     attachment that is referenced at that declaration.

21                Is this the declaration that Mr. Fawcett had drafted

22     and sent to you and Mr. Pounian?

23     A.   I don't see 108A.

24                THE COURT:    Can you put up A.

25                There we go.


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1      Q.   Do you recognize this as the declaration that Mr. Fawcett

2      drafted himself and sent to you?

3      A.   Yes, that looks like it.

4      Q.   If we focus on the first paragraph there, he says that he

5      had sent a redacted portion of the transcript to Mr. Isikoff.

6      Do you see that?

7      A.   Yes.

8      Q.   And he says that the redacted portions relate to the

9      sections of the deposition which were taken subject to the FBI

10     protective order.     Do you see that?

11     A.   Yes.

12     Q.   So he says that he sent essentially the entire transcript,

13     except for portions which were redacted for the FBI protective

14     order, correct?

15     A.   I don't know.

16     Q.   I am just asking what the language says.

17     A.   The language says the redacted portions related to the

18     sections of the deposition which were taken subject to the FBI

19     protective order, and irrelevant to the issue at hand, evidence

20     of Jarrah's use of child pornography.

21     Q.   Ms. Benett, there is nothing in this -- if we can look at

22     the entire screen -- there is nothing in this draft declaration

23     that he sent you stating his personal motivations, his family

24     motivations, for the leak, correct?

25     A.   No, I don't see any of that there.


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1      Q.   Let's look at Exhibit 109.       This is an e-mail from Mr.

2      Pounian to yourself, September 27, 1:41 p.m.

3                  109A is the attachment, which we will show on the

4      screen in a minute.

5                  MR. SHEN:    We are going to move this into evidence as

6      well.

7                  THE COURT:    Any objection?

8                  MS. KIRSCH:    No objection.

9                  THE COURT:    Admitted.

10                 (KSA Exhibit 109 received in evidence)

11     Q.   If we focus on 109A, did Mr. Pounian completely rewrite the

12     declaration?

13     A.   I don't know.

14     Q.   Do you know if he starts from scratch and wrote on a new

15     Word document what is appearing on 109?

16     A.   I don't even know if Steve wrote this.       All I know is that

17     he sent it to me.

18     Q.   You didn't ask him?

19     A.   I talked to John after I got the final draft.

20     Q.   My question is, did you ask Steve Pounian if he wrote this?

21     A.   No.

22     Q.   Now, you received the declaration that Mr. Fawcett had sent

23     you earlier in the day, correct?

24     A.   Yes.

25     Q.   And you read it, correct?


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1      A.   Yes.

2      Q.   Then you read this declaration that Mr. Pounian had sent

3      you, correct?

4      A.   Yes.

5      Q.   Did it appear to you at that point that Mr. Pounian had

6      drafted the entire declaration from scratch?

7      A.   I don't know.    I don't know if Steve drafted it.       I don't

8      know if John worked on it.      I don't know if John talked to

9      other people and then redrafted it.       I just don't know how this

10     all unfolded.     I don't think it looks like Steve completely

11     redrafted it.

12     Q.   Let's look at the draft that Mr. Pounian sent to you and to

13     nobody else.

14                 He writes here in the first paragraph that the

15     redacted portions of the deposition I sent to Michael Isikoff

16     were limited to Jarrah's possession of child pornography.

17                 Do you see that?

18     A.   Yes.

19     Q.   That's not what Mr. Fawcett said in his declaration that he

20     drafted, right?

21     A.   I guess then that, since we obviously didn't know what had

22     gone to Isikoff, maybe that was something -- I think that we

23     had believed that it was from the article.

24                 Anyway, what was the question?

25     Q.   The question is, Mr. Pounian had changed the language in


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1      the declaration and he now says that the transcript that was

2      sent was limited to those images, correct?

3      A.   I just don't know that Steve did this.       You can ask him.

4      Q.   You didn't ask him why that language is so dramatically

5      different than the version Mr. Fawcett sent over?

6      A.   I did not.

7      Q.   And Mr. Pounian's version that he sent you at the bottom

8      talks about a personal interest because Mr. Musaed Al Jarrah,

9      it says that he was a diplomat in Morocco.

10                 Do you see that?

11     A.   Yes.

12     Q.   And that personal interest doesn't appear in Mr. Fawcett's

13     declaration that he drafted, correct?

14     A.   It doesn't.    I mean, I knew that John was --

15     Q.   If you could just answer the question, Ms. Benett.

16                 Did you know that Mr. Pounian had inserted and drafted

17     that language?

18     A.   I don't know that Steve did that.

19     Q.   We can look at Exhibit 110, please.

20                 This is an e-mail chain between yourself and Mr.

21     Pounian, 1:47 p.m.       You are responding to the prior draft that

22     Mr. Pounian has sent you.       110A is the actual exhibit.

23                 MR. SHEN:    I am going to move this into evidence.

24                 THE COURT:    Any objection?

25                 MS. KIRSCH:    No objection.


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1                  THE COURT:   It's accepted.

2                  (KSA Exhibit 110 received in evidence)

3      Q.   You actually write back to Mr. Pounian and say "it's good,"

4      right?

5      A.   It was totally consistent with what I knew John's concerns

6      had been about Jarrah.

7      Q.   I am just asking you what the document says.        You write

8      back to him and says "it's good," right?

9      A.   I thought it was a good reflection of what I knew John's

10     concerns had been, yes.

11     Q.   And then you say, "I have also made some edits to the

12     declaration.     See the attached."    Right?

13     A.   Yes.

14     Q.   If we look at the attachment, you have elaborated on Mr.

15     Fawcett's personal interest in why he leaked the transcript.

16     That's your language that you inserted there, right?

17     A.   Well, I have to see it first.

18                 Oh, you know what --

19     Q.   Is that your language that you inserted?

20     A.   Andy, I typed the words.      It's not really my language

21     because I knew from my conversations with John that his concern

22     with Jarrah being in Morocco was based in part on his

23     background in global humanitarian work.

24     Q.   I am not asking if it's true or not.       I am just asking if

25     you drafted the language.


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1      A.   You asked me if it was my words.       I did type them, but I do

2      believe that I took that based on what I had learned from John.

3      Q.   Now, we know Mr. Fawcett's declaration that he sent over

4      had nothing about his personal interests.        And then you and Mr.

5      Pounian are exchanging drafts where you try to justify his

6      leak, correct?

7      A.   So, over the course of September 27, there were many

8      conversations with John.      The first was the one that I

9      described where I learned --

10     Q.   If you could just answer my question, Ms. Benett.         Were you

11     trying to justify Mr. Fawcett's leak to Isikoff by drafting the

12     language in his declaration stating that he had a personal

13     interest?

14     A.   First of all, there is no justification for the leak.

15     There was no effort to justify this.        It was an explanation.     I

16     couldn't understand why he would have done it.         And this to me,

17     when I had further conversations with John that day, it in no

18     way excuses what he did, but it provided context to me to

19     understand what he believed he had to do.

20     Q.   That may be the case, but you are actually inserting that

21     purported context in a declaration that is going to be

22     submitted to the court, right?

23     A.   I was working with John and trying to get it finalized for

24     the court on Monday, September 27.

25     Q.   Let's look at Exhibit 112, please.


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1                 Exhibit 112 is an e-mail from you to Justin Green at

2      the Kreindler firm.     It's dated September 27 at 2:15.       It

3      attaches a draft of the Jarrah declaration.

4                 Who is Mr. Green?

5      A.   Justin is sitting there to your left.

6      Q.   Who is he?

7      A.   He is a partner at my law firm.

8      Q.   Is he a managing partner?

9      A.   Well, he would like to think so.

10     Q.   Was he consulted on this leak issue?

11     A.   As soon as I found out -- sorry, Noah.       As soon as I found

12     out about the leak, I called Justin and I alerted the partners.

13     Q.   Did you tell Mr. Green that you and Mr. Pounian were

14     drafting the language of Mr. Fawcett's declaration that would

15     be submitted to the court?

16     A.   I disagree with that because I wouldn't say that we were

17     drafting the language.

18     Q.   Hold on.   You told us that you didn't know if Mr. Pounian

19     drafted the language, right?      That's what your testimony was?

20     A.   Could you read back the other question?        The question you

21     asked, Andy, that I am trying to answer is, did I tell Justin

22     that Steve and I were drafting this language.

23     Q.   That's a yes or no question.      Did you tell him that?

24     A.   No.

25     Q.   Did you tell Mr. Green that you had drafted the portion of


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1      the language attempting to justify the breach of the protective

2      order?

3                 MS. KIRSCH:    Objection.   We already had testimony that

4      she says there is no justification.       Mr. Shen is trying to put

5      words back in her mouth again.       It's inappropriate.

6                 THE COURT:    Mr. Shen, can you rephrase the question,

7      please?

8      Q.   Did you tell Mr. Green that you had drafted the portion of

9      the declaration that attempts to explain why Mr. Fawcett had a

10     personal interest in the leak?

11     A.   I told Justin what I learned that day about John's

12     motivations.    I told Justin --

13     Q.   That's not the question.     Did you tell him you drafted that

14     portion of the declaration?

15     A.   I don't really agree with the characterization.         But since

16     the answer is I don't know, or I don't recall, I will just go

17     with I don't recall.

18     Q.   Did Mr. Green provide you edits to the declaration?

19     A.   No.

20     Q.   Did he provide any commentary?

21     A.   I mean, honestly, I am -- obviously, I did send it to

22     Justin.    I think I sent it to him so the partnership knew what

23     was going to be submitted.

24     Q.   You don't recall if Mr. Green gave you any comments?

25     A.   I can't imagine we would get into that.


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        LB2H9112                   Benett - Cross

1      Q.   Did he sign off on the fact that it was OK to submit this

2      declaration to the court?

3      A.   I don't think I asked for permission.

4      Q.   Exhibit 118, please.

5                  Exhibit 118 is an e-mail between you, Mr. Fawcett, and

6      Mr. Pounian.     Mr. Pounian is sending back a draft of the

7      declaration at 6:53 p.m.       The attachment is at 118A.

8                  Do you see that?

9      A.   I don't see the attachment.

10     Q.   Now, do you recall that after you and Mr. Pounian had gone

11     through and drafted portions or revised portions of the

12     declaration, you then sent that draft back to Mr. Fawcett?

13     A.   Yes.    Obviously, what John sent me initially I had to

14     format in any event.       Certainly, we would have sent it to him.

15     We had to get back his signature.

16                 MR. SHEN:    I am going to move this document in

17     evidence.

18                 MS. KIRSCH:    No objection.

19                 THE COURT:    Accepted.

20                 (KSA Exhibit 118 received in evidence)

21                 MR. SHEN:    Can we look at Exhibit 121.

22                 I'm sorry.    Exhibit 120, please.

23     Q.   Exhibit 120, at 7:34 p.m. Mr. Fawcett sends an e-mail back

24     to you -- back to Mr. Pounian and attaches a declaration with a

25     few redlines.     I notice that you're not on the top e-mail here.


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1                  Did you receive a copy of the edits that Mr. Fawcett

2      had made to the declaration?

3                  If we can look at 121, that's the attachment.

4      A.   I don't recall, but this looks like the final version so I

5      must have.

6                  MR. SHEN:    I am going to move these two exhibits into

7      evidence.

8                  THE COURT:    Any objection?

9                  MS. KIRSCH:    122 and 122A?

10                 MR. SHEN:    It's 120 and 121.

11                 MS. KIRSCH:    No objection.

12                 THE COURT:    It's admitted.

13                 (KSA Exhibits 120 and 121 received in evidence)

14     Q.   Focusing on the actual redlines that Mr. Fawcett sent back,

15     he takes out language that says, "Until today, I told Kreindler

16     & Kreindler that I did not know how Mr. Isikoff had obtained

17     the transcript."

18                 Do you see that?

19     A.   Yes.

20     Q.   Did you ever ask him why he took out that language?

21     A.   I don't know if I talked to him again.       I told him we

22     needed the computer, but I am not sure that I even spoke with

23     him again.     What time was that e-mail?

24     Q.   This was at 7:34 p.m.

25     A.   I probably didn't even speak with him again.


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1      Q.   Is it curious to you that Mr. Fawcett didn't want to tell

2      the court that, I had told Kreindler & Kreindler that I did not

3      know how Michael Isikoff had obtained the transcript?

4      A.   I don't know if he took that out.       I know that I asked

5      Steve and Duke to confirm that he had been -- that Fawcett had

6      been asked directly and that that was an accurate statement.

7      And we believed that was an accurate statement.         I guess

8      Fawcett took it out.     I don't know why.

9      Q.   You're not aware of anybody asking Mr. Fawcett why he took

10     out that language?

11     A.   I don't think I did.     I don't know if anybody else did.

12     Q.   You didn't talk to Mr. Pounian about this edit?

13     A.   I don't know if we talked about that edit.        We definitely

14     talked about Steve -- I know back in -- I had a conversation

15     with Steve who was working closely with John.         I had a

16     conversation with Steve in July, and I was on the West Coast,

17     about asking John directly.      He told me he asked John if he had

18     released the transcript.      John told him, no.     So when this came

19     out, I may have said to Steve, am I remembering this correctly?

20     Didn't John tell us directly that he didn't provide the

21     transcript and he didn't know how Mr. Isikoff had gotten the

22     transcript?    My recollection is that Steve had confirmed what I

23     understood Fawcett to have said before, so I don't know why he

24     would have taken that out.

25     Q.   You don't know if Mr. Pounian asked Mr. Fawcett?


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1      A.   I don't know.      I don't recall if we talked about whether

2      Steve was talking about that with John.        I imagine they had

3      talked about that, but I don't recall.

4      Q.   If we can just scroll down to paragraph 4.        You see that

5      there is language that says, "I had a personal interest."

6                  Do you see that?

7      A.   Yes.

8      Q.   That's the language that we looked at in the prior exhibits

9      that you and Mr. Pounian had drafted, correct?

10     A.   What we looked at in the prior Fawcett draft, yes.

11     Q.   That's the language that was ultimately submitted to the

12     court, correct?

13     A.   It looks like it.

14     Q.   Now, let's look at Exhibit 58, please.       This is your

15     September 30, 2021 letter to the court.

16                 You drafted this letter, correct?

17     A.   Yes.    This is the September 30 letter, yes.

18                 MR. SHEN:    We are going to move this document into

19     evidence as well.

20                 MS. KIRSCH:    No objection.

21                 THE COURT:    Admitted.

22                 (KSA Exhibit 58 received in evidence)

23     Q.   This letter actually attaches another declaration from Mr.

24     Fawcett, correct?

25     A.   I believe so.


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        LB2H9112                   Benett - Cross

1      Q.   Did you and Mr. Pounian draft the second declaration that

2      Mr. Fawcett had prepared?

3      A.   My recollection of the September 30th one is that I was on

4      the phone with John Fawcett who walked me through what he had

5      done.   I don't have the declaration in front of me, if you're

6      going to ask me questions about it.       My recollection is that I

7      was in the office that day.      I was on the phone, I believe I

8      was on the phone with John Fawcett.       He walked me through what

9      he had done.    I typed up that supplemental declaration and sent

10     it to him to look at.

11     Q.   You were the one who actually drafted the declaration, you

12     drafted the language in the declaration, correct?

13     A.   I disagree with that.     I literally on the phone had it on

14     speaker so I could type what he was telling me.         Yes, I typed

15     it, but I didn't know anything about how he had done this.           He

16     gave me the language.      He told me what he did.     I had questions

17     and I asked him things like -- I didn't even know about

18     ProtonMail before September 30.       It was a long call to try to

19     understand what he did.      And, yes, I typed it.

20     Q.   Did you or anyone else at the Kreindler firm purport to

21     give Mr. Fawcett any legal advice with respect to his September

22     27 declaration or his September 30 declaration?

23     A.   No.

24     Q.   Did you suggest to him at any point in time that he should

25     retain counsel in connection with those two declarations, not


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1      later, but just in connection with those two?

2      A.   I don't recall doing so.     My answer is no.

3      Q.   Did you explain to Mr. Fawcett at the time that his

4      interest and the firm's interest may not be aligned?

5      A.   There was a conversation where he was apologizing and

6      deeply upset.    I did not have that sort of formal conversation

7      with him.    It wasn't until the court's October 4 order that I

8      said to him, you should get your own lawyer.

9      Q.   You had no discussions with him at all about any potential

10     conflicts of the firm's interest versus his interest, correct?

11     A.   I guess the reason I bring up the conversation where he was

12     upset and apologizing, in response to your question, is that it

13     felt to me like a real understanding on everybody's part that

14     not only was this a really big deal, but that this now

15     potentially irrevocably would change the relationship we had

16     with an individual who had been working on the case with the

17     firm for the families for the last 20 years.         And that to me,

18     to me that conversation was about how our paths were branching

19     differently.

20     Q.   My question to you was just, did you explain that there was

21     a conflict of interest and that he may be hurting his own

22     interest in supporting the firm's interest in submitting these

23     declarations?

24     A.   We did not have a conversation about that.

25     Q.   Did you discuss with him the court's prior actions in


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1      connection with the firm's breaches of the protective orders?

2      A.   Are you referring to the October 17 -- I'm sorry, the 2017?

3      Q.   I am referring to any time that someone has brought to the

4      court's attention an alleged breach of the protective order by

5      the Kreindler firm, did you discuss with Mr. Fawcett what the

6      court did in connection with those?

7      A.   To be clear, I want to make sure I am not missing something

8      the court might have done.      My understanding is there was one

9      finding of a breach in this case.

10     Q.   I am just asking if you discussed that with Mr. Fawcett?

11     A.   What the court had done in 2017?

12     Q.   Let's start there.     Did you discuss that with Mr. Fawcett?

13     A.   I did not.

14     Q.   Did you discuss with Mr. Fawcett that the Department of

15     Justice had made the assertion that Mr. Kreindler had violated

16     the protective order in connection with his speech at Dartmouth

17     and what the court's reaction to that was?

18     A.   Did I discuss that with John Fawcett between September 27

19     and September 30?     No, I did not.

20     Q.   Mr. Fawcett agreed to submit a declaration on the 27th,

21     where he admitted to being the source of the leak and to

22     violating the protective order.       Why did he agree to submit a

23     second declaration?

24                MS. KIRSCH:   Objection.    That calls for speculation.

25     Q.   Let me ask a new question.      Did you urge Mr. Fawcett to


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1      submit a second declaration?

2      A.   I just want to go back to, you said that he had agreed to

3      submit a declaration.      On September 27, I did say to him that

4      he had to decide what to do.      It was clear that there were

5      serious -- there were going to be serious ramifications about

6      this after our first conversation.       I didn't know whether he

7      would give us a declaration or not.       I actually for some period

8      that morning was figuring out what and how to tell the court

9      what had happened without being able to give a declaration from

10     Fawcett.

11                So, in the course of that September 27, one of those

12     September 27 conversations, I think that probably there was a

13     part of the conversation with John that was, if you sign a

14     declaration, there is going to be fallout.        I didn't want -- I

15     couldn't tell him not to sign the declaration, but I also

16     needed to make sure that he understood the seriousness,

17     obviously the seriousness of what he had done already, but the

18     seriousness of what was going to happen next.

19     Q.   What did you tell him the fallout would be?

20     A.   I think I said, this is a really big deal, and if you sign

21     the declaration, you have to accept the court is going to do

22     something.

23     Q.   Do you know why he agreed to sign the second declaration?

24     A.   So, the first declaration he gave me sua sponte.         The

25     second declaration, in our September 27 letter, we told the


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1      court -- it was a crazy day.      We couldn't do everything we

2      wanted to do by the end of September 27.        In the letter we said

3      that we would provide the court with an update shortly about

4      the next steps.     I don't think there was an order -- maybe

5      there was -- from the court at that point to describe how he

6      had done it.    One of the things that we had to do was to

7      reconstruct what had happened in leaking that transcript and

8      why we hadn't captured it during our search.         Because we felt

9      confident up until September 27, given our firm's practices,

10     given what we were able to determine from our systems, given

11     the statements that everybody who had worked with us for

12     anywhere from five to 20 years and had never done anything like

13     this before, until 10 a.m. on September 27 we believed it was

14     not from us.    And it came from Fawcett, and we needed to figure

15     out how he could have done that without us ever having known.

16     Q.   Ms. Benett, did you make any promises to Mr. Fawcett if he

17     submitted the declaration?

18     A.   No.

19     Q.   Did you tell him that you would pay for his lawyer?

20     A.   No.

21     Q.   Is the firm in fact paying for his lawyer?

22     A.   I don't know.

23     Q.   Did you tell him that you would write to the court and

24     stick up for him for all the great work he did in the 9/11

25     case?


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1      A.   I didn't say that to him.      There is no question about his

2      responsibility and the seriousness of his breach here.          It was

3      hard to also at the same time not feel like he needed -- who he

4      was needed to be explained in some way, and the work he had

5      done in the case for 20 years, and the fact that he had never

6      done anything like this before.       I definitely didn't say we are

7      going to write and we are going to stick up for you to the

8      court.   There was a letter that we wrote, and I don't remember

9      if it was the September 27 letter or the later letter, but it

10     did feel incumbent to me to recognize, not to minimize his

11     violation of the protective order, but to recognize the

12     substantial work that he had done for our clients, for the 9/11

13     family members, from 2002 until 2021.        And that was important

14     for us to say because he --

15                (Continued on next page)

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1      Q.   And so, Ms. Benett, you stuck up for Mr. Fawcett in the

2      letter you submitted to the Court on September 30, right?

3      A.   We felt like we needed to say who he was.

4      Q.   Right.   And you're sticking up for him again here as you're

5      testifying, correct?

6      A.   He breached a protective order.      He's the subject of -- one

7      of the subjects of the Court's investigation.         I mean, not sure

8      what you mean by -- I will say, he's been a tireless advocate

9      for the family members.      He was on phone calls every single

10     week with them.     He did so much work in building this case and

11     developing the evidence against the Kingdom of Saudi Arabia, it

12     would not be fair for his entire life to be reduced to this

13     mistake no matter how egregious it is.

14     Q.   And you were here yesterday when Mr. Kreindler gave his

15     emotional testimony about Mr. Fawcett and he stuck up for him

16     then as well, correct?

17     A.   I was -- I was here, and I did listen to Mr. Kreindler.

18                MR. SHEN:    I have no further questions.     Thank you.

19     REDIRECT EXAMINATION

20     BY MS. KIRSCH:

21     Q.   Good afternoon, Ms. Benett.

22                Sorry.   I just need one minute, your Honor.

23                THE COURT:   That's fine.

24     Q.   Can you take the Kreindler book and put that in front of

25     you, Ms. Benett.     We'll do some of this in reverse


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1      chronological order, but we'll just stick with what we were

2      just talking about.

3                 Can you turn to tab 52.      Can you tell me, can you

4      identify this document?

5      A.   Yeah.   It's an email chain that starts from me.        It goes to

6      several people at the Kreindler firm.        And then above that is

7      an email from Steve Pounian to me.

8                 MS. KIRSCH:    I'd like to move this into evidence.

9                 THE COURT:    Any objection?

10                MR. SHEN:    No objection.

11                THE COURT:    Admitted.

12                MS. KIRSCH:    OK.   That's tab 51.

13                THE COURT:    I think that was tab 52.

14                THE WITNESS:    Yeah, I'm sorry.    I was on 52.

15                THE COURT:    I think you had asked us to turn to 52.

16                (Kreindler Exhibit 52 received in evidence)

17                MS. KIRSCH:    Oh, sorry.

18     BY MS. KIRSCH:

19     Q.   OK.   Can you explain to me --

20                THE COURT:    Ms. Kirsch, sorry, just so we are clear,

21     were you asking all of us to look at 52 or 51?

22                MS. KIRSCH:    51.

23                THE COURT:    I think we all were looking at 52.

24                MS. KIRSCH:    I'm sorry, 51.

25                THE COURT:    That's OK.    Are you at 51 now?


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1                  Mr. Shen, any objection to admitting 51?

2                  MR. SHEN:    No objection.

3                  THE COURT:   OK.   It's admitted as well.

4                  (Kreindler Exhibit 51 received in evidence)

5      BY MS. KIRSCH:

6      Q.   Ms. Benett, can you tell me what's going on in this email

7      which is midday on Friday, September 24?

8      A.   Yeah.    So this was after the September 23 order directing

9      that our declarations be filed by Monday, and I was circulating

10     to everybody who had been told they would need to do -- sign a

11     declaration.     The language of the Court's order shows what the

12     declarations would contain and making sure everybody would be

13     available to review, finalize review, sign, and get back to me.

14     Q.   At this point was it primarily your responsibility to

15     prepare these declarations to be filed in response to the

16     Court's order?

17     A.   Yes.

18     Q.   Did you take any steps at this time to satisfy yourself

19     that the declarations that would be submitted by all of these

20     individuals were complete and accurate?

21     A.   Yes.

22     Q.   Can you describe what you did.

23     A.   Sure.    So I had spoken to everybody individually previously

24     to describe generally what the content of the declarations

25     would have to say -- state.      I -- especially for the


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1      nonlawyers, I discussed what it meant to sign under penalty of

2      perjury.     I had told them that I'd try to get them -- that I

3      would -- I asked them questions to make sure that I knew the

4      correct answers to the Court's direction.        And then with John

5      Hartney, I had a longer conversation with Hartney because his

6      was going to have to focus on the Kreindler systems and stuff

7      that I wasn't necessarily as familiar with.

8      Q.   Why did you have a longer conversation with Mr. Hartney?

9      A.   Because I wanted to make sure that I could -- that he and I

10     could work on his declaration to accurately describe the firm's

11     practices and also the tech side, and it felt -- so in my

12     communications with John, that was just more efficient and

13     effective to do in person.

14     Q.   Then let's take a look at tab 52, please.        Can you identify

15     that document?

16     A.   Yeah.    That's a response from Steve Pounian to me to the

17     email at tab 51.

18                MS. KIRSCH:    I'd move that into evidence.

19                THE COURT:    I think we just did that because we had a

20     mix-up.

21                MS. KIRSCH:    You're right.   You're right.    You're

22     right.    I apologize.

23                THE COURT:    That's all right.

24     BY MS. KIRSCH:

25     Q.   Can you explain here what -- Mr. Pounian is offering to


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1      help you with these declarations, is that correct?

2      A.   Yes.

3      Q.   Did you have any reaction to -- it's the second to last

4      sentence, he says:     I'm also concerned about sharing what's

5      redacted name with KSA since he is living abroad.         Are we

6      planning to file his declaration with the Court only ex parte?

7                  Can you explain what your reaction to that statement

8      from Mr. Pounian was?

9      A.   Well, I understood what his -- I understood his concern

10     both from the work product perspective but also from just the

11     witness safety perspective.      I mean, that's what I understood

12     that to be addressing.      Is that what your question is?

13     Q.   Yes.

14     A.   OK.    So, yes, we were -- that consultant was living in a

15     place where we had concerns about his safety if we were to

16     reveal his name to anybody but the court -- or at least reveal

17     his name to the defendants.

18     Q.   Can you expound a little bit on what the work product

19     concern was.     You said there were two types of concerns.

20     A.   Right.    So the work product was both producing his name and

21     his identity and the -- you know, the fact of his -- where he

22     was also, to the extent that that could bear on work that he

23     was doing in connection with the case and thereby reveal work

24     product.

25     Q.   Is it fair to say that the Kreindler firm has taken the


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1      lead in the factual investigation portion of the case against

2      KSA?

3      A.   That is definitely fair to say.      It was our investigators

4      who had developed most of the facts in interviews and located

5      the witnesses that were not those folks that the Kingdom

6      produced.    For example, the plaintiffs' witnesses were

7      individuals that our investigators were able to track down,

8      talk to, and have agreed to come and testify, for example.

9      Q.   And is that part of the reason that the Kreindler firm was

10     focused on answering the Court's questions but not voluntarily

11     revealing more information than it absolutely needed to for the

12     KSA?

13     A.   We had -- we had genuine concerns because we, even as we

14     speak, have people who are working on the case, and we were --

15     wanted to take every precaution possible to protect our active

16     work product.    We had -- you know, we had concerns.        I don't

17     want to sound histrionic, but the Jamal Khashoggi incident was

18     something that made us worried.       He had approached one of our

19     team members and expressed an interest in working with

20     Kreindler and the 9/11 family members.        And that day, as I

21     understand it, he spoke with Mohammad bin Salman's brother, who

22     was the ambassador in D.C. at the time, and was thereafter

23     obviously murdered.     I don't know if that would have had

24     anything to do with his agreeing to be a witness in our case,

25     but it was certainly something that we were mindful of, whether


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1      it was a question of physical safety of our investigators or

2      our witnesses or whether it was just a question of making them

3      no longer as willing to meet with us and speak with us.

4      Q.   Is it fair to say that in the beginning of this process,

5      when some of the other plaintiffs firms came forward

6      voluntarily with declarations, that the Kreindler firm felt it

7      was in a slightly different position in that regard?

8      A.   Yes, that is fair to say.      We were -- we knew that the

9      other firms had a different approach.        We felt like it wasn't

10     appropriate.    We also -- we felt confident at the time that

11     there was -- that this hadn't come from our firm, and we wanted

12     to be led by the Court and not by the Kingdom on what we had to

13     provide, and we also wanted to limit our responses to what was

14     asked for.    We trusted that if there was more information that

15     the Court needed, we would have a subsequent order.

16     Q.   So it's fair to say also that the Kreindler firm has an

17     enormous amount of highly sensitive, highly confidential

18     information of its own that it's handling on a day-to-day

19     basis, is that right?

20     A.   That's correct.

21     Q.   We've talked a little bit at this hearing about the

22     document management system, and so forth.        Can you explain the

23     steps that the firm takes and why it is that you're comfortable

24     that the confidential information that's being handled is, in

25     fact, safe?


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1      A.   Yeah.    So I'll talk first specifically about the management

2      of information in the 9/11 case.       The system that people have

3      heard about over the course of the hearing is called Case

4      Media.   The firm has in all -- almost, if not all, of our other

5      cases migrated over the course of the lifetime of this case to

6      it through at least two new software document management

7      systems.     We did not migrate the 9/11 case onto those new

8      systems for a variety of reasons.       One being that it is -- it

9      is old enough and big enough and we are familiar enough with

10     the way that those documents are managed within Case Media that

11     it would have been fairly disruptive to do so, especially

12     because our newest system was being built out, being trained on

13     it literally in the months leading up to and during the

14     deposition.     But even the one that we had before that postdated

15     the development of our document management system on Case

16     Media.

17                Case Media is, I would say, more or less required for

18     all other purposes.     So I don't know if there are even any

19     other active cases that have documents that are managed on Case

20     Media.   The only individuals who are told how -- again, this is

21     not -- this is not to suggest that as a technical matter, but

22     as a realistic matter, the only people who are directed to the

23     location where the 9/11 materials are maintained are people who

24     were working on the case and who have signed the FBI -- read

25     and signed the FBI protective order and reviewed the MDL


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1      protective order, and we keep a log of those people.          My

2      secretary maintains a file with the names of those people.

3      Q.   Thank you.

4                  In that Case Media system, there are documents that go

5      to and from and are about some of these consultants and sources

6      that the Kreindler firm works with that are treated with the

7      highest sensitivity, is that correct?

8      A.   That's correct, yes.

9      Q.   So fair to say that this highly sensitive information of

10     yours is given the same protection as the highly sensitive

11     information or -- yeah, the highly sensitive information that

12     you're receiving from the KSA?

13     A.   Yeah, and from the FBI.

14     Q.   And from the FBI.     OK.

15                 So if we go back to tab 52, what did you respond to

16     Mr. Pounian when he offered to give you some help with these

17     declarations over the weekend?

18     A.   I don't -- I don't remember if I wrote back to that email.

19     Q.   As a general matter, did you accept his offer?

20     A.   I think -- yes, I did.      I did send him, I think, what I

21     believed were sort of the close to final drafts.

22     Q.   Did you take steps at this point to reaffirm that whatever

23     was going to go into this filing to the Court on the 27th would

24     be accurate and complete?

25     A.   Yes.    So I spent a lot of that weekend with Hartney making


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1      sure -- since I was -- since I sort of jumped in on this, I

2      knew that Duke had gotten all the emails, but they were not

3      saved in a single place that was easy for me to access.          So I

4      worked with Hartney to make sure -- and in their native format.

5      I didn't want them coming like a forward from September 24 a

6      September 23 email.       I wanted the actual original native format

7      emails.     I worked with John to put them all in a folder.       I

8      looked through all of them.       I compared them to what I had seen

9      before.     If there was anything -- I think there was at one

10     point I thought that there was an original email that hadn't

11     come up during the search.       There was like a reply, reply,

12     original, and I had only the reply and the reply.         I was on the

13     phone with John to make sure that I hadn't missed that.

14                 So, yes, I was working with John Hartney over the

15     course of the weekend to make sure that all of the

16     communications that were going to go into the exhibit that

17     would be an exhibit to his declaration that would be in

18     response to the Court's direction to produce all communications

19     with Isikoff were in a single place.

20     Q.   So let's look at tab 53.

21                 So this appears to be an email from Mr. Maloney to you

22     forwarding a bunch of these emails that had been found in the

23     earlier search, is that right?

24     A.   Yes.

25                 MS. KIRSCH:   I'd move this into evidence.


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1                   MR. SHEN:    No objection.

2                   THE COURT:    Accepted.

3                   (Kreindler Exhibit 53 received in evidence)

4      BY MS. KIRSCH:

5      Q.    So can you explain to me what's happening here.

6      A.    So this is probably in response to me saying to Duke, you

7      know, I need all the emails.       And then I think after this is

8      when I decided I wanted to go back to Hartney and get the

9      native ones directly from the system, not just the forwards to

10     me.

11     Q.    So let's look at tab 54.     Can you identify this document?

12     A.    Yes.    So this is -- this is, again, Duke forwarding other

13     emails to me that Hartney had found during the course of his

14     investigation.

15                  MS. KIRSCH:   I'd move this into evidence.

16                  MR. SHEN:    No objection.

17                  THE COURT:    It's accepted.

18                  (Kreindler Exhibit 54 received in evidence)

19                  MS. KIRSCH:   OK.

20     Q.    Also, tab 55, another one of these emails on September 24,

21     can you identify this?

22     A.    Yeah.    That is another forward from Duke to me of an email

23     that Hartney had filed during his July -- during his original

24     search.

25     Q.    OK.


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1      A.   During one of his searches.

2      Q.   And tab 56 -- I move, sorry, move 55 into evidence.

3                 MR. SHEN:    No objection.

4                 THE COURT:    It's accepted.

5                 MS. KIRSCH:    Thanks.

6                 (Kreindler Exhibit 55 received in evidence)

7                 THE WITNESS:    56, I had asked you to just send me any

8      correspondence you had with John about the systems and

9      generally.

10                MS. KIRSCH:    OK.   I move 56 into evidence.

11                THE COURT:    Any objection?   It's accepted.

12                (Kreindler Exhibit 56 received in evidence)

13     BY MS. KIRSCH:

14     Q.   OK.   Let's look at tab 57.     Can you explain this?

15     A.   This is, again, Duke sending to me -- and I was on the

16     original email, but just to have it top of my inbox -- several

17     of the emails that were produced in the course of the

18     investigation.

19                MS. KIRSCH:    I'd move 57 into evidence.

20                MR. SHEN:    No objection.

21                THE COURT:    It's accepted.

22                (Kreindler Exhibit 57 received in evidence)

23     BY MS. KIRSCH:

24     Q.   Let's look at tab 58.      Can you identify this document?

25     A.   Yeah.   Yes.   This is a cover email from me to Hartney with


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1      the draft of his declaration -- sorry, about a draft, yeah.           So

2      I think initially he was just checking in, and then I sent him

3      the draft, and then I sent him a different version.

4                 MS. KIRSCH:   I'd move 58 into evidence.

5                 MR. SHEN:    No objection.

6                 THE COURT:    It's accepted.

7                 (Kreindler Exhibit 58 received in evidence)

8      BY MS. KIRSCH:

9      Q.   Let's look at tab 61.     Do you recognize this document,

10     Ms. Benett?

11     A.   I do.   This is an email exchange between Steve Pounian and

12     myself on changes to his declaration, and I can --

13                MS. KIRSCH:   I'll move 61 into evidence.

14                THE COURT:    Any objection?

15                MR. SHEN:    No objection.

16                (Kreindler Exhibit 61 received in evidence)

17     BY MS. KIRSCH:

18     Q.   Let's look at it for a moment.       Mr. Pounian says to you:

19     "Can't everyone say I have no idea how Michael Isikoff got the

20     transcript?"    And then you respond up top.

21                Can you explain to us what's going on with your -- the

22     first sentence of your response?

23     A.   Sure.   Well, first of all, we couldn't, of course, say that

24     because as of then it was our understanding that nobody would

25     have known -- that nobody did know how Mr. Isikoff got the


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1      transcript.     I wasn't sure about adding that because I had

2      genuinely felt like we were being punished for having

3      previously provided what the Court had ordered and that we were

4      being scolded for not doing more, and I will confess that I

5      felt frustrated by that.       But it did seem to me, on balance, it

6      was worth adding, since we believed that to be true on

7      Saturday, September 25.

8      Q.   If you look at the third paragraph, you write:        "I left JF

9      a voice mail earlier to ask him the same things you emailed

10     about."

11                 Are those the voice mails or one of the possibly two

12     voice mails you left for Mr. Fawcett over that weekend that you

13     testified about recently?

14     A.   Yes.

15     Q.   Do you recall again whether you heard back from Mr. Fawcett

16     over that weekend?

17     A.   I didn't -- I did not hear back from Fawcett over the

18     weekend.

19     Q.   Then you say:    "We also need to find out from JPK how many

20     times he talked to Isikoff, if he can recall when, and what

21     they discussed."

22                 Do you see that?

23     A.   Yes.

24     Q.   And you were here in the room when Mr. Maloney testified

25     that he had previously had discussions about that with


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1      Mr. Kreindler, correct?

2      A.   Yes.

3      Q.   And so why is it that you're saying here we also need to

4      find out from JPK those things?

5      A.   I just wanted to be sure before filing this declaration

6      that we -- I wanted to be totally comfortable with what we were

7      filing, and I wanted to be -- I wanted to make sure everybody

8      had reviewed it repeatedly.      We were -- although, as is evident

9      in the email, though perhaps irritated, I also took it very

10     seriously, and I did not want to miss, for example, an Isikoff

11     call or email that might have been out there.

12     Q.   Then let's look at tab 62.      Can you identify this document

13     for us?

14     A.   Yes.    This is a series of emails about the draft

15     declarations and then the draft declarations behind it.

16                 MS. KIRSCH:   I'd move this into evidence.

17                 MR. SHEN:    No objection.

18                 THE COURT:    It's accepted.

19                 (Kreindler Exhibit 62 received in evidence)

20     BY MS. KIRSCH:

21     Q.   Now, it says here again on Saturday, up at the top, "Let's

22     talk to Fawcett and Jim tomorrow if possible."

23                 Do you see that?

24     A.   Yes.

25     Q.   So that suggests that you still haven't made contact with


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1      them about the open issues, is that right?

2      A.    Correct.

3      Q.    Then let's just turn the page to -- the first declaration

4      draft attached is yours, and I'm going to just draw your

5      attention to paragraph 4.          Is that the sentence that

6      Mr. Pounian suggested got added in?

7      A.    Yes.

8      Q.    So here in the draft declarations that everyone's prepared

9      to sign on Saturday is that -- that paragraph 4 appears in your

10     declaration and it appears in this draft declaration of

11     Mr. Fawcett?

12     A.    Yes.

13                  MR. SHEN:    Sorry, Ms. Kirsch, which exhibit are you

14     in?

15                  MS. KIRSCH:    62.

16                  THE COURT:    62.    I think there was a new 62 I

17     received.

18                  MS. FREY:    Your Honor, can I explain something to

19     Mr. Shen just a second that has to do with just the

20     attachments?

21                  MS. KIRSCH:    Is this the attachments?

22                  MS. FREY:    I gave the attachments to someone

23     yesterday.      You don't have it in your book at all?     Do you need

24     another copy?

25                  (Counsel confer)


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1                  MR. SHEN:    I'm sorry.

2                  THE COURT:    That's OK.   I received a new Exhibit 62.

3      It was put in my binder.

4                  MS. KIRSCH:   Yes, your Honor.    We had given them one

5      as well, but the binder that they're looking at now isn't the

6      one that the new exhibit went into.        So we're looking to see if

7      we can get another set.

8                  MS. FREY:    I can get it now.

9                  MR. SHEN:    Ms. Kirsch may proceed.

10                 THE COURT:    OK.

11     BY MS. KIRSCH:

12     Q.   All right.    So if you look at the next declaration --

13                 THE COURT:    Sorry.   I don't think we actually admitted

14     the document.     I take it, no objection?

15                 MR. SHEN:    No objection.

16                 THE COURT:    OK.   So it's admitted.

17                 Go ahead.

18                 (Kreindler Exhibit 62 received in evidence)

19                 MS. KIRSCH:   Thank you.

20     BY MS. KIRSCH:

21     Q.   Starting at the Bates No. KK1436 is Mr. Fawcett's

22     declaration, and you've put in his draft declaration that same

23     paragraph 4?

24     A.   Yes.

25     Q.   And is that because that was what you believed to be the


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1      truth at the time?

2      A.   That is correct.

3      Q.   Let's look at tab 63.      Do you recognize that document?

4      A.   Yes.

5      Q.   Can you tell me what it is.

6      A.   Yep.    This is an exchange over that weekend before our

7      September 27 filing.      I'd been on the phone a bunch with

8      Hartney to make sure -- I think I had a list of all the emails,

9      but I wanted to make sure I had each of them in the original

10     format for purposes of the exhibits.

11                 MS. KIRSCH:   I'll move this into evidence, tab 63.

12                 MR. SHEN:    No objection.

13                 THE COURT:    It's admitted.

14                 (Kreindler Exhibit 63 received in evidence)

15     BY MS. KIRSCH:

16     Q.   Tab 64, can you look at that and tell me what this document

17     is, Ms. Benett.

18     A.   This is -- so this is the email that I'd asked Hartney for

19     in the -- previously at tab 63, and I didn't want it as -- I

20     think he sent me a PDF of the attachment, and I just wanted it

21     in email with that document attached to the email.

22                 MS. KIRSCH:   OK.   I'll move tab 64 into evidence.

23                 MR. SHEN:    No objection.

24                 THE COURT:    It's admitted.

25                 (Kreindler Exhibit 64 received in evidence)


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1      BY MS. KIRSCH:

2      Q.   Tab 65, Ms. Benett, what's going on here?        This is

3      Sunday --

4      A.   Right.

5      Q.   -- September 26?

6      A.   So this was -- I had thought that this was the email that I

7      thought had been missing from the folder that I was compiling

8      for the exhibit.     And it was an exchange with either Isikoff or

9      Isikoff's producer and Jim, and I had just been -- this is

10     where I had been worried that there was something that had been

11     left out because I had the response but not the original email,

12     but I then had it.

13                MS. KIRSCH:   I'd move tab 65 into evidence.

14                MR. SHEN:    No objection.

15                THE COURT:    It's accepted.

16                (Kreindler Exhibit 65 received in evidence)

17     BY MS. KIRSCH:

18     Q.   So, Ms. Benett, fair to say over the weekend you were

19     reviewing with a fresh eye all of the work that had previously

20     been done in the investigation in order to get the filing on

21     the Monday as accurate as possible, is that right?

22     A.   Yes, yeah.

23     Q.   Is that something that commonly happens at the firm, that

24     more than one of the partners might go back over something and

25     look at it to make sure it is 100 percent accurate?


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1      A.   Yeah, just -- yes, yes, especially -- certainly with the

2      judicial filing and certainly in this case, but as an ordinary

3      practice, yes, I would have somebody take a fresh set of eyes

4      at something like this.

5      Q.   So let's look at tab 66.     Can you tell me what this

6      document is, please.

7      A.   Right.   So this is me -- I had believed that all of the

8      deleted folders had also been checked, but I wanted to confirm

9      that the search encompassed incoming, outgoing, as well delete

10     folders.

11                MS. KIRSCH:   I'll move tab 66 into evidence.

12                MR. SHEN:    No objection.

13                THE COURT:    Accepted.

14                (Kreindler Exhibit 66 received in evidence)

15     BY MS. KIRSCH:

16     Q.   Ms. Benett, when you redid all of these steps of the search

17     or went over everything with your fresh eyes, did anything

18     occur to you had been missed in the search that Mr. Maloney had

19     presided over?

20     A.   I didn't find anything new.

21     Q.   So let's look at tab 68.     It's now 8:23 a.m. on Monday,

22     September 27.    Can you identify this document, please.

23     A.   My tab 68 is a 9:07 email.

24     Q.   And when you look -- well, I'll move tab 67 into evidence.

25                THE COURT:    Oh you're at 67 or 68?


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1                 MS. KIRSCH:    I'm sorry.    Did I do that again?    67.

2                 THE COURT:    67, yes, I see it.

3                 MS. KIRSCH:    I apologize.

4                 THE COURT:    Yes, this is again a new 67, so it's

5      possible that the Kingdom doesn't have a copy of it.

6                 MS. FREY:    I have given it to both counsel.

7                 THE COURT:    OK.   Good.   Any objection, counselor?

8                 MR. SHEN:    Can you just --

9                 THE COURT:    67.

10                MR. SHEN:    What's the date of that email, please?

11                THE COURT:    Monday, September 27, at 8:23 is the top

12     email.

13                MR. SHEN:    No objection.

14                THE COURT:    Accepted.

15                (Kreindler Exhibit 67 received in evidence)

16                THE WITNESS:    This is an email exchange between me and

17     Steve with, I think, just Jim's draft declaration.

18     BY MS. KIRSCH:

19     Q.   OK.

20     A.   I think I had talked to Jim to go over it with him one last

21     time before filing.

22     Q.   Do you remember what the conversation with Mr. Kreindler

23     was about the privilege log?

24     A.   I asked him, because there was the one email from -- the

25     one email from Fawcett to Isikoff that had that privilege log,


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1      I asked Jim.    He didn't know what I was talking about with

2      respect to that email.

3      Q.   Mr. Kreindler was not aware -- Mr. Kreindler told you that

4      he was not aware that Fawcett had sent the privilege log back

5      in July, is that true?

6      A.   That's right.     That's right.

7      Q.   OK.

8      A.   And I still had not heard back from John Fawcett at this

9      point.

10     Q.   Right.   Let's look at tab 69.     Can you identify this

11     document for me.

12     A.   This is the covering email and the declaration for Julia

13     Sienski from our office.

14                MS. KIRSCH:   OK.   I'd move tab 69 into evidence.

15                MR. SHEN:    No objection.

16                THE COURT:    It's admitted.

17                (Kreindler Exhibit 69 received in evidence)

18     BY MS. KIRSCH:

19     Q.   Ms. Benett, who is Julia Sienski?

20     A.   She is -- she has the role of client liaison.        She also

21     functions also as a paralegal on this case.         So she is first

22     point of contact for many of the family members, and she also

23     manages a lot of the documents in the case.

24     Q.   Is this an example of the steps that you took when you were

25     working with the various declarants to get their declarations


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1      ready for filing?

2      A.   Yes, and I know that I work with Julia a lot, and she's

3      perfect.    I know that I spoke with her in person about this

4      also, but I just want to -- I did not -- she's super-busy, and

5      I did not want to -- in addition to the conversation, I wanted

6      to make sure she saw in her email, not just on the declaration,

7      that she has signing under penalty of perjury.         It has to be

8      accurate, and that we can make any changes that she wanted.

9      Q.   Let's turn to tab 73.

10                All right.    Can you identify this document,

11     Ms. Benett?

12     A.   This looks like the statement that John Fawcett sent to me

13     on Monday, September 27.

14                MS. KIRSCH:    I'll move this into evidence.

15                MR. SHEN:    No objection.

16                THE COURT:    Admitted.

17                (Kreindler Exhibit 73 received in evidence)

18     BY MS. KIRSCH:

19     Q.   So can you again just recall for us what led up to the

20     receipt of this document on the morning of September 27 or the

21     afternoon, I guess, to the best of your recollection?

22     A.   Right.   So this is 0the timestamp is 12:23, so I am fairly

23     confident that the time that I got the call from Jim was

24     between -- sorry, from John Fawcett was between 10:00 and 10:30

25     in the morning.     My first conversation with John was, I


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1      believe, relatively brief.      It was the -- I mean, he just said,

2      Megan, I can't sign my declaration, and I was, I think,

3      probably silent for some time and said, OK.         I'm going to need

4      to think about this.     Let's talk in a little bit is more or

5      less how the first call unfolded.

6                 I called Justin Green to let him know for the

7      partnership about this.      I called Steve Pounian to let him know

8      about this.    There were -- I don't know if I talked before this

9      email.   I don't know -- I was on the phone a lot.        I don't know

10     if it was with more than those two people, but there was a --

11     there were a series of phone calls trying to figure out how

12     this happened.     There was some conversation, should we ask the

13     Court for more time so we can do more of an investigation?

14     There was a decision that we needed to get this in to the Court

15     immediately that day.      I think some of the other partners in

16     our office were looped in on some of those calls, and this

17     email came -- the whole day was sort of like that.         This email

18     came partway through that process.

19     Q.   So if we look at the attachment, it's that single-spaced

20     declaration that we looked at earlier, and this email, of

21     course, comes from Mr. Fawcett.       Is this document something

22     that Mr. Fawcett wrote?

23     A.   I believe so.    It sounds like it, and it's certainly what

24     he sent me.

25     Q.   You did not write this?


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1      A.   No, I didn't write it.

2      Q.   And this just came in from Mr. Fawcett?

3      A.   Yeah.

4      Q.   Did you understand this to be his first crack at what he

5      would put in a declaration?

6      A.   Yes.    I mean, he sent it to me unsigned.      I had not -- I

7      don't think -- I mean, I know I had not asked him to send me a

8      declaration.     I don't think I necessarily even knew that he was

9      even drafting one before I got this.

10     Q.   So let me direct your attention to the fourth paragraph of

11     this declaration.

12     A.   Yeah.

13     Q.   He writes -- so Mr. Fawcett writes:       "No one at Kreindler &

14     Kreindler instructed me to send the transcripts to Michael

15     Isikoff.     Nor did anyone at Kreindler & Kreindler have any

16     knowledge of my sending it to Mr. Isikoff."

17                 Ms. Benett, you didn't tell Mr. Fawcett to write those

18     words, did you?

19     A.   No.

20     Q.   "Nor did any consultant or anyone else have any knowledge

21     of my sending the transcript to Mr. Isikoff."

22                 Those are Mr. Fawcett's words, correct, Ms. Benett?

23     A.   Yes, they are.

24     Q.   And you didn't tell him to write those words, did you?

25     A.   No.


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1      Q.   "Until today, no one aside from myself and Michael Isikoff

2      was aware that I sent the Jarrah transcript to him."

3                  Do you see that?

4      A.   I do.

5      Q.   To the best of your recollection, much of those -- much of

6      that language shows up in his final declaration, isn't that

7      true?

8      A.   Yes.

9      Q.   He goes on to say:     "I sent the transcripts to Mr. Isikoff

10     via a non-Kreindler email address."

11                 You didn't tell him to write that, Ms. Benett?

12     A.   No, I didn't even know he had a non-Kreindler email

13     address.

14     Q.   He writes:    "I did so to prevent the partners and staff of

15     Kreindler & Kreindler from knowing about my intended action and

16     to prevent them from stopping me should they wish to do so."

17                 Did you write that, Ms. Benett, or did Mr. Fawcett?

18     A.   That was Mr. Fawcett.

19     Q.   Much of that language shows up in the final declaration,

20     isn't that true?

21     A.   Yes.

22     Q.   Or it might be the September 30 declaration.

23     A.   One or the other, yeah.

24     Q.   Mr. Shen asked you some questions about the fact that he

25     doesn't expound on his motives here in this first draft.          Do


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1      you feel that he should have?

2      A.   I -- I think, ultimately, it was important -- I mean, it

3      was important for me to understand why he would do something

4      this grave.    I thought it was important for him to provide that

5      information to the Court.      I knew that he was deeply troubled

6      by the Jarrah child pornography images.        I did not have any

7      sense that he was so upset about it that he was behind the leak

8      to Isikoff, but once I had the information about his -- you

9      know, his -- not just his sense of righteousness about the

10     child pornography itself but also his, what seemed to me,

11     genuine and heartfelt concerns about the fact that Jarrah was

12     in Morocco, that he believed it was a place where children were

13     routinely trafficked for sexual purposes, and I knew a little

14     bit more about his personal background, it did seem to me that

15     that was really important context.

16     Q.   Did Mr. Fawcett tell you during one of those conversations

17     on September 27 how strongly he felt about the crime of child

18     pornography?

19     A.   He did, and I should add also -- he did, and he was very

20     scared to put anything in his declaration about his own

21     children, and he did not -- we had a conversation about -- I

22     understood that that was part of what influenced his decision

23     here.   He didn't -- he was worried about his kids.        He was

24     worried about whether -- he was worried about their -- them

25     being part of this, him discussing them, their safety, but he


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1      was clearly -- his reaction was very much informed by his

2      strong feelings about somebody that he believed was not only

3      trafficking in sexual images of minors but was deliberately

4      living in a place where he would have easy access to minor

5      children for sexual purposes.

6      Q.   Can you explain that last bit a little more clearly that --

7      I take it Mr. Fawcett told you that he was concerned that

8      Mr. Jarrah was specifically living where he could continue to

9      consume or traffic child pornography?

10     A.   John Fawcett -- my understanding from my conversations with

11     John Fawcett was that he believed that Jarrah was intentionally

12     in Morocco in order -- I don't know if he thought this was the

13     only reason, but at least in part -- in order to not only

14     traffic in the disturbing imaginary but to also have ready

15     access to minors, children, for sexual acts.

16     Q.   There were some questions, Ms. Benett, about whether -- in

17     any of those conversations with Mr. Fawcett about whether you

18     advised him to get a lawyer or not.       Do you remember that

19     conversation on cross?

20     A.   Yes.

21     Q.   You don't represent Mr. Fawcett, of course, correct?

22     A.   Correct.

23     Q.   Did Mr. Fawcett ever come to you for legal advice?

24     A.   Not that I recall.

25     Q.   Did Mr. Fawcett come to you and ask for legal advice on


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1      this matter?

2      A.   No.

3      Q.   Did Mr. Fawcett ever ask you if you thought he needed

4      representation?

5      A.   No.

6      Q.   Prior to the October 4 order, were you focused on whether

7      there was a conflict of interest between the firm and

8      Mr. Fawcett?

9      A.   I was not.    I was not at all thinking about that.       I was

10     focused on sort of dealing with what we would have to look at

11     in light of Fawcett being the source of the leak, figuring

12     out -- getting him off the system, closing his access to any

13     materials, trying to sort of move him -- get back our work

14     product that he had, find some orderly transition to proceeding

15     in the case without his involvement.        But until the October 4

16     order with the language about potential referral for criminal

17     investigation, I -- I recognized that there was exposure for

18     violating the protective orders.       I did not -- I had not been

19     viewing it as something where his interests would diverge from

20     the firm's prior to that.

21     Q.   Fair to say on the 27th of September, your primary goal was

22     to get the facts in front of the Court as a first step?

23     A.   Yes, yes.

24     Q.   And also beginning on the 27th of September, you made sure

25     to take steps that Mr. Fawcett's access to the Kreindler


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1      servers was shut down, is that correct?

2      A.   Yes.

3      Q.   Did you make clear to Mr. Fawcett in those early days that

4      he was not to be working on the case until you had an

5      opportunity to sort out the next steps?

6      A.   Yes.

7                  MS. KIRSCH:    Your Honor, could I take a moment just to

8      go over my notes to make sure everything's done?         I can do it

9      right here while people are waiting, or I could take five

10     minutes.     Whatever's easiest.

11                 THE COURT:    If you think you're going to be wrapping

12     up, then let's take a couple of minutes.

13                 MS. KIRSCH:    I'm sure I have a couple more questions,

14     but I will be wrapping up quickly.

15                 THE COURT:    OK.   Let's just take a two-minute pause.

16                 (Recess)

17     BY MS. KIRSCH:

18     Q.   Just a few more minutes.

19                 Ms. Benett, I did just want to follow up on one

20     question on September 27 when we were talking about just

21     getting Mr. Fawcett's declaration done.        Your primary

22     obligation, of course, was to the Court at that time, is that

23     right?

24     A.   Yes.

25     Q.   Can you look at -- and I'm sorry to do this switch.


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1      There's a document that's in the Kingdom's binder, which is

2      that great big one, marked --

3                  THE COURT:   It's right here.

4      Q.   -- tab 115.

5                  THE COURT:   So this is KSA 115.    Got it.

6      Q.   Do you recall this email exchange with Mr. Hartney?

7      A.   I do.

8      Q.   This is happening on Monday, September 27, am right?

9      A.   Yes.

10     Q.   Can you tell me what's going on in this email exchange and

11     what conversations may have ensued.

12     A.   Sure.    So I had talked with John Hartney initially before

13     starting to work on his declaration about the systems and the

14     search and the systems management, and I was -- I wanted to

15     make sure, obviously, that his declaration was accurate.          I

16     understood that the Case Media system where the documents,

17     including the Jarrah deposition, were saved did not have

18     restricted access, meaning that it was available theoretical to

19     anybody at the firm.

20                 He and I went back and forth because he didn't -- not

21     only did I not want to include language that suggested that

22     there was restricted access, but he also flagged I can't say

23     that there was restricted access.       Because of the nature of our

24     document management system in every other case versus the 9/11

25     case, the reality is that in order for somebody to know how to


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1      get to the 9/11 documents, including Jarrah, they would have to

2      come to the 9/11 team, to me or to one of the other attorneys.

3      We would then get them read in on the protective orders and

4      direct them as to how to access the materials saved in that

5      drive.

6                 So we went through a number of different words that we

7      thought about using.     I was concerned that saying "permission"

8      sounded too much like technical permissions, but at the same

9      time, I think in -- I coordinated it eventually with Hartney

10     and with Duke, and we used the language "able to access"

11     because it was true that you, as a firm policy, would not have

12     been -- and I didn't want to use "permissions" because I felt

13     like that sounded technical, but you would not have been

14     permitted to go to these files and to look at these materials

15     without reviewing and agreeing to be bound by the terms of the

16     protective orders.     So John and I talked about that.       I think

17     the email -- you see my email at 10:40 was trying to figure

18     out -- was trying to explain to him that it was -- that I

19     didn't want it to say it was restricted use, and then I just

20     felt like it was better to -- I mean, we talked that through.

21                I think "also need to discuss something with you, can

22     I call you in five" was both about working on that language,

23     but then also advising him about the -- about the leak and

24     about needing to get Fawcett off the systems.

25     Q.   Understood.


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1                 So let's just talk generally for one more minute.

2      Since you began to work -- when did you first meet John

3      Fawcett?

4      A.   I started at the Kreindler firm in October of 2006, so I

5      would have met him around then.

6      Q.   Can you describe how closely you worked with Mr. Fawcett

7      since then and through today, or through September 27.

8      A.   I've worked -- most of my work with him has been on the

9      9/11 case, which I joined that effort in 2016 to 2017.          So it's

10     not -- that's not the only -- I do have other matters that John

11     isn't involved with, but in terms of my work on the 9/11 case,

12     I would work with him on a daily or near daily basis.

13     Q.   How often do you communicate -- did you communicate with

14     Mr. Fawcett?

15     A.   Every day if we were both in the office; otherwise,

16     sometimes by phone.     I would say, if we weren't in the office,

17     maybe on a weekly basis.

18     Q.   To what extent were you aware of Mr. Fawcett's physical

19     whereabouts?

20     A.   I mean, if he was in the office, I knew he was there, but

21     otherwise I wouldn't know where he was if he wasn't in the

22     office.

23     Q.   To what extent were you aware of Mr. Fawcett's activities

24     for the firm either at the goal level or the task level?

25     A.   So, I mean, at the top level, he was a member of the team


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1      of lawyers who were working on the 9/11 case.         I mean he was a

2      member of the team that includes the lawyers who were working

3      on the 9/11 case, and we were all -- are all unified in our

4      effort to get the information that we believe will establish

5      the role of Saudi officials in the 9/11 attacks.

6                  On a daily basis he was sort of a liaison with some of

7      our -- with a consultant or with investigators.         He did a lot

8      of review of the material, the discovery that was produced.           He

9      did independent investigation, for example, that might lead an

10     inquiry of ours in a new direction that was not necessarily

11     revealed in Kingdom materials or FBI materials.         He did a lot

12     of FOIA requests that started to develop some of our leads in

13     the case.

14     Q.   Did you ever communicate with Mr. Fawcett about the

15     protective orders in this case?

16     A.   Yes.

17     Q.   Can you describe those communications.

18     A.   So, I mean, I put them in kind of two categories:         One,

19     there were conversations of, yes, I know we are frustrated by

20     the protective orders and we have to abide by them, and there

21     was -- until September 27 I didn't believe that anybody was

22     knowingly going to violate the protective orders, but there

23     were several conversations about the fact that protective

24     orders were in place; they were orders of the court; we had to

25     comply with them.


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1                 There was a sort of parallel conversation that

2      revolved around efforts to be relieved from the protective

3      orders.    There were several motions in 2019, maybe 2018, but

4      2018, '19, into 2020 about what the families or the plaintiffs

5      felt like was an over-designation by the Kingdom of Saudi

6      Arabia of its materials.      There was -- I don't know if there

7      were any, certainly not many, I'm not sure any, documents that

8      the Kingdom produced that weren't produced subject to the MDL

9      protective order.     We felt like that was an over-designation.

10     We felt like the process that Judge Casey had in place was

11     being -- that the Kingdom was using it to its own strategic

12     advantage, and we did not think it was consistent with the

13     letter of the original Casey order, ECF 1900.

14                So there was some motion practice on that that we did

15     not prevail on, but certainly it came up in the context of the

16     protective orders are what they are.        You have to abide by

17     them.    They came up also in connection with the FBI protective

18     order.    We had -- we agreed voluntarily to sign the protective

19     order because otherwise we wouldn't have had access to any of

20     the FBI materials.

21                At the same time, as materials were produced, we had

22     serious questions about the need, any legitimate need, to

23     maintain those materials under the protective order.          We had

24     talked, sort of caucused amongst ourselves and with other firms

25     on the Plaintiffs' Executive Committee, about ultimately moving


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1      to lift the FBI protective order.       There was not unanimity

2      among the Plaintiffs' Executive Committee firms to do so.          It

3      was certainly something that we talked about a lot internally,

4      and along with the conversation that unless and until this

5      protective order is lifted, either by the Department of Justice

6      or after motions practice, we must live with it.

7      Q.   Ms. Benett, there's been some suggestion that because

8      Mr. Kreindler has publicly said that he does not believe these

9      protective orders should be in place, do you think that that

10     created an environment in the Kreindler firm that made people

11     feel as though they need not respect the protective orders?

12     A.   I would say that, if anything, those public statements

13     are -- reinforce internally that we might not -- we might be

14     frustrated by the protective orders, it may restrict us from

15     what we can say to our clients or what we could say publicly,

16     and we have to abide by the public orders.        They are in place.

17     The Court has not lifted them.       If we don't like it, we live

18     with it.    If the time is right or if the Department of Justice

19     decides otherwise, we will proceed differently, but we are

20     bound by those protective orders.       And Jim's -- to my mind,

21     Jim's public comments about them, although not the language

22     that I would use, reflect an understanding that we are bound by

23     them.

24     Q.   Mr. Fawcett never gave you any indication that he would not

25     respect the protective orders, did he?


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1      A.   Never.

2      Q.   Ms. Benett, did you ever order or direct Mr. Fawcett to

3      send a copy of the Jarrah transcript to Mr. Isikoff?

4      A.   Never.

5      Q.   Were you aware at any time prior to September 27 that it

6      was Mr. Fawcett who sent a copy of the Jarrah transcript to

7      Mr. Isikoff?

8      A.   I was not aware of that until the morning of September 27.

9      Q.   And when you found out for the first time that Mr. Fawcett

10     was the source of the leak of the Jarrah transcript to

11     Mr. Isikoff, what was the first thing that you did?

12     A.   I just don't remember if it was -- well --

13     Q.   The most important thing that you did.       That was a bad

14     question.

15     A.   I changed all of our declarations.       I pulled John's

16     declaration, and I removed from all of our declarations that we

17     didn't know who the source of the Isikoff leak was.

18     Q.   So you did not in any way ratify Mr. Fawcett's sending of

19     the Jarrah transcript to Mr. Isikoff?

20     A.   No.

21                MS. KIRSCH:   I have no further questions.

22                THE COURT:    Thank you.

23                MR. SHEN:    No questions, your Honor.

24                THE COURT:    Ms. Benett, you're done.     You can go back

25     to counsel's table.


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1                 (Witness excused)

2                 THE COURT:   We're going to finish today, so we're

3      going to take a half-hour brunch -- brunch, half-hour lunch.

4      Be back here at 2 o'clock.

5                 If I can also just ask -- sorry.      I do want to deal

6      with this exhibit issue.      I don't know if there is a list from

7      the Kingdom side about the exhibits that were discussed

8      yesterday, if we can reach some agreement so we can just move

9      everything in at the end of the hearing, but I'll ask while

10     you're eating sandwiches to think about that, too.

11                Thank you.   See you in a half an hour.

12                (Lunch recess)

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        LB289115                   Pounian - Cross

1                 THE COURT:    Mr. Shen.

2                 MR. SHEN:    Saudi Arabia calls Steven Pounian.

3                 THE COURT:    Good afternoon, Mr. Pounian.

4        STEVEN POUNIAN,

5             called as a witness by the Kingdom,

6             having been duly sworn, testified as follows:

7                 THE DEPUTY CLERK:    State your full name for the

8      record.

9                 THE WITNESS:    Steven R. Pounian, P-O-U-N-I-A-N.

10                THE COURT:    Mr. Pounian, one, you have to keep your

11     mask on, I'm afraid.      Two, make sure you speak directly into

12     the microphone.     And three, during the questioning by the

13     Kingdom, they are going to put exhibits on the computer in

14     front of you, but this is their binder.

15                Mr. Shen, you may begin.

16     CROSS-EXAMINATION

17     BY MR. SHEN:

18     Q.   Good afternoon, Mr. Pounian.

19     A.   Good afternoon.

20     Q.   If you would look at Exhibit 43 in the binder in front of

21     you.    It also will appear on your screen.

22                Sir, Exhibit 43 is a letter that the Plaintiffs'

23     Executive Committee submitted to the court on July 27 in

24     response to a request by the Kingdom for certain discovery

25     pertaining to the leak to Michael Isikoff.        Do you see that?


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        LB289115                   Pounian - Cross

1      A.   I do.

2      Q.   There is a statement in the letter which says, "Each of the

3      lead PEC firms has already conducted internal investigations."

4                 MR. SHEN:   Can we highlight that language for Mr.

5      Pounian.

6                 It's at the top of the second page.

7      Q.   Sir, this letter was submitted under your signature,

8      correct?

9      A.   It was.

10     Q.   Now, the investigation that is being referred to in this

11     paragraph, was that conducted by Mr. Maloney?

12     A.   The firm had conducted an investigation, and I had

13     personally also conducted an investigation.

14     Q.   You had individually, in your personal capacity, conducted

15     an investigation as well?

16     A.   I did, yes.

17     Q.   What personal investigation did you conduct?

18     A.   Well, I wanted to check to make certain that the -- I

19     wanted to know exactly what had happened and how the transcript

20     had been handled by the law firm.

21     Q.   What investigation did you personally do independent of

22     what Mr. Maloney did?

23     A.   I don't know if it was independent.       It was probably

24     concurrent with what he was doing.       I got the information from

25     Mr. Hartney, the IT person, and I may have also contacted Julia


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1      Sienski at the firm to sort of determine where the transcript

2      had gone.    I was very concerned about nailing down exactly what

3      had happened with the transcript.

4      Q.   Now, Mr. Hartney had done the search of the firm's e-mail

5      records, is that correct?

6      A.   He had done the search, yes.

7      Q.   He provided the search results to Mr. Maloney and to

8      yourself?

9      A.   I don't recall him providing the results to myself.         I was

10     focused on the transcript and if the transcript had left the

11     law firm and to track that.

12     Q.   Did you ask Mr. Hartney to do an e-mail search?

13     A.   Well, to the extent that we were tracking the transcript, I

14     guess that would be included in an e-mail search -- an e-mail

15     search would be included in that.

16     Q.   The question is, did you ask Mr. Hartney to conduct a

17     search of the e-mail system?

18     A.   I don't remember specifically asking him that, no.

19     Q.   You said that you spoke to Ms. Sienski and the focus of

20     that was to determine where the transcript was saved and who

21     had received it?

22     A.   I honestly don't remember if I spoke to Ms. Sienski, but I

23     do know that I wanted to determine if the transcript had left

24     the law firm in any way, shape or form.        And that's what I

25     tried to do.


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1      Q.   Is it fair to say, Mr. Pounian, that in making this

2      representation in this letter, that you were relying upon the

3      investigation that Mr. Maloney and Mr. Hartney had conducted?

4      A.   And the things that were represented that I understood from

5      my conversations with the people at the law firm about that.

6      Q.   Did you ask Mr. Fawcett specifically whether he had sent

7      the transcript to Mr. Isikoff?

8      A.   I asked Mr. Fawcett if he knew anything about how

9      Mr. Isikoff got the transcript.

10     Q.   When did you ask him that?

11     A.   I think about a week after the article.

12     Q.   So before this letter went into the court?

13     A.   It was before this letter.

14     Q.   He told you to your face he knew nothing about it?

15     A.   That is correct.

16     Q.   That was a lie, correct?

17     A.   That is correct.

18     Q.   How many times did Mr. Fawcett lie to your face about

19     sending the transcript to Mr. Isikoff?

20     A.   It was one time we had that conversation.        At the same

21     time, I was looking at where the transcript had gone.

22     Q.   And that was it, just that one time?

23     A.   It was at one time because I was trying to -- I had found

24     out he had sent the transcript to a consultant, and that's what

25     I was really tracking down.      I had found out that the


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1      transcript left the office and went to a consultant.

2      Q.   My question to you is, how many times did Mr. Fawcett tell

3      you that he did not send the transcript to Mr. Isikoff?

4      A.   It was once.

5      Q.   If you could turn, please, to Exhibit 108 in your binder.

6                 Now, Mr. Pounian, you were involved in drafting the

7      September 27 declaration that Mr. Fawcett submitted to the

8      court, correct?

9      A.   He drafted the declaration and sent me and Megan a draft.

10     Q.   But the final declaration that was submitted, you were the

11     one who drafted it, correct?

12     A.   I put it into the system and sent it back and forth with

13     Mr. Fawcett to finalize it for the court.

14     Q.   So, Exhibit 108, this is an e-mail.       The top part is

15     apparently cut off, but it's from Mr. Fawcett to yourself and

16     to Ms. Benett.     108A contains the declaration that Mr. Fawcett

17     drafted and sent you, is that correct?

18                MR. SHEN:    If we can show 108A, please.

19     A.   Yes, that's it.

20     Q.   This is the language that Mr. Fawcett drafted, correct?

21     A.   That is correct.

22     Q.   If you could turn, please, to 109.

23                THE COURT:   Can I ask one clarifying question, back to

24     108?   This e-mail doesn't have the "from" header, and I am just

25     wondering if we know the "from" e-mail.        There is an indication


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1      that it is not a Kreindler e-mail.

2                 MR. SHEN:    I believe that this e-mail was produced at

3      another location with a from --

4                 MS. KIRSCH:    If it's helpful, the same e-mail is

5      Exhibit 73 in our book.

6                 THE COURT:    That just says John Fawcett.

7                 In any event, sorry to interrupt.

8      BY MR. SHEN:

9      Q.   Now, if we could look at Exhibit 109, please.

10                This is an e-mail, September 27, at 1:41 p.m., from

11     yourself to Ms. Benett, attaching a declaration 1.docx.

12                Do you see that?

13     A.   I see the header.

14     Q.   Let's look at the exhibit.      It's at 109A.

15                This contains a new version of Mr. Fawcett's

16     declaration.

17                Did you prepare this version that's attached at 109A?

18     A.   Yes, I prepared it, based on Mr. Fawcett's original draft.

19     Q.   So Mr. Fawcett sent you the draft that we looked at in the

20     prior exhibit, and then you created this new document and sent

21     it to Ms. Benett, is that right?

22     A.   That is correct.

23                MR. SHEN:    I have no further questions.

24                MS. KIRSCH:    If I could just have a moment.

25                THE COURT:    Sure.


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1      REDIRECT EXAMINATION

2      BY MS. KIRSCH:

3      Q.   Good afternoon, Mr. Pounian.

4      A.   Good afternoon.

5      Q.   Just to finish up on the topic that we were just

6      discussing, can you just tell us in your own words how your

7      draft of the declaration for Mr. Fawcett came to be.          Just the

8      events of September 27, if you could just walk us through what

9      you recall happening on that day.

10     A.   Sure.   We were preparing to finalize the papers for the

11     court, and we had prepared drafts of everyone's declaration.

12     And I know that Megan was trying to get ahold of John to get a

13     signature on his declaration.       And that morning Megan called me

14     and told me that she finally did get ahold of John, and that he

15     had told her that he had leaked the transcript to Mr. Isikoff.

16                After that, we had conversations, and we decided that

17     we needed to prepare the filings and get a declaration from

18     John to present the facts to the court, and we proceeded to do

19     that.   John sent a draft, and we worked with him on the draft

20     and filed it along with the papers.       And we had to obviously,

21     of course, change all the declarations that we had prepared for

22     ourselves because we now knew how the leak had occurred, and we

23     then edited all of our declarations and filed them with the

24     court that evening.

25     Q.   Mr. Pounian, how long have you known Mr. Fawcett?


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1      A.   We have worked together for four years at the firm, and I

2      have known him since 2002, 2003.

3      Q.   As you have been working on this case, how often did you

4      communicate with Mr. Fawcett?

5      A.   We communicated typically over the past three years almost

6      every day.    He was handling the facts in the case, and we would

7      be in touch constantly all the time.

8      Q.   To what extent were you aware of his physical whereabouts

9      on a day-to-day basis?

10     A.   Well, we shared an office at the law firm when I was

11     working at the firm, when I was physically there.         So I saw him

12     whenever I was in the office.       And I would communicate with him

13     practically every day.      So I was aware of where he was and what

14     he was doing.

15     Q.   So to what extent were you aware of Mr. Fawcett's

16     activities for the firm at the goal level, at the task level,

17     would you say?

18     A.   Well, I would talk to John about what his assignments were

19     on the case and what he was supposed to be doing on the case.

20     I did that regularly.      It was a nonstop kind of back-and-forth

21     activity between the two of us.       I knew what he was doing.      I

22     knew what his assignments were on the case.

23     Q.   Do you consider Mr. Fawcett to be a professional?

24     A.   Definitely.    He is a long-standing researcher,

25     investigator.    He was someone that we trusted as a


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1      professional.     He was someone who was a colleague and a peer to

2      all of us at the firm.

3      Q.   Did you communicate with Mr. Fawcett about the protective

4      orders in this case?

5      A.   Yes, of course.    We worked with the protective orders

6      almost constantly on the case, and we were always

7      drafting -- every time we submitted something to the court,

8      every time we had any kind of hearing with the court, we were

9      working with the protective orders to make certain that we were

10     not revealing any protected information.

11     Q.   There was some testimony that you were not privy to about

12     Mr. Kreindler and his media presence and his public statements

13     that he dislikes the protective orders in this case.          Did you

14     ever find that Mr. Kreindler's public statements about the

15     protective orders suggested within the office that they need

16     not be adhered to?

17     A.   Never, no.    The orders were a source of frustration in that

18     we couldn't share certain information with our clients, but we

19     adhered to them strictly and it was something we obeyed all the

20     time.   There was no question about it.

21     Q.   Did Mr. Fawcett ever indicate to you in any way his

22     awareness of his obligations under the protective orders?

23     A.   Yes.

24     Q.   How did he do that?

25     A.   Well, as I said before, it was a matter, we were working


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1      together on various projects and were always discussing the

2      protective orders and how they applied to certain documents we

3      were filing, or certain communications we were having.          It was

4      just a given in everything that we were doing.

5      Q.   So did Mr. Fawcett ever give you any reason to suspect that

6      he would not be honoring his obligations under the protective

7      orders?

8      A.   Never.

9      Q.   Are you aware of any complaints about Mr. Fawcett, by the

10     clients or by others, in all the years that you have worked

11     with him?

12     A.   I never heard any complaints about Mr. Fawcett, never.

13     Q.   Have you ever heard anyone accuse Mr. Fawcett of behaving

14     in an unprofessional manner?

15     A.   Never.

16     Q.   Is it your view that Mr. Fawcett is irresponsible or

17     unprofessional in any way?

18     A.   I have never known him to be that way, and this was the

19     first time I had ever known him to do anything that was

20     out-of-bounds, and it was a shock when it happened.

21     Q.   Did you order or direct Mr. Fawcett to share the transcript

22     of Mr. Jarrah's deposition with Mr. Isikoff?

23     A.   No.

24     Q.   Were you aware at any time prior to September 27 that it

25     was Mr. Fawcett who shared the Jarrah transcript with


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1      Mr. Isikoff?

2      A.   No.

3      Q.   As we discussed, you never had any reason to suspect that

4      it was Mr. Fawcett who shared the Jarrah transcript with

5      Mr. Isikoff, is that correct?

6      A.   I didn't have any reason to suspect that he did that.

7                 MS. KIRSCH:    I have no further questions.

8                 THE COURT:    Thank you.

9                 MR. SHEN:    No questions.

10                THE COURT:    You win the award for the shortest

11     witness.

12                Thank you, sir.

13                (Witness excused)

14                THE COURT:    Counsel.

15                MR. HANSEN:    Your Honor, we call Mr. Fawcett.

16                MS. KIRSCH:    Your Honor, I know your Honor has

17     indicated we should finish today, which we wholeheartedly agree

18     with.   I don't know if there is some way to apportion time to

19     ensure that if there is any need for the Kreindler firm to have

20     an opportunity to question Mr. Fawcett as well.         I don't know

21     how your Honor wants to proceed.

22                THE COURT:    Fair and good question.     Let's go about an

23     hour and see where we are, but I will make sure you have an

24     opportunity.

25                (Continued on next page)


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1        JOHN FAWCETT,

2            called as a witness by the Kingdom,

3            having been duly sworn, testified as follows:

4                  THE DEPUTY CLERK:   Would you please state your full

5      name for the record.

6                  THE WITNESS:   John Fawcett.

7                  THE COURT:   Mr. Fawcett, you can be seated.      We are

8      going to ask you to keep your mask on.        I am afraid that's our

9      court requirement for COVID protocols.

10                 I am also going to ask you to hand me that binder, and

11     I am going to give you this big binder.        Those are the Kingdom

12     exhibits.     They will likely show you exhibits on the monitor.

13     You will also be able to see those in the binder.

14                 Just move close to the microphone so everyone can hear

15     you clearly, especially the court reporter.

16     CROSS-EXAMINATION

17     BY MR. HANSEN:

18     Q.   Good afternoon, Mr. Fawcett.

19     A.   Good afternoon.

20     Q.   If you would speak up, I would appreciate it.

21                 Mr. Fawcett, you are here today represented by

22     counsel?

23     A.   Yes, I am.

24     Q.   That's these folks sitting here to the left?

25     A.   Yes.


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1      Q.   Are they counsel paid for by Kreindler & Kreindler?

2      A.   I believe so, yes.

3      Q.   Mr. Fawcett, you have worked for Kreindler & Kreindler for

4      almost 20 years?

5      A.   Yes.

6      Q.   You have worked directly under the supervision of James

7      Kreindler, correct?

8      A.   Amongst others, yes.

9      Q.   And pretty much the total source of your income over those

10     close to 20 years has come from Kreindler & Kreindler?

11     A.   80 to 90 percent.

12     Q.   Your work at Kreindler & Kreindler includes managing all

13     discovery material in the 9/11 case, right?

14     A.   Yes, in part.

15     Q.   I'm sorry?

16     A.   In part, yes.

17     Q.   But you do that?

18     A.   Yes, I do.

19     Q.   You did it through September 27th of this year?

20     A.   Yes, I did.

21     Q.   Would it also be fair to say dealing with the press on the

22     9/11 case is also part of your job at Kreindler & Kreindler?

23     A.   Yes, on occasion.

24     Q.   When you do that, do you bill for your time?

25     A.   Sometimes.


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1      Q.   When do you not do it?

2      A.   When I'm doing it, it's kind of more background research

3      than work.

4      Q.   But when you are briefing reporters on a subject that Mr.

5      Kreindler is also talking to reporters about, is that part of

6      your duties for which you seek compensation and bill?

7      A.   I am not sure if I billed directly for that.        I don't

8      recall in my time records putting that.

9      Q.   You record your hours every day when you're working on the

10     case?

11     A.   Yes, I do.

12     Q.   Do you include within those hours time spent dealing with

13     press matters?

14     A.   Not very often.

15     Q.   Would you say, Mr. Fawcett, that you have a certain amount

16     of loyalty for Mr. Kreindler as a result of your long work

17     together?

18     A.   Yes.

19     Q.   So, I am going to ask you some questions about your state

20     of mind at the time that you provided these sworn declarations

21     to the court on September 27 and September 30.

22                 Were you aware at the time you provided those

23     declarations that what you were claiming in your declarations

24     could subject you to criminal prosecution?

25     A.   Not now I wasn't.


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1      Q.   Had anyone at Kreindler & Kreindler, before you submitted

2      those declarations, ever said to you, in words or substance,

3      John, you're basically admitting to a crime here, you ought to

4      seek counsel?

5      A.   No, I don't think so.

6      Q.   Were you aware when you gave those declarations that

7      deliberately violating a court order could be a crime?

8      A.   No, I didn't realize that at the time.

9      Q.   When you submitted those sworn declarations, were you aware

10     that destroying evidence that might be needed in a proceeding

11     could subject you to obstruction of justice charges, also a

12     crime?

13     A.   No, I hadn't considered that.

14     Q.   When you submitted your declarations, were you aware that

15     submitting false declarations could subject you to perjury

16     charges?

17     A.   Yes, I did.

18     Q.   Are you aware sitting here today that any false testimony

19     you give today could likewise subject you to perjury charges?

20     A.   Yes, I am aware.

21     Q.   If you had known the full extent of the criminal

22     consequences of submitting your sworn declarations, Mr.

23     Fawcett, would you have submitted those declarations on

24     September 27 and September 30?

25     A.   I don't know, really.


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1      Q.   Let's talk for a minute about the protective orders.

2                 You're aware that there are two such orders in this

3      case?

4      A.   That's right.

5      Q.   The MDL protective order and the FBI protective order?

6      A.   Correct.

7      Q.   Before you did any work under those orders, you studied

8      them and understood them?

9      A.   I wouldn't say I studied them.      I had read them.

10     Q.   You're hesitating.

11     A.   Well, studied implies a lot of understanding.

12     Q.   I will start with the MDL order.       That was issued in 2006

13     by Judge Casey, correct?

14     A.   I believe so, yes.

15     Q.   Did you read that order?

16     A.   Yes, I did.

17     Q.   You're hesitating.

18     A.   Well, I don't remember the exact point, but I would have

19     read it at the time, yes.

20     Q.   When you read it, do you remember that you understood every

21     piece of it?

22     A.   No, I didn't.

23     Q.   Let's go to the FBI protective order.

24                Are you familiar with that order?

25     A.   Yes, I am.


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1      Q.   Is that yes, ma'am?

2      A.   Yes, I am.

3      Q.   Were you aware that's an order that was entered by this

4      court in 2018?

5      A.   Yes.

6      Q.   Did you read every line of that?

7      A.   Yes, I would have at the time.

8      Q.   Did you understand every line of that order?

9      A.   No, I didn't.

10     Q.   Why are you giving me that answer?

11     A.   Because things were pointed out to me after my

12     declarations.

13                 MR. GERBER:    Your Honor, I think we are getting close

14     to some privileged communications, if you could instruct the

15     witness.

16                 THE COURT:    To the extent you are answering based on

17     discussions you have had with your lawyer, you shouldn't answer

18     those questions.     To the extent, when you read the protective

19     order, that you had questions or didn't understand it, you can

20     answer that question.

21                 THE WITNESS:    OK.

22     BY MR. HANSEN:

23     Q.   Putting aside anything your lawyer told you, Mr. Fawcett,

24     what was it about the protective order that you didn't

25     understand?


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1      A.   I'm a little confused as to whether I should answer this or

2      not.

3                 MR. GERBER:    Your Honor --

4                 THE COURT:    Sir, when you read the protective order,

5      did you understand what it meant?

6                 THE WITNESS:    I did at the time, but things were

7      pointed out later that I realized I didn't understand it.          I

8      thought I understood at the time, but in hindsight there were

9      some aspects that I did not understand.

10                MR. HANSEN:    Let me try a different way, your Honor.

11     Q.   You're not a lawyer, are you, Mr. Fawcett?

12     A.   No, I'm not.

13     Q.   You were working with a number of lawyers at Kreindler &

14     Kreindler, were you not?

15     A.   Yes, I was.

16     Q.   Did any of the lawyers at Kreindler & Kreindler explain to

17     you the various provisions of the FBI protective order so you

18     could be sure you understood it?

19     A.   We would have discussed both protective orders

20     occasionally.    I don't remember going through it line by line.

21     Q.   No one ever gave you a full briefing of every provision of

22     the FBI protective order?

23     A.   No, I don't think so.

24     Q.   From your understanding, and I don't want to get what your

25     able counsel has told you, what does the FBI protective order


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1      provide in terms of a deposition transcript that has not been

2      reviewed by the FBI?

3                 MR. GERBER:   Objection.    If we could just get clarity.

4      Is he asking the witness for his understanding in an earlier

5      period or his understanding now?       I think the timing is going

6      to matter here, your Honor.

7                 MR. HANSEN:   Let me back up.

8      Q.   Before you hired current counsel, at the time you submitted

9      your declarations, tell us what you understood the FBI

10     protective order provided in terms of a deposition transcript

11     in this case that had not yet been fully reviewed by the FBI.

12     A.   What comes to mind is that the material -- the portions of

13     the transcript based on the FBI protected material was FBI

14     protected.    That's the way I was viewing it.

15     Q.   Did you ever actually read the order?

16     A.   Yes, I have read the order.

17     Q.   Let's look at it together for a minute.

18                MR. HANSEN:   Let's get up on the screen the order in

19     this case.    This is Exhibit 15, which I don't believe we have

20     to offer it into evidence because it's a court filing.          If

21     counsel disagrees, we can have that dispute now.

22                MR. GERBER:   No objection.

23                THE COURT:    Thank you.

24                This is KSA 15.

25                MR. HANSEN:   Let's highlight paragraph 10, please.


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1      BY MR. HANSEN:

2      Q.   You see here it says, "Pending review of the deposition

3      transcript by the FBI, any deposition transcripts containing

4      such questions and testimony shall be automatically subject, in

5      their entirety, to the same protections and precautions as the

6      protected information.      Upon receipt of the deposition

7      transcript, a copy shall be served on the FBI by the PECs.           The

8      FBI will have 30 days to review and designate the portions of

9      the transcript that contain protected information."

10                Had you read that language, Mr. Fawcett?

11     A.   I read it, but this is the piece that I didn't appreciate

12     until later.

13     Q.   You were handling all the depositions in this case as part

14     of your job supervising the discovery material for Kreindler &

15     Kreindler, correct?

16     A.   I'm not sure I understand what you mean.

17     Q.   No one at Kreindler & Kreindler informed you that you

18     needed to treat all these deposition transcripts as fully

19     confidential under the FBI order until such time as this had

20     been complied with, right?

21     A.   I believe we did protect them.

22     Q.   The Al Jarrah testimony?

23     A.   With that exception.

24     Q.   How can you say that when you didn't even know what the

25     rule provided?


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1      A.   We just generally protected all material.        It was not

2      readily available.

3      Q.   You didn't even understand the order, did you?

4      A.   This clause I did not, I admit.

5      Q.   I am going to ask you just a few questions about the

6      protective order violation found by this court in 2017.

7                 Were you aware that --

8                 MR. GERBER:    Objection, your Honor.     We understand, of

9      course, that the court has found a waiver of the Fifth

10     Amendment with regard to the subject matter of the

11     declarations.    This goes far beyond that, literally years back.

12     We respectfully submit that is not covered by the finding of

13     waiver by the court, and we would advise our client not to

14     answer questions regarding that other subject matter based on

15     his Fifth Amendment privilege against self-incrimination.

16                THE COURT:    Are you permitting your client to answer

17     questions about his knowledge of those events in the court's

18     findings or in its entirety?

19                MR. GERBER:    Fair enough.   To the extent that the

20     question is about the court's findings, yes, fair, he can get

21     into that.    I do want to make clear our position, to the extent

22     he is going to be asked questions regarding his own conduct.

23                THE COURT:    His involvement.    Then he asserts the

24     Fifth.

25                MR. GERBER:    Yes, your Honor.


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1                  THE COURT:    So, counsel and sir, if you want to ask

2      questions about what Mr. Fawcett knew about those allegations,

3      the court record, etc., those are questions that you may

4      answer.     To the extent you intend to ask questions of Mr.

5      Fawcett about his involvement in those allegations, where the

6      court found breach or where the FBI made an allegation of

7      breach, your lawyer is advising you to take the Fifth Amendment

8      and decline to answer those questions.

9                  Do you understand that?

10                 THE WITNESS:    No, I don't entirely.

11                 MR. HANSEN:    Can I just ask the questions?     I think

12     the questions will sort this out.

13                 THE COURT:    You can proceed, and counsel and I will

14     both watch carefully.

15     BY MR. HANSEN:

16     Q.   I am going to ask about your state of mind, Mr. Fawcett.

17                 Were you aware in 2017 that this court entered a

18     finding of a protective order violation by Kreindler &

19     Kreindler?

20     A.   Yes.

21     Q.   Who did you understand the court to have found to have

22     violated the protective order?

23     A.   I don't really recall.

24     Q.   Do you know whether it was you or Mr. Kreindler himself?

25     A.   I believe they found Jim responsible.


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1      Q.   Both you and Mr. Kreindler had talked to Caleb Hanan,

2      correct?

3                 MR. GERBER:    Objection, your Honor.

4                 THE COURT:    I think the witness is going to take the

5      Fifth to that question.

6      Q.   Are you going to follow your counsel's advice and invoke

7      your Fifth Amendment privilege against self-incrimination and

8      refuse to answer my last question?

9      A.   I would like to assert my Fifth Amendment privilege.

10                MR. HANSEN:    I couldn't hear the answer, your Honor.

11                THE COURT:    He said yes.

12     Q.   All right, Mr. Fawcett.     As a result of your

13     awareness -- actually, let me back up.

14                Were you aware that the court in 2017 also issued an

15     instruction to counsel to be exceedingly discreet in dealing

16     with protected material in the future?

17     A.   I don't remember sitting here today the order.

18     Q.   Were you aware in 2017 that the court had issued no

19     particular sanction against the violator of the protective

20     order?

21     A.   I don't remember exactly.

22     Q.   Were you present in the courtroom during the hearing on

23     that particular violation?

24     A.   No.

25     Q.   Did you read the transcript of that hearing?


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1      A.   I may have read it at the time.      I don't recall it right

2      now.

3      Q.   You think you likely did?

4      A.   Yeah, I likely did.

5      Q.   So you would have seen that the court gave a warning,

6      called it a first warning, that violations would be dealt with

7      differently in the future, correct?

8      A.   I don't remember it at the moment, no.

9      Q.   So let's move forward in time to 2021.

10                You are aware, are you not, Mr. Fawcett, that your

11     boss, Mr. Kreindler, gave an interview to Michael Isikoff for

12     his podcast on July 1, 2021, correct?

13     A.   I don't recall the date, but in that time frame, yes.

14     Q.   I will represent to you that we have evidence in the record

15     of that, just to anchor you in time.

16                Mr. Kreindler was speaking to the reporter,

17     Mr. Isikoff, at that time with your knowledge, correct?

18     A.   Right.

19     Q.   And you were likewise speaking to the same reporter,

20     Mr. Isikoff, in the same time period, correct?

21     A.   Right.

22     Q.   In fact, you had a number of telephone calls and text

23     messages with Mr. Isikoff in the days immediately after July 1,

24     did you not?

25     A.   Yes, I believe so.


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1      Q.   In fact, let's go to another exhibit, if we could.         This is

2      Exhibit 134.

3                  MR. HANSEN:   I am going to offer them into evidence.

4      They were records produced by Mr. Fawcett in response to a

5      court order.

6                  We offer them.

7                  MR. GERBER:   No objection, your Honor.

8                  THE COURT:    KSA 134 is admitted.

9                  (KSA Exhibit 134 received in evidence)

10     Q.   So, these are your phone records for your personal cell

11     phone, Mr. Fawcett?

12     A.   Yes.

13     Q.   If you look at the top of the page, we will highlight it,

14     we have four entries for a number 202-258-2535.

15                 You recognize that to be Michael Isikoff's telephone

16     number, don't you?

17     A.   Yes, I do.

18     Q.   One of the calls is for 22 minutes?

19     A.   Yes.

20     Q.   And you were talking to Mr. Isikoff about the 9/11 cases,

21     correct?

22     A.   Yes, I was.

23     Q.   And you were talking to Mr. Isikoff about leaking the Al

24     Jarrah deposition transcript to Mr. Isikoff, weren't you?

25     A.   We were talking about the Jarrah deposition.


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1      Q.   Did you tell him in those calls, in words or substance,

2      that you were going to give him the Al Jarrah deposition

3      testimony?

4      A.   I'm not entirely sure if it was in that conversation we

5      would have been discussing the deposition.

6      Q.   Mr. Fawcett, jumping a little ahead in time, just for

7      purposes of the next few questions, you are aware that the

8      court ordered you on August 30 to both provide a declaration

9      and to provide any and all communications you had with

10     Mr. Isikoff, correct?

11     A.   Yes.

12     Q.   Isn't it true, sir, that none of these calls I am showing

13     you to you were ever disclosed to the court until we got a

14     court order to provide further discovery?

15     A.   I guess I don't understand.

16     Q.   OK.    These calls were not disclosed in your September 27

17     declaration, were they?

18     A.   No, I don't think so.

19     Q.   These calls were not disclosed in your September 30

20     declaration, were they?

21     A.   No, I don't believe so.

22     Q.   In addition to calls, you also had a number of texts with

23     Mr. Isikoff, did you not?

24     A.   If I could maybe correct that, I believe the declarations

25     did include discussion of the calls, or reference to calls.


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1      Q.   I'm sorry.    You believe there was reference?

2      A.   Yes, I believe so.

3      Q.   You think there was one in your September 27 declaration?

4      A.   I'm not sure which one it is, or both of them.

5      Q.   Well, you could take a look at both of them.

6                  I will represent to you there is some references to

7      phone calls in your September 30 declaration.         So let's go to

8      that.   That's Exhibit 59.

9                  You're familiar with this declaration?

10     A.   Yes, I am.

11     Q.   You say in here, in paragraph 3, you privately communicated

12     with Michael Isikoff several times, correct?

13     A.   Yes.

14     Q.   Let's go further on down.      Go to the next page, please.

15     There is a reference to your first call.        Let's see where we

16     can find that.

17                 MR. HANSEN:   It's a little further down.

18                 Can we keep going, please?

19     Q.   There is a reference in paragraph 8 to a second phone call?

20     A.   Yes.

21     Q.   Let's go back to paragraph 3.      I didn't see it.

22                 There are three calls.

23                 MR. HANSEN:   Paragraph 3, please, Geoff.

24     Q.   Paragraph 3.    You believe the first time was in early July,

25     correct?


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1      A.   Correct.

2      Q.   Now, let's go to paragraph 8.

3                 You had a second call with him about the timing?

4      A.   Right.

5      Q.   When was that?

6      A.   This would have been after the first call but prior to the

7      publication.

8      Q.   It's not July 3, is it?

9      A.   No.   My understanding is the first call would be July 3.

10     Q.   How about the third call you reference here?

11                MR. HANSEN:   Take that down and go to the third call

12     in paragraph 10.

13     Q.   The third call, when was that?

14     A.   Well, before the publication.

15     Q.   That's not these calls we were just looking at, was it?

16     A.   No.   I believe July 3rd is the first call.

17     Q.   So you didn't disclose at least some of these calls, and

18     there were others, were there not, that you didn't disclose?

19     A.   I don't believe so.

20     Q.   Let's look at your records then.

21                MR. HANSEN:   If we can put up Exhibit 138.

22                We offer 138.

23                THE COURT:    Any objection, counselor?

24                MR. GERBER:   No, your Honor.

25                THE COURT:    We will admit KSA 138.


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1                 (KSA Exhibit 138 received in evidence)

2      Q.   These are your records.     If you look at the top of the

3      page, there is one to Mr. Isikoff on July 12; there is a second

4      one on July 12; there is a third one on July 12; and then there

5      are two more entries for August 2nd.

6                 So is it fair to say, Mr. Fawcett, that you did not

7      disclose to the court all of the contacts you had with

8      Mr. Isikoff by phone in either of your declarations?

9      A.   No.   I think those are the calls.

10     Q.   Your declaration talks about three calls, and we have just

11     shown you about ten.     All of them weren't disclosed, were they?

12     A.   Well, for instance, the way I kind of read this, there are

13     two calls on June 12, one is a call coming in and one is a call

14     going out.    I consider those one call.      Either he is calling me

15     or I'm calling him, and the other person is not answering and

16     so they return the call five minutes later.         That's one call.

17     Q.   The record will be what the record is.

18                Do you believe you disclosed all of your calls with

19     Mr. Isikoff in your sworn declaration?

20     A.   I believe so.

21     Q.   Even though you only referenced three calls?

22     A.   The July 3rd calls are essentially one call.

23     Q.   I see.

24                How about texts, were you aware that you were supposed

25     to tell the court about text messages as well?


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1      A.   I don't recall.

2      Q.   Did you read the court's August 30 order about what you

3      were required to disclose?

4      A.   I'm sure I did.

5      Q.   The court ordered you to disclose all communications with

6      Mr. Isikoff, correct?

7      A.   I don't have it in front of me.      I don't know.

8      Q.   Do you consider text messages communications?

9      A.   Yes, I would.

10     Q.   You had multiple text messages with Mr. Isikoff, didn't

11     you?

12     A.   I don't recall how many I had.

13     Q.   Let's look at, for example, Exhibit 82.        These are signal

14     messages between you and Mr. Isikoff.

15                MR. HANSEN:   I am offering this also, by the way,

16     Exhibit 82.

17                THE COURT:    Any objection?

18                MR. GERBER:   No, your Honor.

19                THE COURT:    KSA 82 is admitted.

20                (KSA Exhibit 82 received in evidence)

21     Q.   So, you also communicated with Mr. Isikoff by the signal

22     channel, correct?

23     A.   Yes, because the phone was not working, something is not

24     working.

25     Q.   Were you aware that you had these communications with


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1      Mr. Isikoff at the time that you submitted your sworn

2      declarations on September 27 and September 30?

3      A.   I'm not sure I really looked through my signal messages.

4      Q.   Why would you not look if you were trying to be accurate

5      for the court?

6      A.   I don't know.    I don't have an answer to that.      I was just

7      talking about the phone calls relating to the transcript.

8      Q.   Actually, these are very significant texts, aren't they,

9      because they help us date when somebody provided the transcript

10     to Mr. Isikoff.

11                 Let's go down to the bottom of this signal call chain,

12     the very last entry.     This is on the 5th of July.      This is four

13     days after Mr. Kreindler does his podcast, correct?

14     A.   Correct.

15     Q.   And you have been speaking with him by phone during this

16     period, correct?

17     A.   Yes, I have.

18     Q.   And Mr. Isikoff asks you, "Did Thumairy also invoke Vienna

19     Convention?"

20                 Do you see that?

21     A.   Yes.

22     Q.   So we know from this text message that by July 5,

23     Mr. Isikoff has the Al Jarrah transcript, because Al Jarrah in

24     that transcript, which Mr. Isikoff then publishes about, had

25     invoked the Vienna Convention, correct?


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1      A.   I don't know that for sure.

2      Q.   Well, do you know any other reason why Mr. Isikoff would

3      know about Al Jarrah invoking the Vienna Convention?

4      A.   If we had discussed it on the 3rd, yes.

5      Q.   So in addition to sending the transcript, you also

6      disclosed the contents of depositions orally to Mr. Isikoff in

7      your calls, is that what you're telling us?

8      A.   I remember talking about certain aspects of the deposition.

9      Q.   Let's look at what Mr. Isikoff wrote after you talked to

10     him and apparently provided him with the transcript.

11                MR. HANSEN:   Exhibit 40, please.

12     Q.   This is his story, dated July 15.

13                MR. HANSEN:   We offer Exhibit 40.

14                MR. GERBER:   No objection.

15                THE COURT:    KSA 40 is admitted.

16                (KSA Exhibit 40 received in evidence)

17                MR. HANSEN:   Let's go to page 4, please.      If we could

18     highlight the penultimate paragraph.

19     Q.   Here, Mr. Isikoff writes that there was a reference to an

20     instruction not to answer on the grounds of Vienna Convention.

21     He is talking about the Al Jarrah deposition, correct?

22     A.   Correct.

23     Q.   And you had provided him with that information, correct?

24     A.   It's in the transcript.

25     Q.   And he is asking you about it as early as July 5.         So can


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1      we conclude that you probably gave him the transcript by July

2      5?

3      A.   I don't have any disagreement with that.        I did give him

4      the transcript.     I don't remember the exact date, but July 5

5      sounds about right.

6      Q.   Let's go to July 15.     This is the article that alerts

7      everyone that someone has violated the protective order by

8      giving a transcript to Mr. Isikoff.

9                 Were you aware of Mr. Isikoff's article on July 15?

10     A.   Yes, I was.

11     Q.   I just want to be very clear about these questions.

12                Did anyone from Kreindler & Kreindler, on July 15 or

13     at any time prior to September 27, ask you directly, in words

14     or substance, John Fawcett, did you disclose the Al Jarrah

15     testimony to Michael Isikoff?

16     A.   I don't recall directly, but in substance, yes, they would

17     have asked in substance.

18     Q.   Why are you hesitating?     Did Jim Kreindler ever come to you

19     and say, John Fawcett, did you disclose the transcript to

20     Michael Isikoff?

21     A.   Not in those exact words, no.

22     Q.   Did you lie to Jim Kreindler?

23     A.   I misled him.

24     Q.   How about Andrew Maloney, did Andrew Maloney ever come to

25     you and ask you, in words or substance, Mr. Fawcett, did you


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1      disclose the transcript to Michael Isikoff?

2      A.   I don't remember him specifically saying that.

3      Q.   At any point?

4      A.   I don't remember that, no.

5                 (Continued on next page)

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1      Q.   How about Megan Benett?     Did Megan Benett at any point come

2      to you, in words or substance:       John Fawcett, did you give the

3      Al Jarrah transcript to Michael Isikoff?

4      A.   When you say "in substance," it implies there's other --

5      it's not direct, in other words, asking me directly, did you do

6      that?   I don't remember them saying that, but in substance.

7      Q.   When did she do that, whatever it was that was -- you're

8      referring to?

9      A.   Well, I would say it's -- it was much more -- at that

10     period of time, it was much more Maloney's role.

11     Q.   Let's back up.    I want to make sure we're very clear about

12     that.   With Mr. Kreindler you say you misled?

13     A.   Yes.

14     Q.   When did this happen?

15     A.   I think between the time the investigation began and

16     September 27.

17     Q.   How did you mislead him?

18     A.   By not -- by not openly telling them that I was the source

19     of the leak.

20     Q.   OK.    Let's distinguish a couple of things.

21                 You didn't tell them you were the source of the leak,

22     correct?

23     A.   Correct.

24     Q.   Did he ask you if you were the source of the leak?

25     A.   Not directly, but I knew the investigation was ongoing.


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1      Q.   But my question is does he come to you and say, ask you the

2      question, did you disclose this transcript?

3      A.   I don't remember that, no.

4      Q.   Did Megan Benett come to you and say, did you disclose this

5      transcript?

6      A.   No, I don't recall that.

7      Q.   Did Andrew Maloney come to you and say, did you disclose

8      the transcript?

9      A.   I don't recall that.

10     Q.   Did Steven Pounian come to you and say, did you disclose

11     the transcript?

12     A.   No, I don't recall that.

13     Q.   And by the way, you put in your own declaration that you

14     destroyed evidence, correct?

15     A.   Yes, I did.

16     Q.   And you knew at the time you destroyed this evidence that

17     this court proceeding, this MDL proceeding, was in progress,

18     correct?

19     A.   What do you mean the "proceeding"?       The investigation?

20     Q.   The case.

21     A.   The case was in progress.

22                THE COURT:   He's referring to --

23     A.   The 9/11 case?

24                THE COURT:   Yes, he's referring to the 9/11 case.

25     A.   The 9/11 case, certainly.


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1      Q.   You knew if there was any disclosure of a protective order

2      violation, the court would have an investigation?

3      A.   I wasn't -- I wasn't thinking about an investigation, no.

4      Q.   It was obvious, wasn't it?

5      A.   Well, it was not to me.

6      Q.   Let's talk about your destruction for a minute.         When did

7      you destroy the email that communicated the transcript to

8      Mr. Isikoff?

9      A.   If I recall correctly, it was set on auto-destruct.

10     Q.   When did you make that setting on your computer?

11     A.   When I would have sent it to him.

12     Q.   As early as the initial sending of the transcript, you set

13     the auto-destruct to destroy the email?

14     A.   Yes.

15     Q.   You're pretty sure of that?

16     A.   Yes.

17     Q.   How about the thumb drive on which you downloaded the

18     transcript --

19     A.   Right.

20     Q.   -- from the Kreindler system?      You destroyed that, too, did

21     not you?

22     A.   Yes, I did.

23     Q.   When did you destroy that?

24     A.   I don't recall when it was destroyed.       I had a group of

25     thumb drives.    I had four or five thumb drives.       I destroyed


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1      them all at once.

2      Q.   Well, this is pretty consequential, isn't it?        It might

3      matter quite a lot when you destroyed it.        Can you do your best

4      to tell us when you destroyed this information.

5      A.   I really -- I thought about this, and I don't remember

6      destroying it in the sense of destroying the transcript.          I was

7      getting rid of the four or five thumb drives on my desk at

8      home.

9      Q.   So there's no connection between your destruction of the

10     thumb drive of this evidence and your being discovered?

11     A.   No.   I had a lot of thumb drive that were all -- every time

12     I was using them, they were coming up with error messages, so I

13     just --

14     Q.   So it's possible that you destroyed this thumb drive after,

15     say, July 21, 2021?

16     A.   I don't really remember when it was.       It was sometime in

17     the summer.

18     Q.   Is it possible you destroyed that thumb drive after the

19     Court issued its first orders in this matter about

20     investigations?

21     A.   I don't remember which date that is.

22     Q.   So you have no idea?     It could have been anytime in the

23     summer?

24     A.   I think it's anytime in the summer.       It -- when it

25     started -- sorry.


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1      Q.   All the way to Labor Day?

2      A.   Yeah, I suppose that's correct.

3      Q.   How did you destroy the thumb drive?

4      A.   First I tried -- I had four or five of them.        I tried to

5      open them.    I was going -- fed up with them because they

6      weren't working, and I like to have one to take back and forth

7      to the office.

8      Q.   Did you break it in two?      Did you throw it in the trash?

9      A.   No, I threw it in the trash.

10     Q.   And I should have asked you this before, but when I was

11     asking about your being interrogated by Kreindler, they asked

12     you to sign a declaration, did they not, saying that you had

13     lied to them, and you refused to do it?

14     A.   No, I don't recall.

15     Q.   Let's look at a document that's already in evidence, which

16     is Exhibit -- sorry, here.       I'll get it right for you.     121, I

17     believe.    Yeah.

18                Do you recall being sent a draft in an email for you

19     by either Mr. Pounian or Ms. Benett that you then edited to

20     take out the words "until today I had told/Kreindler &

21     Kreindler that I did not know how Michael Isikoff had obtained

22     the transcript"?

23                MR. GERBER:   Objection.    This is an attachment.     Can

24     he see the cover email to this document?

25                THE COURT:    Sure.   Mr. Hansen, can you just show the


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1      email that this draft is attached to --

2                  MR. HANSEN:    Yep.

3                  THE COURT:    -- or direct the witness.    He can just

4      look at the hard copy.       Here we go.

5      BY MR. HANSEN:

6      Q.   There you go.    That's the cover.      Let me know when you're

7      ready to answer questions.

8      A.   OK.

9      Q.   OK.    Can we go back to the text.

10                 Is that edit -- I don't have to read it again.       Is the

11     edit I just referenced an edit you made to this document?

12     A.   Let me see the whole page.

13     Q.   Sure.

14                 THE COURT:    It's in that binder at Exhibit 121 if you

15     want to look at a piece of paper.

16                 THE WITNESS:    I can see it.

17     Q.   You can tell me you don't know.        You can tell me yes.   You

18     can tell me no.

19     A.   I'm sorry.    What is the question?

20     Q.   Well, I'll repeat it.

21                 I'm asking if you, John Fawcett, made the edit to this

22     document that's indicated in the redline in the second and

23     third lines of paragraph 3?

24     A.   The edit meaning the -- the deletion with the red line?

25     Q.   Yes.


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1      A.   I'm not sure.    If it's -- if this is an email from me, then

2      I would have made it.      If this is an email coming back, then --

3      Q.   But do you recall being presented with a declaration that

4      said you'd lied to Kreindler & Kreindler and you crossing that

5      out because you hadn't done that?

6      A.   No, I don't -- I'm -- not quite understood that.

7      Q.   Did you tell anyone at Kreindler & Kreindler that the text

8      of this particular document was inaccurate in lines 2 and 3 of

9      Exhibit 121?

10                MR. GERBER:   Lines 2 and 3?

11                MR. HANSEN:   Lines 2 and 3 of paragraph 3,

12     Exhibit 121.

13     A.   I mean, I was very clear with them that I -- that the first

14     time they had heard about it was the day I signed this

15     declaration.

16     Q.   I'm not asking you about that.

17                Do you have any knowledge of why this was struck out

18     in this draft?

19     A.   I think because it -- maybe it doesn't just -- just doesn't

20     flow well.    It's --

21     Q.   Bad grammar?

22     A.   Yeah, I think it's --

23     Q.   Oh, please.

24                Mr. Fawcett, I'll move on to a different subject,

25     July 21.    You were aware on July 21 that the defendant


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1      Saudi Arabia had told the Plaintiffs' Executive Committee it

2      was going to ask the Court for a court-ordered investigation of

3      this protective order violation, correct?

4      A.   I don't recall.

5      Q.   Well, the very next morning, according to records produced

6      in this case, you had a long phone call with Jim Kreindler,

7      didn't you?

8      A.   I'll take -- I'll take your word.       I don't know.

9      Q.   Well, let's show you the document, the reference.

10     A.   All right.

11                 MR. HANSEN:   If we could put up on the screen

12     Exhibit 135, Exhibit 135.      These are your phone records, and I

13     will offer Exhibit 135 if it's not already in evidence.

14                 MR. GERBER:   No objection.

15                 THE COURT:    All right.   KSA 135 is admitted.

16                 (KSA Exhibit 135 received in evidence)

17     BY MR. HANSEN:

18     Q.   If we go to the entry of 9:17 a.m., you see that on pretty

19     much first thing in the morning on the 22nd -- and I will

20     represent to you that lawyers for Saudi Arabia had sent an

21     email the day before to the Plaintiffs' Executive Committee

22     saying they were going to ask for an investigation.          On the

23     22nd, you have a 46-minute call with Jim Kreindler, correct?

24     A.   Yes.

25     Q.   In that call you talked about the fact that you had


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1      provided the Al Jarrah transcript to Michael Isikoff, correct?

2      A.   No.

3      Q.   You strategized with Mr. Kreindler as to how you were going

4      to deal with this problem, didn't you?

5      A.   No, that's not correct.

6      Q.   You talked about what you would need to do to protect

7      yourself, correct?

8      A.   No, that's not correct.

9      Q.   What did you talk about in this 46-minute call?

10     A.   I -- I don't know.     That might have been a conference call

11     with others.    There may have been -- I talked with Jim often.

12     Forty-six minutes is a long call.       That tends to tell me it's

13     a -- it's more than one person.       But I never discussed the

14     Jarrah transcript or my leaking of the Jarrah transcript with

15     anyone.

16     Q.   How many times in July did you have a 46-minute call with

17     Jim Kreindler one on one?

18     A.   I don't know.    That's why that tends to tell me that it's,

19     you know -- we often had conference calls amongst the --

20     amongst all the people working on the case.

21     Q.   Do you remember anything about what was said by you or him

22     in that call?

23     A.   I don't remember, no.

24     Q.   Anything of the subject?

25     A.   Aside from it would not have been relating to the leak to


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1      the Jarrah transcript.

2      Q.   What, if anything, in this call gave you concern about your

3      own criminal exposure?

4      A.   I -- I don't recall anything from that call.

5      Q.   Do you know a woman named Liz Crotty?

6      A.   Yes, I do.

7      Q.   Ms. Crotty is a criminal defense lawyer?

8      A.   Yes, she is.

9      Q.   Is she a personal friend of yours?

10     A.   Yes, she is.

11     Q.   You called Ms. Crotty, according to these records, almost

12     immediately after hanging up with Mr. Kreindler.         You see that

13     right above the Kreindler call?

14     A.   Yes.

15     Q.   Why did you call Ms. Crotty?

16     A.   She's my attorney, or she was my attorney.

17     Q.   Getting legal advice from her?

18     A.   I don't recall what I was doing on that, but I may very

19     well have been.

20     Q.   Were you paying her from your own pocket for this work?

21     A.   I didn't.    I had retained her years ago.

22     Q.   Who paid her fees?

23     A.   She didn't charge me any fees.      Aside from the day I

24     retained her, she charged me one dollar.

25     Q.   I recognize that your counsel's not going to want to get


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1      you into privileged information, but I'll represent that you've

2      asserted privilege over your communications with Ms. Crotty.

3      But can you tell me at least the subject matter of this

4      communication?

5                 MR. GERBER:    Your Honor, I would just ask the Court to

6      listen very carefully just to avoid any privilege waiver here.

7                 MR. HANSEN:    I believe the subject of the

8      communications is not privileged.

9                 MR. GERBER:    Your Honor, I agree that he can even

10     speak at a very high level to the subject matter.         I just want

11     to be careful the witness makes sure he understands what he can

12     and cannot get into in responding to that question.

13                THE COURT:    Do you hear your lawyer, sir?

14                THE WITNESS:    Sorry.   I was trying to remember what we

15     were talking about.

16                THE COURT:    Your lawyer said you can answer the

17     question only insofar as you can talk about the general subject

18     matter, what you were speaking with Ms. Crotty about.

19                THE WITNESS:    OK.

20                THE COURT:    Can you answer that question?

21                THE WITNESS:    I'm not -- I don't remember this call.

22     At one point in July I had made her aware that I wanted to talk

23     to her on an attorney-client basis.       I don't believe this was

24     actually -- I don't believe it was this call.

25     BY MR. HANSEN:


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1      Q.   So somehow help me with the subject matter.        Was the

2      subject matter having to do with the 9/11 case?

3      A.   I don't -- actually, I don't think so.       However, I believe

4      there's an email from me to Ms. Crotty which we produced.

5                 MR. GERBER:    Your Honor, again, to be clear, as the

6      Court said, we have asserted privilege with regard to those

7      communications.

8                 THE WITNESS:    Right.

9                 MR. GERBER:    I would ask the Court to direct my client

10     not to speak about the substance of his communications, whether

11     on the call or an email with Ms. Crotty.

12                THE COURT:    OK.   But, again, he can answer the

13     question about the general subject matter?

14                MR. GERBER:    Yes, your Honor.    Yes, your Honor.

15                THE COURT:    OK.   Sir.

16                THE WITNESS:    I do remember a call with Liz in the

17     summer in which we talked about her having run for District

18     Attorney, and she was telling me about how she felt about it

19     afterwards and having lost, and I remember that being quite a

20     long conversation.      And that's what I think --

21     BY MR. HANSEN:

22     Q.   Well, that's not privileged.

23     A.   -- this call was.

24     Q.   That would have nothing to do with attorney-client

25     privilege if she's talking about her race for District


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1      Attorney.     I'm asking you -- look, I don't want to waste a ton

2      of everybody's time, Mr. Fawcett.        You know what I'm asking.

3      If you don't want to answer it, I guess we'll just have to

4      leave --

5                  MR. GERBER:   Objection.

6      Q.   Here's the question.     No, seriously, here's the question:

7      What was the subject matter of your call with Ms. Crotty

8      immediately after hanging up with Mr. Kreindler?

9      A.   I do believe that this call was about her having run for

10     office, and we're just catching up because I had been following

11     that.

12     Q.   And yet you've asserted privilege over this call?

13     A.   Well, that's -- I remember there was a long call in which

14     that's what we talked about.

15     Q.   I'm going to ask you again.       You've asserted in good faith

16     attorney-client privilege over a call which the only thing you

17     discussed with Liz Crotty was her race for District Attorney

18     and how things were going with --

19     A.   That's why I remember why it took 22 minutes, because we

20     were talking quite a bit about her running for office.

21     Q.   Are you going to stand by that answer, Mr. Fawcett?

22     A.   Yes.

23     Q.   Recognizing the penalties of perjury are sitting here on

24     your shoulders today?

25     A.   Yes.


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1      Q.   Recognizing that your attorney's asserted privilege over

2      this communication?

3      A.   Well, yes.

4      Q.   So were you calling Mr. Kreindler almost immediately after

5      hanging up with Mr. -- with Ms. Crotty at 10:19 a.m. in order

6      to fill him in on the personal doings of Ms. Crotty and her

7      family?

8      A.   No.

9      Q.   You have a four-minute call with him.       What are you talking

10     to Mr. Kreindler about immediately after you hang up with

11     Ms. Crotty?

12     A.   I'm not sure which one you're talking about.

13     Q.   I'm sorry.    Let's see if we can highlight it.      It's two up

14     above the 12:56 -- no, it's actually right here.         You see the

15     sequence, 9:17 Kreindler, 10:41 Crotty, 12:56 Kreindler, five

16     minutes, immediately after hanging up with Ms. Crotty.

17     A.   Well, it's about two hours after.

18     Q.   It's your very next telephone call?

19     A.   Yes, that's true.

20     Q.   What are you talking to Mr. Kreindler about?

21     A.   I don't know.

22     Q.   About Ms. Crotty's family doings?

23     A.   No.

24     Q.   OK.   Let's talk about August 30.      Court issued an order on

25     August 30.    Did you receive that order on August 30?


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1      A.   Yes, I believe so.

2      Q.   Did you read it?

3      A.   Yes, I'm sure I did.

4      Q.   Did you realize you would have to submit a declaration, a

5      sworn declaration?

6      A.   Yes, I did.

7      Q.   Did you realize you were going to have to turn over all of

8      your communications with Mr. Isikoff, telephone, text, emails?

9      A.   If that's what the order said.      I don't remember exactly

10     what the order said.

11     Q.   But you realized you were going to have to do that,

12     correct?

13     A.   If that's what the order said, yes.

14     Q.   You didn't do it, did you?

15     A.   I did.    I turned over -- at least my declaration I

16     described the call.

17     Q.   You want to take a look at your declaration and find me a

18     text message?

19     A.   No.

20     Q.   Want to take the time?     We can take ten minutes here in

21     court.     You can look through all five pages, but you're not

22     going to find a single text message, are you, Mr. Fawcett?

23     A.   No.

24     Q.   You held that information back from the court, correct?

25     A.   Not deliberately.     I just -- it didn't occur to me that it


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1      was --

2      Q.   Pretty important to have a text message where the

3      reporter's asking you about invoking the Vienna Convention,

4      which is clearly evidence of a disclosure, isn't it?

5      A.   I don't know.    I didn't -- frankly, I just didn't recall.

6      Q.   Well, after August 30, when was the first time that anyone

7      from Kreindler & Kreindler asked you directly, John Fawcett,

8      you will need to give a declaration denying your complicity in

9      the leak of the transcript to Mr. Isikoff?

10     A.   Repeat the question.

11     Q.   Sure.   After the Court issued its order on August 30, when

12     was the first time that anyone from Kreindler told you that you

13     would have to issue -- sign a sworn declaration saying you

14     hadn't leaked the transcript?

15     A.   Almost immediately.     If not the same day, the day after.

16     Q.   Who asked you?

17     A.   It would have been either Duke and/or Megan.        Those were

18     the two that were involved.

19     Q.   What did Duke and/or Megan say to you at this time?

20     A.   I think they just said everybody that's had access to this

21     transcript's going to have to issue a declaration.

22     Q.   Did you say you'd be willing to do so?

23     A.   I don't think I responded.

24     Q.   You did not respond?

25     A.   I think I avoided it.


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1      Q.   OK.   Going from August 30 to September 27, tell us the

2      first time that anyone from Kreindler & Kreindler forced the

3      issue, in other words, said, John Fawcett, you're going to have

4      to sign your declaration right now?

5      A.   Well, the order had been stayed, and once that had run out,

6      then the order was live again.       That's when they reached out,

7      which would have been two or three days before I signed my

8      declaration.

9      Q.   So just let me make sure I'm understanding your answer.

10                The Court ordered that its prior order be enforced on

11     September 23.    You signed your first declaration on

12     September 27.    Are you telling us that it wasn't until two or

13     three days before September 27 that anyone from Kreindler &

14     Kreindler actually said you have to sign a declaration now?

15     A.   I think the same day the order came out, the 23rd, they

16     would have -- I believe that would have been Megan who sent --

17     Q.   And did you say, did you lie to your colleagues and say,

18     oh, sure, I'll give you a declaration saying I didn't do

19     anything?

20     A.   No.

21     Q.   Did you say anything?

22     A.   No.

23     Q.   So I'm really puzzled.     The leak's on July 15.     Kreindler &

24     Kreindler says they're going to do an investigation starting

25     July 15.    In the two months following July 15, not a single


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1      person from Kreindler & Kreindler ever insisted that you give a

2      sworn declaration about whether you knew anything about the

3      leak?

4      A.   I don't think there was any call for a declaration from me

5      until later.     There was an investigation.

6      Q.   Sir, can you answer my question?

7      A.   Yeah.

8      Q.   I'm not asking whether there was a call for it.         Can you

9      answer my question?

10     A.   Yes.

11     Q.   Do you understand my question?

12     A.   Well, if you can please repeat it.

13     Q.   In the two-month-plus period from July 15 until

14     September 23, according to what you've just told us, no one

15     from Kreindler & Kreindler insisted that you give a sworn

16     declaration?

17     A.   I think that's correct, yes.

18     Q.   All right.    So now I just want to finish up on your

19     declarations.     Your declarations are false, aren't they,

20     Mr. Fawcett?

21     A.   They were not false at the time.       There are some things in

22     there now that I realize are incorrect.

23     Q.   False, right?    False?

24                 MR. GERBER:   Your Honor, is there a question?

25     Q.   Your declarations are false, not just not well worded.          You


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1      gave false testimony, didn't you, Mr. Fawcett?

2      A.   Not at the time.

3      Q.   It's either true or it's false.      Is it false or is it true,

4      your testimony?

5      A.   At the time I gave those, I thought they were true, and now

6      realize some of it is not true.

7      Q.   Well, let's actually unpack some of that.        We're going to

8      talk, first, about your September 27 declaration.

9                  You actually prepared a draft of the declaration for

10     yourself, which is Exhibit, if I can get it in front of me,

11     108A.   So let's put that one up.

12                 Do you recognize this document?

13     A.   Yes, I do.

14     Q.   You drafted this, didn't you?

15     A.   I did.

16     Q.   On your own computer?

17     A.   Yes, I did.

18     Q.   In your own words?

19     A.   Yes.

20     Q.   Did you think it was accurate when you wrote it?

21     A.   Yes.

22     Q.   You weren't trying to lie to anybody when you wrote this

23     declaration, were you?

24     A.   No, I wasn't.

25     Q.   So what you say in this declaration that you wrote, without


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1      any help from Kreindler & Kreindler, is, and I'm going to the

2      first paragraph:

3                 "I sent a redacted version of the transcript of the

4      deposition of Musaed Al Jarrah to Michael Isikoff in early

5      July 2021.    The redacted portions related to the sections of

6      the deposition which were taken subject to the FBI protective

7      order and irrelevant to the issue at hand."

8                 So what you're saying there is the reactions were

9      redactions were done by the court reporter and had been taken

10     out of the transcript, correct?

11     A.   Yeah, that's right.

12     Q.   So what you're telling us in your declaration here is that

13     you've sent the whole transcript to Mr. Isikoff, correct?

14     A.   With the -- with the FBI material redacted, yes.

15     Q.   That was done by the court reporter for those questions and

16     answers, right?

17     A.   Yes, that's right.

18     Q.   But you didn't send portions of the 610-page transcript,

19     did you?

20     A.   Was a portion, yes.     It was all of it except for the

21     material subject to the FBI.

22     Q.   It was the entire transcript with blackouts on some of the

23     pages, correct?

24     A.   Yeah, it was quite a lot of blackouts because --

25     Q.   But there were pages.     The entire transcript was sent by


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1      you to Mr. Isikoff, correct?

2      A.   Right, without the FBI-protected material.

3      Q.   So now I want to look -- the first thing I want to focus on

4      is whether your declaration is true or false.         If you go to

5      62A, which I believe was part of your direct testimony, it was

6      admitted by the Court.      We go to paragraph 2, you say:      "I sent

7      a redacted version of the transcript to Michael Isikoff.          The

8      redacted portions of the deposition I sent to Michael Isikoff

9      were focused on Musaed Al Jarrah's testimony about his

10     possession of" something.

11                 Is that a true statement?

12     A.   Actually, that sentence doesn't really make any sense.

13     Q.   It's your declaration.

14     A.   I realize.

15     Q.   You signed it.

16     A.   I realize.

17     Q.   Did you read it?

18     A.   Yes.

19     Q.   Not hard to read, is it?

20     A.   It's a sentence that makes no sense.       It's tough to read it

21     now.

22     Q.   Ms. Benett and Mr. Pounian wrote it, didn't they?

23     A.   They took my declaration, my draft, and edited it, yes,

24     into this.

25     Q.   These aren't your words, they're their words, aren't they?


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1      A.   It looks to me like that sentence makes no sense.         It's

2      like something that was cut out of here.

3      Q.   Makes plenty of sense, plenty of sense.        This sentence

4      discloses to the court that you didn't send the whole

5      transcript, all 610 pages, you sent only the 30 pages that had

6      to do with the child issue, right?

7      A.   No, no, the sentence makes no sense, the redacted portions.

8      Q.   The portions of the deposition I spent to Michael Isikoff

9      were focused on, so that suggests to the reader that you sent

10     only portions of the transcript, and they were portions that

11     were focused on a particular issue, isn't that right?

12     A.   No, it doesn't make any sense.      The redacted portions are

13     not Musaed Al Jarrah's testimony about child pornography.

14     Q.   How many of the 610 pages --

15     A.   Redacted portions were the FBI material.        That's why this

16     sentence doesn't make any sense.

17     Q.   It makes plenty of sense, and what you're saying here is

18     trying to minimize what you did.       And that's Mr. Pounian and

19     Ms. Benett are trying to do, aren't they?

20     A.   No, I think in the pace of doing this, I've got a very poor

21     sentence in my --

22     Q.   There were 610 pages in the deposition transcript, correct?

23     A.   I don't recall the number.

24     Q.   Can you give me a ballpark figure?

25     A.   It would be something like that, yes.


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1      Q.   The number of pages that dealt with the photo issue, by our

2      count, it was roughly about 30.       Does that sound right to you?

3      A.   No, that -- that portion of the deposition needs to be read

4      in conjunction with other portions.

5      Q.   That part of the deposition has nothing to do with how many

6      times a witness invoked "I don't know," does it?

7      A.   I don't know.

8      Q.   Mr. Fawcett, please, if the only issue you were concerned

9      about was the images on someone's computer, you could and would

10     have sent the pages from the deposition that dealt specifically

11     with that issue, couldn't you?

12                THE WITNESS:    Your Honor, to -- to answer that

13     correctly, I need to talk about other --

14     Q.   I'm not asking for your attorney advice.        I'm asking could

15     you --

16                THE COURT:    Out of other portions of the deposition?

17                THE WITNESS:    Yes, I would need to relate it to the

18     issue of child pornography to other portions of the deposition.

19                THE COURT:    I think I know what the witness is

20     referring to, but do you want to have a sidebar?

21                MR. HANSEN:    I think I can make the question

22     completely innocuous.

23     BY MR. HANSEN:

24     Q.   There were questions on the record at the deposition about

25     images on the witness' computer, correct?


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1      A.   Yes.

2      Q.   Those questions consumed no more than 30 pages of the

3      transcript, correct?

4      A.   No, they related to previous portions of the transcript as

5      well.

6      Q.   I'm just asking you weren't the portions about that subject

7      about 30 pages?

8                  MR. GERBER:   Objection.   Asked and answered.

9                  MR. HANSEN:   He hasn't answered it yet.

10                 MR. GERBER:   Yes, he has.

11                 THE COURT:    You can answer the question.

12     A.   They related to other portions of the transcript as well.

13     Q.   I'm not asking you -- so let's just be clear.        We're

14     talking about you sitting here having admitted to criminal

15     conduct and facing another possible perjury charge.          Are you

16     telling this Court you had to send every one of these 610 pages

17     because every one of those 610 pages dealt with the images on

18     Mr. Al Jarrah's computer?

19     A.   No.

20     Q.   But you sent all 610 pages, didn't you?

21     A.   Yes, I sent the complete transcript without the FBI

22     material.

23     Q.   So let's look at some other things that are false here.

24                 Next sentence down, paragraph 2:     "I did not send any

25     FBI protected portions of the deposition to Michael Isikoff."


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1      That too was false, wasn't it?

2      A.   I now realize that's correct, that's now false.

3      Q.   Did you think that maybe before you sent a sworn statement

4      to a court in a matter as serious as this, you'd go check the

5      protective order to see whether you were right?

6      A.   In hindsight, yes, I should have done that.

7      Q.   How about all these nice lawyers at Kreindler & Kreindler?

8      How many different lawyers were you talking to during this

9      time?

10     A.   During which time?

11     Q.   Sorry?

12     A.   I'm sorry, during which time?      What are we talking about?

13     Q.   The time you're working on this sworn statement of yours.

14     A.   Just Megan and Steve.

15     Q.   They're experienced lawyers?

16     A.   Yes.

17     Q.   Do you think maybe they understood the protective order?

18     A.   I don't know what --

19     Q.   Did either Megan Benett or Steve Pounian say to you, John

20     Fawcett, you can't say this in your deposition -- in your

21     declaration because it's not true.       This transcript was all

22     covered by the FBI protective order?

23     A.   I don't -- I don't recall that, no.

24     Q.   They didn't warn you one bit, did they?

25     A.   Well, I think they were -- they were -- I shouldn't say


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1      what they were thinking.      I don't really know what they were

2      thinking.

3      Q.   They didn't understand the protective order either, is that

4      what you're trying to tell me?

5      A.   No, that's not what I'm saying.

6      Q.   It's either one of two things:      Either they're clueless

7      about the protective order, in which case they shouldn't be

8      practicing in this court, or they knew about the protective

9      order, and they deliberately let you put in false testimony,

10     isn't that true?

11                MR. GERBER:   Objection, your Honor.

12                THE COURT:    What's the objection?

13                MR. GERBER:   Your Honor, several things:      One, the

14     question's incredibly confusing.       Second, he's asking him to

15     speak about the state of mind or knowledge of third parties.           I

16     don't see how he could possibly answer this question.

17                THE COURT:    All right.   I'll sustain the objection.

18                MR. HANSEN:   All right.    Let me rephrase it, because I

19     think it's an important question, and it's a clear question.

20     Q.   It's one of two things, isn't it, Mr. Fawcett:        Either

21     these lawyers themselves didn't understand the protective order

22     or they understood it and knew what you were writing was wrong

23     and let you do it anyways, isn't that true?

24     A.   I don't know.

25     Q.   Let's go to another falsehood in your statement.


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1      Paragraphs 3, you write:      Until today, no one other than

2      Michael Isikoff and I knew that the redacted transcript -- knew

3      that I sent the transcript.

4                 Hadn't you told your criminal defense attorney, Liz

5      Crotty, that you'd sent this transcript long before you filed

6      this?

7                 MR. GERBER:    Objection, your Honor.     This is getting

8      into privileged information.

9                 MR. HANSEN:    I don't think you can commit perjury

10     under the shield of privilege.       He's put in a sworn statement.

11     He's opened the door to that.

12                MR. GERBER:    Your Honor, the factual question --

13     counsel is asking the witness to describe what information he

14     provided to Ms. Crotty.      That's privileged.

15                THE COURT:    I think your witness' -- your client's

16     testimony to date has been that he did not discuss any of this

17     with Ms. Crotty.     I know you've asserted his Fifth Amendment

18     privilege on his behalf, but he has testified so far under oath

19     that he did not discuss with Ms. Crotty anything beyond her

20     election campaign.

21                MR. GERBER:    Your Honor, he was asked about a single

22     phone call, and he gave that testimony about that phone call.

23     I think it's not disputed that there were other communications

24     with Ms. Crotty.     I don't think that's -- the question here is

25     not being limited to that particular phone call.         He's being


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1      asked more generally if he spoke with counsel, if he told

2      counsel particular information.       It would just --

3                 THE COURT:    I think he can answer the question, did

4      you tell anyone other than Michael Isikoff that you had sent

5      the transcript to Michael Isikoff, and if so, who?

6                 MR. GERBER:    Yes, your Honor.

7                 THE COURT:    OK.

8      BY MR. HANSEN:

9      Q.   Did you hear that question, Mr. Fawcett?

10     A.   No, I didn't quite understand.

11     Q.   Did you tell anyone other than Michael Isikoff -- did you

12     communicate to any human being prior to filing this sworn

13     statement that you had sent the redacted transcript to Michael

14     Isikoff, attorneys included?

15     A.   Not prior to that date.

16     Q.   Not prior to September 27?

17     A.   Not prior to, that's what I remember.

18     Q.   OK.   Let's wrap up here.

19                In the declaration that you wrote, you said nothing

20     about your supposed personal interest in the Al Jarrah

21     material, right?

22     A.   I'm not sure what you mean.

23     Q.   Well, you give a long -- or your friends at Kreindler &

24     Kreindler give a long story in the declaration about why you

25     thought you had to violate the protective order and smear


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1      Mr. Al Jarrah's reputation.      Remember that?

2      A.    I don't think anybody asked me to smear Mr. Al Jarrah.

3      Q.    That's what you did, isn't it?

4      A.    No, that's not what I did.

5      Q.    OK.    Well, let's look at your version of your statement.

6      It's at 108A.      We'll put it up.

7                   Do you see any reference in there to your supposed

8      personal interest in taking this action?

9      A.    I'm not sure what you mean by "personal interest."

10     Q.    I'm not sure either.    Let's go to what Mr. Pounian and

11     Ms. Benett wrote for you in Exhibit 62A, fourth paragraph, very

12     end.    62A, you write:    "I had a personal interest because."       Is

13     that your wording?

14     A.    Yes.

15     Q.    So you said to me a minute ago you didn't know what

16     "personal interest" meant, and yet you used this very phrase in

17     this declaration, right?

18     A.    Yes.

19     Q.    And that wasn't in your version of your declaration, was

20     it?

21     A.    No, it wasn't.

22     Q.    That was added by Mr. Pounian or Ms. Benett, correct?

23     A.    I believe we talked about it on the phone.

24     Q.    But it was written in there by Mr. Pounian or Ms. Benett,

25     correct?


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1      A.   They put -- they forwarded this draft to me after -- after

2      maybe two phone calls, two long phone calls.

3      Q.   And you signed it just like you signed other things that

4      you now realize were incorrect, right?

5                 MR. GERBER:   Objection to the form, your Honor.       I

6      want to be clear.     I want to make sure the witness understands

7      the question.    I think the form is confusing.       I would ask the

8      counsel to rephrase.

9                 THE COURT:    Sustained.

10                Can you rephrase the question?

11                MR. HANSEN:   Of course, your Honor.

12     Q.   You signed what Mr. Pounian and Ms. Benett wrote for you,

13     correct?

14     A.   No, I signed what I believed to be a correct declaration at

15     the time.

16     Q.   Well, actually, you've already told us you didn't.         Earlier

17     in your testimony, you told us that you signed things you now

18     look at and say were either wrong or you don't even understand.

19     A.   At the time I signed them, I felt that was my declaration.

20     Q.   And this was written, prepared on a Kreindler & Kreindler

21     computer system, correct, the one you signed?

22     A.   I don't recall if they -- I believe they sent me a Word

23     file, and I think I converted it into a PDF possibly on my

24     computer.    I'm not quite sure.

25     Q.   Don't remember, is that right?


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1      A.   Yeah.

2      Q.   And you say, at least in the version that they prepared,

3      these things about your motivation.       Let's go through that, and

4      then we'll be done.

5                  The information about this child issue was 20-year-old

6      information, wasn't it?

7      A.   I'm not sure what we're talking about.

8      Q.   The information about what was found on the witness'

9      computer was 20 years old, wasn't it?

10     A.   It was about 15 years old.      The way I understand, it was

11     found on the computer about 2004, 2005, something like.

12     Q.   Well, 2004 is 17 years ago, right?

13     A.   Yes.

14     Q.   And you knew about that information long before the

15     Al Jarrah testimony, correct, because you helped Ms. Benett

16     prepare for it and had that questioning prepared?

17     A.   Correct.

18     Q.   So when did you first learn about this?

19                 MR. GERBER:   Objection, just to clarify what the

20     "this" is.

21     Q.   I'm sorry.    The information that you claimed to be so

22     concerning to you, when did you first learn about it in

23     reference to the deposition itself?

24     A.   Maybe six to eight months prior to the deposition.

25     Q.   And you talked to Ms. Benett about it during the eight


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1      months preceding the deposition, correct?

2      A.   Mostly in the few weeks before the deposition.

3      Q.   But how about before the week?      Did she also know this

4      information was out there?

5      A.   I don't recall when I first told Megan.

6      Q.   But certainly was before the deposition itself, wasn't it?

7      A.   Yes, it was.

8      Q.   And in those six or eight months when you have this

9      information you claim caused you so much concern, you took no

10     action to warn anybody, did you?

11     A.   It was unconfirmed.     It was rumor.    I didn't -- I didn't

12     know it.    I had been told it.

13     Q.   You took no action, correct?

14     A.   I tried to confirm it.

15     Q.   Did you take any action?

16     A.   Yeah, that's action.

17     Q.   So who confirmed it?     Did someone confirm it for you?

18     A.   I didn't get -- I didn't get more confirmation than from

19     the source that had told me about it.

20     Q.   Who's the source?

21                MS. KIRSCH:   Objection, your Honor.

22                THE COURT:    Sustained.

23     Q.   So you're telling us it was just an idle rumor before the

24     deposition?

25     A.   I wouldn't call it an idle rumor.       It was --


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1      Q.   Was it enough to concern you?

2      A.   Absolutely.

3      Q.   So why didn't you take action before the deposition?

4      A.   I had nothing to back it up.

5      Q.   So this 20-year-old, 17-year-old information was

6      information that the United States government had, correct?

7      A.   Yes, that's correct.

8      Q.   So you, John Fawcett, are not a law enforcement officer,

9      are you?

10     A.   No, I'm not.

11     Q.   You don't have the power of the United States government,

12     do you?

13     A.   No, I don't.

14     Q.   The United States government has full power to protect

15     anybody who's in danger through its own offices, doesn't it?

16     A.   I don't -- I don't understand what you mean.

17     Q.   Well, if the government thinks there's a threat or concern,

18     the government can take action, can't it?

19     A.   Presumably, yes.

20     Q.   Did you ask our government to take any action after the

21     Al Jarrah deposition?

22     A.   No, I didn't.

23     Q.   The country you claim you were worried about is a U.S.

24     ally, correct?

25     A.   We're talking about Saudi Arabia?


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1      Q.    How about Morocco?

2      A.    About Morocco?    Yeah, I suppose.

3      Q.    They have an embassy in this country?

4      A.    Yes, they do.

5      Q.    So when did you first go to the Moroccan embassy to

6      register your complaint?

7      A.    I didn't.

8      Q.    The country of Morocco has law enforcement, too, doesn't

9      it?

10     A.    I'm sure it does.

11     Q.    They cooperate with our law enforcement authorities, don't

12     they?

13     A.    I presume they do.

14     Q.    When did you first go to Moroccan law enforcement

15     authorities to register your concerns?

16     A.    I didn't.

17     Q.    No, what you did instead was this, Mr. Fawcett.        You took

18     doubly protected confidential information, leaked it to a

19     reporter as part of Jim Kreindler's press campaign to pressure

20     the government of Saudi Arabia and smear witnesses who wouldn't

21     confirm his libelous story.      That's what you did, isn't it,

22     Mr. Fawcett?

23                MR. GERBER:    Objection, your Honor.

24                THE COURT:    Hold on.

25                MS. KIRSCH:    This is not television.     Objection.


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1                 THE COURT:   All right.    Let's rephrase the question,

2      please, sir.

3      Q.   What you did, instead of all the things we just went

4      through, Mr. Fawcett, is you leaked the entire 610-page

5      transcript to a U.S.-language reporter for publication,

6      correct?

7      A.   I didn't expect him to public -- to make the transcript

8      public, no.

9      Q.   So what assurances did you have that he wouldn't?

10     A.   We talked about what I thought was important in the

11     transcript, which was the child pornography.

12     Q.   Did you --

13     A.   And he agreed with me that was an important topic, and he

14     wanted to write about the child pornography and the FBI's use

15     of that child pornography.

16     Q.   Wait, wait, wait, wait.     Did you make a deal with

17     Mr. Isikoff that he would only publish part of this transcript

18     you gave him?

19     A.   He told me that's what he was going to do his story on.          I

20     trusted him.    I know he's a legitimate, valid journalist.        And

21     that's what he did.

22     Q.   So we see various emails and messages from you to

23     Mr. Isikoff after the publication.       When did you complain to

24     Mr. Isikoff that he breached your agreement?

25     A.   He didn't breach my agreement.


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1      Q.   What you did, Mr. Fawcett, was smear a witness who had

2      refused to confirm your law firm's story in this case, and you

3      were doing it as a message to other witnesses that if they did

4      the same thing, they'd be smeared, too.        Isn't that what you

5      were doing?

6                 MS. KIRSCH:   Your Honor, I'm going to object to the

7      question, but I'd also just like to note for the record that

8      it's actually Mr. Hansen who's talked extensively about the

9      content of the --

10                MR. HANSEN:   Oh, that's not true.     You've been -- all

11     over the map, Ms. Kirsch.

12                MS. KIRSCH:   I'm sorry.

13                MR. HANSEN:   I'm not going to listen to that.

14                THE COURT:    Hold on, Mr. Hansen.

15                MS. KIRSCH:   The understanding was, I think your

16     Honor's order was, that we could talk about the issue of child

17     pornography; that we shouldn't be discussing exactly what is or

18     is not in the Jarrah transcript.       This is about the third time

19     now that there's been a discussion by Mr. Hansen about what may

20     be or may not be in the Jarrah transcript.        So it's the Kingdom

21     that's actually not following your Honor's order, and I think

22     that it seems like it's waived.       That we could talk about the

23     content if we wanted to.

24                MR. HANSEN:   Completely false.     I haven't said a thing

25     about it other than it's images on the guy's computer, and


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1      they've gone far beyond.      Ms. Benett this morning went in

2      graphic details.     I'm just asking him if what he did was smear

3      a witness who'd been uncooperative, and I didn't say a word

4      about --

5                 THE COURT:    I don't think Mr. Hansen has crossed the

6      line as to my prior order, and this is, obviously, the subject

7      of the article, which is what brings us all to this court here

8      today.   So I don't --

9                 MS. KIRSCH:    Your Honor --

10                THE COURT:    I don't think -- nor do I think that he is

11     past the bounds of what's relevance.        I'm not sure what you

12     mean by you want to open it up and start talking about the

13     deposition.

14                MS. KIRSCH:    Well, your Honor, I would say this:      That

15     question was just packed with information that what Mr. Fawcett

16     did amount to smearing a witness because the allegations that

17     the witness denied that he had those images on his computer.

18     So if we're going to talk about the witnesses' denial, that's

19     the content of the deposition as opposed to that which is

20     relevant for Mr. Fawcett's motivation.

21                MR. HANSEN:    Convoluted beyond belief.

22                MS. KIRSCH:    I don't think so, your Honor.      I think

23     it's quite clear.

24                MR. HANSEN:    I'm asking what he is doing.     He's free

25     to deny it.    What he was doing was smearing a witness, whether


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1      true or not.

2                 THE COURT:    I think Mr. Hansen is free to ask about

3      the witness' motivation, which he has put in the record by

4      saying that he had a motive when he released the transcript,

5      and I think Mr. Hansen is free to ask what that motive was.

6                 MS. KIRSCH:    I understand, your Honor, but if we are

7      precluded from discussing what Mr. Jarrah may have said in

8      response to the questions --

9                 MR. HANSEN:    Doesn't matter whether it's true or not.

10     It's still a smear.

11                MS. KIRSCH:    -- I don't think Mr. Hansen should be

12     permitted to acknowledge or to say that there was a denial.           We

13     need to be able to discuss both sides of that, and the order --

14                MR. HANSEN:    I'm --

15                THE COURT REPORTER:     I'm sorry, Judge.    I cannot do

16     this.

17                MS. KIRSCH:    That's because Mr. Hansen's not letting

18     me finish.

19                MR. HANSEN:    Well, she's not --

20                THE COURT:    I will give everybody an opportunity to be

21     heard in my court.

22                Ms. Kirsch.

23                MS. KIRSCH:    Thank you.

24                There has been -- there have been representations in

25     the questions by Mr. Hansen about what Mr. Jarrah did or did


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1      not say in answer to the questions about the child pornography

2      on his computer.     Therefore, I would say that that's not in

3      compliance with your Honor's order and that we should be able

4      to respond to that because we don't think that's an accurate

5      representation, and there's more to the story than that.

6                 So we were ordered not to talk about the content of

7      the transcript, and we kept to that.        We hardly even talked

8      about child pornography at all, but we certainly didn't talk

9      about what was said on the transcript or what was not said on

10     the transcript.     Mr. Hansen is making -- is having that

11     discussion.

12                THE COURT:    Mr. Hansen.

13                MR. HANSEN:   My turn?

14                THE COURT:    Yes.

15                MR. HANSEN:   I haven't said one word about what she

16     says that I said.      I asked him about his motivation.      I did not

17     ask about what Mr. Jarrah said or didn't say.         I asked him if

18     contrary to what his motivation in his sworn statement was, he

19     was really just trying to smear the witness, and that's a fair

20     question, as your Honor has ruled.       And I think Ms. Kirsch

21     ought to actually abide by the rulings instead of making

22     20-minute objections at every legitimate question here.

23                Go ahead.    Look at me that way.    That's fine.

24                THE COURT:    Go ahead, Ms. Kirsch.

25                MS. KIRSCH:   I'm just waiting for a ruling.


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1                 THE COURT:    Go ahead.   Oh, a ruling.

2                 Yes, I think that whether it's true or not that the

3      witness had this on his computer, whether he saw these images

4      or not is not the purpose of today's hearing, and so we're not

5      going to have collateral litigation about what the witness has

6      said or didn't say in response to deposition questions.

7                 What Mr. Fawcett has put squarely in the court's --

8      the center of this court hearing is his own motivations, which

9      he has indicated were because of his concerns about the

10     children in Morocco, and I think Mr. Hansen is fair game to ask

11     questions about whether he had other motives than the motives

12     of protecting the children.      So I think this line of

13     questioning is reasonable, so I'll allow it.

14                Go ahead, Mr. Hansen.

15                MR. HANSEN:    Ms. Kirsch is still standing, so I want

16     to make sure she gets a chance to talk all she wants.

17                THE COURT:    Mr. Hansen, focus on the witness, please.

18     BY MR. HANSEN:

19     Q.   Can you answer the question, Mr. Fawcett?        I'm done if

20     there's an answer to that question.

21     A.   Could you repeat the question?

22                THE COURT:    Madam Court Reporter, do you think you

23     could find it?

24                MR. HANSEN:    It's probably so far back, your Honor,

25     I'll spare our poor, tired court reporter and just ask it


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1      again.

2      Q.   Mr. Fawcett, wasn't your real motivation in releasing the

3      entire Al Jarrah transcript to Mr. Isikoff to smear a witness

4      who had been uncooperative with you?

5      A.   No, that's not correct.

6                 MR. HANSEN:    If I could have five minutes, your Honor,

7      I think I may be done.

8                 THE COURT:    OK.   Take a quick five-minute recess, and

9      then, Mr. Gerber, you'll be next, so if you also want to use

10     this opportunity to prepare any redirect.

11                MR. GERBER:    Thank you, your Honor.

12                (Recess)

13                THE COURT:    Mr. Hansen.

14                MR. HANSEN:    Your Honor, we've concluded our

15     examination.

16                THE COURT:    OK.   Thank you.

17                THE WITNESS:    Your Honor, may I correct an answer?

18                THE COURT:    Sure.

19                THE WITNESS:    While I was sitting here, I recalled

20     something.

21                THE COURT:    Mr. Hansen, would you like to stand up?

22     He'd like to correct an answer.

23                MR. HANSEN:    I'm sorry, your Honor, because I have a

24     cold, I can't hear.

25                THE COURT:    Mr. Fawcett would like to correct an


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1      answer that he gave you previously.

2                 MR. HANSEN:    Actually, he can do that with his own

3      counsel.    I don't think you get to correct answers after

4      they've been given.      I think his cross-examination's done.       His

5      own counsel can elicit from him what he wants to tell us.

6                 THE COURT:    OK.   Fair enough.

7                 All right.    Mr. Gerber -- oh, you're going to go

8      first?

9                 MR. GERBER:    Your Honor, in light of our position

10     regarding the Fifth Amendment and our standing objection to the

11     direct examination of the witness regarding -- or

12     cross-examination of the witness regarding the declarations, we

13     are not going to redirect the witness.

14                THE COURT:    OK.   Do you want to deal with the issue he

15     just raised, or you want Ms. --

16                MR. GERBER:    Yes, your Honor, I do think however the

17     Court wants to do it, to the extent the witness wants to

18     correct the record, he should have opportunity to do so.          Your

19     Honor, we don't want to waive our Fifth Amendment position, as

20     the Court understands, I'm sure.

21                THE COURT:    I do understand.

22                All right.    Why don't I give the witness an

23     opportunity to say what he wants to say.

24                And, Mr. Hansen, you'll have an opportunity to ask any

25     follow-up questions at the end.       Is that satisfactory to you?


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1                 MR. HANSEN:    Yes, your Honor.    Thank you.

2                 THE COURT:    OK.   Mr. Fawcett, what would you like to

3      correct?

4                 THE WITNESS:    Thank you.

5                 During the break there, I recalled the conversation

6      with Liz Crotty in July.       I remember calling her after the

7      Court's order had come out, so I was calling her about this

8      Court's order.     And I remember telling her on the phone:       I'd

9      like to come see you, Liz, about an issue.        And she said:

10     Well, I'm not going to be here.       I'm leaving.    I'll be back in

11     a couple of weeks.

12                And then we -- I didn't tell her why I wanted to talk

13     to her on the phone, and then the rest of the conversation was

14     about her campaign.      So it was correct that I had originally

15     called her about attorney-client -- attorney-client relations

16     because I saw the court order.       Had nothing to do with the call

17     to Jim Kreindler.

18                THE COURT:    It had nothing to do with?

19                THE WITNESS:    The call to Jim Kreindler that I had

20     just done previously.      It was because the order had come out

21     the day before, and I was --

22                THE COURT:    OK.   Thank you.

23                MR. HANSEN:    I'm sorry, your Honor.     Should I -- can I

24     follow-up?

25                (Continued on next page)


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1                 THE COURT:    Sure.

2      BY MR. HANSEN:

3      Q.   So this has nothing to do with your call on the 22nd to Ms.

4      Crotty, some subsequent call?

5      A.   No.   That's the call I'm talking about.

6      Q.   The subject matter of your call on the 22nd is you want to

7      come get legal advice because of the position you're in because

8      of leaking the transcript?

9      A.   Correct.

10     Q.   And you are making that call after 44 minutes with Mr.

11     Kreindler, where you talked about the leak issue?

12                MR. GERBER:    Your Honor, the way that counsel is

13     characterizing the witness's testimony I think is not accurate,

14     and I think it's actually quite important.        Because counsel

15     described it as the witness saying he had told Ms. Crotty the

16     substance regarding the leak.       I actually don't think that's

17     what the witness --

18                MR. HANSEN:    He can't testify.    The witness just

19     testified.

20                THE COURT:    I think the witness did testify that he

21     wanted to speak with her about possible defense issues or

22     retention, but I think the witness did not testify that he told

23     her that he had leaked the transcript.

24                MR. HANSEN:    The question I asked was, was the subject

25     matter of your conversation about the leak issue?         Not about


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1      whether he leaked, but that was the subject matter for his

2      wanting to see her.      And he said yes.    And I think that's fair

3      testimony.

4                 THE COURT:    Are you done?

5      BY MR. HANSEN:

6      Q.   Your concern about this issue was prompted by your 44

7      minutes with Jim Kreindler immediately before calling Liz

8      Crotty, correct?

9      A.   No, that's not correct.

10                MR. HANSEN:   No further questions.

11                THE COURT:    Thank you.

12                Ms. Kirsch, your witness.

13     REDIRECT EXAMINATION

14     BY MS. KIRSCH:

15     Q.   Good afternoon, Mr. Fawcett.       I am Emily Kirsch.    I am

16     counsel for Kreindler & Kreindler.        I am just going to ask you

17     a few questions, if that's all right with you.

18                Before I ask the very few questions that I have, could

19     you tell us a little bit just about your professional

20     background so we understand what it is that you do and who you

21     are?

22                MR. HANSEN:   I object.    This has nothing to do with

23     the cross-examination, nothing to do with his direct

24     examination.    This is redirect examination on a new subject.

25     We have been here a long time.        We don't want a human interest


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1      story.

2                 THE COURT:   She said she is going to be quick.       I will

3      allow her to ask background questions about Mr. Fawcett's

4      professional experience.

5      BY MS. KIRSCH:

6      Q.   Mr. Fawcett, would you tell us a little bit about your

7      professional background?      And the second part of that question

8      will be, even in your declaration, you mention that you have

9      worked for the 9/11 families for a long time.         So if you could

10     tell us a little bit about your professional background prior

11     to working for the 9/11 families and then describe your work

12     for the 9/11 families.      Just briefly so we have some grounding.

13     A.   I worked approximately ten years in oil exploration in the

14     Middle East, in Turkey.      I worked for a humanitarian aid

15     organization in Iraq, and in former Yugoslavia, and some other

16     countries, including Pakistan, Afghanistan.         Then I worked more

17     in the human rights field, particularly focused on financing

18     and dictators.     That was prior to coming to Kreindler.

19     Q.   The work that you do with the 9/11 families, or that you

20     have done for the past 20 years, can you describe that

21     generally, please?

22     A.   I consider myself largely a researcher.        I don't think I am

23     an investigator.     I look at documents.     So I'm part of the

24     whole analysis of the discovery material gathered.         In

25     addition, I spent a lot of time engaging with the families and


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1      essentially educating them about the progress of the case.

2      Q.   So, Mr. Fawcett, have you ever heard Mr. Kreindler talk

3      about the protective orders in this case, particularly the fact

4      that he doesn't like them?

5      A.   Yes.

6      Q.   Did Mr. Kreindler ever suggest to you any way, either

7      directly or tacitly or indirectly, that the orders should not

8      be followed because he doesn't like them?

9      A.   No.

10     Q.   Can you describe what sense you got from Mr. Kreindler

11     about the importance of the protective orders and following

12     them?

13     A.   We had to follow them.     Everyone in the case had to follow

14     him.    It wasn't just Jim, it was the Kreindler firm.        At the

15     same time, I know that they didn't like having to hide

16     material, withhold material from their clients.         That was a

17     very, very difficult thing for them to do, for all of us to do.

18     Q.   Did anybody at the Kreindler firm, Mr. Kreindler or anyone

19     else, ever suggest that there would ever be a time when it

20     would be OK to violate the protective orders?

21     A.   No.

22     Q.   Did you ever have any reason to believe that Mr. Kreindler

23     would not object to your sending the Jarrah transcript to

24     Mr. Isikoff?

25     A.   I'm not quite sure.


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1      Q.   Let me give you a better question.       Let me start at the

2      beginning.

3                 Did Mr. Kreindler suggest to you that you should send

4      the Jarrah transcript to Mr. Isikoff?

5      A.   No, he did not.

6      Q.   Did Mr. Kreindler ever suggest to you in some sort of

7      indirect or tacit way that you should send the Jarrah

8      transcript to Mr. Isikoff?

9      A.   No.    No, never.

10     Q.   Did Mr. Kreindler give you any reason to believe that he

11     would condone your sending the Jarrah transcript to

12     Mr. Isikoff?

13     A.   No.

14     Q.   Did you ever believe that Mr. Kreindler might condone your

15     sending of the Jarrah transcript to Mr. Isikoff?

16     A.   No.

17     Q.   Did you ever believe that any of the Kreindler & Kreindler

18     lawyers would condone your sending of the Jarrah transcript to

19     Mr. Isikoff?

20     A.   No.    It would be the opposite.    They would tell me not to

21     do it.     That was my opinion.

22     Q.   Is that the reason you took steps to hide it from them,

23     because you knew they would tell you not to?

24     A.   Yes, that's right.

25     Q.   There was some discussion about exactly what the words were


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1      when the Kreindler & Kreindler lawyers, either Mr. Maloney, Mr.

2      Pounian or others, asked you about this leak.

3                 Is it fair to say, Mr. Fawcett, that you think you

4      misled them with respect to what you knew about who sent the

5      Jarrah transcript to Mr. Isikoff?

6                 MR. HANSEN:    Your Honor, I have been letting Ms.

7      Kirsch go on with her leading questions for two days.          Really,

8      there ought to be an end.      She should ask nonleading questions.

9      It's her witness.     She is just replowing the same ground they

10     plowed in the original declarations.        If she is going to do

11     something, it should be proper examination with direct

12     questions.     This is not cross-examination.     She hasn't asked a

13     nonleading question yet.

14                THE COURT:    I don't believe that Mr. Fawcett is her

15     witness.     He is represented by Mr. Gerber.     And we are here at

16     a bench trial, essentially.      So I will allow Ms. Kirsch to

17     continue with that line of questioning.

18     BY MS. KIRSCH:

19     Q.   I am not sure if we got an answer to my last question.

20     A.   Can you repeat the question?

21     Q.   Sure.    Did you mislead the Kreindler lawyers with respect

22     to what you might have known about who leaked the Jarrah

23     transcript?

24     A.   I don't know if that's the right word.       I certainly

25     prevaricated and dissembled and avoided letting them know.


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1      Q.   Mr. Fawcett, Mr. Hansen had asked you a series of questions

2      about, if you had known about Mr. Jarrah's child pornography

3      for so long, why did you not take action sooner?

4                 My question is, at any time before the Jarrah

5      deposition, did you have confirmation that Mr. Jarrah was in

6      fact consuming and possibly trafficking child pornography?

7      A.   No.

8      Q.   So it was at the deposition, just to be very clear, that

9      you received the confirmation that Mr. Jarrah was consuming and

10     possibly trafficking in child pornography?

11                MR. HANSEN:    We have been over this issue multiple

12     times.     Can we have her stop this?

13                THE COURT:    I think that line of questioning is

14     improper based on my prior ruling.       We are not asking whether

15     it was true or not what was said during the deposition.          We

16     know that Mr. Fawcett has indicated that that was his

17     motivation.     We know that the topic is out.      We are not going

18     to talk about confirmations at depositions or answers that were

19     given.

20     BY MS. KIRSCH:

21     Q.   Just the last question, Mr. Fawcett.       You knew that your

22     acts and words had the effect of misleading the Kreindler

23     lawyers with respect to your leaking of the Jarrah transcript,

24     isn't that true?

25     A.   I'm not sure which acts and words you're referring to.


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1      Q.   Whatever acts and words there were that related to the

2      topic.

3      A.   I'm not quite sure how to answer that one.

4      Q.   I am just asking whether you were aware that you were

5      misleading the Kreindler lawyers by your words, whether they

6      were dissembling or prevaricating, or any of the other words

7      that you used?

8                 MR. HANSEN:    Objection.   Asked and answered.     It's

9      putting words in the witness's mouth when he won't give the

10     answer she wants.

11                THE COURT:    You can answer it.

12     A.   I was not being honest with them.

13                MS. KIRSCH:    Thank you very much, Mr. Fawcett.

14                MR. HANSEN:    No further questions.

15                THE COURT:    Mr. Fawcett, I have just a couple of

16     questions to clarify for my mind.

17                One question I have is, in your initial declaration

18     that you submitted to, I believe Mr. Pounian and Ms. Benett,

19     you indicated that you had sent the transcript via a

20     non-Kreindler e-mail address.       What did you mean by that?

21                THE WITNESS:    That's the ProtonMail.

22                THE COURT:    Did they ask you what that e-mail address

23     was or what e-mail you used at that time?

24                THE WITNESS:    Sorry?

25                THE COURT:    Did either Ms. Benett or Mr. Pounian ask


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1      you, when you told them that you sent it via a non-Kreindler

2      e-mail address, did they ask you what that e-mail address was?

3                 THE WITNESS:    Yeah, I believe they did.

4                 THE COURT:    And did you explain to them what that

5      e-mail address was?

6                 THE WITNESS:    I think we put it into either the first

7      or second declaration.

8                 THE COURT:    I don't believe it's in the first

9      declaration.    That's why I am asking.

10                THE WITNESS:    Maybe it was in the second then.

11                THE COURT:    Then I have a question that I hate to ask,

12     but since it's been made an issue.       Can you tell me the age of

13     your children?

14                THE WITNESS:    21.

15                THE COURT:    You have just one child?

16                THE WITNESS:    They are twins.

17                THE COURT:    Thank you.   Anything further?

18                Mr. Fawcett, thank you very much.      You are excused.

19                MR. RAPAWY:    Your Honor, very briefly.

20                Your Honor, you asked us to meet and confer previously

21     on the subject of the previous exhibits, which I don't think

22     has been resolved yet.

23                THE COURT:    Is Mr. Fawcett done?

24                Mr. Fawcett, you are excused.

25                (Witness excused)


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1                 THE COURT:    I did ask about the exhibit issue.      Was

2      that you, Mr. Rapawy?

3                 MR. RAPAWY:    We have agreed to meet and confer and

4      exchange a list and get something to the court in the next

5      couple of days.     At least based on my understanding of our

6      conversations, I think we should be able to resolve the issue

7      of the exhibits that went in before we started formally moving

8      for admission.     If that's not the case, we can come back to the

9      court.

10                THE COURT:    The court reporters, who are trying to do

11     their best job, have indicated that there is some confusion in

12     the record.    I actually think it's a confusion that we all

13     could solve, but each lawyer said things like, turn to exhibit

14     tab 12, and you both have exhibit tab 12.        I think we all know

15     what you're referring to.      The court reporters are concerned

16     because they are good at their job, and they don't want to

17     submit a transcript that is unclear.        But I am not sure we need

18     to burden them to try and match up what we were just calling

19     tab 7, and we know whether it's a Kreindler tab 7 or a KSA tab

20     7, and have them sort of redo the transcript.         I think they

21     would like to get you a transcript.       I think you have all

22     ordered it on an expedited basis.       I don't know whether you

23     want to hold up the transcript creation in order to resolve

24     this issue and have the court reporters go back into the record

25     to correct or whether we can live with a transcript that may be


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1      more clear to us in the reading than it might be to the public.

2                 MS. KIRSCH:   For what it's worth, I think one process

3      could be, if they wanted to give us a rough transcript, we

4      could use that as a basis to both meet and confer on the

5      documents, and we could clean it up ourselves and make the

6      edits, if that's helpful.       So we could give proper numbers or

7      tabs or do a better job of identifying the exhibits.          We could

8      work off the rough so that we can do our meet-and-confer about

9      the documents that were offered.

10                THE COURT:    I think that's fine.    So long as the court

11     reporter doesn't feel like she has to go into the rough now and

12     try and recreate.     We don't want her to have to do that.

13                MS. KIRSCH:   We could take the rough and then we could

14     just provide the edits for better marking the exhibits.          We can

15     do that for them.

16                THE COURT:    OK.

17                Next question.      Post-hearing briefing.   I don't know

18     if you all want to meet and confer and discuss an appropriate

19     schedule.    I don't know if you have thought about it already.

20     I think everybody's goal is to get proposed findings of fact

21     and conclusions of law to the court as quickly as possible.

22     It's my practice that when it's fresh it's best.          I don't know

23     if you have thought about a proposed schedule.          If you would

24     like to discuss that and get back to me later this week on a

25     proposal, I am happy to hear from you then, but I am happy to


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1      hear from you now.

2                 MS. KIRSCH:    Does your Honor contemplate just

3      simultaneous one brief from each side?

4                 THE COURT:    To be candid, I haven't contemplated so

5      much, only that it will happen.       There is an argument that

6      having it be simultaneous makes sense.        I suppose there is an

7      argument for having one side go first.        I would like to try to

8      avoid having multiple rounds of briefings.        I am happy to give

9      you all time to speak.

10                Mr. Kellogg, do you have a perspective?

11                MR. KELLOGG:    Yes.   Our thought was simultaneous

12     submissions in three weeks.

13                THE COURT:    Ms. Kirsch, how does that sound?

14                MS. KIRSCH:    That sounds fine.

15                THE COURT:    That means everybody gets it in before

16     Thanksgiving.

17                MR. HAEFELE:    Robert Haefele on behalf of the PEC.       I

18     anticipate being as actively involved in the findings of fact

19     as we have been over the past few days, which means very

20     little.    But I think the PEC would like to see findings of fact

21     before it's finalized.

22                THE COURT:    Why don't we do the following.      Why don't

23     we set the deadline for filing on Wednesday, the 24th of

24     November, which is the Wednesday before Thanksgiving.          So

25     everybody can work really hard and then eat a lot of turkey.


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1      And I will ask that the parties coordinate with the PEC to at

2      least give them 48 hours to do a quick review to make sure

3      there are no issues.      I don't anticipate there being issues.

4                 MR. HAEFELE:    I don't either, your Honor, but that

5      will be perfect for us.

6                 THE COURT:   So coordinate with the PEC, please.       But

7      given the way the testimony has gone in, I don't anticipate

8      there being real issues here.

9                 MR. KELLOGG:    Your Honor, we would strongly object to

10     giving our submissions to the PEC before the filing with the

11     court.

12                THE COURT:   Could you provide anything?      I don't even

13     know what would be in there that would actually be PEC's work

14     product.

15                MR. KELLOGG:    He can review them after each side

16     files.   If they have concerns, they can submit them to the

17     court.   It would be fundamentally unfair for us to have to

18     share our pleadings with them before we file.

19                MR. HAEFELE:    I don't understand what the objection

20     would be.    If there is some problem with the findings of fact

21     that are proposed that may be binding on this litigation, I

22     think the Plaintiffs' Executive Committee should have an

23     opportunity to make sure.      Given how the testimony has gone in,

24     I don't anticipate there being any issue.

25                THE COURT:   Why don't we do the following.       Sorry to


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1      cut you off, sir.     I do think it's a fair point, because if

2      their strategy is revealed, then the other side can counter it

3      in their filings.     But what if we did something like the

4      following.    That the parties exchange their final documents on

5      the 24th, and file them with the court sometime, maybe December

6      1st.   So they are final copies, but if there are any redactions

7      that need to be raised, we can deal with it in that way.          I

8      think that might protect everybody's interests.         So the

9      exchange of the final documents Wednesday before Thanksgiving,

10     but I won't see them, which means everyone's Thanksgiving is

11     protected, and then we will file it with the court with any

12     redactions.

13                MR. KELLOGG:    Can we file them under seal with the

14     court and then they can review them and propose redactions to

15     the court?

16                THE COURT:    I think that's fine.    I think that's

17     materially the same concept.

18                MR. GERBER:    If I may?

19                THE COURT:    Yes.

20                MR. GERBER:    Mr. Fawcett obviously is not a party, but

21     we would like the opportunity to respond to the proposed

22     findings of fact and conclusions before the court issues its

23     final findings and conclusions.       I am just not sure what the

24     court is envisioning in terms of our role in the briefing.

25                THE COURT:    Let me take it under advisement and think


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1      about it and see what makes the most sense.

2                 MR. GERBER:    Just to be clear, the stakes for our

3      client are incredibly high, and before the court issues its

4      ruling, we would just like an opportunity in some way to have

5      input here, to be heard.

6                 THE COURT:    Why don't you think you could do that with

7      everybody else's filings?

8                 MR. GERBER:    I am sorry, your Honor.

9                 Your Honor, I am envisioning in some form advocating

10     for our client.

11                THE COURT:    I am wondering why that can't happen on

12     the 24th.

13                MR. GERBER:    It certainly can.    We are not a party.     I

14     think the court referred to the parties' submissions.          I don't

15     know if you were envisioning a simultaneous submission from us

16     as well.

17                THE COURT:    If you want to be heard, I think that

18     would be the time to be heard.

19                Anything further from anyone?

20                MS. KIRSCH:    No, your Honor.

21                THE COURT:    All right.   Well, on a personal matter, I

22     hope everybody is doing OK in COVID times.        I know I see all of

23     you often, and we haven't seen you in a long time.         I am sorry

24     for the reason that we are here, but I hope everybody is safe

25     and their family is safe.      And I hope everybody felt like the


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1      court did a good job with respect to our COVID protocols.          I

2      know we have been really careful and we are trying to be sort

3      of a leader in the federal system on this, so I hope everyone

4      felt like they were well taken care of.

5                 With that, we are done.

6                 MS. KIRSCH:   Just to clarify, we are going to do one

7      set of briefs simultaneously, filing under seal on November 24,

8      and allowing the PECs to have a look for any redactions by

9      December 1st.    And that's all the briefing that we are doing.

10                THE COURT:    Correct.

11                MS. KIRSCH:   OK.

12                THE COURT:    Thank you, everybody.    We are adjourned.

13                (Adjourned)

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